 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 1 of 306




            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )      Case No. 08-13141-KJC
                                   )
TRIBUNE COMPANY                    )      Chapter 11
                                   )
                                   )      Courtroom 5
                                   )      824 Market Street
           Debtors.                )      Wilmington, Delaware
                                   )
                                   )      March 18, 2011
                                   )      9:30 a.m.


                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE

APPEARANCES:

For Debtors:                Sidley Austin, LLP
                            BY: JAMES BENDERNAGEL, ESQ.
                            BY: KEVIN LANRTY, ESQ.
                            BY: JAMES DUCAYET, ESQ.
                            BY: JESSICA BOELTER, ESQ.
                            One South Dearborn
                            Chicago, IL 60603
                            (312) 853-7000

                            Cole, Schotz, Meisel, Forman
                            & Leonard, P.A.
                            BY: NORMAN PERNICK, ESQ.
                            500 Delaware Ave., Ste. 1410
                            Wilmington, DE 19801
                            (302) 652-3131

ECRO:                       AL LUGANO

Transcription Service:      DIAZ DATA SERVICES
                            331 Schuylkill Street
                            Harrisburg, Pennsylvania 17110
                            (717) 233-6664
                            www.diazdata.com

Proceedings recorded by electronic sound recording;
transcript produced by transcription service
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 2 of 306
                                                                   2

APPEARANCES:
(Continued)

For JP Morgan:                     Davis Polk & Wardwell
                                   BY: BENJAMIN KAMINETZKY, ESQ.
                                   BY: DONALD S. BERNSTEIN, ESQ.
                                   BY: MICHAEL RUSSANO, ESQ.
                                   BY: ELLIOT MOSKOWITZ, ESQ
                                   BY: DENNIS GLAZER, ESQ.
                                   BY: DAMIEN SCHAIBLE, ESQ.
                                   BY: LYNN BUSATH, ESQ.
                                   450 Lexington Avenue
                                   New York, NY 10017
                                   (212) 450-4000

                                   Richards Layton & Finger
                                   BY: BOB STEARN, ESQ.
                                   One Rodney Square
                                   920 North King Street
                                   Wilmington, DE 19801
                                   (302) 651-7700

For Law Debenture:                 Bifferato Gentilotti
                                   BY: GARVAN MCDANIEL, ESQ.
                                   800 North King Street
                                   Plaza Level
                                   Wilmington, DE 19801
                                   (302) 429-1900

                                   Kasowitz Benson Torres &
                                   Friedman, LLP
                                   BY: CHRISTINE MONTENEGRO, ESQ.
                                   BY: MATTHEW STEIN, ESQ.
                                   1633 Broadway
                                   New York, NY 10019
                                   (212) 506-1717

For Aurelius:                      Akin Gump Strauss Hauer & Feld
                                   BY: ABID QUERSHI, ESQ.
                                   BY: DANIEL GOLDEN, ESQ.
                                   BY: DAVID ZENSKY, ESQ.
                                   BY: NANCY CHUNG, ESQ.
                                   One Bryant Park
                                   New York, NY 10036
                                   (212) 872-1000

                                   Ashby & Geddes
                                   BY: BILL BOWDEN, ESQ.
                                   500 Delaware Avenue
                                   Wilmington, DE 19899
                                   (302) 654-1888
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 3 of 306
                                                                   3

APPERANCES:
(Continued)

For Barclays:                      DLA Piper
                                   BY: MICHELLE MARINO, ESQ.
                                   1251 Avenue of the Americas
                                   New York, NY 10020-1104
                                   (212) 335-4500

For Special Committee of the
Board of Directors:                Jones Day
                                   BY: LAUREN BUONAME, ESQ.
                                   77 West Wacker
                                   Chicago, Illinois 60601
                                   (312) 782-3939

For Official Committee
of Unsecured Creditors:            Landis, Rath & Cobb
                                   BY: ADAM G. LANDIS, ESQ.
                                   BY: DANIEL B. RATH, ESQ.
                                   919 Market Street, Suite 1800
                                   Wilmington, DE 19801
                                   (302) 467-4400

                                   Chadbourne & Parke, LLP
                                   BY: DAVID LEMAY, ESQ.
                                   BY: THOMAS MCCORMACK, ESQ.
                                   BY: HOWARD SEIFE, ESQ.
                                   BY: ANDREW ROSENBLATT, ESQ.
                                   BY: ROBERT SCHWINGER, ESQ.
                                   BY: MARC ASHLEY, ESQ.
                                   BY: DOUGLAS DEUTSCH, ESQ.
                                   30 Rockefeller Plaza
                                   New York, NY 10112
                                   (212) 408-5100

                                   Zuckerman Spaeder
                                   BY: GRAEM BUSH, ESQ.
                                   BY: ANDREW GOLDFARB, ESQ.
                                   BY: JAMES SOTTILE, ESQ.
                                   1800 M Street, NW
                                   Suite 1000
                                   Washington, DC 20036
                                   (202) 778-1800
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 4 of 306
                                                                   4

APPEARANCES:
(Continued)

For Merrill Lynch:                 Potter Anderson & Carroon, LLP
                                   BY: LAURIE SILVERSTEIN, ESQ.
                                   Hercules Plaza
                                   1313 North Market Street
                                   6th Floor
                                   Wilmington, DE 19801
                                   (302) 984-6033

                                   Kay Scholer
                                   BY: JANE PARVER, ESQ.
                                   BY: MADLYN PRIMOFF, ESQ.
                                   425 Park Avenue
                                   New York, NY 10022-3598
                                   (212) 836-7042

For DBTCA:                         McCarter & English
                                   BY: KATHARINE MAYER, ESQ.
                                   BY: DAVID ADLER, ESQ.
                                   405 N. King Street, 8th Fl.
                                   Wilmington, DE 19801
                                   (302) 984-6312

For Wilmington Trust:              Brown Rudnick
                                   BY: HOWARD SIEGEL, ESQ.
                                   185 Asylum Street
                                   Hartford, CT 06103
                                   (860)509-6519

                                   Sullivan Hazeltine Allinson,
                                   LLC
                                   BY: WILLIAM SULLIVAN, ESQ.
                                   4 East 8th Street, Suite 400
                                   Wilmington, DE 19801
                                   (302) 428-8191

For Great Banc:                    Womble Carlyle
                                   BY: THOMAS M. HORAN, ESQ.
                                   222 Delaware Avenue, Ste. 1501
                                   Wilmington, DE 19801
                                   (302) 252-4339

For Oaktree/ Angelo Gordon:        Dewey & LeBoeuf
                                   BY: JAMES O. JOHNSTON, ESQ.
                                   BY: BRUCE BENNETT, ESQ.
                                   333 South Grand Ave., Ste.2600
                                   Los Angeles, CA 90071-1530
                                   (213)621-6030
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 5 of 306
                                                                   5

APPEARANCES:
(Continued)

For Credit Agreement
Lenders:                           Young, Conaway, Stargatt &
                                   Taylor
                                   BY: BLAKE N. CLEARY, ESQ.
                                   The Brandywine Building
                                   1000 West Street, 17th Floor
                                   Wilmington, DE 19801
                                   (302) 571-6600

TELEPHONIC APPEARANCES:

For SuttonBrook Capital:           SuttonBrook Capital
                                   Management, LP
                                   BY: CAROL L. BALE, ESQ.
                                   (212) 588-6640

For Official Committee of
Unsecured Creditors:               Chadbourne & Park, LLP
                                   BY: MARC D. ASHLEY, ESQ.
                                   (212) 408-5194
                                   BY: MARC ROITMAN, ESQ.
                                   (212)408-5271
                                   BY: FRANK VAZQUEZ, ESQ.
                                   (212)408-5111

                                   Zuckerman & Spaeder, LLP
                                   BY: GRAEM BUSH, ESQ.
                                   BY: ANDREW CARIDAS, ESQ.
                                   (202) 778-1800

                                   Landis Rath & Cobb, LLP
                                   BY: MATTHEW B. MCGUIRE, ESQ.
                                   (302)467-4431

For Credit Agreement
Lenders:                           Wilmer Cutler Pickering Hale &
                                   Dorr
                                   ANDREW N. GOLDMAN, ESQ.
                                   (212)230-8836

                                   Angelo Gordon & Co., LP
                                   BY: GAVIN BAIERA, ESQ.
                                   (212)692-0217

                                   Dewey & LeBoeuf, LLP
                                   BY: JOSHUA M. MESTER, ESQ.
                                   (213) 662-6016
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 6 of 306
                                                                   6

TELEPHONIC APPEARANCES:
(Continued)

For Bank of America:               O’Melveny & Myers
                                   BY: DANIEL CANTOR, ESQ.
                                   (212) 326-2000
                                   BY: DANIEL SHAMAH, ESQ.
                                   (212) 326-2138

                                   Bank of America
                                   BY: ESTHER CHUNG, ESQ.
                                   (646) 855-6705

For Wilmington Trust:              Brown Rudnick, LLP
                                   BY: KATHERINE BROMBERG, ESQ.
                                   (212) 209-4929
                                   BY: ROBERT STARK, ESQ.
                                   (212)209-4862

For Tribune:                       Sidley Austin
                                   BY: GREG DEMO, ESQ.
                                   (312) 853-7758
                                   BY: KEN KANSA, ESQ.
                                   (312) 853-7163
                                   BY: COLLEEN KENNEY, ESQ.
                                   (312) 853-2931
                                   BY: JILLIAN LUDWIG, ESQ.
                                   (312) 853-7523
                                   BY: JANET HENDERSON
                                   (312)853-2931
                                   BY: BRETT MYRICK, ESQ.
                                   (312) 853-1049
                                   BY: BRYAN KRAKAUER, ESQ.
                                   (312)853-7515
                                   BY: PATRICK WACKERLY, ESQ.
                                   (312) 853-2931
                                   BY: ALLISON E. STROMBERG, ESQ.
                                   (312) 853-0497

                                   Tribune Company
                                   BY: GARY WEITMAN, ESQ.
                                   (312) 222-3394
                                   BY: DAVID ELDERSVELD, ESQ.
                                   (312) 222-4707
                                   BY: DON LIEBENTRITT, ESQ.
                                   (312)222-3651
                                   BY: MICHAEL D. O’NEAL, ESQ.
                                   (312) 222-3490
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 7 of 306
                                                                   7

TELEPHONIC APPEARANCES:
(Continued)

For George Dougherty:              Grippo & Elden, LLC
                                   BY: GEORGE DOUGHERTY, ESQ.
                                   (312) 704-7700


For Citibank:                      Paul Weiss Rifkind Wharton
                                   BY: KIRA DAVIS, ESQ.
                                   (212) 373-3000
                                   BY: ANDREW GORDON, ESQ.
                                   (212)373-3543
                                   BY: ANDREW LEVY, ESQ.
                                   (202)223-7328
                                   BY: SHANNON PENNOCK, ESQ.
                                   (212) 373-3000
                                   BY: ELIZABETH MCCOLM, ESQ.
                                   (212) 373-3000

For Goldman Sachs:                 Goldman Sachs & Company
                                   BY: SCOTT BYNUM, ESQ.
                                   (212) 902-8060
                                   BY: LEXI FALLON, ESQ.
                                   (212) 902-0791

For Former Special Committee
Of Tribune’s Board of
Directors:                         Skadden Arps Slate Meagher &
                                   Flom
                                   BY: NICK CAMPANARIO, ESQ.
                                   (312) 407-0974

                                   Jones Day
                                   BY: LYNN MARVIN, ESQ.
                                   (312) 782-3939
For Aurelius Capital
Management:                        Aurelius Capital Management LP
                                   BY: MATTHEW A. ZLOTO, ESQ.
                                   (646) 445-6518

                                   Akin Gump Strauss Hauer & Feld
                                   BY: SHAYA ROCHESTER, ESQ.
                                   (212) 872-1076
                                   BY: JOHN BERRY, ESQ.
                                   (212) 872-8075

                                   Friedman Kaplan Seiler &
                                   Adelman
                                   BY: KIZZY JARASHOW, ESQ.
                                   (212) 833-1115
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 8 of 306
                                                                   8

TELEPHONIC APPEARANCES:
(Continued)

For Morgan Stanley:                Weil Gotshal & Manges, LLP
                                   BY: ASHISH D. GANDHI, ESQ.
                                   (212) 310-8024
                                   BY: DAVID LITVACK, ESQ.
                                   (212)310-8361
                                   BY: ANDREA SAAVEDRA, ESQ.
                                   (212) 310-8544
For Serengeti Asset
Management:                        Serengeti Asset Management
                                   BY: NICHOLAS HEILBUT, ESQ.
                                   (212) 466-2167

For Anna Kalenchits:               Anna Kalenchits
                                   (212)723-1808

For JP Morgan Chase Bank:          Davis Polk & Wardwell, LLP
                                   BY: PETER KIM, ESQ.
                                   (212) 450-3028

                                   JP Morgan Chase Bank NA
                                   BY: SHACHAR MINKOVE, ESQ.
                                   (212) 834-7174

                                   Richards Layton & Finger
                                   BY: MARK COLLINS, ESQ.
                                   (302)651-7531

For Partner Fund Management:       Vinson & Elkins, LLP
                                   BY: LANCE A. MULHERN, ESQ.
                                   (212) 237-0184
For Oaktree Capital
Management:                        Oaktree Capital Management
                                   BY: KENNETH C. LIANG, ESQ.
                                   (213) 830-6422
For Brigade Capital
Management:                        Brigade Capital Management
                                   BY: NEIL LOSQUADRO
                                   (212) 745- 9758

For Royal Bank of Scotland:        Royal Bank of Scotland
                                   BY: COURTNEY ROGERS, ESQ.
                                   (203) 897-4815
 Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 9 of 306
                                                                   9

TELEPHONIC APPEARANCES:
(Continued)

For Eos Partners:                  Eos Partners
                                   BY: MIKE J. SCHOTT, ESQ.
                                   (212) 593-4046

For Prof. Expert:                  Raymond James
                                   BY: ROBERT SCHWARTZ, ESQ.
                                   (212) 872-7441


For Contrarian Capital
Management:                        Contrarian Capital Management
                                   BY: JOSHUA TRUMP, ESQ.
                                   (203) 862-8299

For Alvarez & Marsal, Inc.:        Alvarez & Marsal, Inc.
                                   BY: BRIAN WHITTMAN, ESQ.
                                   (312) 601-4227
                                   BY: STUART KAUFMAN, ESQ.
                                   (224)388-0634

For Macquarie Capital:             Macquarie Capital (USA)
                                   BY: RUSHABH VORA, ESQ.
                                   (212) 231-6311

For Deutsche Bank AG:              Bingham McCutchen, LLP
                                   BY: JEFFREY OLINSKY
                                   BY: CHAD VALERIO
                                   (212) 705-7857

                                   Kramer Levin Neftalis &
                                   Frankel, LLP
                                   BY: JORDAN KAYE, ESQ.
                                   (212) 715-9489

For Barclays:                      Barclays Capital, Inc.
                                   BY: BEN WILSON
                                   (212)412-7642
                                   BY: EITAN MELAMED, ESQ.
                                   9310) 907-0455

                                   Mayer & Brown, LLP
                                   BY: MICHAEL L. SIMES, ESQ.
                                   (212) 506-2607
                                   BY: AMIT K. TREHAN, ESQ.
                                   (212) 506-2500
                                   BY: JEAN MARIE ATAMIAN, ESQ.
                                   (212) 506-2678
Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 10 of 306
                                                                   10

TELEPHONIC APPEARANCES:
(Continued)

For Law Debenture Trust:           Kasowitz Benson Torres & Park
                                   BY: SHERON KORPUS, ESQ.
                                   BY: DAVID ROSNER, ESQ.
                                   (212) 506-1715

For Cooperstown Capital
Management:                        Cooperstown Capital Management
                                   BY: PETER COURI, ESQ.
                                   (203) 552-6900


For Wells Fargo:                   White & Case
                                   BY: SCOTT GREISSMAN, ESQ.
                                   (212) 819-8567

For Robert R. McCormick
Foundation:                        Katten Muchin Rosenman, LLP
                                   BY: DAVID C. BOHAN, ESQ.
                                   (312) 902-5566
                                   BY: DANIEL J. POLATSEK, ESQ.
                                   (312) 902-5596

For Interested Party:              Canyon Partners
                                   BY: CHANEY M. SHEFFIELD, ESQ.
                                   (310) 272-1062

For Non-Party:                     Duff & Phelps
                                   BY: JOE LIEWANT
                                   (973) 775-8336

For Tricadia Capital:              Tricadia Capital
                                   BY: IMRAD AHMED, ESQ.

For Silver Point Capital:          Silver Point Capital
                                   BY: MARK EHMER, ESQ.
                                   (203) 542-4219

For Chicago Fundamental
Investment Partners:               Chicago Fundamental Investment
                                   BY: PETER GRUSZKA, ESQ.
                                   (312) 416-4215

For Board of Committee:            Jones Day
                                   BY: XOCHITL STROHBEHN, ESQ.
                                   (212) 326-3691
Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 11 of 306
                                                                   11

TELEPHONIC APPEARANCES:
(Continued)

For Dow Jones News Wires:          Dow Jones & Company
                                   BY: PEG BRICKLEY, ESQ.
                                   (215) 462-0953

For Matthew Frank:                 Alvarez & Marsal, Inc.
                                   BY: MATTHEW FRANK, ESQ.
                                   (312) 371-9955


For Chandler Bigelow:              Sperling & Slater
                                   BY: CLAIRE P. MURPHY, ESQ.
                                   (312) 641-3200
                                   BY: DANIEL A. SHMIKLER, ESQ.
                                   (312) 641-3200

For Merrill Lynch:                 Kaye Scholer, LLP
                                   BY: JONATHAN AGUDELO, ESQ.
                                   (212)836-8369

For Robert McCormick
Foundation:                        Katten Muchin Rosenman, LLP
                                   BY: JOHN SIEGER, ESQ.
                                   (312)902-5294

For DK Partners:                   DK Partners
                                   BY: EPHRAIM DIAMOND, ESQ.
                                   (646) 282-5841

For Jefferies & Company:           Jefferies & Company
                                   BY: JUSTIN BRASS, ESQ.
                                   (203) 708-5847

For Arrowgrass Management:         Arrowgrass Capital Partners,
                                   U.S., LP
                                   BY: ARIF GANGAT, ESQ.
                                   (212) 584-1160

For Smith Management:              Smith Management
                                   BY: JENNIFER WILD, ESQ.
                                   (212) 418-6877

For One East Partners:             One East Partners
                                   BY: SINA TOUSSI, ESQ.
                                   (212) 230-4510
    Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 12 of 306
                                                                       12

    TELEPHONIC APPEARANCES:
    (Continued)

    For Nomura Securities:             Nomura Securities
                                       BY: ARTHUR KAVALIS, ESQ.
                                       (212) 667-2370

    For Pryor Cashman:                 Pryor Cashman, LLP
                                       BY: TINA MOSS, ESQ.
                                       (212) 326-0421

    For Interested Party:              Longacre Management Fund
                                       BY: MICHAEL SHREKGAST, ESQ.
                                       (312) 515-7431



1
     Case 08-13141-BLS   Doc 8446-3     Filed 03/21/11   Page 13 of 306
                                                                               13

 1   WILMINGTON, DELAAWARE, FRIDAY, MARCH 18, 2011, 9:37 A.M.

 2                 THE COURT:   Good morning, everyone.

 3                 ALL PARTIES:   Good morning, Your Honor.

 4                 MR. QURESHI:   Good morning, Your Honor.           For the

 5   record, Abid Qureshi, Akin, Gump, Strauss, Hauer and Feld on

 6   behalf of Aurelius Capital Management and the noteholders.

 7                 Your Honor, before we begin with our next

 8   witness, which is Mr. Tuliano, one preliminary matter.               It

 9   was brought to my attention last night that Merrill Lynch

10   may have issues it wishes to raise with the Court with

11   respect to the confidentiality of certain documents that we

12   intend to use.

13                 Our understanding thus far had been that the only

14   documents being considered confidential in these proceedings

15   related to the debtors' current financial projections we

16   haven't treated as confidential.          The other documents from

17   the LBO time frame thus far, but Merrill Lynch has raised

18   the issue, so I will cede the podium to their counsel.

19                 THE COURT:   All right.

20                 MS. PRIMOFF:   Madlyn Primoff for Merrill Lynch,

21   Your Honor.    We have no issue with the one document that

22   they've told us they want to use today.

23                 THE COURT:   Okay.     Can we do more of those?

24         (Laughter)

25                 MR. QURESHI:   We -- we can try.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 14 of 306
                                                                            14

 1                 In that case, Your Honor, we call our next

 2   witness, Ralph Tuliano.       And just to remind, Your Honor, he

 3   is our one two-hour direct.

 4                 THE COURT:    All right.

 5                 THE CLERK:    Please remain standing.       Raise your

 6   right hand and place your left hand on the Bible.

 7                          RALPH TULIANO SWORN

 8                 THE CLERK:    Please be seated and adjust the

 9   microphone.

10                 Please state your full name for the record and

11   spell it.

12                 THE WITNESS:    Ralph S. Tuliano, T-U-L-I-A-N-O, R-

13   A-L-P-H for Ralph.

14                 THE CLERK:    Thank you, sir.

15                 MR. QURESHI:    Your Honor, may I approach with

16   exhibits?

17                 THE COURT:    You may.

18                              DIRECT EXAMINATION

19   BY MR. QURESHI:

20   Q     Mr. Tuliano, good morning.         Can you please tell us by

21   whom you are employed, sir?

22   A     Mesirow Financial Consulting.

23   Q     And what is your position at Mesirow?

24   A     I am president and executive managing director.

25   Q     Okay.    And before we get into your credentials, can
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 15 of 306
                                                                         15

 1   you please tell the Court a little bit about Mesirow?

 2   A     Yes.     Well, Mesirow Financial Consulting is a

 3   subsidiary of Mesirow Financial.        It's a financial

 4   consulting firm that provides forensic accounting,

 5   valuation, restructuring, litigation support, technology

 6   advisory, interim management, distress and related services.

 7   Q     Okay.    Let's turn to your demonstrative exhibits.          You

 8   should have a copy in front of you.

 9                 MR. QURESHI:   And, Your Honor, for the record

10   those have been marked as NPP Exhibit 2478.

11   BY MR. QURESHI:

12   Q     And let's turn to Page 2 and talk about your

13   credentials.    First of all, what's your education?

14   A     I have a masters in business administration, in

15   finance and accounting, and a bachelor of arts from the

16   University of California, Los Angeles.

17   Q     And how long have you been at Mesirow?

18   A     I've been at Mesirow for the last six years.

19   Q     Okay.    And where were you employed prior to that?

20   A     Prior to that I was the national partner in charge of

21   the U.S. Corporate Recovery Practice for the big four

22   accounting firm of KPMG.

23   Q     Okay.    And what credentials do you have other than

24   your formal education?

25   A     I'm a certified public accountant.           As it's indicated
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 16 of 306
                                                                             16

 1   here, I'm also a certified finance -- valuation analyst and

 2   I'm certified in financial forensics.

 3   Q     Okay.   Let -- let's talk about that third bullet

 4   point, a certified valuation analyst.             What does it mean to

 5   have that designation?

 6   A     That's a credential issued by the National Association

 7   of Certified Valuation Analysts.        It involves comprehensive

 8   testing, continuing education requirements.             It involves a

 9   submission of prior valuation reports, ongoing continuing

10   education requirements, and so forth.

11   Q     Okay.   Now the fourth point on this page is your

12   certification in financial forensics.             What is that?

13   A     That's a credential issued by the AICPA.             It requires

14   ongoing continuing education and extensive experience in the

15   area of forensic accounting and financial forensics.

16   Q     Okay.   Skipping down to the -- to the bottom of the

17   page, the third to last bullet, you describe yourself as an

18   insolvency specialist.     Can you please describe that

19   experience to the Court?

20   A     Yes.    I devote the vast majority of my clients'

21   service time to insolvency related matters, specifically

22   fraudulent conveyance matters.       I did my first fraudulent

23   conveyance testimony, I believe, in 1991.            In that time

24   frame I have been involved in approximately a hundred or

25   more fraudulent conveyance cases in various capacities, and
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 17 of 306
                                                                             17

 1   have also been involved in a number of LBO fraudulent

 2   conveyance matters as well.

 3   Q       And does any of your experience in the fraudulent

 4   conveyance area involve work for lenders?

 5   A       Absolutely.    Yes.

 6   Q       Okay.   And, sir, do you have any experience in the

 7   media and newspaper space?

 8   A       Yes, I do.    I have -- certainly have been involved in

 9   valuation of media companies.         Liberty Media is an example,

10   a multi-billion dollar media concern.               I've also been

11   involved in the valuation of newspaper companies as well.

12   Q       Okay.   And, sir, do you have any expertise in the area

13   of analyzing and evaluating financial projections?

14   A       Absolutely.    For the last twenty-two years of my

15   professional career I've -- I've been involved in evaluating

16   financial projections in virtually every insolvency related

17   matter that I've been involved with.           I was involved with

18   financial projections literally looking at hundreds if not

19   thousands of sets over the course of my career.                I think, in

20   my view, evaluation of the reasonableness of financial

21   projections is absolutely an essential part of performing a

22   solvency analysis and I've done it many, many times.

23   Q       Okay.   And in the various areas that we've been

24   talking about, how many total years of experience do you

25   have?
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 18 of 306
                                                                           18

 1   A        Approximately twenty-two years.

 2   Q        Okay.    And have you, over the course of those twenty-

 3   two years, been qualified as an expert to testify on

 4   solvency matters before?

 5   A        Yes.

 6   Q        And have you been qualified to testify as an expert on

 7   valuation?

 8   A        Yes.

 9   Q        And have you also been qualified to testify as an

10   expert in the area of financial forensics?

11   A        Yes.

12   Q        Okay.

13                    MR. QURESHI:   Your Honor, I would now offer Mr.

14   Tuliano as an expert qualified to testify in those three

15   areas:    Solvency, valuation and financial forensics.

16                    THE COURT:   Is there any objection?

17                    MR. KAMINETZKY:    No objection, Your Honor.

18                    THE COURT:   You may proceed accordingly.

19                    MR. QURESHI:   Thank you, Your Honor.

20   BY MR. QURESHI:

21   Q        Mr. Tuliano, please turn to the next page and let's

22   talk a little bit about the team at Mesirow that you had

23   devoted to this engagement.

24   A        Yes.    This is -- we had approximately twenty-five

25   professionals devoted to the engagement over the course of a
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 19 of 306
                                                                             19

 1   little over a year.    The team that you see here is the most

 2   senior team.    Mr. Atkinson, who is in the courtroom today,

 3   one of our senior managing directors, one of our most senior

 4   professionals is a certified public accountant, certified

 5   financial analyst, certified valuation analyst, certified

 6   fraud examiner and so forth; also has experience with

 7   valuation, media companies, cable industry.

 8           Professor Jack Williams who is one of our senior

 9   managing directors.    Professor Williams is also a tenured

10   full professor at Georgia State University.            He joined us

11   approximately six months ago and has -- has contributed to

12   this assignment in a very meaningful way.

13           David King is a valuation specialist.          He is our

14   technical director of valuation services.           He's also an

15   industry-leading valuation specialist as well.

16   Q       And I would like you to just skip down for a minute

17   and talk about Mr. -- Mr. Veyhee [ph] at the bottom of the

18   page.

19   A       Sure.

20   Q       What was his role?

21   A       Mr. Veyhee is a structured finance expert and a member

22   of our team.    He has extensive experience with credit

23   default swap, specifically; portfolio management.             He is a

24   former portfolio manager for General Electric and he played

25   an extensive role in this as well.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 20 of 306
                                                                          20

 1   Q     And, lastly, please comment on Mr. Steele's role.

 2   A     Mr. Steele is a valuation specialist.            He is somebody

 3   who devotes an extensive amount of his time in the media

 4   sector specifically; also, newspaper and broadcasting.

 5   Q     Okay.   Let's turn -- let's move onto Page 4.            And can

 6   you tell me, sir, when was Mesirow first retained with

 7   respect to Tribune?

 8   A     We were first retained approximately in the

 9   January/February time frame of last year, I believe.

10   Q     Okay.   And by whom?

11   A     We were retained by counsel to Wilmington Trust, the

12   -- on behalf of the PHONE -- PHONES noteholders.

13   Q     Okay.   And then when did you first begin work on

14   behalf of Aurelius and the noteholders?

15   A     I believe that was in late December.

16   Q     Okay.   And can you tell me, sir, since the beginning

17   of your involvement in Tribune, how many total hours have

18   you personally devoted to the matter approximately?

19   A     I have devoted somewhere between 700 and 1,000 hours

20   personally.

21   Q     And do you have an understanding as to the total hours

22   that your team has devoted to this matter?

23   A     I believe it would be somewhere between twelve and

24   16,000 hours, in that range.

25   Q     Okay.   And what is it that you were asked to do by the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 21 of 306
                                                                                  21

 1   noteholders?

 2   Q     Well, specifically, we were asked to look at the

 3   financial condition of Tribune at the time of the LBO, both

 4   as of the close of the step one and the step two.             We were

 5   looked to -- asked to evaluate Tribune's balance sheet --

 6   solvency, whether it was left with unreasonably small assets

 7   or capital, and whether it was -- it had incurred debts

 8   beyond its ability to pay as such debts matured.             Those

 9   dates are June 4th, 2007 and December 20th, 2007.

10   Q     Okay.    And -- and, sir, can you please provide the

11   Court with a general overview of how you went about

12   performing that work?

13   A     Well, similar to other matters, we started with a very

14   detailed investigation and to the facts and circumstances

15   surrounding the leverage buyout.        We reviewed all of the

16   documents that had been produced in the matter.             It

17   literally was thousands of documents that we looked at in

18   terms of the various public filings, the documents that had

19   been produced pursuant to the -- to these proceedings.                  We

20   looked at Tribune's historic financial performance.                We

21   looked at Tribune's financial projections and how it

22   historically performed against those projections.             We looked

23   at the projections that were prepared in contemplation of

24   the leverage buyout.    We evaluated those projections for

25   reasonableness.     We looked at Tribune's capital structure,
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 22 of 306
                                                                           22

 1   pre-LBO and post-LBO.    We looked at the capital structure of

 2   the competitors in the industry, and then we ultimately

 3   performed a balance sheet test.        We also performed various

 4   tests for capital adequacy and ability to pay.

 5   Q     And does your expert report contain a chronology of

 6   the events that you analyzed?

 7   A     Yes.     Within the report there's about thirty-five

 8   pages that are devoted specifically to the contemporaneous

 9   events.   I think that it's a very important part of the

10   report because it provides the views of the contemporaneous

11   parties that were, at the time, the lenders, the rating

12   agencies, the analysts and so forth as to how they were

13   reviewing the transaction as they were going through the

14   transaction.    So it's a critical part of our report.

15   Q     And did you also address market information from that

16   time period?

17   A     Yes.     Well, first, the chronology itself has a

18   tremendous amount of market information or market insight in

19   terms of what people were thinking at the time.             We also

20   looked at the credit rating agencies and analysts.             We

21   looked at bond data.    We looked at credit default swaps.            We

22   looked at other market information at the time in terms of

23   how the market was viewing Tribune.

24   Q     Okay.    Sir, please turn to Page 5 in the

25   demonstratives, and I would like you to summarize for the
     Case 08-13141-BLS     Doc 8446-3      Filed 03/21/11   Page 23 of 306
                                                                                    23

 1   Court the opinions that -- that you reached.

 2   A        Yes.   As -- as indicated in my report, it's my opinion

 3   that Tribune's liabilities exceeded its assets at fair value

 4   or fair market value as of each of the relevant dates.

 5   Tribune failed the balance sheet test and was insolvent,

 6   balance sheet insolvent as of June 4th and December 20th,

 7   2007, respectively.

 8            It's also my opinion that Tribune was left with

 9   unreasonably small assets or capital to operate its business

10   as of each of those dates, and Tribune incurred debts beyond

11   its ability to pay as they matured as of each of those

12   dates.

13   Q        Mr. Tuliano, you should have before you a copy of your

14   expert report that's been marked as Exhibit NPP 944.                    Sir,

15   does that report contain a summary of your conclusions and

16   an explanation of -- of the bases for those conclusions?

17   A        Yes, it does.

18                   MR. QURESHI:   Your Honor, I offer that Exhibit

19   944 into evidence.

20                   THE COURT:    Is there any objection?

21                   MS. PARVER:    Yes.

22                   Good morning, Your Honor.         Jane Parver, Kaye

23   Scholer for Merrill Lynch.

24                   Your Honor, we do not object to Mr. Tuliano's

25   report coming in as a summary of his expert opinions.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 24 of 306
                                                                         24

 1   That's a Rule 26 report and we understand most Courts may

 2   admit them on that basis.

 3         But as Mr. -- as the witness just testified, his

 4   report is replete with references and quotes from numerous

 5   emails and documents of the like which are not admitted into

 6   evidence and, frankly, with respect to Merrill Lynch we

 7   don’t believe they can be admitted into evidence.

 8         Therefore, we would object to the report being offered

 9   for any other basis or admitted on any other basis other

10   than as a summary of his expert opinions.           We made that

11   request to counsel for Aurelius last night.            We pointed out

12   that we had made a similar request to the DCL plan

13   proponents in advance of their offering Professor Black's

14   report and that report was offered as a summary of his

15   expert opinions.    Counsel for Aurelius refused to modify the

16   basis on which they were offering the report and, therefore,

17   we're compelled to ask Your Honor to just make clear on the

18   record that this is not being admitted for any other purpose

19   because it would be a backdoor way of trying to get hearsay

20   documents admitted.

21              THE COURT:    Well, let me tell you how I approach

22   my consideration of written expert reports.

23              First of all, that in the written report which is

24   not supported by the testimony is of no use to me.

25              Secondly, with respect to hearsay portions of
     Case 08-13141-BLS   Doc 8446-3     Filed 03/21/11   Page 25 of 306
                                                                               25

 1   written reports -- and they all have them -- I accept them

 2   as that upon which, at least in part, the expert relied in

 3   reaching an opinion.      But I don't understand, except as it's

 4   perhaps express -- expressly addressed during testimony that

 5   things like that are admitted for the truth of the matter

 6   that's asserted.

 7                MS. PARVER:    Then thank you, Your Honor.              You've

 8   satisfied our objection and --

 9                THE COURT:    Okay.

10                MS. PARVER:    -- we appreciate it.

11                THE COURT:    Mr. Qureshi, anything to add to that?

12                MR. QURESHI:    No, Your Honor.         We never intended

13   to offer into evidence the materials he relied upon, so.

14                THE COURT:    Okay.

15                MR. QURESHI:    Thank you.

16   BY MR. QURESHI:

17   Q     Mr. Tuliano, you also have in front of you a rebuttal

18   report and that --

19                THE COURT:    I'm sorry.

20   BY MR. QURESHI:

21   Q     -- is marked as --

22                THE COURT:    So NPP 444 -- 944 is admitted.

23                MR. QURESHI:    Thank you, Your Honor.           I

24   apologize.

25         (Exhibit NPP 944 admitted in evidence.)
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 26 of 306
                                                                             26

 1   BY MR. QURESHI:

 2   Q        The rebuttal report that you have before you is marked

 3   as NPP Exhibit 955.       Mr. Tuliano, does that report contain

 4   your opinions and the bases for your opinions with respect

 5   to the expert reports submitted by Dr. Fischel and Professor

 6   Black?

 7   A        Yes.

 8   Q        Okay.

 9                    MR. QURESHI:   And, Your Honor, I would similarly

10   offer that report into evidence at this time.

11                    THE COURT:   Is there any objection?

12            (No audible response)

13                    THE COURT:   I hear none.     It's admitted without

14   objection.

15            (Exhibit NPP 955 admitted in evidence.)

16                    MR. QURESHI:   Thank you, Your Honor.

17   BY MR. QURESHI:

18   Q        Okay.    Let's now turn to your analysis here and I

19   would like to start, sir, with the work that you did

20   analyzing the company's financial projections.               So let's

21   turn to Page 6 of the report.          And, first, please explain to

22   the Court why you undertook the analysis that you did of the

23   company's projections leading into step one?

24   A        Well, the financial projections underlie the solvency

25   analysis.       It's a critical component of solvency analysis
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 27 of 306
                                                                             27

 1   and I don't believe that one can form a reliable opinion on

 2   solvency without looking at the financial projections and

 3   critically evaluating those projections for reasonableness

 4   that's consistent with all of the fraudulent conveyance

 5   cases I've done over the course of my career.              So in this

 6   case I also undertook to look at Tribune's financial

 7   projections in a very detailed way.

 8   Q       Okay.    Well, let's start with the chart on the left-

 9   hand side of the page.

10                   MR. QURESHI:   Can we just have that blown up?

11   BY MR. QURESHI:

12   Q       Please explain to the Court, sir, the relevance of

13   that.

14   A       Well, first of all, the first recognition, I think

15   that must be made in evaluating Tribune's financial

16   projections is that Tribune was dominated by its newspaper

17   publishing business.      And this chart illustrates that based

18   on 2006 operating cash flow, publishing was approximately

19   sixty-eight percent of Tribune's business.              There's a

20   footnote on this chart that talks about the fact that

21   publishing was seventy-four percent of Tribune's

22   consolidated operating revenue in 2006.

23           So, basically, the way the publishing business went

24   would be the Tribune went to a great extent and this becomes

25   important and we'll talk about this in a bit; that the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 28 of 306
                                                                             28

 1   publishing industry was in secular decline at the time of

 2   the LBO so this is a -- a critically important factor.

 3   Q     Okay.   Let's move to the chart on the right-hand side

 4   of this page where you've broken out certain newspapers of

 5   Tribune.   What are you trying to convey here, sir?

 6   A     Yes.    Well, the publishing business being the vast

 7   majority of Tribune, that publishing business was dominated

 8   by the six newspapers that you see here and it was important

 9   to us to drill down into the individual newspaper

10   businesses.   You can see the Lost Angeles Times, Chicago

11   Tribune, South Florida Sun Sentinel, Newsday, Orlando

12   Sentinel and Baltimore Sun.      So, ultimately, we were

13   comfortable that if we looked at these six newspapers we

14   were picking up more than ninety percent of Tribune's

15   publishing business which, again, was the majority of

16   Tribune's business overall.      So we wanted to look at each of

17   these newspapers.

18   Q     Okay.   Let's turn to Page 7 and the heading that you

19   have on this page is, "Newspaper publishing industry was in

20   secular decline."

21   A     Yes.

22   Q     Let's start with an explanation for the Court, please,

23   of what you mean by secular decline.

24   A     Well, a secular decline is a -- is -- secular is

25   structural in nature as opposed to a cyclical decline.             So
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 29 of 306
                                                                               29

 1   it relates to the structure of the industry at hand and it's

 2   a decline that's long-term and that's illustrated with

 3   respect to the charts that are here.

 4   Q     Okay.    Now above the charts you write:

 5                 "Any evaluation of the reasonableness of

 6                 Tribune's financial projections must be grounded

 7                 in the prospects for the newspaper publishing

 8                 industry."

 9         Why is that?

10   A     As we saw in the prior chart Tribune was dominated by

11   its newspaper publishing business.         So in terms of achieving

12   its financial projections, those projections would be

13   dominated by the newspaper publishing business and that

14   needs to recognize, ultimately, the prospects for the

15   industry.

16   Q     Okay.    Let's look at the two charts, starting with the

17   one on the left side.

18   A     Yes.    This is a -- a chart that ultimately is -- shows

19   changes in market share, 1998 versus estimated 2008.               This

20   was prepared on a contemporaneous basis prior to the LBO and

21   it shows, if you look at the far bars on the right, that

22   newspapers were losing market share over that ten-year

23   period of approximately 9.8 percent, broadcasting 4.9

24   percent, and if you look over to the far left you'll see

25   that the internet and cable TV were picking up, essentially,
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 30 of 306
                                                                             30

 1   the same amount of market share.        So this was consistent

 2   with the contemporaneous documents that newspapers was in

 3   secular decline; that newspapers and broadcasting

 4   collectively were losing market share to cable and the

 5   internet.

 6   Q     Okay.   Let's look at the chart on the right side of

 7   the page and, first of all, what is the -- the redline that

 8   you're showing through that chart?

 9   A     Well, the redline -- this chart, I believe, comes from

10   a -- it comes from a presentation at the time of the LBO and

11   it -- the redline shows year over year decline in terms of

12   newspaper circulation.     And you can see in the commentary

13   that came along with this chart that newspaper circulation

14   peaked approximately 1984.       You can see based on the blue

15   bars the gradual decline and then starting in 1990 a pretty

16   significant decline, and that redline, which is the year

17   over year variance, you can see that it significantly

18   decrease -- it significantly accelerates -- the decline

19   accelerates starting about 2002 and continuing up to the

20   time of the LBO.

21         So, again, this very clearly shows the secular decline

22   in terms of newspaper circulation, which was consistent with

23   the other documents in the -- that we've seen.

24   Q     Okay.   Let's move on to Page 8.            In here, Mr. Tuliano,

25   you've set forth a number of -- of quotes.             Can you please
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 31 of 306
                                                                          31

 1   explain to the -- to the Court what the relevance of this

 2   information is?

 3   A     These quotes are confirmatory of what we've seen just

 4   a sample of some of the quotes that we've seen with respect

 5   to the recognition by the marketplace that the newspaper

 6   publishing industry was in secular decline.            You'll see,

 7   with respect to Morgan Stanly, the -- basically, they're

 8   commenting on February of '07 as going on record as one of

 9   the worst months for the newspaper industry in recent years.

10   If you skip to the bottom of that quote it says, "It appears

11   rather clear to us that new revenue streams are simply not

12   enough to offset the secular shift of print to online."

13         You'll see with respect to the next quote on the page,

14   this is a Fitch quote:     "With no meaningful catalyst in '07

15   to reverse the operational pressure and secular uncertainty

16   facing newspaper and television."        Fitch expects the event

17   risk environment to remain heightened for bondholders.

18         The third quote talks about there's no -- absolutely

19   no question that the next ten years are going to be really

20   bad for the newspaper business.        The bottom of that quote

21   talks about the format, the business model and the

22   organization of newspapers have outlived their usefulness.

23   These quotes are all prior to the close of step one.

24         The bottom quote from Morton Groves, which was an

25   industry specific newsletter talks about the fact that:
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 32 of 306
                                                                              32

 1                   "The business environment faced by publishers and

 2                   media companies today is changed forever.

 3                   Instead of an industry cycle with advertising

 4                   recovering as the economy recovers, we have a

 5                   secular shift."

 6           So these recognize the secular decline that we're

 7   talking about.

 8   Q       Okay.    Now I'm going to digress from the book for one

 9   moment and pull up an excerpt from Professor Fischel's

10   testimony in this courtroom last week.              And if you look on

11   the screen you will -- you'll -- you will see Professor

12   Fischel's description of the state of the business.

13   A       Yes.

14   Q       Can you please tell the Court whether you agree with

15   Mr. -- with Professor Fischel's characterization?

16   A       I don't.    Professor Fischel essentially states here

17   that the market evidence -- that he does not think it could

18   be said in May of '07 that there was consensus that the

19   industry was in long-term decline and, certainly, that's not

20   what the market evidence is not -- is -- the market evidence

21   is not consistent with that proposition.             I disagree with

22   that.   I think the market evidence was overwhelmingly

23   consistent with the secular decline.

24           I also noted that Professor Black recognized the

25   secular decline that was occurring at the time.               So
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 33 of 306
                                                                        33

 1   Professor Fischel appears to be an outlier with respect to

 2   his views on this.

 3   Q       Okay.   Sir, let's now turn to Page 9 of your

 4   presentation.

 5   A       Yes.

 6   Q       In here you've got a chart that relates to

 7   management's projections in February of 2007.            Can you

 8   please explain to the Court what the information is on this

 9   page?

10   A       Well, these -- the redline represents the projections

11   that were used for the step one transaction.            These

12   projections were based upon projections that were originally

13   paired in the fall of 2006 and ultimately revised in late

14   January of '07 to reflect deteriorating January results for

15   the company and then submitted to the board, I believe, for

16   approval in very early February.

17           You'll see the green line represents the actual

18   results and then we've drawn a dotted line as to the actual

19   result for 2007.    But I wanted to focus on the green solid

20   line, and then the redline which you can see that the

21   projections themselves contained a -- a reversal of the

22   trend that the company was experiencing in terms of its --

23   of the growth or, actually, the prior decline.

24   Q       Okay.   Let's move on to Page 10 --

25   A       Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 34 of 306
                                                                        34

 1   Q     -- and on this page all of the charts are focused on

 2   the January to May time frame.       Be -- before we get into an

 3   explanation of the charts themselves, why the focus on that

 4   time period?

 5   A     Well, that was the time period that was certainly

 6   known or knowable prior to the close of the step one

 7   transaction as of June 4th, and the company had data

 8   certainly to ascertain its performance in great detail

 9   through April.    It then had flash reports from which -- that

10   were issued on a weekly basis from which it could ascertain

11   the May information to a great degree of -- of estimation;

12   that they could have ascertained this information to a

13   reasonable degree prior to the close of step one and we felt

14   it was very important to look at this information because,

15   generally speaking, financial projections need to reflect

16   the most current information that a company has.

17   Q     Okay.     Let's -- let's focus on the two charts on the

18   left side of the page.

19                 MR. QURESHI:   If we could get those enlarged,

20   please.

21   BY MR. QURESHI:

22   Q     And what is the information conveyed there, sir?

23   A     Well, this is, from my perspective, very important in

24   that starting -- I would like to start with the bottom chart

25   for a minute.    What this shows is the 2007 plan as compared
     Case 08-13141-BLS   Doc 8446-3    Filed 03/21/11   Page 35 of 306
                                                                             35

 1   to 2006 and, ultimately, when one evaluates projections one

 2   needs to ground that evaluation in the prior performance of

 3   the company.   So looking at the plan for 2007 or the 2007

 4   component of the projections as compared to 2006 was very

 5   important.

 6         And what one sees here is that that plan was what we

 7   called back-end loaded meaning that the company projected

 8   its performance or set of very low bar for its performance

 9   in the first quarter of 2007 relative to 2006.             It gradual

10   -- it increased that performance expectation somewhat for

11   the second quarter, but most importantly for the second half

12   of 2007, it expected or projected that it would exceed its

13   2006 performance.    And bearing this relationship in mind is

14   extraordinarily important when one looks at the

15   reasonableness of Tribune's financial projections because

16   one tends to look at what's in the upper chart, which is the

17   performance against plan.        But one needs to recognize how

18   high or how low that bar had been set in terms of evaluating

19   how the projections on an ongoing basis would -- whether

20   those would be achievable or reasonable or not.

21         And what you see in the box on the upper chart, this

22   is 2007 actual versus plan.       You can see that Tribune as

23   compared to the plan came within 3.4 percent in January.

24   That's consistent with what one would expect given that the

25   projections were prepared in late January to the close of
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 36 of 306
                                                                        36

 1   February.    So most of the January results were already in at

 2   that point in time.

 3         You can see February and March was also -- 7.6

 4   percent.    It's a significant miss, but the fact of the

 5   matter is you can see the arrow pointing down that that bar

 6   was set very low.    So it's not surprising.

 7         As that bar is raised relative to '06, you see the

 8   April and May miss becomes very significant, and this is the

 9   backdrop from which we now look at the latter seven months

10   of the year where Tribune would have needed to not only

11   exceed 2006 as embedded in its financial projections, but

12   recoup the prior deficiencies if it was to have a chance at

13   achieving its 2007 plan.

14   Q     Okay.    Let's look at the monthly data on the right

15   side of this page.

16                 MR. QURESHI:   If we can get that chart blown up.

17   BY MR. QURESHI:

18   Q     And please explain, sir, what the information is in

19   that chart.

20   A     Yes.    This chart looks at 2007 actual performance for

21   Tribune -- and we're talking specifically about publishing

22   -- as it relates to 2006, and what you see here is a clearer

23   picture of the performance which shows you that January and

24   February were -- were terrible months in terms of relative

25   year over year performance.      Again, the reason why we see it
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 37 of 306
                                                                         37

 1   as opposed to plan is they had just set that plan bar very

 2   low related to 2006.

 3         March you see that it was not as bad, but that mainly

 4   relates to the fact that March of '06 happened to be a poor

 5   month where they expensed some very significant items, I

 6   believe, related to stock-based compensation and otherwise.

 7   So the fact of the matter is that that March month, I think,

 8   is a bit of an aberration.       And then you see April and May

 9   significant misses as well.

10         This is the chart, I think, one needs to keep in mind

11   when looking at the latter half of the projections because,

12   again, that latter half required the company to exceed 2006

13   for the rest of the year.

14   Q     Okay.   Let's turn to Page 11 and here you've come back

15   to the six newspapers that we -- we saw at the outset.

16   A     Yes.

17   Q     Please describe what you're showing on this page, sir.

18   A     Well, if we look at the box at the -- in the lower

19   left what you'll see is both the publishing segment and the

20   selected newspapers, and these are very close because, as I

21   mentioned, the selected newspapers is about ninety-one

22   percent of the publishing segment overall.            The red bar

23   shows the variance from plan, but, again, I think most

24   importantly you need to look at the variance from '06

25   actual, keeping in mind that the plan for the remainder of
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 38 of 306
                                                                         38

 1   the year required the company to exceed 2006 and you'll see

 2   that for the selected newspapers.         Through May the company

 3   was 23.6 percent below 2006 and one needs to keep that in

 4   mind in evaluating whether it could exceed 2006 for the rest

 5   of the year.

 6   Q        Okay.   Let's -- let's look at the box on the right

 7   side of this page and you -- you've circled the 44.5 percent

 8   number in the --

 9   A        Yes.

10   Q        -- bottom right-hand corner.       What is the significance

11   of that number, please?

12   A        Well, we looked at this on a weekly run rate basis.

13   One factor was because of the way the weekends fell, 2006

14   had fifty-three weeks as opposed to fifty-two weeks for

15   Tribune.    So we wanted to look at this on a weekly run rate

16   basis.    And if I can focus on the bottom line here with

17   respect to this, Tribune, for the selected newspapers as a

18   whole, was running on a weekly basis on average 12.5 million

19   a week, and what we calculated is recognizing that year to

20   date deficiency what would Tribune need to do for each and

21   every week for June through December to achieve its plan and

22   you can see that it would have needed to perform at eighteen

23   million a week.     That's a forty-four-and-a-half percent

24   increase.

25            Given that the industry was in secular decline, given
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 39 of 306
                                                                           39

 1   that the business was deteriorating, there was absolutely no

 2   basis whatsoever to support that magnitude of an increase.

 3   If you look at the prior year as an example, we don't have a

 4   seasonality effect here.     In fact, the prior year the weekly

 5   run rate actually went down by 1.7 percent.            And even the

 6   plan itself only called for a fifteen percent increase and

 7   that's the back-end loading that we were talking about a

 8   little bit earlier.

 9   Q     Okay.    Sir, are you aware of whether the company

10   updated its February 2007 projections prior to the closing

11   of step one?

12   A     We see -- I believe that there were some internal

13   discussions about updating the projections.            I have not seen

14   a set of updated projections, but we certainly see a

15   discussion, but we also see some references to concern with

16   respect to prior disclosures in the marketplace with respect

17   to its prior numbers.    But there certainly was a debate

18   within the company as to whether these numbers should be

19   revised.

20   Q     Okay.    And -- and the company's decision not to issue

21   a new set of projections prior to step one, have you come to

22   form an opinion -- an opinion as to the reasonableness of

23   that decision?

24   A     I have.    I believe that the projections themselves

25   were unreasonable and I believe the company had a
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 40 of 306
                                                                              40

 1   responsibility and an obligation to update its projections

 2   given this information and given the severity of this

 3   information, and the company failed to do so.

 4   Q        Okay.   Let's -- let's turn now to Page 12 and, again,

 5   here you've got a lot of information set forth on the -- on

 6   the six largest papers.

 7   A        Yes.

 8   Q        To move through this a little more quickly what I

 9   would like to do is just focus on the -- the L.A. Times

10   information for the -- in the top left corner.             So please

11   describe what the relevance of this is.

12   A        Well, this is a similar analysis, but we drilled down

13   to each individual newspaper and this is weekly run rate

14   again.    And what you can see for 2007 actual in the left

15   column that the L.A. Times was running at approximately $3.4

16   million per week for the weeks January through May.                 I think

17   that's approximately twenty-two weeks.             For the remaining

18   thirty weeks of the year, it would have had to run at 5.3

19   million for each and every week.         That's a fifty-seven

20   percent increase, again, no basis whatsoever to support an

21   increase of that magnitude.       And those numbers get larger if

22   you look at newspapers on this chart such as the Florida

23   newspapers, which are in the neighborhood of sixty-three

24   percent to seventy-four percent increase.            The numbers are

25   quite staggering.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 41 of 306
                                                                              41

 1   Q        And -- and do you believe that those are reasonable

 2   assumptions for the company to make in terms of the ability

 3   of these papers to make up those deficits?

 4   A        Absolutely not.    In my view, given everything that

 5   I've seen, that -- that would have been a virtual

 6   impossibility.      You were looking at the Mount Everest climb,

 7   if you will, in terms of being able to -- to achieve the

 8   2007 plan as we approached step one, which is the end of May

 9   and get into the early June.

10   Q        Okay.    Let's turn to Page 13, please.         And here,

11   again, we're still focused on the six papers.              Please talk

12   about just the L.A. Times as a representative example.

13   Q        Well, this is another way of looking at the same

14   issue.    Rather than a weekly run rate basis, what you see is

15   that the L.A. Times -- and, again, the back-end loading of

16   the plan comes into play here -- was only -- was 3.6 behind

17   -- percent behind its plan which is the yellow bar.

18            However, it was nineteen percent behind '06 and given

19   that the plan called for it to exceed '06 for the latter

20   half of the year it would have had to exceed 2006

21   performance by 4.4 percent for the rest of the year.                 Given

22   that it was fallen nineteen percent for the first five

23   months of the year there was nothing in the record -- in the

24   -- in the evidence to support an assertion of that

25   magnitude.       So this is another look at the same issue.
     Case 08-13141-BLS   Doc 8446-3    Filed 03/21/11   Page 42 of 306
                                                                         42

 1         And if you look at the shaded bar, that was their

 2   actual performance, which I put just for reference purposes

 3   because one doesn’t need that to ascertain the

 4   unreasonableness of this.        And you can see for the other

 5   newspapers the numbers become much, much larger than this.

 6   And for Tribune to hit that plan, it would have not only had

 7   to do that for the L.A. Times, it would have had to do that

 8   for the Orlando Sentinel, for the Baltimore Sun, for the --

 9   for the South Florida Sun Sentinel, the Chicago Tribune, and

10   so forth.

11   Q     Okay.   Sir, I gather you've read the examiner's

12   report, correct?

13   A     Yes.

14   Q     Okay.   And does the examiner undertake a newspaper by

15   newspaper analysis of this sort leading up to step one?

16   A     I don't believe that he does.          I did not see that

17   anywhere in his report.     I think -- I haven't seen anybody

18   take this kind of analysis or this kind of a deep dive into

19   the financial performance, and I think the relationship of

20   the plan to 2006 has been missed with respect to the

21   analytics that have been put forward and one really needs to

22   ground this evaluation in the way that plan was put

23   together, how it relates to 2006 to evaluate the

24   reasonableness of the projections.

25   Q     Okay.   Let's move on now, sir, to an email that I
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 43 of 306
                                                                            43

 1   would like to show you.        I think this is one of the ones

 2   that you referenced.

 3                   MR. QURESHI:   If we can get that pulled up on the

 4   screen.   It is Exhibit NPP 397 and, Your Honor, it's -- it's

 5   also in the binder at Tab 1.

 6   BY MR. QURESHI:

 7   Q       And this is an email from Peter Knapp, the controller

 8   of the publishing group to, among others, Chandler Bigelow,

 9   the treasurer.      It's dated April 30th.          And I would just

10   like you, sir, to please just read into the record the --

11   the two middle paragraphs of that email.

12   A       Yes.

13   "You guys need to help get with Don and Crane to figure out

14   whether or not we are doing an updated projection next week,

15   knowing that if we do, we may end up with some consistency

16   issues to the recent document disclosures.

17   "Having insisted that we HAVE TO, and I told them that I

18   thought the sixth floor was thinking we weren't and he

19   should get Don to -- he should get to Don and figure it

20   out."

21   Q       And do you have an understanding of who the Don and

22   the Crane are referred to in this email?

23   A       I believe the general counsel and one of the financial

24   officers --

25   Q       Okay.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 44 of 306
                                                                           44

 1   A     -- I believe.

 2   Q     And -- and, sir, is this -- was this email of any

 3   significance to you in your analysis?

 4   A     Yes.      And -- and it was consistent with others that

 5   we have seen that the company was revisiting its numbers.

 6   It was recognizing the severity of its financial

 7   performance.    We've also seen, as an example, an email from

 8   the lenders around this time period that the lenders were

 9   looking at the company's performance against its projections

10   and were very surprised to see how it was actually doing

11   against 2006.    And, again, that reveals that one really

12   needs to look at that comparison to 2006 to understand the

13   severity of the financial performance of Tribune at this

14   point in time.

15   Q     Okay.     Let's turn to Page 14, please.         And here you

16   get into the issue of 2007 operating cash flow.             Please

17   describe what the chart is on this page.

18   A     Yes.     Well, this is a -- on the far left, this is the

19   1265 is 1.2 million.    That's the number, essentially, that

20   was embedded within the February 2000 management projections

21   for 2007.    What we have done is we have simply recognized

22   the very significant deficiency that the company had coming

23   up through May, and then based upon that had projected

24   forward cumulative -- based on the cumulative growth rates

25   that were embedded in the original plan and came up with the
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 45 of 306
                                                                           45

 1   1166, which we round to 1170 in our analysis, what we call

 2   the step one adjusted projections.

 3            This is the type of analysis that could have been done

 4   very easily by the company.       It's a very reasonable analysis

 5   which would reset that bar for 2007, which I would like to

 6   mention was extraordinarily important because 2007 was the

 7   launching point for the remainder of the projections.

 8   Q        Okay.   Let's turn to Page 15, please, and you've got a

 9   number of bars on this chart.        Can you please explain to the

10   Court what you're conveying here?

11   A        Well, if you -- you'll see the green and the red bar

12   from the prior chart.     The green bar is actual.           The red bar

13   is the February projections.        What we have done is the 1170

14   on the start of the blue bar, that's our step two adjusted

15   projections.     We've adjusted it for that year to date

16   performance through May and then we've simply assumed

17   management's growth rates that were embedded in the prior

18   plan, giving them the benefit of the doubt with respect to

19   those growth rates and that's why it follows a similar

20   slope.    And those are the step one adjusted projections that

21   we used in our analysis.

22            I've also shown Professor Fischel's adjusted average

23   third party base case projections.          We plotted that and it

24   falls very close to the blue line that we have in terms of

25   the step one adjusted projections, which I think that
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 46 of 306
                                                                                46

 1   basically shows the average third party base case

 2   projections were very close to what we came up with.

 3   Q        Okay.   Sir, now I would like to --

 4   A        If I could just mention one other thing --

 5   Q        Sure.

 6   A        -- on this.    The 1140 is the July 25th projection and

 7   that was the date that management itself finally recognized

 8   that its 2007 plan was unreasonable.            And at that point it

 9   still failed to revise the rest of its projections, but it

10   certainly notified the marketplace or notified its lenders

11   that this was the revised number for 2007.               It, in my view,

12   had sufficient information to revise its numbers to this

13   1170 as of the end of May and should have done so.                At the

14   same time this -- shortly thereafter the proxy came out in

15   July and that had the prior numbers as well.

16            So what -- what management did in July, it should have

17   done as of the end of May, in my view.

18   Q        Okay.   Sir, I would now like to show you an excerpt

19   from the unofficial final trial transcript of the testimony

20   of Mr. Hartenstein, the CEO and publisher of the L.A. Times,

21   and one of Tribune's co-presidents.            And if I could just,

22   sir, as you to read into the record his testimony, just from

23   Line 6 to Line 18 on this page.

24   A        Yes.

25   "Okay.    And, in fact, if we look at Page 300 I believe you
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 47 of 306
                                                                          47

 1   looked at that page with Mr. Bendernagel briefly.

 2   "Yes.

 3   "That shows the performance for the first three weeks of

 4   January?

 5   "Yes.

 6   "So you wanted to take into account, again, the most

 7   relevant information available to you?

 8   "Yes.

 9   "That is -- that is the responsible way to forecast, is it

10   not?

11   "Yes.

12   "Those results were tempered" --

13   Q       You can stop there.

14   A       Oh, okay.

15   Q       And, Mr. Tuliano, do you agree with Mr. Hartenstein

16   that that is the responsible way to forecast?

17   A       Absolutely.

18   Q       Okay.   And what did you conclude with respect to the

19   step one projections?

20   A       Well, the step one projections were four months old as

21   of step one.    The company's performance had continued to

22   deteriorate.    The company was consistently perform --

23   underperforming 2006.      The projections themselves recognized

24   an improvement relative to 2006 for the rest of the year.

25   In addition, it would have -- those projections would have
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 48 of 306
                                                                              48

 1   required the company to recoup the prior deficiencies.             In

 2   my view, those -- the step one financial projections were

 3   unreasonable as of that time.

 4   Q      Okay.    Now let's turn to the next page and talk about

 5   step two.     Did you undertake a similar analysis with respect

 6   to the company's projections heading into step two of this

 7   analysis?

 8   A      Yes.

 9   Q      And what did you conclude, sir, with respect to step

10   two?

11   A      Similarly, I concluded that the October 2007

12   management projections were unreasonable.           What we see and

13   what you can see on this chart if you look at the far left

14   is that, again, you can see the green and the red line, the

15   red being the February projections.         There was a compound

16   annual growth rate of one percent embedded in those February

17   projections.

18          As I mentioned in July, the company came out and

19   revised its 2000 -- the February 2007 component and then

20   ultimately in October revised the entire projections.              But

21   that revision contained a compound annual growth rate of 3.1

22   percent and there was no basis for that increase in the

23   growth rate.    It is typical of the back-end loading pattern

24   that we see with respect to the company and I believe this

25   is at least one of the considerations that the examiner had
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 49 of 306
                                                                            49

 1   with respect to his -- his view of somewhat likely finding

 2   of intentional fraud -- of fraud as of step two.

 3   Q       Let's look at the chart on the right side of this

 4   page.

 5   A       Yes.

 6   Q       And -- and explain the lines on this chart, please,

 7   sir.

 8   A       Well, similar to step one what we did was we looked at

 9   the actual results through November, which would have been

10   known and knowable as of step two.         We then just took the

11   December growth rate and came up with a revised number for

12   2007 based upon that, and then we used the February 2007

13   growth projections, that one percent compound annual growth

14   rate.   So you can see our bar which is the adjusted step two

15   projections, the green bar there, is the same slope as the

16   red bar.   It's just adjusted for the performance.            That's

17   what we used as of step two.

18           In addition, we overlaid Professor Fischel's average

19   third party base case projections.         That's the purple bar.

20   It's almost identical to the bar that we used which shows

21   that -- the bar we used was very close to what the average

22   third parties were -- were saying for a base case.

23   Q       Okay.   Let's now move to the balance sheet test that

24   you performed and over onto Page 17 of the demonstratives

25   you provide an overview.     Can you please describe to the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 50 of 306
                                                                           50

 1   Court how you went about conducting your balance sheet

 2   solvency test at step one and step two?

 3   A     Yes.     The -- we performed a valuation of Tribune.

 4   This is very typical as to how we do valuation for solvency

 5   analyses.    On a fair market value standard of value, we

 6   valued Tribune as a going concern as a diversified media

 7   business.    We used the income approach and the market

 8   approach, and we used our step one adjusted projections and

 9   the step two adjusted projections and then we also performed

10   a valuation under the February '07 management projections,

11   the October 2007 management projections.           That was done at

12   the request of counsel as well as the examiner base case

13   projections.

14   Q     And, sir, in the approximately one-hundred fraudulent

15   conveyance cases that you've testified you have been

16   involved with, do you always state a standard of value when

17   conducting a solvency analysis?

18   A     With respect to the fraudulent conveyance matters,

19   fair market value is what's used and that is -- that is

20   consistent as well as fair value.        In some cases one might

21   use liquidation value as an example, which is an appropriate

22   standard of value for fraudulent conveyance cases for

23   companies that are very close to their -- on their death

24   bed, if you will.    So I've seen liquidation value.           I've

25   seen fair market value and fair value, and fair value is
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 51 of 306
                                                                             51

 1   generally assumed to be equal to fair market value.

 2   Q        Okay.   Well, let's turn to Page 18, and you've got on

 3   that page a definition of fair market value.             But -- but

 4   first explain to the Court, please, what does the standard

 5   of value -- why does that matter?

 6   A        Well, the standard of value basically is a

 7   definitional term that notifies whoever you're issuing the

 8   valuation to how you are valuing the business.             It's a set

 9   of rules if you will.

10            Fair market value is -- is -- I'm not an attorney, but

11   I certainly have seen a tremendous amount of case law with

12   respect to these types of cases, and fair market value has

13   consistently been used in the -- in the various case law and

14   otherwise that -- that I have seen and it's consistent with

15   -- with how we've -- I have always looked at these types of

16   cases.

17   Q        Okay.   Well, when performing a going concern solvency

18   analysis as distinct from a liquidation scenario --

19   A        Yes.

20   Q        -- over the course of your career have you ever used a

21   standard of value other than fair market value?

22   A        I don’t believe I have.

23   Q        And have you ever seen any other experts in that same

24   context, a going concern solvency opinion, ever use a

25   standard of value other than the fair market value scenario?
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 52 of 306
                                                                                52

 1   A        Well, I think as I mentioned I have seen other experts

 2   use liquidation value for a going concern and I've

 3   criticized them for that --

 4   Q        Right.

 5   A        -- because a going concern should not be based on a

 6   liquidation basis.      It should be valued on a going concern

 7   basis.    But that -- those are the standards of value that

 8   I've seen.

 9   Q        Okay.    Now on this page, sir, you also have some

10   information with respect to the ESOP S-Corp consideration.

11   Can you --

12   A        Yes.

13   Q        -- describe that issue for the Court, please?

14   A        Well, this is an issue that -- that is central to

15   these proceedings certainly.         But from a valuation

16   perspective, the literature tells us that no increase in

17   value is appropriate in the appraisal of S-Corp ESOPs only

18   as a result of the change in the tax status.              It's not

19   appropriate to add the present value of the tax benefits.

20   The appropriate standard of value and definition of fair

21   market value requires an appraisal incorporated in the

22   concept of any willing buyer and any willing seller.                 The

23   presumption of an S-Corp buyer violates the fair market

24   value standard because another S-Corp is a specific buyer.

25   It follows, then, the S-Corp is appropriately valued as if
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 53 of 306
                                                                         53

 1   it was a C-Corp.

 2          So the -- what this is basically saying is under fair

 3   market value we're looking at any willing buyer and any

 4   willing seller.     It would not be appropriate to take into

 5   account the S-Corp ESOP savings.        If one were to do that,

 6   one would be deriving what's known as investment value which

 7   gives one -- it's another standard of value and it gives one

 8   a specific value of elements that are valuable to a specific

 9   buyer, but not any willing buyer.

10   Q      Now you read Professor Fischel's testimony, did you

11   not?

12   A      Yes.

13   Q      Okay.    And -- and so you're aware that he testified,

14   in essence, that these savings generate real dollars that

15   could be available to pay creditors, so they should be taken

16   into account.    Do you agree with that?

17   A      They -- I -- I believe they should be taken into

18   account in the capital adequacy and ability to pay, and I do

19   take them into account under those two tests.            And that is a

20   different test.     We're looking at the specific company, not

21   in a sale on a fair market value basis, but we were looking

22   at the operation of the company and whether the company can

23   operate as it is, whether it will have sufficient cash flows

24   to pay its debts, whether it's adequately capitalized.

25          With respect to the balance sheet test, we are
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 54 of 306
                                                                             54

 1   performing a fair market valuation, it's value in exchange,

 2   as I described in my report, rather than in place, and that

 3   valuation is a fair market value valuation so it would not

 4   be appropriate to take into account in that test.

 5   Q     Let's turn to Page 19 where you summarize --

 6   A     That -- that view, by the way, is also consistent with

 7   what I see as how the examiner looked at this issue.

 8   Q     Right.   On Page 19, sir, you summarize your balance

 9   sheet test for step one.

10   A     Yes.

11   Q     Can you please walk the Court through your conclusion?

12   A     Yes.   We -- essentially, what this shows is that the

13   results of our income approach and market approach.                We

14   weighted -- I weighted the income approach two-thirds, the

15   market approach one-third, and ultimately came up with a --

16   the value in my view 10. -- or $11 billion as you see here

17   rounded, and that Tribune's liabilities exceeded its assets

18   at fair market value by three billion as of the close of

19   step one.

20   Q     And the debt number that you used in this analysis

21   includes the step two debt as well, correct?

22   A     That's correct.

23   Q     And -- and please explain to the Court why you decided

24   to include the step two debt in your step one solvency

25   analysis.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 55 of 306
                                                                               55

 1   A     Well, in my view the debt that this was a single

 2   transaction.   It was to be accomplished in two steps.              The

 3   parties certainly intended this as a single transaction.

 4   That's how it's described in the various documents.                The two

 5   steps were necessitated essentially by regulatory approvals,

 6   combined with the desire to get cash to shareholders as

 7   quickly as possible.

 8         So I looked at this as a unitary transaction as -- if

 9   you will with respect to my balance sheet test with respect

10   to capital adequacy and ability to pay which we'll talk

11   about later.   I viewed the transaction or the step two debt

12   to the extent it was reasonably foreseeable as of step one,

13   so it was not under the assumption of a unitary transaction,

14   but it did consider step two debt to the extent it was

15   reasonably foreseeable as of step one and that's for capital

16   adequacy and ability to pay.

17   Q     Okay.    And here you show a weighting of the two --

18   A     Yes.

19   Q     -- methodologies, the DCF and the guideline company

20   method.

21   A     Correct.

22   Q     Please explain how you arrived at that -- the

23   particular weighting that you use.

24   A     Well, it's -- it's based on my professional judgment

25   and a recognition that the market approach here, we are very
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 56 of 306
                                                                              56

 1   likely dealing with inflated multiples, and the reason for

 2   that and the examiner talks about this at some length and,

 3   in fact, rejects the market approach in its entirety based

 4   upon this and other issues.        But we are looking -- the

 5   market approach is based on competitor companies or

 6   basically comparable companies.          Those comparable companies

 7   have equity investments that we don't -- do not have market

 8   valuations for those equity investments.               So the only way

 9   that we can come up with a multiple is to back out those

10   equity investments based upon the book value of those equity

11   investments.

12            So the extent that those equity investments for our

13   comparable companies the market value exceeds the book

14   value, then what you're going to have is that market value

15   of the equity investments being embedded in the multiple

16   that we derived.      So that would tend to inflate the

17   multiples.       I recognize that.    I still feel the market

18   approach deserves some weighting, but I weighed it one-

19   third.    The examiner has an extensive footnote on this and I

20   discussed this at length in my report as well.

21   Q        Okay.    Now, sir, you reach here a conclusion of the

22   fair market value of $10.987 billion.               First of all, why did

23   you come to a conclusion and why did you not express it as a

24   range?

25   A        Well, one could express this as a range.            One can also
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 57 of 306
                                                                                 57

 1   express an estimate of value, which is what this is.                For my

 2   -- for purposes of this, I felt that it was certainly

 3   appropriate to express it as an estimate of value.              I think

 4   it has a finer level of precision and gives us a more

 5   precise result.

 6   Q     Okay.    Let's turn the page now to Page 20 where you

 7   set forth a breakdown of the debt numbers used in your

 8   solvency analysis and --

 9   A     Yes.

10   Q     -- and I would like you to focus in particular on the

11   PHONES' notes.    At both step one and step two you use the

12   PHONES' debt of $1.256 billion.        Why?

13   A     That was the face value of the PHONES' notes.                 In my

14   experience one uses face value of debt in solvency analyses

15   when one is looking at the liability side in comparing the

16   asset value to the liabilities.        That's the amount that's

17   equal to the amount that the company received in terms of

18   proceeds.    That's the amount the company owed as of our

19   solvency dates on these instruments.          There was a Time

20   Warner stock component to the PHONES.             We have accounted for

21   that separately in our equity valuation analysis as

22   approximately 330 million.       That is in our equity valuation,

23   so we have accounted for that.       But in terms of the

24   liability side, this is the amount that was owed and that's

25   certainly consistent with every fraudulent conveyance case
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 58 of 306
                                                                           58

 1   that I can recall that you use the face value.

 2   Q     Okay.   Now are -- are you aware of how Professor

 3   Fischel treats the PHONES' notes?

 4   A     Yes.

 5   Q     And what does he do?

 6   A     He uses the book value or the accounting value from

 7   the financial statements.

 8   Q     And I gather, sir, you disagree with that approach?

 9   A     Yes, I do.

10   Q     Can you explain why?

11   A     Well, the book value or accounting value is not the

12   amount that the company owes.       It's not the amount that the

13   company itself used in terms of describing this obligation.

14   It's inconsistent with the face value.            It does not

15   represent, really, any representation as to how ultimately

16   the company could settle that liability.           It's -- it’s not

17   appropriate in my view for solvency purposes.

18   Q     Now you -- you read in Professor Fischel's testimony a

19   reference to the PHONES' notes having an interest rate that

20   was below market at that time.

21   A     Yes.

22   Q     Does that factor have any relevance to you in terms of

23   how the PHONES' notes should be treated?

24   A     It -- it really does not.        It's -- the PHONES

25   certainly had a deep discount and certainly had various tax
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 59 of 306
                                                                             59

 1   benefits associated with them.       But various debt instruments

 2   have various coupon rates and depending on the fluctuation

 3   of interest rates in the overall market place are going to

 4   have varying market values, if you will, as the -- as

 5   interest rates fluctuate over time.

 6         In my experience one does not use market values.              I

 7   think this was looked at as an example in the TWA case, and

 8   the fact of the matter is that face value is ultimately

 9   what's used and that's consistent with my experience.              So

10   even though it was a deep -- that the coupon was a low

11   coupon, I don't see how that bears on whether one would use

12   face value or not.

13   Q     Okay.   Over the course of -- of your career and the

14   hundred or so fraudulent conveyance matters you've been

15   involved in, have you ever yourself used or seen others use

16   the market value of debt rather than the face value?

17   A     In terms of the liabilities, no, not that I recall.

18   Q     And are you aware, sir, of how the examiner treated

19   the PHONES' notes?

20   A     Yes.    I believe the examiner used the accounting value

21   as well, although there's not an explanation in the report

22   as to why he chose to do so.       So I'm -- I'm a little puzzled

23   by that.

24   Q     I gather you also, then, disagree with that?

25   A     Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 60 of 306
                                                                             60

 1   Q     Okay.    Let's turn to Slide 21 and talk about your DCF

 2   analysis.

 3   A     Yes.

 4   Q     Can you please just walk the Court through how you

 5   conducted this analysis?

 6   A     Yes.     Well, as presented in detail in my report, along

 7   with the various assumptions, this is a discounted cash flow

 8   analysis.    You can see in the upper right we've used the

 9   step one adjusted projections.       We also have a similar

10   analysis presented using management's projections as I

11   mentioned earlier as of step one.        This starts with EBITDA.

12   It then runs through the various calculations.             You can see,

13   basically, the discount rate or the weighted average cost of

14   capital that we used of nine percent.             We'll talk about that

15   in a minute.    We used a Gordon growth model.           We wanted to

16   keep this a pure income approach, so we did not use an exit

17   multiple if you will, which, in fact, turns an income

18   approach into a market approach to a certain extent, and

19   we'll talk about that.     We used a Gordon growth model and a

20   growth rate assumption.     And you can see at the bottom the

21   ultimate value conclusion, at least for the DCF portion, the

22   discounted cash flow portion of ten billion.

23   Q     Okay.    Let's talk a little bit about the WACC, and

24   that's set forth on Page 22.

25   A     Yes.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 61 of 306
                                                                                61

 1   Q        And I would like you to first give the Court a general

 2   overview of how you arrived at your weighted average cost of

 3   capital.

 4   A        Yes.    Well, the formula is presented at the very top.

 5   We were looking at the cost of debt and the cost of equity.

 6   The cost of debt is looking at the after cost of debt based

 7   on the -- essentially, the industry that we are looking at

 8   here.    The cost of equity is using the capital asset pricing

 9   model.    We use a risk free rate of 5.1 percent.              We use an

10   equity risk premium of 6.3 percent which, in fact, I think

11   is lower than the equity risk premium that Professor Fischel

12   used, although he ended up with a -- significant -- a

13   significantly lower WACC because he used Tribune specific

14   capital structure and we can -- we can talk -- which I think

15   was a mistake and we can talk --

16   Q        Yeah.   Well --

17   A        -- about that.

18   Q        -- let's -- let's focus on that for a minute.                So you

19   use an industry average capital structure.

20   A        Correct.

21   Q        Why do you do that?

22   A        Well, one, it's the correct way to do it.             It is

23   looking on a fair market value basis.               You are looking at

24   how a buyer would ultimately structure the capital of the

25   business and what valuation theory tells us is that will be
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11    Page 62 of 306
                                                                               62

 1   an optimal capital structure or tend to an optimal in a

 2   sustainable capital structure and the base -- best estimate

 3   we have of that is the industry capital structure by looking

 4   at the comparable companies, and that's a seventy percent

 5   equity, thirty percent debt capital structure and this is

 6   the appropriate way to do it under a fair market value

 7   standard.

 8   Q       Okay.     Let's turn to Slide 23.          In here you set forth

 9   a little more detail on the long-term growth rates.                  Please

10   explain the relevance of these growth rates to your DCF

11   conclusion.

12   A       Well, it -- the calculation of the terminal value is

13   very important.     It is a significant portion of the

14   valuation.      We, using the Gordon growth model, picked a

15   discount -- long-term growth rate of 1.25 percent.               If you

16   remember we discussed the long-term growth rate of one

17   percent that was in the original management projections.                 We

18   also looked at -- and you can see the time periods a little

19   bit different here.     This goes '06 to '11, so at the very

20   top you can see it's 1.21 percent if you look at that

21   period.

22           The examiner didn’t perform a valuation as of step

23   one, so we don't have his growth rate.             We do have Duff and

24   Phelps who advised the ESOP of .75 that Duff and Phelps

25   used.   JP Morgan in its documents used a zero to one percent
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 63 of 306
                                                                             63

 1   long-term growth rate.     Morgan Stanley is the advisor to the

 2   special committee, used a negative 1.1 to 1.2 percent.             So

 3   based upon my judgment I felt very comfortable with a 1.25

 4   percent.

 5   Q     Okay.    Let's turn to Page 24, please.          This is your

 6   guideline public company method at step one.

 7   A     Yes.

 8   Q     Describe for the Court how you went about this

 9   analysis and focus, if you could, please, on your selected

10   multiple range.

11   A     Yes.    Well, first we needed to pick comparable

12   companies and importantly here we picked diversified media

13   companies.    Professor Fischel, and we'll talk about this,

14   picks pure play broadcasters.       That significantly inflates

15   his multiples.    Tribune was a diversified media, in fact,

16   dominated by publishing and we talked about that.             So we

17   have five comparable companies that participated in those

18   industries.

19         Based upon that, we picked the median multiple.              Given

20   Tribune had underperformed most of these companies at

21   various -- various times, there was certainly a argument to

22   use the first quartile, but we did pick the median multiple

23   with respect to this.

24         And, again, one needs to recognize the issue I talked

25   about earlier, that these multiples are likely inflated
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 64 of 306
                                                                            64

 1   because these companies had these equity investments that we

 2   had to, essentially, back out at book value.            The examiner

 3   has a footnote on this and -- and it's also described in my

 4   report.   But this is the resulting value conclusion.

 5   Q     Okay.   If you look toward the bottom of the page

 6   there's a line item that says, "Plus equity investments."

 7   A     Yes.

 8   Q     You talked earlier about the Time Warner stock

 9   component of the PHONES' notes.

10   A     Yes.

11   Q     Is -- does that relate to the PHONES, that line item?

12   A     Yes.    It's -- Time Warner stock is one of the

13   investments that we valued.      We also performed separate

14   valuations where we had sufficient information to do so for

15   the other investments or we took estimates that were used by

16   other advisors on a contemporaneous basis or other

17   information that was relevant to this.

18   Q     Okay.   And so what was your conclusion with respect to

19   the guideline public company method at step one?

20   A     Well, the value indication was 12.8 billion that you

21   see here, and then based upon the weighting that I discussed

22   earlier, we came up with our overall value conclusion.

23   Q     Okay.   Let's now move to step two.

24   A     Yes.

25   Q     Did you apply similar methodologies at step two, sir?
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 65 of 306
                                                                             65

 1   A        Yes, I did.

 2   Q        And Slide 25, please walk the Court through the

 3   conclusions that you reached.

 4   A        Well, this is using the step two adjusted projections

 5   that we talked about earlier and based upon that and the

 6   similar weighting, we came to a valuation conclusion of 10.4

 7   billion, which is approximately 600 million less than our

 8   step one valuation.       We subtracted the debt and we end up

 9   with an insolvency of 3.3 billion.            It's my view that

10   Tribune fails the balance sheet test and -- and this is in

11   support of my opinion.

12   Q        And on Page 26, if we can move there, you made some

13   changes, it appears, to the long-term growth rate.                Describe

14   what was going on at step two with respect to these growth

15   rates.

16   A        Well, we -- I would like to say we did re-compute a

17   WACC as of the relevant date taking into account

18   considerations as of step two.          It turned out that the WACC

19   was the same due to various offsetting factors, but we did

20   recalculate our weighted average cost of capital.

21            And then with respect to the growth rate, we selected

22   a one percent growth rate and you can see we've added -- the

23   examiner used 1.04 percent.         Duff and Phelps used .5 to 1.5

24   for this time period.       JP Morgan, similarly zero to one

25   percent.    So we were very comfortable -- I was very
     Case 08-13141-BLS   Doc 8446-3    Filed 03/21/11   Page 66 of 306
                                                                          66

 1   comfortable with the selection of the growth rate and this

 2   is all described in my report.

 3   Q     Okay.    Over onto Page 27, please, and did you also

 4   conduct a balance sheet test at step one using management

 5   projections?

 6   A     Yes.     And as I mentioned, it's -- it's my view that

 7   management projections were unreasonable, but at the request

 8   of counsel I did perform this analysis to see how this would

 9   -- would come out and, ultimately, we have an insolvency of

10   2.3 billion at step one and 2.9 billion as of step two using

11   -- even if one uses the management projections.

12   Q     And in arriving at those conclusions were any other

13   adjustments made to your methodology?

14   A     I don’t believe so.        This is using the same

15   methodology, but using the management projections is what I

16   recall.

17   Q     Okay.    Onto Page 28, please.        And here you show a

18   balance sheet analysis of the subsidiaries.             Can you please

19   describe for the Court the analysis that you undertook and

20   the conclusions that you reached?

21   A     Yes.     Starting with our valuation conclusion for

22   Tribune on a consolidated basis, we simply deducted the fair

23   market value of the Tribune consolidated only or the Tribune

24   entity assets that could be identified at the parent company

25   level and, similarly, we backed out the debt that was --
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 67 of 306
                                                                          67

 1   such as the PHONES that was specific to Tribune at the

 2   parent company level to come up with a measurement of

 3   solvency or insolvency with respect to the subsidiary level.

 4   And as it says -- shows here as of June 4th, that analysis

 5   shows insolvency of 949 million as of step one and 848

 6   million as of step two.

 7   Q     Okay.

 8   A     In addition, I would like to point out we certainly

 9   reference the examiner with respect to this analysis and

10   that's discussed in my report.       The examiner included the

11   Chicago Cubs, I believe, as a parent asset.            We have

12   adjusted that, so we have taken that out.

13         It has also been indicated that one of the assets, and

14   I believe it was classified ventures, fifty percent owned by

15   one of the subsidiaries, I have not adjusted for that here

16   because I haven't seen documents showing that.            But that

17   would only have an effect of approximately $50 million with

18   respect to this.

19   Q     Okay.   Let's now move onto your capital adequacy and

20   ability to pay analysis.

21   A     Yes.

22   Q     And you set that forth starting at Page 29.             And

23   before we get into the details can you just describe for the

24   Court, please, what the test is and what distinction, if

25   any, there is between the capital adequacy and ability to
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 68 of 306
                                                                             68

 1   pay analyses?

 2   A     Well, this is described in detail.           In my report I

 3   have a section, a theoretical framework which sets out both

 4   capital adequacy and ability to pay.         It does quote from --

 5   from some of the case law, but it's generally consistent

 6   with -- it's consistent with how I've viewed this over the

 7   years and how I've seen it viewed.

 8         Capital adequacy starts with the reasonableness of the

 9   projections and we've talked about that.           But we're really

10   looking at the company's leverage, it's liquidity, it's

11   ability to service its debt, and very importantly for

12   capital adequacy the ability to weather reasonably

13   foreseeable downsides and contingencies and have some type

14   of a cushion.   So this is -- has a recognition that

15   companies even with reasonable projections may fall short of

16   those projections and will have to likely deal with an

17   economic downturn over a business cycle and so forth.              So

18   these are the types of things that we are testing.

19         With ability to pay, ability to pay tends to be a

20   little bit shorter term type of analysis.           But with respect

21   to in a leveraged buyout, you know, one needs to look

22   forward at the company's ability to service the debt that

23   it's taking on as a part of the LBO.         And it looks and the

24   case law talks about it looks at many of the same factors as

25   we do with capital adequacy.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 69 of 306
                                                                              69

 1   Q     Okay.   And on Page 29 the first metric that you show

 2   is debt to EBITDA.    What is the relevance of that particular

 3   metric?

 4   A     Well, debt to EBITDA is very commonly used and this is

 5   mentioned many times in the contemporaneous documents as a

 6   measure of -- of debt and it's simply the ratio of total

 7   debt to, in this case, trailing twelve-month EBITDA.               And

 8   what you can see here in the top chart is that Tribune was

 9   highly leveraged compared to its competitors before the LBO,

10   and that was commented on in the documents as well by

11   certain analysts that Tribune was, indeed, one of the higher

12   leveraged newspaper companies before this LBO ever happened.

13         And the fact of the matter is that leverage literally

14   went through the roof with respect to this transaction to

15   where many of the contemporaneous -- contemporaneous

16   analysts looked at this and we have commentary commenting on

17   that this debt would just be overwhelming for the company,

18   and that's the 11.4 times debt that you see in the post-LBO.

19         And a comparison of this to the comparables is

20   important because these are the companies that Tribune

21   needed to compete with in the marketplace, among others.                 So

22   this is -- is an enormous amount of debt and LBOs are highly

23   leveraged, of course, by definition and we understand that.

24   But Tribune was not competing with other LBO companies.

25   Tribune was competing with other diversified media
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 70 of 306
                                                                            70

 1   companies.   And so one needs to look at how this compares to

 2   Tribune historically and the industry.

 3   Q     And, sir, over onto Page 30, the next metric that you

 4   look at is interest coverage ratios.

 5   A     Yes.

 6   Q     Please explain why that analysis is relevant to your

 7   capital adequacy?

 8   A     Well, one of the significant aspects of any LBO is the

 9   imposition of a tremendous amount of interest expense on the

10   business and the question that we're asking is can the

11   company cover its interest expense and then, ultimately,

12   through various testing assessing its ability to service its

13   debt through operations, and if it can't service its debt

14   through operations can the company then tap into other

15   sources of cash and capital in terms of being able to meet

16   its obligations.

17         What this chart shows is that Tribune had -- was about

18   in the middle of the pack in terms of interest coverage of

19   about four times slightly less than average pre-LBO which,

20   again, is indicative of its higher degree of leverage at

21   that time.   And then, ultimately, post-LBO based on trailing

22   twelve-month EBITDA, and remembering that this was a

23   business in decline and an industry in decline.             It's .9,

24   which after deducting capital expenditures, the EBITDA was

25   not sufficient to cover the interest or barely -- .9 is
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 71 of 306
                                                                              71

 1   very, very close and this doesn't even address servicing the

 2   principle of the debt.     This is just looking at the interest

 3   and this also doesn't address the reasonably foreseeable

 4   downsides, contingencies, cyclical issues, things like that.

 5   Q     Sir, over onto Page 31.

 6   A     Yes.

 7   Q     Let's talk about the downside cases that you utilized

 8   in your step one capital adequacy analysis.            Please explain

 9   what the blue bars are on -- on the left side and the green

10   bars on the right side of this chart.

11   A     Well, this is cumulative EBITDA 2007 to 2011.                The

12   blue bar on the far left is the cumulative EBITDA implied by

13   the February '07 management projections.           And as we

14   mentioned for many reasons it's my view that those

15   projections were not reasonable.        You see the cumulative

16   EBITDA implied by the step one adjusted projections and this

17   is a representation, at the very least, in terms of what I

18   think the company should have come up with as prior to the

19   close of step one.

20         But importantly for capital adequacy we need to look

21   at downsides and we selected contemporaneous downsides.

22   Management case downside B-1 was one case.            This was the

23   cumulative EBITDA from that.       Importantly, this case was a

24   case that was less severe than a case called management

25   downside case B, and we have evidence in the documents that
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 72 of 306
                                                                             72

 1   the company was actually tracking management downside case B

 2   in that first part of '07.       So this was certainly a

 3   reasonable downside and an argument could be made that it

 4   could have been a reasonable base case.

 5           But we looked at this as to -- as a reasonable

 6   downside.   We looked at the Wall Street low estimates.            We

 7   looked at the S&P sensitivity case.         Now this S&P

 8   sensitivity case was a case that the management prepared and

 9   then ultimately submitted to Standard and Poors.             Standard

10   and Poors made modifications and then ran a default

11   scenario.   People have asserted that this is somehow a

12   default case in and of itself.       I've seen no evidence of

13   that.   I've seen a management case, then I see an S&P letter

14   that describes more severe -- different assumptions that are

15   here.

16           And then, ultimately, what this tells me with these

17   green bars is that this is all within a relevant range and I

18   deemed these to be reasonable downside cases for purposes of

19   -- of testing.

20   Q       And so which of these downside cases did you use in

21   your capital adequacy analysis?

22   A       All -- all four of them.

23   Q       Okay.   Over onto Page 32, please.        And you quote here

24   from a couple of contemporaneous sources.           Please describe

25   for the Court the relevance of this information.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 73 of 306
                                                                         73

 1   A     Yes.   First of all, the first one is a quote from an

 2   email from Chandler Bigelow that talks about if we hit the

 3   downside two, downside B case which, again, was -- was a

 4   derivation that was more -- a little bit more severe than

 5   the downside I tested, that there's no equity value in the

 6   first five years.    So there's certainly a recognition of the

 7   downside cases and people were expressing surprise to Mr.

 8   Bigelow that if we hit a downside, this business has no

 9   equity.   So that was on a -- and this was issued at a time

10   that they were -- the company was still putting forth those

11   February 2007 projections.

12         And then the second quote is a quote, actually, on a

13   contemporaneous basis from Professor Black where he

14   indicated that basically Tribune's first quarter performance

15   was substantially below the projections, including the offer

16   to purchase and closest to downside case B discussed in the

17   projections, which contemplated a three percent annual

18   decline in publishing revenues, which is not a very

19   significant decline for a downside, I would point out, and a

20   three percent revenue decline, of course, would have a very

21   -- a significant impact on operating income.            But one could

22   imagine many cases where revenue declines could be

23   significantly greater than three percent, especially in an

24   economic downturn or otherwise.

25         So this was Professor Black recognizing
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 74 of 306
                                                                               74

 1   contemporaneously when he issued his affidavit before the

 2   close of step one that the company's performance was -- was

 3   well off plan in tracking its downside.

 4   Q     Sir, let's turn now to Page 33.

 5   A     Yes.

 6   Q     And here you show five-year operating cash flow versus

 7   debt service obligations at step one.

 8   A     Yes.

 9   Q     Please explain this information to the Court.

10   A     Well, I thought this was very important to look at and

11   is something I generally look at in my -- all my cases is

12   the sufficiency of operating cash flows to service the debt.

13   These are cash flows that are generated from operations.

14         And what was surprising about this case is that in any

15   case including the management projections, the operating

16   cash flows in and of itself cannot support the debt.               That

17   was known.   That was recognized.       But the fact of the matter

18   is that makes this a very challenging transaction in the

19   best of circumstances because the operations cannot --

20   cannot support the level of debt that's being placed upon

21   it.

22         In addition, those operating cash flows, which are the

23   blue bars that you see including under the management

24   projections, were predicated on speculative growth in the

25   company's interactive business.        This was a business, by
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 75 of 306
                                                                             75

 1   definition, that was highly speculative and the rev -- the

 2   cash flows coming from that business increased significantly

 3   over time.   So, basically, the company was putting its eggs,

 4   if you will, in the interactive basket more and more and

 5   this is common, as an example, by the Chandler trust that

 6   sat on the board as being a significant issue and trouble

 7   that they have that the company was relying on interactive

 8   without really a firm basis.

 9         In addition, the shortfall in operating cash left

10   Tribune reliant upon asset sales of which it had identified

11   a couple, the Cubs and SCNI and so on, and we've accounted

12   for that in our testing.

13         And then equity investment distributions, and this is

14   a very, very important point because the equity investment

15   distributions, the company basically set the cash coming

16   from those distributions equal to its accounting income in

17   the projections.    And historically, first of all, the

18   company did not have control over those equity investments,

19   so the company could not cause those equity investments to

20   distribute that income.     Historically, it did not receive

21   that income up to a level of the accounting income.                It was

22   a smaller amount.    And, specifically, the examiner comments

23   on this issue as well that based on his interview of, I

24   think it was Mr. Amsden [ph], he talks about the fact that

25   in the interactive business as an example all of that income
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 76 of 306
                                                                          76

 1   was reinvested in the interactive business.

 2         So the company, in fact, didn’t receive any of that

 3   income.   And there were emails within the company expressing

 4   surprise about this assumption and it is a very problematic

 5   assumption because it becomes a significant part of the --

 6   of the cash flow here and it's a significant part that the

 7   company had no control over.

 8   Q     Sir, let's turn over to Page 34 now.

 9   A     Yes.

10   Q     And before walking through this cash flow analysis,

11   sir, did you consider when looking at the adequacy of

12   Tribune's capital, Tribune's ability to sell assets in order

13   to raise cash?

14   A     Yes.

15   Q     Please describe what you did.

16   A     Well, we looked at the identified asset sales as of

17   step one and at step two, and we gave the company credit

18   from the cash from those proceeds, and that's what you can

19   see here in terms of the asset sales.             We saw, to the extent

20   those asset sales were identified and appeared reasonable

21   and the income had not been taken into account in the

22   projections, we certainly gave them credit for that.

23         Beyond that, selling assets you have a number of

24   issues, including starting to get into the core assets of

25   the business.    You have income projected from those assets,
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 77 of 306
                                                                              77

 1   and in addition you had significant tax consequences which

 2   would have led to a deepening insolvency of the business in

 3   my view.   So you had some very problematic issues in terms

 4   of tapping into assets beyond what is reasonably identified

 5   here.

 6   Q       And what conclusion did you reach, sir, in your cash

 7   flow analysis that's set forth on Page 34?

 8   A       Well, there -- there are two sets of numbers that are

 9   important here;     First, focusing on that first box, that is

10   net cash flow from operations after debt service.             And under

11   all of the downsides, and as we mentioned even under the

12   base case, the management projections which I believe were

13   unreasonable, operating cash flows aren't sufficient.              But

14   this shows -- this is billions of dollars of deficiency over

15   the five-year period.    This is a cumulative basis of -- in

16   terms of operating cash flow.

17           So the company, essentially, was then reliant upon its

18   credit line and we took into account the revolver, setting

19   aside a certain amount for letters of credit, the asset

20   sales, and then these cash received from equity investments

21   which we have adjusted downward here to give the company

22   some credit for -- a significant amount of credit, in fact,

23   in terms of that equity income.        But we did adjust this to

24   reflect the fact that the company did not receive or

25   reasonably receive the proceeds historically and didn't have
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 78 of 306
                                                                            78

 1   control over those assets.

 2   Q     Okay.    Onto your step two cash flow test, which is set

 3   forth at Page --

 4   A     Oh, can I -- the one -- one other thing I want to say.

 5   Q     Sure.

 6   A     I did -- these tests also does, as I mentioned

 7   earlier, give the benefit of the savings from the 401(k)

 8   stock-based compensation and so on pursuant to this ESOP

 9   structure that -- that, you know, we talked about earlier.

10   So that -- that is taken into account.

11         And I would also like to mention I did adjust other

12   assumptions here to the extent that was necessary.             As an

13   example, there was a Citibank downside case that we used as

14   of step two that eliminated acquisition capital expenditures

15   in its entirety and yet kept a hundred percent of the income

16   from those investments.     So I needed to adjust those types

17   of things as well to reflect a reasonable downside, and not

18   to do so, I believe, would -- would have not been

19   appropriate.

20   Q     Okay.    And on your step two analysis, which you set

21   forth the projections on Page 35 --

22   A     Yes.

23   Q     -- did you make any adjustments there to the various

24   downside cases?

25   A     Yes.
     Case 08-13141-BLS   Doc 8446-3    Filed 03/21/11   Page 79 of 306
                                                                               79

 1   Q     And can you describe what those adjustments were?

 2   A     Well, I think, first of all, this -- this just shows

 3   that the downsides were in a range of reasonableness and we

 4   also had the October management projections, the examiner

 5   base case and the step two adjusted.

 6         One of the things I would like to point out is those

 7   blue bars are pretty close and one might look at those blue

 8   bars and say, well, it doesn't seem that different.                 But

 9   what's really important here in terms of reasonableness

10   projections is the slope of those projections and the slope

11   of the projections ultimately determined the terminal value

12   for the valuation of the business and that's why ultimately

13   we concluded and the examiner concluded the October '07

14   management projections weren't reasonable because if you

15   look at each of those years individually, you have this very

16   significant slope, the 3.1 percent growth rate which then

17   projects into a -- a terminal value.

18         So one needs to be a little careful about looking how

19   close those bars are.    But this chart is meant to look at

20   the downsides and how close those downsides are in terms of

21   being a reasonable range.        In fact, the downside I used was,

22   in fact, higher than several of the contemporaneous

23   downsides here.

24         And I mentioned that Citi downside case and you asked

25   about what I adjusted.     An example would be the capital
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 80 of 306
                                                                            80

 1   expenditures I raised to basically reflect a proportionate

 2   reduction in capital expenditures because a company could,

 3   in a downside, reduce its spending for a period of time.

 4   But it should be proportional to the -- in terms of what

 5   it's doing.     You should not eliminate your acquisition cap X

 6   in its entirety and still assume you get the benefit from

 7   that.

 8   Q       Which of these downside cases, sir, did you use in

 9   your step two analysis?

10   A       All four.

11   Q       Okay.   Let's move onto Page 36 and here we have the

12   same chart showing operating cash flow versus debt service

13   obligations, this time at step two.

14   A       Yes.

15   Q       Can you please explain this information?

16   A       Well, as I mentioned earlier, this is as of step two.

17   This looks at just operations and shows that the operating

18   cash flows -- and as I mentioned this was surprising to me

19   when I first looked at it -- but operating cash flows were

20   clearly insufficient to meet across all cash -- off

21   scenarios including the base case scenarios, leaving the

22   company dependent upon the equity investment distributions,

23   the unused credit lines, and the asset sales.            And even

24   considering those in the downsides, there were very large

25   deficiencies in terms of capital adequacy.            So this was --
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 81 of 306
                                                                        81

 1   this was ultimately one of the ways we looked at capital

 2   adequacy.

 3   Q     Onto Page 37, please.

 4   A     Yes.

 5   Q     Please describe for the Court the conclusions that you

 6   reached for your step two analysis.

 7   A     Well, again, looking at the contemporaneous downsides

 8   along with our -- we -- we did a sensitivity, so one of

 9   these downsides is a sensitivity we did where we took our

10   step one and in this case step two projections and just ran

11   a fifteen percent sensitivity.

12         And as I mentioned that was higher than several of

13   these downsides, but the fact is that you can see that the

14   operating cash flows were insufficient to cover debt service

15   under each of these and, ultimately, even after considering

16   the available liquidity and the proceeds from asset sales

17   and the cash received from the equity investments, again,

18   which was problematic in and of itself, you have very large

19   deficiencies here.

20         So there really was not the sufficient capital within

21   the business to be able to ultimately deal with a downturn

22   is ultimately the conclusion one would draw not only from

23   this analysis, but from -- from the other things that I've

24   looked at.

25   Q     Sir, let's turn to Page 38.        You've summarized here
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 82 of 306
                                                                         82

 1   your capital adequacy conclusions at both step one and step

 2   two.

 3   A       Yes.

 4   Q       I would like to focus you initially on the fourth

 5   bullet point where you talk about broader marketplace

 6   considerations.     Please describe what you considered and

 7   what that information showed you.

 8   A       Well, I think to -- to get at the marketplace data,

 9   one needs to get at -- make sure one is looking at the right

10   indicators.    As an example, Tribune's bonds were very thinly

11   traded, in most instances, one to seven trades per day.            It

12   was a very illiquid market.      Credit default swaps is a

13   highly liquid market and a much better indicator in terms of

14   risk.

15           But what we see as this deal is put together is

16   comments which talks about how the various participants are

17   actually thinking about this and those comments recognized

18   the very significant leverage and many of those comments,

19   including comments from the rating agencies talk about the

20   fact of a potential default in 2009 and bankruptcy down the

21   road.

22   Q       I would like to now move, sir, to the examiner's

23   report for a moment.

24   A       Yes.

25   Q       It's page --
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 83 of 306
                                                                            83

 1                THE COURT:   Let's -- let's pause here and take a

 2   ten-minute recess.

 3                MR. QURESHI:   Sure.

 4                THE COURT:   All right.

 5                MR. QURESHI:   Thank you.

 6         (Recess)

 7                THE CLERK:   Be seated, please.

 8                MR. QURESHI:   May I continue, Your Honor?

 9                THE COURT:   Yes.

10                MR. QURESHI:   Thank you.

11   BY MR. QURESHI:

12   Q     Mr. Tuliano, let's turn to your -- Page 39 of your

13   presentation and discuss your review of the examiner's

14   report.

15   A     Yes.

16   Q     And what I would like you to focus on initially is

17   your views with respect to the examiner's assumption

18   concerning refinancing.

19   A     Yes.   As of step one, the examiner assumes refinancing

20   and in my view that is not a reasonable assumption, given

21   certainly Tribune's deteriorating financial condition, the

22   issues of the secular decline within the industry, the fact

23   that even prior to step one the lenders were having

24   difficulty syndicating Tribune's debt.            We see significant

25   spread activity and credit default swaps around that time.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 84 of 306
                                                                          84

 1   I believe that ultimately refinancing is dependent upon the

 2   capital structure of the business, the operations of the

 3   business and one needs to look at that very carefully before

 4   determining or ascertaining whether refinancing is a

 5   reasonable assumption.

 6   Q     And you also refer on this slide to a mathematical

 7   error that you believe the examiner made.           Can you --

 8   A     Yes.

 9   Q     -- please explain that?

10   A     Well, the examiner error, I think, it was his

11   financial advisors that made the error, but, essentially,

12   within the exhibits to the examiner's report on his capital

13   adequacy analysis at step one, the examiner has a line for

14   2007 related to income tax because the company was not a S-

15   Corp ESOP at that point in time, and he adds the tax expense

16   which is approximately $170 million in his analysis instead

17   of deducting it.

18         So the net effect of that is total effect of about 350

19   million in his capital adequacy analysis and it's very clear

20   when you look at the schedule that this is expense that's

21   not meant to be tax income and yet they treat it as if it

22   was income or a cash inflow instead of an outflow.

23         So if one corrects for that and then flows through the

24   remainder of the examiner's capital adequacy cases, it flips

25   his numbers negative in six out of seven cases.             So this is
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11    Page 85 of 306
                                                                                85

 1   a very significant mistake as far -- in my view and I think

 2   had the examiner caught this mistake, I think the examiner

 3   very well may have reached a very different conclusion with

 4   respect to capital adequacy as of -- as of step one.                 But

 5   it's this and then ultimately the refinancing assumption

 6   that he makes.

 7   Q       And do you describe in more detail in your report,

 8   sir, this mathematical error made by the examiner?

 9   A       Yes, I do.

10   Q       Okay.   Let's go back to the top of this page, the very

11   first bullet point and the examiner's reliance on the

12   February 2007 management projections.              Do you agree with

13   that?

14   A       I don't.   I believe that the examiner missed the fact

15   that the company's deteriorating performance relative to

16   2006 for the entirety of that five-month period prior to the

17   close of the step one and how the plan ramped up very

18   significantly relative to 2006 for the remainder of the

19   year.   I think had the examiner looked at that and drilled

20   down into the various newspapers he might have reached a

21   different conclusion.     But we do a much more detailed look

22   at the actual performance of the company and one needs to

23   recognize and really anchor those projections in the actual

24   performance and recognize the back-end loaded nature of the

25   projections.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 86 of 306
                                                                               86

 1            So we spent an extensive amount of time on this issue

 2   in terms of the reasonableness of projections at step one.

 3   I think that the examiner was under significant time

 4   pressure.       I don't know ultimately how much time he spent on

 5   this issue, but I don't see very much of it as evidenced in

 6   -- in the report -- in his report.

 7   Q        Sir, let's now turn to the last --

 8   A        I'm sorry.    The last thing I would like to point out

 9   is --

10   Q        Sure.

11   A        -- the examiner, of course, didn't perform any -- a

12   evaluation or a balance sheet test as of step one.               So the

13   conclusions that he reached with respect to solvency or

14   insolvency, there's -- there's no valuation analysis,

15   there's no balance sheet test as of -- as of step one in his

16   report.

17   Q        Sir, let's now move into the last section of -- of the

18   demonstrative exhibit --

19   A        Yes.

20   Q        -- which is a discussion of Professor Fischel's

21   report.    Let's start with Page 40.         You read his testimony.

22   You -- you heard what he had to say about real economic

23   value.    Is that a standard of value that you've seen applied

24   before?

25   A        I've certainly heard the term.        I've never seen it
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 87 of 306
                                                                             87

 1   applied as a standard of value called real economic value.

 2   It certainly is not appropriate for a balance sheet test in

 3   the context of a fraudulent conveyance matter.            It's not

 4   recognized as a standard of value.         We talked about fair

 5   market value.    We've talked about liquidation value.             We

 6   talked about investment value, intrinsic value.             Those are

 7   standards of value that are recognized by the valuation

 8   community.    Real economic value is not a standard that's

 9   recognized by the valuation community as a standard of

10   value.

11            Ultimately, there's no authoritative support certainly

12   that I can find and I think Professor Fischel testified that

13   he -- he didn't have any either for that concept.             I think

14   it's a term that has meaning to Professor Fischel and -- and

15   I think that -- but, ultimately, it cannot -- it hasn't been

16   subject to peer review.     It's not something that really can

17   be analytically tested in terms of determining whether

18   that's something that should be applied and it certainly

19   isn't consistent with what I've seen in terms of doing

20   fraudulent conveyance cases over the last twenty years,

21   which is that we use fair value or fair market value and

22   then doing that on a going concern or a liquidation basis,

23   depending on the facts and circumstances.

24   Q        And in your opinion, Mr. Tuliano, can the application

25   of this real economic value standard that Professor Fischel
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 88 of 306
                                                                           88

 1   described, can that result in a reliable solvency opinion?

 2   A     I don't believe that it can.

 3   Q     And why not?

 4   A     Well, in order to test the reliability of that

 5   opinion, one needs to know what he means by real economic

 6   value and it has to be subject to the analytical rigger that

 7   valuation has been subject to generally speaking for many,

 8   many, many years.    So it's not something that really one can

 9   go into a textbook and look at and say, this is how you

10   calculate real economic value as a standard of value.              It's

11   not something that you can see how anybody has ever applied

12   that concept in a fraudulent conveyance case in terms of the

13   fair market value of the assets as compared to the

14   liabilities.   I've never heard of somebody saying, well, you

15   look at the real economic value of the assets compared to

16   the liabilities.    There's a -- a -- you need to understand

17   what standard you're looking at from a fraudulent conveyance

18   perspective, in my view, in my experience in terms of

19   performing a solvency test and rendering a solvency opinion.

20   Q     Let's look at your critique of Professor Fischel's

21   balance sheet, then, at 41.

22   A     Yes.

23   Q     Describe for the Court, please the principle

24   criticisms that you have with his opinion.

25   A     Well, in my rebuttal report I have a large number of
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 89 of 306
                                                                           89

 1   criticisms that are summarized in that report and I'll just

 2   highlight a few.

 3         Of course, as we just talked about I believe that he

 4   -- he certainly implies an invalid standard of value.              It's

 5   nothing that -- that I've seen.        He uses the unreasonable

 6   projections that management put forward.           But more

 7   importantly, Professor Fischel acknowledges in his testimony

 8   that he has no expertise in financial projections, and from

 9   my perspective I don't think I've seen people render

10   solvency opinions without expertise in financial projections

11   because the financial projections underlie the solvency

12   analysis.   One needs to understand the projections to

13   actually have any comfort with rendering the solvency

14   opinion.

15         So I think that's a significant problem from -- with

16   Professor Fischel's analyses.

17               He, as we discussed, used the accounting value in

18   terms of the PHONES' debt and he also takes into account a

19   subsequent pay down on the Tranche X facility.            He treats

20   the 401 cost savings which would be an element of investment

21   value that we take into account in our capital adequacy

22   ability to pay, he takes that into account here which is not

23   a fair market value standard because it's a -- a specific

24   savings dependent upon the ESOP tax structure.

25         And then -- and in addition, even if the company were
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 90 of 306
                                                                             90

 1   to eliminate its 401(k) plan even not under an ESOP, it

 2   would need to replace that compensation in some other way

 3   assuming it's paying fair market compensation to its people

 4   historically and I have no reason to believe and haven't

 5   seen anything that it was overpaying its employees so that

 6   it could then pull elements of compensation away.

 7         And that’s the same for stock based compensation.             The

 8   company could -- stock based compensation is an element of

 9   value and it's -- it's something that a buyer, a willing

10   buyer would need to compensate either using stock based

11   compensation, which would have to be paid at some point, or

12   replaced in some way and the fact is that he gives them the

13   benefit for the elimination of a stock based compensation

14   program.   That violates the fair market value standard here.

15         He also -- his WACC assumptions are problematic.             He

16   uses Tribune specific capital structure in his weighted

17   average cost of capital.     He treats it as an LBO.          A buyer

18   would not necessarily structure this as a leverage buyout

19   and that's not a sustainable capital structure.             We can see

20   that because the capital structure that Professor Fischel

21   uses is up to -- upwards of ninety to ninety-five percent

22   debt and I think even he -- I think he said that maybe it

23   was sustainable for a short period of time, but it's not a

24   sustainable capital structure.       In terms of valuation

25   theory, that -- it's not a correct way to use it.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 91 of 306
                                                                           91

 1         And very importantly he uses a terminal value multiple

 2   in his discounted cash flow analysis.

 3   Q     Let's turn to Page 42 for a minute.

 4   A     Yes.

 5   Q     And in your summary of the terminal value criticisms,

 6   you talk about Professor Fischel's method "invading the

 7   structural integrity of the DCF method."           What do you mean

 8   by that?

 9   A     Well, in this case and in any case you want to use --

10   you know, often times you use an income approach and a

11   market approach and that's what we've done here.             The

12   examiner, as we talked about, rejected the market approach

13   in its entirety for various issues including this issue I

14   talked about of inflated multiples.

15         What a pure income approach would have the five-year

16   or whatever projection period and then uses a Gordon growth

17   model for the remainder as if you were going to run out

18   those cash flows into perpetuity and that's a pure income

19   approach.

20         By using an exit multiple at the end, and it's done by

21   investment bankers often so it's -- it's -- it is done, but

22   it introduces a significant market approach element into the

23   income approach.    So, effectively, the terminal value is now

24   governed by a quasi market approach and the terminal value

25   in Professor Fischel's analysis is the vast majority of
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 92 of 306
                                                                              92

 1   value here.   So his income approach becomes, essentially, a

 2   dominant market approach and one could imagine if the five-

 3   year cash flows, one eliminates year five, year four, year

 4   three and then it applies an exit multiple at each of those

 5   -- at those end points, the more and more this becomes just

 6   purely a market approach.

 7         In addition, he uses current multiples.            He modifies

 8   them somewhat, but he's using largely current multiples.

 9   Those multiples are inflated by his selection of his

10   comparables, which include pure play broadcasting companies,

11   and that's -- that's problematic as well.           In a terminal

12   value as well as supposed to reflect growth into perpetuity,

13   so that's not -- should not reflect near term growth.              You

14   want a steady state growth in your terminal value.             By using

15   an exit multiple he is embedding near term growth in his

16   terminal value.     So that's going to inflate -- have a

17   function of inflating that terminal value because he's using

18   a weighted class average cost of capital which we talked

19   about was improper in terms of how he derived it for those

20   five years.   And then he implies near term growth in his

21   exit multiple as well.

22         So that -- that analysis is extraordinarily

23   problematic for a number of reasons and the net result as it

24   inflates the value he comes up with very significantly in

25   terms of his -- his valuation.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 93 of 306
                                                                           93

 1   Q        Now, Mr. Tuliano, your valuation was a -- done on a

 2   consolidated basis as opposed to a sum of the parts basis,

 3   correct?

 4   A        Yes.

 5   Q        And in that context, why do you conclude that it's

 6   inappropriate for Professor Fischel to rely upon pure play

 7   comps?

 8   A        Well, the Tribune, as we talked about earlier, was a

 9   diversified media company.        It was dominated seventy-five

10   percent by broadcasting in terms of revenue, sixty-eight

11   percent by operating cash flow.         We talked about newspaper

12   publishing being in secular decline and yet Professor

13   Fischel uses in his comparables pure broadcasting companies.

14   That is not comparable to a company that is seventy-five

15   percent newspapers, and you can see that in his multiples

16   that he derives from this where those multiples are in

17   thirteen to fourteen times whereas the diversified media is

18   in the range of eight or so.        So --

19   Q        Well, let's turn to Page 43 of the demonstratives.           I

20   think you have a chart on that on the upper right-hand

21   corner.

22   A        Yes.   This, in and of itself, I believe, is --

23   reflects the issue associated with the multiples that were

24   talking about.     And on the far right, these are -- these are

25   eight of Professor Fischel's comparable companies.              The
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 94 of 306
                                                                             94

 1   green on the left, we used five diversified media.              The four

 2   green bars are four of our five, so we agreed at least on

 3   those -- on those four and then we added a fifth diversified

 4   media company, Journal Communications.

 5           His -- the red bars are multiples that Professor

 6   Fischel uses and these are pure play broadcasting companies.

 7   The -- you can see the 13.78 at the top of this chart.              That

 8   median multiple for pure play broadcasters bears no really

 9   rational relationship to a valuation of Tribune that's

10   seventy-five percent newspaper.        That results in an

11   inflation of his overall multiple and it really distorts his

12   -- his results.

13   Q       Sir, let's now move on to Professor Fischel's capital

14   adequacy --

15   A       Oh, can I just point out on this --

16   Q       Sure.

17   A       -- the far left.   This also shows -- you can see his

18   multiples are not comparable as well.             If you go back, the

19   blue line is how Tribune has historically tracked in terms

20   of its implied market multiple as compared to the median of

21   Professor Fischel's overall comparables, including all of

22   them, and you can see that it's in many cases one-and-a-half

23   to two full turns lower on historic basis going back to

24   2005.   So this is the inflation caused by the pure play

25   broadcasters.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 95 of 306
                                                                        95

 1   Q     Okay.    Let's talk now about Professor Fischel's

 2   capital adequacy analysis.       You've summarized it on Page 44.

 3   A     Yes.

 4   Q     I would like you to focus on first, sir, please, on

 5   his step one conclusion and tell me if you agree with how

 6   Professor Fischel went about it.

 7   A     Well, he -- he performs -- he tries to perform or -- a

 8   cash flow test.     The results -- it's problematic for a

 9   number of reasons:    One, he does not critically evaluate the

10   assumptions that are embedded in many of these cases.

11         As an example, he uses the Citi downside case

12   assumptions.   As I mentioned, the Citi downside case shows

13   no acquisition capital expenditures and let's -- keeps the

14   benefit from that acquisition capital expenditure in its

15   entirety. So that would be embedded in this.

16         But most importantly, even under his own analysis, you

17   end up with deficiencies here or very small surpluses in the

18   context of a five-billion-dollar revenue company and $14

19   billion of debt.    Nobody should derive any comfort from even

20   small numbers because we're looking at the potential of

21   weathering a downside and reasonably foreseeable

22   contingencies.

23         In addition, this is -- this is analysis that needs to

24   be viewed in context of -- of reactions that the company

25   could take.    He doesn't critically analyze those reactions
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 96 of 306
                                                                           96

 1   and in the -- and whether they're in the realm of

 2   reasonableness.     He seems to just point to, well, if the

 3   company did X, then well it could always do Y.

 4         As an example, working capital.             It could conserve

 5   working capital.    Well, the company, Tribune, had depleted

 6   its working capital in the years prior to this where it had

 7   a current ratio in excess of one, like its peers, and that

 8   working capital prior to step one had -- had gone down to

 9   well below one.     So that's current assets as compared to

10   current liabilities.

11         So the flexibility that Tribune had in terms of being

12   able to react to these, capital expenditures was already

13   lower than depreciation plus -- than depreciation, including

14   acquisition capital expenditures.

15         In our analysis we gave them credit for being able to

16   reduce capital expenditures, but the fact is it needs to be

17   proportional to the -- what's happening and one needs to

18   exercise judgment.

19         And the last thing I'll say is I don't understand how

20   he could do this analysis without expertise in financial

21   projections.   It's -- it's not a matter of putting numbers

22   on a piece of paper and running a calculation.             One needs to

23   get behind the numbers and understand the projections.

24   Q     And you'll see in his step one analysis, Professor

25   Fischel's revolver availability goes negative in 2010 and
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 97 of 306
                                                                                97

 1   2011, yet he still concludes that at step one Tribune passes

 2   this particular solvency test.       Do you agree with that?

 3   A     Well, I think -- I don't agree that Tribune passes --

 4   passes the test.    I think he points to other things like,

 5   well, his asset sales are lower than, as an example, the

 6   credit for the asset sales that I gave the company.                So if

 7   he just put in those asset sales, then that would drive

 8   those numbers positive.     I don't find that plausible because

 9   -- without going through a full -- he needs to go through a

10   full valuation, critical valuation of all the assumptions,

11   the working capital, capital expenditures and otherwise to

12   make sure that first he's dealing with a reasonable

13   downside, and then secondarily the assumptions that are

14   making -- that he's making make sense and he would need

15   expertise in projections to be able to do that.

16         So I think his own numbers are what they are.                They're

17   negative.   That's a problem.      Even the positive ones are

18   very small.   That's -- that's a significant issue.            But it's

19   very hard to get your arms around what Professor Fischel is

20   really saying because even when he has negative numbers he

21   points to, well, I could go over here or I could do

22   something over here without critically analyzing whether

23   that -- that's a possibility.

24   Q     Okay.   Now I want to move on and talk about something

25   Professor Fischel spent a lot of time on and that is market
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 98 of 306
                                                                           98

 1   evidence.

 2   A     Yes.

 3   Q     Let's start on Page 45 and here you have set forth

 4   summary information on credit rating downgrades.             Please

 5   explain, sir, what the relevance is of this information to

 6   your solvency analysis.

 7   A     Well, I think credit ratings assess credit risk and

 8   this is the rating agencies and -- showing the various

 9   downgrades on Tribune's debt ultimately up to the bankruptcy

10   filing.    You can see that the comments on the right prior to

11   step one, that people -- the rating agencies certainly

12   recognized that this was a very highly leveraged

13   transaction.   The word negligible amount of equity is used.

14         One of the rating agencies, S&P, I believe, expressed

15   a concern around this time frame with respect to looking at

16   a possible default in 2009 and then bankruptcy at some time

17   down the road.   So the rating agent -- the rating itself is

18   a reflection of credit risk that is useful.            It's not meant

19   to be a solvency analysis, I think, as Professor Fischel

20   asserts.    It's also dependent upon the -- what the market

21   has or the rating agencies have, such as the February 2007

22   management projections and so forth.         And, of course, it

23   would also be predicated upon where Tribune was in the

24   structure -- process of executing the LBO transaction at

25   different points in time.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 99 of 306
                                                                           99

 1   Q     Let's move onto the next slide, 46, and here you

 2   analyze trading prices for credit default swaps.

 3   A     Yes.

 4   Q     First, please explain to the Court how the credit

 5   default swap market works.

 6   A     Well, credit default swaps are essentially insurance

 7   on Tribune's bonds and the fact is that we know a number of

 8   things; that they tend to be issued in ten-million-dollar

 9   increments.    The scale on the left would be the premium in

10   terms of basis points that one would need to pay for an

11   annual premium to receive insurance on -- on the bonds,

12   essentially.   But credit default swaps are not tied to a

13   specific bond.

14         So the fact of the matter is that one can buy as many

15   credit default swaps as one wants, even if one doesn't own a

16   bond or the bond doesn't necessarily -- that specific bond

17   doesn't necessarily exist in the marketplace.            When the bank

18   -- through the bankruptcy settlement of Tribune's credit

19   default swaps, there is approximately $17.8 billion in

20   notional value of credit default swaps that were ultimately

21   settled, and that 17.8 billion is, you know, twenty --

22   twenty times or more the bonds themselves.            So this tells

23   you that this is a very liquid market.

24         And we know that based on empirical studies that this

25   market also tends to lead the bond market in terms of -- of
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 100 of 306
                                                                             100

 1   -- because of its liquidity, in terms of telling us things

 2   about risk.

 3            And I believe the reason for that is that in many

 4   cases with bonds that are thinly traded, and in this case we

 5   had Tribune's bonds were traded between one and seven times

 6   a day.    That's a -- that's highly illiquid, which means that

 7   you would have a very significant spread -- bid as spread if

 8   you will in a very significant cost of transacting.                 So in

 9   many instances, it's far more efficient and cheaper to go

10   and by a credit default swap on the underlying debt

11   instrument than to trade the bond as an example.

12            In addition, these instruments can be used to cover

13   the senior debt.    Somebody can go out and buy credit default

14   swaps on the bonds and that can form a insurance policy, if

15   you will, for the senior debt.        They also have what's called

16   LCDS, which is loan credit default swaps as well.              That's

17   data's not shown here.

18                 But the fact is that this is a very liquid

19   market, so this is -- we've heard in the case and I've seen

20   Professor Fischel point to the bonds and yields bonds.

21   Bonds yields aren't going to tell you a whole lot given how

22   thinly traded the bonds are.       This is where one would want

23   to look in terms of a risk assessment as to how the market

24   was proceeding risk.

25
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 101 of 306
                                                                               101

 1         And what you see in this chart is that as of the

 2   increase in the transaction, that as of around April you see

 3   a significant increase in the spread and you can think of

 4   this as this is the amount of return that somebody's willing

 5   to give up to purchase an insurance policy for a one-year

 6   period on the bonds.     And you can see that ramp up to step

 7   -- to the close of step one and then you see a very

 8   significant ramp up in July, in the July timeframe.                 And

 9   it's my view that that coincides with Tribune.

10         There was a newspaper article that came out about July

11   16th which was a Monday.     That article discussed a memo that

12   went out from the L.A. Times talking about how dismal the

13   second quarter was for Tribune.        And we saw earlier that

14   April and May was dismal in and of itself and my view is you

15   could tell that the quarter was going to be very bad as of

16   the end of May in and of itself.

17         But in terms of the broader marketplace, the L.A.

18   Times came out with this -- basically came out with this

19   email and then it was ultimately published in the

20   newspapers, an article about this that said that this was

21   one of the worst quarters ever for Tribune and I -- and you

22   really see kind of the increase as that information gets in

23   the marketplace.

24         Importantly, this information is only going to reflect

25   what the marketplace knows and the marketplace, at this
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 102 of 306
                                                                          102

 1   point in time, still has the February 2007 management

 2   projections, still perceives very significant risk, and then

 3   as more information comes out into the marketplace you can

 4   see the increase -- the risk increasing to very significant

 5   levels and then those levels continue to escalate to -- to

 6   bankruptcy.

 7         The other thing that I -- or I'm sorry -- to the close

 8   of step two.

 9         The other thing that I would point out is that as of

10   July, another article comes out, and we'll talk about it,

11   that Tribune at that point in time was considered the fourth

12   riskiest company out of 1,200 worldwide, and this is as of

13   July with approximately fifty percent probability of

14   default.    That's a very significant risk assessment, and

15   that's a market recognition given unreasonable projections

16   as to the risk of this transaction.          And had the market had

17   full information as to those projections, then I suspect we

18   would see that risk assessment even -- increase even

19   further.

20   Q     Okay.    Mr. Tuliano, I want to jump ahead to Page 48,

21   please --

22   A     Yes.

23   Q     -- of the -- of the presentation.           You've set forth

24   here a couple of exhibits from Professor Fischel's report.

25   Can you please describe briefly for the Court what you --
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 103 of 306
                                                                          103

 1   A       Okay.

 2   Q       -- are conveying here?

 3   A       Well, what I'm trying to convey, Professor Fischel

 4   presents various charts in his -- this is data going --

 5   housing data which was important for Tribune because it's

 6   advertising was tied to real estate going back to 1963 or

 7   so.   But because he goes back so far, it compresses what's

 8   meaningful here, so all I did was I blew out this period of

 9   time and Professor Fischel presents this to support the

10   assertion that Tribune's difficulties really related to 2008

11   as opposed to prior to that.

12           I took his chart and just blew out this box using the

13   source data, and if we could look at that, that will be the

14   chart to the right, if we could.         This is what this looks

15   like when one looks at -- blows out Professor Fischel's

16   data, and what you can see is that the decline in housing,

17   which we know based on what was happening in the economy

18   prior to that, really started in July of '05 and continued

19   on a steady state down.

20           So the issues that Professor Fischel asserts relate

21   specifically to '08 and there's -- there's -- '08 certainly

22   had an economic downturn.        We know that.      But the issues

23   affecting Tribune and its advertising revenues relate back

24   here.   So I wanted to make sure that the Court had that blow

25   out of that information because it gets lost because
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 104 of 306
                                                                           104

 1   Professor Fischel shows such a long time and then he shades

 2   a very small area to assert -- to support his conclusion.

 3   Q     Okay.    Now, Mr. Tuliano, you read in Professor

 4   Fischel's transcript his view that the bank's willingness to

 5   fund this transaction is itself evidence of solvency.               And I

 6   would like to get your comment on that, but first I want --

 7   I want to show you just a couple of documents that are

 8   touched upon in your report.        Let's start with a Merrill

 9   Lynch document.

10                 MR. QURESHI:   For the record, Your Honor, it is

11   Exhibit NPP 0501.    It's called a "Problem Exposure Report."

12   It's dated July the 20th, and if you will pull up on the

13   screen a table that appears on the second page of the

14   document.

15                 THE WITNESS:   Yes.

16                 MR. QURESHI:   And I -- let's get that enlarged.

17   BY MR. QURESHI:

18   Q     And I would like you to please comment, if you would,

19   please, on the relevance of this information with respect to

20   Professor Fischel's conclusion that bank willingness to --

21   to fund is evidence of solvency.

22   A     Well, bank willingness to fund is really related to

23   bank's contractual commitment to fund and how the bank

24   assesses its -- its situation as to the consequences of not

25   funding.    And we've seen in cases such as Clear Channel and
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 105 of 306
                                                                                105

 1   others that there are consequences to not funding when one

 2   has a commitment in terms of litigation and so forth.

 3         What this shows is this -- this document is right at

 4   step one.   It's dated within a day or two of the close of

 5   the step one transaction and it shows Merrill Lynch's

 6   original facility commitment of $1 billion, that they had

 7   reduced that and banks tend to spread their exposure through

 8   syndication.

 9         But they had reduced that to 1.18 million, and then

10   what you see here is they had also gone into the marketplace

11   and purchased credit default swaps of $52 million to come up

12   with a net exposure which is the second to the last column

13   to the right.   You see the CDS column.

14         So you can focus on the gross exposure, which is the

15   fourth column from the left and then if you go all the way

16   to the right you'll see third column from the right is net

17   exposure and that's simply the difference between the gross

18   exposure and the credit default swap.

19         So lenders tend to go in the marketplace and when they

20   perceive significant risk, they try to syndicate and

21   basically sell down the debt.        That was a very strong

22   commitment by Merrill to -- they wanted to get down to a $40

23   million level of debt.

24   Q     Mr. Tuliano, let's look at one more document.                 This

25   one is a Bank of America document.         It's Exhibit NPP --
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 106 of 306
                                                                         106

 1   A     Yes.

 2   Q     -- 462.     It's in the binder at Tab 2 and we'll pull up

 3   a table that's on --

 4                MR. KAMINETZKY:     Your Honor, we're out of time.

 5   It's -- you've been enforcing the two-hour limit and we have

 6   a number of timekeepers and we've now surpassed two hours

 7   with this witness.

 8                THE COURT:   You may ask a final question.

 9                MR. QURESHI:   Sir -- Your Honor, we've been

10   keeping time, too, and we're showing six minutes left given

11   the -- the breaks and the objection to his report.

12                THE COURT:   All right.      Bear with me for a

13   moment.

14         (Pause)

15                THE COURT:   Well, you have five minutes.

16                MR. QURESHI:   Thank you, Your Honor.

17   BY MR. QURESHI:

18   Q     Mr. Tuliano, take a look, please, at the chart that

19   we've enlarged on the screen.        This is from --

20   A     Yes.

21   Q     This is from Exhibit NPP 462, the Bank of America

22   document.    You'll see in the bottom right total (sic) you

23   see B of A's share 1.8 billion and change, and then B of A's

24   projected exposure upon closing at step two $40 million.

25   Sir, what significance, if any, do you place on that
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 107 of 306
                                                                          107

 1   information?

 2   A     That B of A did not have very much confidence in

 3   Tribune.

 4   Q     Okay.    And -- and how, sir, does that relate, if at

 5   all, to Professor Fischel's testimony that willingness to

 6   fund is evidence of solvency?

 7   A     Well, banks lend into insolvent situations, LBOs, that

 8   are challenged.     So I don't find that very indicative.           One

 9   needs to get behind why the banks are lending and what their

10   contractual obligations were with respect to lending and how

11   they viewed the credit, and that -- that's ultimately what

12   we did.

13   Q     Okay.    Now before we go to the last page of your book,

14   I would like to pull up on the screen a demonstrative

15   exhibit that we received as we reliably do in the middle of

16   the night last night from the DCL plan proponents.              And so

17   if we can pull that up, please.

18         And what this demonstrative shows is the implied stock

19   price on your analysis.     I would like you to briefly comment

20   on this before we go to the last page in your book, please.

21   A     Well, I think that this is similar to an analysis that

22   I performed, but this shows an implied stock price under the

23   DCF of $21 under the market approach of thirty-two on a

24   blended basis which is using the weighting that I had of $25

25   and that is right in the range of what I would expect it
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 108 of 306
                                                                         108

 1   would have been absent the merger and is very close to what

 2   Professor Black mentioned that he thought it would have been

 3   absent the merger.

 4   Q     And using management projections what's that implied

 5   share price in your analysis?

 6   A     Approximately $28 a share using management's

 7   projections which we believe were unreasonable.

 8   Q     Okay.   Now let's go to the last page of your book,

 9   Page 50.

10   A     Yes.

11   Q     And what you've done here is taken a -- an exhibit

12   from Professor Fischel's report and added to the right a box

13   showing implied stock prices.        Please explain to the Court,

14   sir, what the relevance is of that information?

15   A     Well, this is a simple analysis.            All one needs to do

16   is take Professor Fischel's enterprise value, deduct $5

17   billion of the pre-LBO debt and divide by 241 million shares

18   and you can derive a share price implied by Professor

19   Fischel's valuation.

20         If you notice towards the bottom as an example, the

21   transaction approach that Professor Fischel uses would

22   allege that Tribune was worth forty-seven to $68 a share.

23   His market approach would assert that Tribune was fifty-two

24   to $54 a share.     His other approaches there or anywhere you

25   can see thirty-seven to $42 a share.          Nobody was talking
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 109 of 306
                                                                           109

 1   about valuations in that range and I think that reflects the

 2   inflation of his analyses that we talked about earlier.

 3   Q     Okay.    Thank you.

 4                 MR. QURESHI:    Nothing further.

 5                 THE COURT:    Cross-examination.

 6                 MR. BUSATH:    Good morning, Your Honor.         Lynn

 7   Busath from Davis, Polk and Wardwell for JP Morgan Chase.

 8   We have a set of binders.        May I hand -- hand those up?

 9                 THE COURT:    Certainly.

10                 Thank you.

11                              CROSS-EXAMINATION

12   BY MR. BUSATH:

13   Q     Good morning, Mr. Tuliano.         I would like --

14   A     Hello.

15   Q     Hi.   I would like to first establish some opinions

16   that you have not given --

17   A     Okay.

18   Q     -- so we have that clear.

19   A     Sure.

20   Q     Is it correct that you have not opined on Tribune's

21   solvency as of June 4th, 2007 at step one on a -- on a

22   stand-alone basis, without considering step two debt?

23   A     With respect to the balance sheet tests, yes.

24   Q     And you have --

25   A     That's correct.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 110 of 306
                                                                            110

 1   Q     -- not opined on Tribune's ability to pay its debts at

 2   step one on a stand-alone basis if step two had not

 3   occurred?

 4   A     Well, we looked at it to the extent that step two debt

 5   was reasonably foreseeable as of step one and -- but we have

 6   not opined -- I have not rendered an opinion as if step two

 7   debt was not reasonably foreseeable or did -- did not exist.

 8   Q     Right.

 9   A     Okay.

10   Q     And you have not rendered an opinion as to Tribune's

11   capital adequacy as of June 4th, 2007 looking at step one on

12   a stand-alone basis assuming that step two did not occur?

13   A     I would answer it the same way.             Assuming that step

14   two debt was not reasonably foreseeable.

15   Q     All right.    So -- so you -- you've only looked at it

16   assuming -- including, incorporation the step two debt.              Is

17   that correct?

18   A     Yes.

19   Q     Okay.     And you have not given any opinion as to

20   whether or not there is an intentional fraudulent

21   conveyance.    Is that correct?

22   A     That is correct.

23   Q     Okay.     Do you still have your report in front of you?

24   A     Yes, I do.

25   Q     Could you turn to Page 2 of your report, please?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 111 of 306
                                                                         111

 1   A     Yes.

 2   Q     And the second sentence begins, "In my evaluation."

 3   Could you please read those two sentences, the first two

 4   sentences in that paragraph?

 5   A     Yes.

 6   Q     The second paragraph on the page.

 7   A     "In my evaluation of Tribune's balance sheet solvency

 8   as of June 4th, '07, I have treated the Tribune LBO as a

 9   unitary transaction collapsing step one and step two debt --

10   step two together.    Such treatment is based upon my

11   evaluation of the economics -- economic substance of the

12   transaction as opposed to its form, the intent of the

13   parties as evidenced in the contemporaneous documents as

14   well as my extensive experience analyzing leverage buyouts

15   over the last twenty years.

16         "In my evaluation of Tribune's capital adequacy and

17         ability to pay its debts as due as of June 4th" --

18   Q     Well, I think I want to focus on the first two

19   sentences --

20   A     Okay.

21   Q     -- here first, just --

22   A     I'm sorry.

23   Q     -- just the balance sheet test here.

24   A     Okay.

25   Q     Is it -- is that an accurate statement as to the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 112 of 306
                                                                         112

 1   reasons why you included the step two debt in the balance

 2   sheet test?

 3   A     It is.    I provide a much more detail in the subsequent

 4   two pages.    But that's -- that's a summary.

 5   Q     So what I wanted to make clear is you did not include

 6   the step two debt at the advice of counsel.            Is that right?

 7   A     That's correct.

 8   Q     It wasn't a hypothetical that they gave to you and

 9   said for legal purposes we want to look -- want you to look

10   at it this way?

11   A     Correct.

12   Q     I mean, they asked you to do that for the management

13   projections, to use those --

14   A     Correct.

15   Q     -- but this was actually your decision as an expert

16   that this is what you believed was the economic substance of

17   the transaction.    Is that correct?

18   A     That's correct.

19   Q     Okay.    And in doing that you mentioned your

20   experience, that that formed part of your basis for coming

21   to that conclusion.     Is that right?

22   A     Yes.

23   Q     And at your deposition you indicated that, in fact,

24   while you had dealt with collapse issues before in your

25   years of experience, this is the first time that you had
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 113 of 306
                                                                          113

 1   dealt with a contested collapse issue.            Is that correct?

 2   A     I believe that's correct.        Yes.

 3   Q     Okay.    And then you mentioned looking at the intent of

 4   the parties and various documents that you looked at, and as

 5   I recall you read the credit agreement.           Is that right?

 6   A     Yes.

 7   Q     And we agreed that the credit agreement was a publicly

 8   available document.     Is that right?

 9   A     I believe that's the case.

10   Q     Okay.    And you mentioned that you also looked at other

11   public information and press releases which were also public

12   information.   Is --

13   A     Yes.

14   Q     -- that right?     And you indicated that you had also

15   looked at market information.        Is that right?

16   A     Yes.

17   Q     Did you look at the examiner's report?

18   A     Yes, I did.

19   Q     And did you consider what he said about the

20   contemporaneous documents and what the parties at the time

21   thought about it?

22   A     Well, as I recall I believe the examiner looked at

23   this issue and felt that collapsing was, I think, maybe

24   somewhat unlikely, but he said it was a very close call and

25   I don't recall specifically as I sit here all the points
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 114 of 306
                                                                            114

 1   that he enumerated under that, but I know he went through a

 2   legal analysis.       I'm not an attorney.          I went through a

 3   financial analysis in terms of that.            But he -- he, I

 4   believe, looked Rubins and some other cases in terms of that

 5   issue.

 6   Q        All right.    But you did look at, as you expressed on

 7   direct, looked at the intent of the parties.               Is that

 8   correct?

 9   A        Yes.

10   Q        Okay.   So can I have you turn to Tab 3 in the binder

11   that we have handed to you, an excerpt from the examiner's

12   report to refresh your recollection on the details on Page

13   174.

14            And in the first full -- are you with me yet?

15   A        Not yet.   I'm sorry.

16   Q        Okay.   I'll wait.

17   A        Okay.

18   Q        In the first full paragraph, the last two sentences --

19   do you see where it begins, "On the other hand"?

20   A        Yes, I do.

21   Q        Could you read that into the record, those last two

22   sentences?

23   A        "On the other hand the participants" -- "On the other

24            hand, the participants recognize that because more

25            than one step would be necessary to complete the
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 115 of 306
                                                                          115

 1            leverage ESOP transactions, they could not simply

 2            afford to make the assumption that step two would

 3            close."

 4            Do you want me to continue?

 5   Q        Yes.

 6   A        Okay.

 7            "The relevant documents and circumstances leading up

 8            to step two amply demonstrate that the participants

 9            did not make that blanket assumption."

10   Q        Now do you, from your reading of the documents, do you

11   agree with the examiner that the participants at the time

12   did not make the blanket assumption that step two would

13   close?

14   A        Yeah.   I think that the participants -- I think that

15   would be consistent.      The participants, there was no blanket

16   assumption.      In fact, I think the various participants were

17   looking for ways to -- to potentially get out of step two

18   down the line and there was a solvency condition that we

19   know about.      So I don't think there was a blanket assumption

20   that step two would close.

21   Q        Yeah.   Well, even at the beginning when they were

22   drafting the documents before they got to step two, there

23   was no blanket assumption that step two would close, isn't

24   that correct?

25   A        Oh, yeah.   They recognize -- I think the participants
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 116 of 306
                                                                             116

 1   certainly recognized they needed regulatory approval in

 2   terms of the -- for major league baseball and the FCC there

 3   was a solvency certificate that would have been needed to --

 4   to close step two.

 5         So there was certainly recognition that             there were

 6   considerations and I think, as I mentioned in my direct, the

 7   reason to structure it under two was to execute this

 8   structure that required these approvals and yet get cash to

 9   the shareholders as quickly as possible.            There was       a

10   tremendous amount of pressure especially from various large

11   shareholders, the Chandler Trust and otherwise to receive

12   some type of cash proceeds with respect to this.             So they

13   were trying to -- to accomplish both of those objectives,

14   but it was those objectives being accomplished through two

15   steps through a single transaction and that's what I talk

16   about in my report.

17   Q     Yeah.   And what we're talking about now is about the

18   intent of the parties when they were drafting the documents.

19   A     Okay.

20   Q     So if we can look at the next sentence.

21   A     Yes.

22   Q     It says:

23   "First, the credit agreement did not obligate Tribune to

24   obtain the step two financing and did not make Tribune's

25   failure to obtain that financing in the event of default."
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 117 of 306
                                                                             117

 1            Now is that an accurate statement from your review of

 2   the credit agreement?

 3   A        I don't have a view.     I don't know.

 4   Q        Okay.   Turn to page -- the next page, 175, and the

 5   next paragraph that starts, "Second."

 6   A        Yes.

 7   Q        "Second, the transaction documentation provided a

 8            mechanism for EGI TRB and the ESOP to sell their

 9            Tribune shares through a Tribune-sponsored

10            registration statement if the merger did not occur."

11            Now from your review of the documents, is that an

12   accurate statement?

13   A        I don't know.

14   Q        Okay.   Can you turn to the next sentence?          It says,

15   "Third."    Can you read that sentence, please?

16   A        Yes.

17            "Third, Tribune's public filings disclose that step

18            two might not close, noting the separate commitments

19            were entered into in connection with each transaction

20            and that step two was subject to satisfaction of

21            specified conditions."

22   Q        And is that, sir, as far as you know accurate; that

23   public filings of Tribune disclosed at step two might not

24   close?

25   A        I think that's correct.      Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 118 of 306
                                                                             118

 1   Q     Okay.   Now could I have you turn to Page -- the next

 2   tab, Tab 4 in your binder.

 3   A     Yes.

 4   Q     And it's Page 182 from the examiner's report.                 Midway

 5   through the first full paragraph it says, "But here the

 6   reason."   Can you read that first sentence -- that one

 7   sentence into the record, please?

 8   A     "But here the reason why the step two debt was not a

 9         liability of the Tribune entities at step one for

10         solvency purposes does not derive from the elevation

11         of form over substance, but rather from the very real

12         fact that the Tribune's had not and could not complete

13         the merger at step one."

14   Q     Now do you agree, sir, with -- that that is, in fact,

15   the case; that at step one the merger had not occurred and

16   could not have occurred?

17   A     I believe that's so.       Yes.

18   Q     Okay.   Then could you read the next sentence into the

19   record, please.

20   A     "Nor could" -- and I would just say I believe that's

21   so because of the regulatory approvals that needed to be

22   obtained that we talked about earlier.            I haven't done a

23   detailed study as to the exact requirements, but there

24   certainly is discussion in the record as to the fact that

25   regulatory approval would take some time.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 119 of 306
                                                                           119

 1   Q     Right.

 2   A     Okay.

 3   Q     Okay.    Next sentence, please.

 4   A     "Nor could Tribune's stockholders receive the proceeds

 5         from any step two advances until the step two

 6         conditions were met and the merger closed.              The fact

 7         that half" --

 8   Q     Well, let's just stop right there --

 9   A     Okay.

10   Q     -- with that sentence first and ask you if you agree

11   that that's an accurate statement?

12   A     It -- it appears to make sense.             I haven't looked at

13   that specifically, but it --

14   Q     Okay.

15   A     -- it --

16   Q     Could we read the next sentence, then.             We'll take

17   them one sentence at a time.

18   A     Okay.

19         "The fact that half the Tribune common stock remained

20         outstanding following the close of step one obviously

21         was not a matter of form to those stockholders."

22   Q     Now do you agree with that, sir, that for the

23   stockholders whether they owned stock or whether they get

24   cash is a matter of substance and not form?

25   A     I think that -- that would be important to a
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 120 of 306
                                                                         120

 1   stockholder, whether it has stock or cash.

 2   Q        Okay.

 3   A        I mean, it's a --

 4   Q        Could you read the next sentence, then?

 5   A        Sure.

 6            "Collapsing step one and step two for solvency

 7            purposes, therefore, would entail disregarding not

 8            just the form, but in a very tangible way substantive

 9            aspects of the leveraged ESOP transactions."

10   Q        Now do you agree with that, sir?

11   A        I am -- no, I don't.    I'm not sure what the examiner

12   means exactly by that.

13   Q        Well, you've read his statements --

14   A        I have.

15   Q        -- previously.   Yes.   Do you have an understanding as

16   to what he was saying there?

17   A        Well, I understand -- I haven't read the full text.

18   You know, you've shown me a line that said "on the other

19   hand."    I don't know what the first hand was talking about.

20   I didn't get a chance to --

21   Q        Uh-huh.

22   A        -- look at that.    But I certainly recognize that from

23   the documents I've certainly seen that it was a single

24   transaction to be accomplished in two steps.            He is talking

25   about, I think, regarding not just the form, the substantive
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 121 of 306
                                                                          121

 1   aspects.   If these are the substantive aspects that he's

 2   talking about and he views those sub -- as being substantive

 3   aspects, then that's his view.        I -- I understand that.

 4   Q     Uh-huh.   Now because you disagreed with the examiner,

 5   you did your analysis on a substantive basis collapsing the

 6   step two debt into the step one.         Is that correct, on your

 7   balance sheet test?

 8   A     It wasn't because I disagree with him.

 9   Q     Well --

10   A     It was because I thought from the documents that this

11   was -- certainly appeared to be a single transaction to be

12   accomplished in two steps.       The lenders had very limited

13   outs with respect to the transaction.             I believe the

14   company's own general counsel talked about the fact -- I

15   think the word he used was ironclad in terms of the fact

16   that the lenders were -- were locked in.             And you see that

17   as you -- the transaction progresses where the lenders are

18   very concerned and actually are hoping for an insolvency

19   certificate if you will to be able to get out of the

20   transaction.

21         So those are the types of factors that I looked at.               I

22   understand what you -- what you're pointing to here, but

23   those are the types of factors that I looked at.

24   Q     Okay.    So am I to understand, then, from what you said

25   that you based your decision to do a solvency test on a
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 122 of 306
                                                                              122

 1   collapsed basis at step one and June 4th because later in

 2   September or October the lenders were trying to get out of

 3   step two?

 4   A     No.    That's -- I don't think that's what I said.             I

 5   based it -- how -- how -- the reason why I treated it as a

 6   single transaction is very well described in my report and

 7   the fact is that this was from the outset a single

 8   transaction to be accomplished in two steps which would

 9   result in taking the company private.             There are reasons why

10   they needed the two steps, which related to both the

11   regulatory approval that we've talked about, but also a --

12   another desire to get cash to the shareholders as quickly as

13   we can.

14         But the objective here was to take the company private

15   under the ESOP structure.        That was very clear as being the

16   objective.   It was described as a single transaction in two

17   steps, and that's the basis for it.          I mentioned the other

18   part for -- because it's true, but that -- the basis, that's

19   not what's described in the basis in my report.

20   Q     Right.   And so focusing on the bases for your

21   conclusions, you concluded that it was, the economic

22   substance of this transaction was to look at it all as if it

23   was -- all the debt was there at June 4th.             Is that correct?

24   A     I treated the -- for the balance sheet test, I treated

25   it as a unitary transaction and, again, for capital adequacy
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 123 of 306
                                                                         123

 1   and ability to pay.     Just to be clear, I treated it

 2   consistent with what the examiner talks about which is I

 3   took the debt into account to the extent that it was

 4   reasonably foreseeable as of step one, and that's the

 5   construct that the examiner states.

 6           And in addition, despite what the examiner is saying

 7   here, of course the examiner recognizes that the issue of

 8   collapsing is what he calls a very close call.             So I think

 9   that you have to view all of this in the context of

10   everything that the examiner is saying.

11           But how I viewed it, not being an attorney, I've -- I

12   understand there are legal issues involved in terms of

13   looking -- looking at this issue of collapsing.             But I

14   looked at this the way the parties were looking at it, which

15   was a single transaction to be accomplished in two steps.

16   And that's why I basically did that for the balance sheet

17   test.

18   Q       Right.   And so focusing on the balance sheet test,

19   which is the subject of the questioning right now, you came

20   to the conclusion that Tribune was insolvent by more than

21   $2.3 billion as of June 4th, 2007.         Is that right?

22   A       I believe so.

23   Q       And it's your view that that represents the economic

24   substance of the -- of the status of Tribune at that time.

25   Is that correct?
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 124 of 306
                                                                           124

 1   A     I believe Tribune was insolvent under the collapse

 2   assumption that I've told you, which reflects the economic

 3   substance of the transaction that, yes.            I believe it was

 4   insolvent by that amount at that point in time.

 5   Q     Okay.    Now $2.3 billion insolvency, I think we

 6   established at your deposition, wipes out the PHONES' debt.

 7   Is that correct?

 8   A     Yes.    And I -- I -- you're throwing around the 2.3

 9   billion.   I think the number we looked at a little bit

10   earlier was 3 billion or so.

11   Q     Yeah.    It's more than 2.3 billion.

12   A     Okay.

13   Q     Even -- even on Tribune's own management projections

14   you came up with $2.3 billion, right?

15   A     Yes.

16   Q     And those management projections were available to the

17   public at this time, right?

18   A     I believe -- well, I believe the -- the proxy came out

19   in July.   There was a step one document that came out in

20   terms of that.      So I believe that's the case.

21   Q     Right.     And -- and on -- and on that basis you came to

22   the conclusion that Tribune was insolvent by $2.3 billion

23   which would wipe out the PHONES.          Is that correct?

24   A     That degree of insolvency would mean the PHONES were

25   effectively equity which I think is consistent with the
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 125 of 306
                                                                           125

 1   commentary from the lenders where they described the PHONES

 2   as equity.       But, yes, that's -- that's correct.

 3   Q        Right.    And -- and you're not aware of any PHONES

 4   being redeemed between June and December of 2007, isn't that

 5   right?

 6   A        I am not.

 7   Q        Okay.    And in addition to wiping out the PHONES,

 8   certainly the three-billion-dollar debt would also -- or

 9   insolvency would also wipe out the existing bonds, isn't

10   that correct?

11   A        The -- I believe that's correct.

12   Q        And we established at your deposition that you had --

13   your recollection at the time is that there was no large

14   change in the bond prices of the existing bonds, isn't that

15   correct?

16   A        Well, there was -- the bonds were at a discount,

17   depending on the varying bonds and the amount of maturity.

18   There were changes.       In terms of severe changes, there were

19   not.   But as I mentioned these bonds traded one to seven

20   times a day, depending on the various issuance and one

21   really needs to look at the credit default swaps because a

22   bondholder can reasonably go to the credit default swap

23   market and cover their exposure likely at a much more less

24   costly -- less costly way because of liquidity in the credit

25   default swap market.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 126 of 306
                                                                            126

 1           So I think I mentioned in my deposition you're looking

 2   at the wrong indicator.        In terms of trying to draw the

 3   conclusion that you're trying to draw, you need to look at

 4   the credit default swaps and -- and that's -- that will give

 5   you a much better depiction in terms of how the market is

 6   assessing risk, and then you must also assess what the

 7   market knows at that point in time, which we have

 8   projections that are back-end loaded.               We have projections

 9   that ramp up specifically compared to '06 and so forth.

10           So those are the considerations that are not

11   necessarily evident to the market based upon the information

12   that the company has placed into the marketplace.

13   Q       Okay.    Well, now, sir, the question was very simple.

14   Didn't we establish at your deposition that you did not see

15   any large change in the price for bond -- for Tribune's

16   existing bonds in the time period of step one?

17   A       Yes.

18   Q       Okay.    And you've referred --

19                   THE COURT:    Mr. Busath, I'm sorry.         I'm going to

20   have to stop you there.

21                   MR. BUSATH:   Sure.

22                   THE COURT:    I have an internal meeting that I've

23   got to get to.      We'll recess now and plan to reconvene at

24   1:45.

25                   MR. BUSATH:   Okay.    Could we have an instruction
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 127 of 306
                                                                          127

 1   at the witness, Your Honor?

 2                 THE COURT:    All right.

 3                 Sir, I direct you not to discuss your testimony

 4   with anyone during the break.

 5                 THE WITNESS:   Okay.

 6                 THE COURT:    You understand?

 7                 THE WITNESS:   Yes.

 8                 THE COURT:    Thank you.

 9                 THE WITNESS:   Thank you.

10                 MR. BUSATH:    Thank you, Your Honor.

11                 THE COURT:    Court will stand in recess.

12            (Recess from 12:11 to 1:50 p.m.)

13                 THE CLERK:    Be seated, please.

14                 THE COURT:    Good afternoon.       Before we resume

15   with cross examination, I'd like to just deal briefly with

16   timing.    Any estimate of what you've got left?           And I know

17   you've just started.

18                 MR. BURSATH:   I just started.        It's very

19   difficult.    I had thought it would be about three hours

20   total.    And I've done a little bit, but I'll be able to know

21   better as we go along.

22                 THE COURT:    Okay.   And I ask not because I want

23   to miss a single moment of this excitement --

24   (Laughter)

25                 THE COURT:    -- but because I'm trying to figure
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 128 of 306
                                                                            128

 1   out whether to have you with your couriers gear up to empty

 2   the courtroom today.          But I think what I'm inclined to do is

 3   not to put that pressure on anybody, although there may be

 4   some advantage to that.

 5   (Laughter)

 6                    THE COURT:    And so you can leave the shelves and

 7   boxes here over the weekend and have your folks pick them up

 8   on Monday if you prefer.         I would like you, however, as we

 9   did with last weekend to clear the tables at the end of the

10   day.   Will that do, Nance?

11                    UNIDENTIFIED SPEAKER:      That would be fine.

12                    THE COURT:    All right.    You may proceed.

13                    MR. BURSATH:    Very good, Your Honor.        Lynn

14   Busath, of Davis Polk for the record.

15                         CROSS EXAMINATION (Resumed)

16   BY MR. BURSATH:

17   Q        Good afternoon, Mr. Tuliano.

18   A        Good afternoon.

19   Q        We had just established before the lunch break, that

20   you did not recall a large change in the price for Tribune's

21   bonds.    Do you recall that?

22   A        I do.

23   Q        And what I'd like to do is to show you, if I may, an

24   exhibit from Professor Fischel's rebuttal report, Exhibit BA

25   which was a chart of the yield to bond maturity's for
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11    Page 129 of 306
                                                                              129

 1   Tribune's bonds.

 2                    MR. BURSATH:   May I approach the witness, Your

 3   Honor?

 4                    THE COURT:   You may.    Thank you.

 5   BY MR. BURSATH:

 6   Q        And you have in front of you Exhibit BA, Mr. Tuliano?

 7   A        Yes.

 8   Q        Uh-huh.    And does that -- is that consistent with your

 9   recollection as to the -- what you observed as the market

10   prices and yields for Tribune's bonds during the time period

11   that's shown on the chart?

12   A        Yes, I think that's correct.

13   Q        Okay.    Now you had talked about liquidity.            Liquidity

14   refers to how often something trades.                Is that correct?

15   A        Yes.

16   Q        And then efficiency refers to the fact that it trades

17   based on all the information known to the marketplace at the

18   time.    Is that correct?

19   A        That's certainly an element of efficiency is that the

20   market has full and complete information.

21   Q        Okay.    So that when trades do occur, they would trade

22   based on that information known to the market.                 Is that

23   right?

24   A        They would trade based on what the market knows if the

25   market is efficient and liquid.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 130 of 306
                                                                          130

 1   Q     Okay.    Now if -- well not if, but in connection with

 2   the tender offer, there was a large amount of information

 3   that was provided to the public.          Is that not correct?

 4   A     I believe there is, yes.

 5   Q     And that included financial analyses done by Citi, as

 6   well as, Morgan Stanley. Is that correct?

 7   A     I'm not aware specifically of what analyses Citi and

 8   Morgan Stanley were actually provided in the -- to the

 9   general public if that's your question.

10   Q     Yeah, okay.      So you did look at public information

11   that was part of your --

12   A     Absolutely.

13   Q     Right.     So if we were to look at the public filings in

14   connection with the tender offer, we could perhaps refresh

15   your recollection as to what was made available?

16   A     Sure.

17   Q     And you have in front of you a filing from the tender

18   offer schedule statement.         And if you could turn to the

19   upper right hand corner, Page 22 of 28, we'll have that

20   brought up on the screen.         And this is an exhibit index of

21   things.   This would be an index of various exhibits to the

22   public filing.      Is that correct?

23   A     What is the -- is there a tab where this exists in my

24   --

25                 MR. BURSATH:   May I approach the witness, Your
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 131 of 306
                                                                         131

 1   Honor?

 2                 MR. TULIANO:   Thank you.

 3                 THE COURT:   Always the last guy to know

 4   everything.

 5   (Laughter)

 6                 THE COURT:   Thank you.

 7                 MR. BURSATH:   Okay.

 8                 MR. TULIANO:   I'm sorry, I was asking with

 9   respect to the document you have on the screen.

10                 MR. BURSATH:   Yes.

11                 MR. TULIANO:   Is that what you handed me?

12                 MR. BURSATH:   That's what I handed -- well, no,

13   it's not.

14                 MR. TULIANO:   I don't think that's what you

15   handed me.

16                 MR. BURSATH:   May I approach the witness again,

17   Your Honor?

18                 THE COURT:   You certainly may.

19                 MR. TULIANO:   Thank you.

20                 THE COURT:   Thank you.

21                 MR. BURSATH:   We will get to the other one in a

22   moment, but if you could turn to Page 23 of 28 in the upper

23   right hand corner.    Well, 22 of 28.        I guess we should start

24   -- that's the exhibit index, do you see this tender offer

25   document?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 132 of 306
                                                                          132

 1                 MR. TULIANO:   Yes, I'm just trying to see the

 2   filing date.

 3                 MR. BURSATH:   I'm not sure that is on here, but

 4   it was filed as of April 25 of 2007 in connection with the

 5   tender offer.

 6                 MR. TULIANO:   Okay.    What page would you like me

 7   to look at?

 8                 MR. BURSATH:   22 of 28.

 9                 THE COURT:   Okay.   Should we be marking this for

10   identification?

11                 MR. BURSATH:   Yes, do we have a number?          Mark it

12   as DCL 2000, Your Honor.

13                 THE COURT:   All right, thank you.

14                 MR. TULIANO:   Yes, I have Page 23, although I

15   think Page 17 is on the screen, did you --

16   BY MR. BURSATH:

17   Q     Yeah, they're -- I'm sorry.         The actual filing from

18   the public filing is 17.

19   A     Okay.     Oh, I see what you're saying.

20   Q     Yeah.

21   A     I -- yes.

22   Q     It prints out that way from the internet.             I see where

23   you are, but -- so this is an exhibit index.            And you'll see

24   at the bottom of that page, there's a number of financial

25   analyses and presentation materials prepared by Merrill
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 133 of 306
                                                                         133

 1   Lynch & Co., do you see that?        It would be Item C5 and C6

 2   for example at the bottom of the page.

 3   A     Yes.

 4   Q     And then at the top of the next page there are

 5   financial analyses and presentations prepared by Morgan

 6   Stanley, Item C7, C8, C9, and C10.         Do you see them?

 7   A     Yes, I do.

 8   Q     Okay.   Now the last one, C10 was dated April 1, 2007?

 9   A     Yes.

10   Q     And that is the Morgan Stanley presentation that has

11   the management B downside analysis in it that you used in

12   your downside analysis.     Is that correct?

13   A     It very well may be.       I haven't compared the specific

14   exhibit reference here to the Morgan Stanley document that

15   contained that downside analysis, but I'll accept your

16   representation if you do.

17   Q     Okay.   Well the other document I handed up first --

18   A     Yes.

19   Q     -- if you have that in front of you --

20   A     Yes.

21   Q     -- you'll see that's Exhibit 99C10 in the upper left

22   corner.

23   A     Yes, I do see that.

24   Q     And that's a Morgan Stanley presentation dated April

25   1, 2007?
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 134 of 306
                                                                          134

 1   A      Yes.

 2   Q      And if you turn to Page 37 of 38, it has the DCF

 3   analysis, the downside Case B.         Do you see that?

 4   A      Yes, I do.

 5                  MR. BURSATH:   And I guess, Your Honor, we should

 6   mark this DCL 2001.

 7                  THE COURT:   All right.

 8   BY MR. BURSATH:

 9   Q      And so that was -- I just want to bring out, that was

10   information in the public domain at the time.              Is that your

11   understanding having reviewed these documents?

12   A      Specifically, the downside Case B and this greater

13   document as it was attached to the exhibit?

14   Q      Yes.

15   A      Yes.

16   Q      Okay.    And in addition, the -- because you had some

17   discussion of credit default swaps.           And the spreads on

18   credit default swaps were also public information, were they

19   not?

20   A      Yes.

21   Q      Okay.    And so those trading and bonds would have that

22   information.     Is that right?     It would be available --

23   A      Sure, they would be able to look at the spreads.

24   Q      Yeah, okay.    And you had prepared a chart that showed

25   the spreads up through the end of 2007.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 135 of 306
                                                                           135

 1   A     Correct.

 2   Q     If you turn to Tab 5 in the binder we provided to you,

 3   the chart from Bloomberg showing the spreads through to the

 4   end of 2008.    And do you see that?

 5   A     Yes, I do.

 6   Q     Um-hum.    And is that consistent with your recollection

 7   as to what the trading was in the CDS spreads throughout

 8   that time period?

 9   A     Is it okay if I reference another document?

10   Q     Please, yes.

11   A     I haven't checked the screen.          I'll accept that as a

12   Bloomberg screen.    I will say that the scaling is extreme.

13   It goes out to 16,000 or so it looks like basis points in

14   terms of spread which is off the charts in terms of spreads

15   so it's difficult to discern the relationship in the earlier

16   time period which is what's presented in Page 48 in my

17   report.

18   Q     Um-hum.

19   A     So I haven't compared the data.             It's very hard to

20   even tell the changes in the time period that we're talking

21   about because the scale goes so extreme with respect to what

22   you've printed out from Bloomberg here.

23   Q     Right.    Well, Tribune filed for its reorganization

24   proceedings in December 2008.        Is that right?

25   A     Yes.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 136 of 306
                                                                              136

 1   Q       So it goes up to the extreme just before that filing.

 2   Is that right?      The CDS spreads rise to that high level just

 3   at that time.    Is that right?

 4   A       Yeah, accepting your chart that's what it shows.

 5   Q       Okay.   And it's very different than what it looks back

 6   in June of 2007.     Is that right?

 7   A       In June of 2007, it shows as in my chart, very extreme

 8   risk.   1,200 basis points of return for a credit default

 9   swap is virtually giving up, is giving the entire return on

10   the underlying instrument itself and then some.              So that is

11   consistent with a company in severe financial distress.

12   This is virtually an aberration in terms of what you're

13   looking at as a result of the bankruptcy.             So I don't draw

14   very meaningful information in terms of what you've put

15   here.

16   Q       Okay.   Do you see there is a big difference between

17   December of 2008 and June of 2007?

18   A       As I mentioned, I think that you can certainly see a

19   difference, but you can also see that the amount of return

20   40,000 -- 4,000 basis points, 6,000 basis points is very

21   extreme here.    And the fact is that in the credit default

22   swap world, 1,200 basis points as shown on this part 800,

23   600 basis points shows an extreme amount of risk.               So this

24   is off the charts in terms of what this is showing.                  And I

25   haven't looked at the underlying data.             I'll accept that
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 137 of 306
                                                                          137

 1   that is, but I don't think you can draw very much meaningful

 2   information from what you have here.

 3   Q     Okay.    But given your view that the -- even the

 4   spreads in June of 2007 were very extreme and very high

 5   risk, that was public information.          Still the case that the

 6   bonds prices and Tribune bond prices did not change

 7   significantly.      Is that correct?

 8                 MR. QURESHI:   Objection, Your Honor.          If I could

 9   just ask that the question clarify as what time period we're

10   talking about --

11                 MR. BURSATH:   I am talking back to the June 1,

12   2007 time period.

13                 MR. TULIANO:   I think as we've discussed earlier,

14   certainly there was information on the public domain about

15   the February 2007 management projections were in the public

16   domain.   We see a very significant increase in spread

17   activity to the point to where as we get into the July

18   timeframe which is significant to what we're talking about

19   at Step 1 because that is when the company just starts to

20   disclose the severity of the issues in the second quarter.

21   And at that time, you see a very significant uptick and

22   that's where you see the commentary with respect to Tribune

23   being the fourth riskiest company out of almost 1,200

24   worldwide.    That is July of 2007.        You also see the

25   commentary with respect to the 50 percent probability of
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 138 of 306
                                                                                138

 1   default which is a very high probability of default.                 And

 2   the market's working with incomplete information at that

 3   point in time.      So that's what the chart shows and I think

 4   that's the mean that you can draw from the data.

 5                MR. BURSATH:    Um-hum.

 6                MR. TULIANO:    I think this chart distorts that

 7   because by using such an extreme scale, it distorts what's

 8   going on in the time period that we're looking at.

 9   BY MR. BURSATH:

10   Q     Well, it uses the scale because that's how high the

11   credit default swaps went, isn't it?

12   A     I think you have to get at as the company goes into

13   bankruptcy, you have issues in terms of settlement, of

14   credit default swaps.      You have basically a process in terms

15   of the auction process being set up.

16   Q     The question was just about the chart and the scales.

17   It has to go to that scale because the rates got that high

18   in December of 2007.      Isn't that correct?

19   A     I would need to check the data that you have

20   underlying this.     The scale is extreme and I think you have

21   an aberration affected by the bankruptcy and as the company

22   approached its bankruptcy.

23   Q     Now could we turn to Tab 6 in the binder which is Page

24   206 from the examiner's report.

25   A     Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 139 of 306
                                                                           139

 1   Q        And in the first full paragraph, the examiner begins

 2   the paragraph by noting Tribune's bond prices exhibit a

 3   little negative price reaction after the announcement of the

 4   leverage ESOP transaction through the Step 1 financing

 5   closing date.

 6   A        Yes.

 7   Q        That's consistent with your recollection.          Is that

 8   right?

 9   A        Yes.

10   Q        And then it speculates as to reasons why that may be.

11   And then the last sentence says regardless of what might

12   have influenced the pricing, the bonds certainly did not

13   trade at levels that would be associated with Tribune

14   insolvency.     Do you recall, sir, I asked you about the -- at

15   your deposition about the examiner's conclusion here that

16   bonds prices were inconsistent with insolvency and you

17   indicated that you had not formed an opinion whether you

18   would agree or disagree with the examiner on that particular

19   point?    Is that correct?

20   A        I recall that testimony, that's correct at the

21   deposition.     I did not get at the underlying reasoning with

22   respect to the examiner.     I think the examiner has missed

23   the illiquidity issue with respect to the bonds.

24   Q        Um-hum.

25   A        And the fact that he should have been looking at the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 140 of 306
                                                                             140

 1   credit default swaps in terms of the level of risk.                 And I

 2   say very clearly in my report, that I don't think the bond

 3   pricing is indicative of insolvency or solvency one way or

 4   another because of that illiquidity issue.            You need to get

 5   at the credit default swap data to be able to get at that

 6   issue.    You need a liquid market and that reflects the

 7   significant risk.    And you also have to recognize the fact

 8   as to what information was in the marketplace as of Step 1

 9   which included the February projections and how the market

10   was assessing that information given what the company was

11   willing to disclose as compared to the financial performance

12   of the company and the virtual impossibility that Mt.

13   Everest that we talked about this morning in terms of

14   hitting the February -- the 2007 component of those

15   projections.    And given the 2007 component was the launching

16   point for the remainder of the projections was absolutely

17   critical that the market have that timely piece of

18   information and the market did not have it at that point.

19   Q        Well, but they did have the downside cases and they

20   did have the credit default swaps that you think are so

21   significant.    All of that was available to the market, isn't

22   that right, sir?

23   A        Well, the credit default swaps are a reaction to what

24   the market has.     It's a reaction.

25   Q        Yeah, a reaction to the information to the market,
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 141 of 306
                                                                           141

 1   right?

 2   A        If you consider it, yes.       It's a reaction to that

 3   information.       The downside case that was presented into the

 4   marketplace was represented as a downside case.

 5   Q        Um-hum.

 6   A        It's not a valid true downside if the company is

 7   tracking downside and the baseline projections are

 8   unreasonable.      So it's not only the fact that a downside is

 9   in the market, but the fact of the matter is the company is

10   characterizing as a downside and that's what the market is

11   relying upon is that characterization that this is a

12   downside.    Now Tribune did not say here is our downside, by

13   the way, we're tracking this downside and, in fact, our

14   projections ramp up, our plan ramps up significantly

15   relative to '06 and here is our performance year to date to

16   '06 so we have real challenges here in terms of hitting

17   these projections, in fact, virtually impossible to hit

18   them.    Excuse me.

19   Q        But again, sir, even based on management's

20   projections, you calculated a $2.3 billion insolvency as of

21   this date.    And that information was available to the

22   public.    Isn't that right?

23   A        The public did not have the information I had to do

24   that calculation, absolutely not.

25   Q        They did not have management's projections?
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 142 of 306
                                                                             142

 1   A      It did not have the information I had with respect to

 2   the internal Tribune records to be able to ascertain the

 3   relationships that I was able to ascertain on a newspaper by

 4   newspaper basis to evaluate the reasonableness of those

 5   projections.

 6   Q      Well you use that in coming up with your projections,

 7   but management's projections were there and available to the

 8   public.    Isn't that correct, sir?

 9   A      I used that information to evaluate the reasonableness

10   of Tribune's projections.

11   Q      Sir, can you answer the question?           Tribune's

12   projections were available to the public.             Isn't that

13   correct?

14                  THE COURT:   Mr. Tuliano, you've already told him

15   yes.

16                  MR. TULIANO:   Yeah, okay, yes.

17                  THE COURT:   Okay.

18                  MR. TULIANO:   I'm just trying to think.          I've

19   seen many projections on behalf of the company, so yes.

20   BY MR. BURSATH:

21   Q      Okay.    And, sir, if we turn to your demonstrative

22   Exhibit 19.

23   A      Yes.

24   Q      This is where you present your balance sheet solvency

25   test as of June 4, 2007.      Do you see that?
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 143 of 306
                                                                                143

 1   A        Yes.

 2   Q        And you calculated a deficiency of $3 billion.               Is

 3   that right?

 4   A        Yes.

 5   Q        And in doing that, you include Step 2 debt.             Is that

 6   right?

 7   A        Yes, I do.

 8   Q        If we look at Page 20 of your demonstratives, you show

 9   the increased Step 2 debt at $4.14 billion.              Is that right?

10   A        Correct.

11   Q        So if we were to back that out, then your chart would

12   show solvency for Tribune without considering the Step 2

13   debt.    Is that correct?

14   A        Yes, that's correct.

15   Q        Okay.   Now in your view was Step -- well, you

16   testified earlier that the transaction was a single

17   transaction in two steps.

18   A        Yes.

19   Q        In your under -- is it your view that Step 2 was

20   certain to occur?

21   A        No, that's not my view.

22   Q        Okay.   And you understood that there were considerable

23   risk at the time as to whether or not Step 2 would occur.

24   Is that correct?

25   A        Yes, the company needed a solvency certificate as an
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 144 of 306
                                                                         144

 1   example so ultimately there was a solvency certificate

 2   regulatory approval which was relatively straightforward as

 3   I understand it, but those were the primary conditions.

 4   Q     Okay.    Well if you turn to Tab 7 in your binder.

 5   A     Yes.

 6   Q     The analyst report from Deutsche Bank.            And under the

 7   second valuation, a factor of deal pricing, do you see that

 8   section at the bottom of the first page?

 9   A     Yes, I do.

10   Q     And the -- I think it's the third sentence that begins

11   downside risks.     Could you read that sentence, please?

12   A     Downside risk includes issues with FCC approval, the

13   inability to obtain debt financing, risking interest rates

14   or widening high yield credit spreads.

15   Q     And do you agree that those were risks that created

16   uncertainly at the time as to whether or not that Step 2

17   would close?

18   A     Yes.

19   Q     If I might have you turn the page --

20   A     Although, I would say, the debt financing, the

21   commitments were certainly in place prior to Step 1 and then

22   I believe the general counsel of the company referred to

23   that as iron clad so I think that has to be viewed in line

24   of -- with respect to certainly the contractual commitments

25   that the lenders had made with respect to funding the
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 145 of 306
                                                                            145

 1   transaction.

 2   Q        Okay.   But you don't disagree that those were risks

 3   that created uncertainty at the time that Step 2 went to

 4   close?

 5   A        Yes, I think -- yes --

 6   Q        Okay.

 7   A        -- I agree.

 8   Q        The top of -- and turn to the next page under the

 9   risks to Zell that LBO, the second to the last sentence in

10   that paragraph that starts we do believe, could you read

11   that, please?

12   A        We do believe that the chance of the offering price

13   being lowered or the deal not happening is far from remote.

14   Q        And do you agree with that assessment that at that

15   point in time it was far from remote as to whether or not

16   Step 2 would close?

17   A        I'm sorry, what was the date of this?

18   Q        This is in April 19 of 2007.

19   A        Yes, I think the market recognizes an extraordinarily

20   risky deal.

21   Q        Um-hum.

22   A        And that accordingly, that I think is the basis with

23   respect to the commentary given the financial condition of

24   Tribune and the industry and the degree of leverage that was

25   being placed on the company.          I think certainly there was
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 146 of 306
                                                                          146

 1   recognition that the risk that the transaction might not

 2   close.

 3   Q        Okay.   Can I have you turn to Tab 8?         It's a Citigroup

 4   presentation from June 21, 2007 and on the second page of

 5   that exhibit.

 6   A        Yes.

 7   Q        At the bottom of the page, the last paragraph that

 8   starts the major downside risk.         Could you read that

 9   sentence, please?

10   A        The major downside risk we see to the achievement of

11   our target price is the failure of Mr. Zell to close his

12   acquisition of the company due either to denial of

13   shareholder approval or outside -- or the outside funding

14   needed to finance the deal.        Other risks include lack of

15   visibility on timing of a sustained advertising recovery

16   comma.

17   Q        Well I guess it continues, if you want to read the

18   rest of the sentence.

19   A        Yes, it does.

20   (Laughter)

21   BY MR. BURSATH:

22   Q        But do you -- from your understanding was the

23   shareholder approval another requirement that needed to

24   occur before the merger could occur?

25   A        Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 147 of 306
                                                                         147

 1   Q     And if I could have you turn to Page 44 of your report

 2   and we will bring it up on the screen.

 3   A     Yes.

 4   Q     You reference a Merrill Lynch banker noted at the

 5   bottom of the page.     Could you read that paragraph, please?

 6   A     At Merrill Lynch, a banker noted in late June 2007

 7   that it was too difficult to really put a confidence level

 8   on the likelihood of the Step 2 transaction closing in part

 9   because the company's fundamental performance likely needs

10   to be better in the latter half of the year than it has been

11   in the first.

12   Q     Okay.     And do you agree, sir, with that assessment

13   that at this point in time it was really too difficult to

14   put an assessment, a confidence interval on whether or not

15   Step 2 would close?

16   A     I'm not sure what's meant by a confidence level on the

17   likelihood I think they're trying to put an element of

18   precision or perhaps a probability percentage.

19   Q     Um-hum.

20   A     And in terms of -- and I think this is certainly in

21   recognition of the deterioration and the financial

22   performance and the fact that the improvement needed to

23   improve significantly or the possibility of tripping the

24   solvency certificate as an example.          So I think that I

25   haven't put a confidence level.        I think that's what he was
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 148 of 306
                                                                            148

 1   referring to.    I don't have an issue with this.

 2   Q      Okay.    Could you turn to Page 46 of your report?

 3   A      Yes.

 4   Q      And the second full paragraph there begins on August

 5   14.   Could you read that sentence, please, the first

 6   sentence?

 7   A      On August 14, 2007, Lehman cut its earnings estimate

 8   for Tribune and stated the likelihood of the transaction

 9   happening in the upcoming months is no better than 50/50 at

10   this stage due to significant pressure on revenue and

11   EBITDA.   Tribune is significantly over levered currently and

12   should not be adding more debt to its capital structure

13   given the ongoing secular decline in the fundamentals across

14   Tribune's newspapers and TV stations.             Did you want me to

15   continue?

16   Q      No.    I wanted to ask you a question about the 50/50

17   probability.

18   A      Okay.

19   Q      Is it your assessment, is that from your review of the

20   documents, is that a fair assessment at the time as to the

21   likelihood that Step 2 would close?

22   A      I think Step 2 had a much higher probability than the

23   50/50 indicated here by Lehman given the contractual

24   commitments and the regulatory approval that was needed, but

25   I have not put a probability -- a specific probability
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 149 of 306
                                                                           149

 1   assessment on that.

 2   Q        Okay.   Now in your demonstratives today on Page 49,

 3   could you turn there, please?

 4   A        Yes.

 5   Q        Are you with me?    And this -- the blue graph here is

 6   your graph of the Tribune stock price.             Is that correct?

 7   A        Yes.

 8   Q        And you've shown where Step 1 came in June 4, you have

 9   a dotted line there.      At that time, there was a tender offer

10   to purchase the shares at $34 per share at Step 2.               Is that

11   right?

12   A        Yes.

13   Q        And then this shows that despite that offer out there,

14   that the share price dropped during the summer.              Do you see

15   that?

16   A        Yes.

17   Q        And was that consistent with the fact that the market

18   was uncertain as to whether or not Step 2 would close?

19   A        Yes, I think there's market uncertainty regarding a

20   solvency certificate.       I think the market understood that.

21   You also though -- I point that the market itself as you see

22   in the S&P chart up above was declining with a similar

23   pattern that you see with respect to Tribune.              The scale is

24   different but you can see that similar decline.              But

25   certainly, the market perceived risk.
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 150 of 306
                                                                              150

 1   Q        All right, perceived risk as to Tribune as to whether

 2   or not Step 2 would close.          Is that what you mean?

 3   A        I think there was concern as to a solvency certificate

 4   and otherwise certainly.         There was risk that the step might

 5   not close.

 6   Q        Okay, thank you.       Now if we could turn now to your

 7   projections, your management projections.

 8   A        Yes.

 9   Q        As I recall your direct testimony, you indicated that

10   the examiner had looked at that issue, management's

11   projections in February 2007, whether or not to rely on them

12   or not.

13   A        I believe that's the case, yes.

14   Q        Okay.    And at that time, were you and your firm

15   engaged to provide support to some parties who were arguing

16   to the examiner that they should not rely on those

17   management projections?

18                    MR. QURESHI:    I would object to the form, Your

19   Honor.    It's just not clear at what time.

20                    THE COURT:   Any response?

21   BY MR. BURSATH:

22   Q        So let's do this a little different.            Let's turn to

23   Tab 10.    We have the examiner's report Page 212.              And in the

24   second full paragraph, the examiner indicates that during

25   the course of his examination, certain parties contended
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 151 of 306
                                                                              151

 1   that reliance on these projections was unreasonable in light

 2   of the negative variances between the actual results for

 3   Tribune after February 2007, but before the Step 1 financing

 4   closing date.    And I just wanted to know whether you and

 5   your firm were working at that time for one of these parties

 6   who was making that argument to the examiner.

 7   A     We were engaged by Wilmington Trust counsel to the

 8   PHONES.   I did not read the briefs at that point in time, so

 9   I don't know what they were specifically contending.

10   Q     Okay.     So you don't know for sure whether at that time

11   your firm was making the argument that the projections were

12   unreasonable because of the decline early in 2007?

13   A     I was answering a different question.            I think you

14   were asking me what Wilmington Trust was contending.                We

15   were engaged to look at this and we ultimately met with the

16   examiner and we presented our findings.           We had a very

17   limited time to do that, but we did present our findings.                 I

18   don't recall specifically how far we had progressed on our

19   analysis of the projections, but I wouldn't be surprised

20   that we had significant concerns at that time.

21   Q     Okay.     And if you turn the page on 213 -- well, the

22   examiner, you said you met with him, he considered those

23   arguments.    Is that correct?

24   A     We met with the examiner's financial advisors and

25   based on the work we had done to that date which was a
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 152 of 306
                                                                          152

 1   relatively short timeframe, but to that date, we presented

 2   some information to his advisors and met with them at I

 3   believe it was at their request, but we did meet with them.

 4   Q     Okay.    If you turn to the next page on 213 at the last

 5   sentence, I guess, the examiner sums up that in light of

 6   these considerations, applying an objective test to measure

 7   capital adequacy based on what was known and ascertainable

 8   at the time, the examiner finds that the Court would likely

 9   conclude that it would be inappropriate to revise the

10   February 2007 projections based on declines and performance

11   in April and May.    Do you recall that that was the

12   examiner's conclusion?

13   A     Yes.     I also recalled a follow up on your prior point.

14   We had not at this point, gotten down to the newspaper by

15   newspaper basis.    That analysis followed this.           So again, I

16   would need to see, I believe there was some materials that

17   we presented to the examiner's financial advisors.              I would

18   need to see that to see what we presented on financial

19   projections.

20   Q     Okay.

21   A     I do recall we looked at the -- a quick analysis of

22   the value of the business using the stock and debt approach

23   at that point in time.     And we presented some other

24   information to the examiner as well.          I do not specifically

25   recall the analysis that was done related to the
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 153 of 306
                                                                            153

 1   projections.

 2   Q        Okay.   Well that's what we're discussing at this

 3   point.

 4   A        Okay.

 5   Q        Okay.   So if you turn to Tab 11, the examiner in

 6   volume one of his report on Pages 82 and 83 makes some

 7   comparisons of the information, the budget plan that Tribune

 8   had at that time.      It should be its projections.            Do you see

 9   that in the table on 82?

10   A        Yes.

11   Q        Okay.   And on the Page 83, he's put out some

12   projections from IBES, the Institutional Brokerage Estimate

13   System.    Are you familiar with that system?

14   A        I don't recall.

15   Q        Okay.   At any rate, the examiner shows consensus data

16   as of March 2007.      For revenues for Tribune, the median

17   $5,367,000,000.       Do you see that?

18   A        Yes, I do.

19   Q        And then IBS mean at $5,369,000,000.            Do you see that?

20   A        Yes.

21   Q        And that compares on the prior chart to the total

22   publishing revenue of $3,985,000,000.               Do you see that, for

23   the 2007 plan, the budget?         I'm sorry.

24   A        I'm not following you, I'm sorry.

25   Q        I'm sorry, I'm looking at the wrong line.             Look at the
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 154 of 306
                                                                               154

 1   consolidated Tribune Company revenue further down for the

 2   2007 budget it's $5,386,000,000.           Do you see that?

 3   A        Yes, I do.

 4   Q        Okay.   Now you are familiar with Reuters?

 5   A        Yes.

 6   Q        The market -- you used that in your report.              Is that

 7   right?

 8   A        Yes.

 9   Q        And we have that behind Tab 12.            And hopefully, it's

10   easier for you to read on your screen.

11   A        Yes.

12   Q        The -- you see the revenues for December 2007.                This

13   is a consensus of 15 different analyst estimates.                 Is that

14   right?    Can we --

15   A        I'm not sure what line you're looking at.

16   Q        Yeah, that's under revenue, if we can bring the line

17   up for December 2007, fiscal year 1 line that's highlighted

18   in brown on the --

19   A        Yes, I see that.

20   Q        You see it, okay.

21   A        Fifteen analysts, that's correct.

22   Q        Fifteen analysts.    And the mean revenue is

23   $5,371,000,000.       Is that right?

24   A        Yes.

25   Q        And the median is $5,372,000,000.           Is that right?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 155 of 306
                                                                           155

 1   A     That's correct.

 2   Q     Which -- now you had in your report presented some

 3   projections that compared Tribune's future projections in

 4   further years, is that right, to this consensus data?

 5   A     That was one thing that we looked at, yes.

 6   Q     Right.   And we established at your deposition the fact

 7   that in 2009, the projection was based on only two analyst's

 8   projections.

 9   A     Yes, because many analysts don't necessarily project

10   out four or five, three, or four, five years.             The number of

11   analysts drop off as you go off into success of later years.

12   Q     Right.   And in 2010, 2011, there's only one analyst

13   that went out that far.     Is that correct?

14   A     I believe that's the case.

15   Q     Okay.    And if we turn to Tab --

16   A     Yes.

17   Q     -- 13 in your binder, you also prepared some

18   comparisons to the Wall Street averages coming from

19   Blackstone for publishing in your report.            Is that correct?

20   A     I believe so, yes.

21   Q     Okay.    And here you'll see for 2007, there were five

22   analysts and they were projecting a mean revenue for 2007 of

23   $3,899,000,000.     Is that right?

24   A     Yes.

25   Q     And for a median of $3,894,000,000.            Is that right?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 156 of 306
                                                                         156

 1   A     874, yes.     I'm sorry, am I looking at the right

 2   number?   Oh, 899 for '07, yes.

 3   Q     Yeah, yeah.

 4   A     That's correct.

 5   Q     Okay.    And then we -- again, you had a chart in your

 6   report that compared Tribune's projections in future years

 7   with these averages.     And we established that -- and I think

 8   it was an EBITDA chart, but either way, we established that

 9   in 2009, 2010, 2011, that's only based on two analysts in

10   this chart.    Is that right?

11   A     That's correct.

12   Q     Are you aware, sir, that Tribune was not putting out

13   earnings guidance to analysts at this time?

14   A     Forward guidance, yes.

15   Q     Okay.    Now when you prepared your projections, you --

16   well, I guess before we get there, you understand that

17   Tribune in preparing its projection, started at the

18   gathering information at the business unit level and

19   building up?

20   A     At what time?

21   Q     In preparing its 2007 projections.

22   A     I understand in the fall of '06, it started a process

23   of the business unit level.       I also understand that it was

24   able to very quickly revise those projections to reflect

25   January results and in late January and early February.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 157 of 306
                                                                           157

 1   Q     Okay.    Now you are not a specialist in the newspaper

 2   industry.    Is that correct?

 3   A     That's correct.

 4   Q     And you're not a specialist in the broadcasting

 5   industry?

 6   A     Yes.    I consider myself an insolvency specialist, not

 7   a newspaper or broadcasting specialist, although as I

 8   mentioned before, I do have experience and valuation

 9   experience in those industries.

10   Q     Okay.    And you did not hear built up projections from

11   the business unit level up, did you?

12   A     No, I did not, nor did I feel it was appropriate, but

13   I -- you're correct.

14   Q     Okay.

15   A     I did not.

16   Q     And what you did was to start with a number which you

17   believed was -- would be the actual number for 2007 up to

18   May, a projection based on May information as to what would

19   be the actual.      And then you simply applied math using the

20   growth rates that were from the Tribune's projections.               Is

21   that right?

22   A     We did.    We wanted to give management the benefit of

23   the doubt of its growth rates, but to reflect the issues

24   that it had given the projections were four months old at

25   that timeframe and the business had deteriorated
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 158 of 306
                                                                         158

 1   substantially.

 2   Q     And what you were doing was putting numbers on paper

 3   and doing math to calculate to your projections?

 4   A     I don't agree with -- quite agree with that

 5   characterization.    I was using my professional judgment and

 6   experience --

 7   Q     Um-hum.

 8   A     -- in giving the company the benefit of the doubt with

 9   respect to the growth rates to come up with a set of

10   projections which the company could have easily come up with

11   itself.

12   Q     Well, sir, you rejected management's projections

13   themselves.   Correct?

14   A     I found the projections, the February projections as

15   of June to be unreasonable, similar to what management found

16   as of July, yes.

17   Q     And the growth rates are simply calculations based on

18   their projections.    Isn't that correct?

19   A     We -- the growth rates were implicit in the

20   projections both monthly and then the annual growth rates

21   and yes, we gave the company the benefit of that.

22   Q     Okay.     Well so you say the benefit, but actually,

23   growth rates are sensitive to the beginning number, right,

24   the denominator in which they're based?

25   A     Yes, and that was the issue we identified and we
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 159 of 306
                                                                         159

 1   discussed at length in our report is it's so important to

 2   get that first number right because with the succeeding

 3   growth rates, if that number is inflated every successive

 4   year will be inflated and that was part of what the examiner

 5   pointed to as of Step 2 in terms of the problems with those

 6   projections.

 7   Q     Well, well, yeah, but as a matter of math, if you

 8   start with a low number -- I mean, if you start with a

 9   dollar and it grows over a period to $20, that growth rate

10   will be bigger than if you start with $20 and it grows over

11   that period to $40.     Isn't that right?

12   A     Yes.

13   Q     Yeah, okay.

14   A     By virtue of math, yes.

15   Q     Right, right.     So if Tribune had a higher starting

16   number, then it's growth rates all else being equal would be

17   less than if you had a lower starting rate.            Isn't that

18   correct?

19   A     Yes.     And that was the issue we pointed to, but I just

20   want to be clear that we evaluated those projections in the

21   context of many, many factors.        This wasn't a math exercise.

22   It was an exercise in evaluating the financial performance

23   of the business and making sure that the projections as of

24   Step 1 were grounded in that financial performance.

25   Ultimately, math underlies a calculation to derive the Step
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 160 of 306
                                                                         160

 1   --

 2   Q        Um-hum.

 3   A        -- 1 adjusted projections.      And as I mentioned, we

 4   also did the valuation under the management projections, but

 5   it was very clear to me that those projections were

 6   unreasonable and needed to be adjusted.

 7   Q        So you felt comfortable relying on the growth rates

 8   from management's projections even though you rejected their

 9   projections themselves?

10   A        For purposes of the analysis, I did.         I felt it was a

11   very conservative way to go about this.           An argument could

12   have been made to certainly take that slope down, given the

13   fact that the preceding years were in decline and the

14   newspaper business was decline and we had a secular decline

15   in the industry and changed that slope to reflect the prior

16   years.    I did not do that.     I gave the company the benefit

17   of that.    I just lowered the starting point and then gave it

18   the benefit of its growth rates on a go forward basis as I

19   believe at the very least the company should have done as of

20   Step 1.

21   Q        But in any rate, you did not do a grounds up base

22   analysis as to what the projections should be in the future.

23   A        What do you mean by --

24   Q        A bottoms up analysis from the business units and

25   doing an analysis to see what the actual costs and revenues
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 161 of 306
                                                                         161

 1   might be for each business unit.         You did not do that?

 2   A     I did not do it.     It would not have been possible to

 3   do nor did I feel it necessary.

 4   Q     Um-hum.    And if we could turn to Page 7 of your

 5   rebuttal report. And we discussed this at your deposition,

 6   but are you with me on Page 7 yet?

 7   A     I'm sorry, just give me a second.

 8   Q     That's okay.

 9   A     Yes, I am with you.

10   Q     Okay.    Professor Fischel had done some analyses and

11   well, presented some information on third party average base

12   case projections.    Is that right?

13   A     Yes.

14   Q     And then you did -- you took those and did an analysis

15   and the second to the last sentence it says as shown in

16   Exhibit 3.    Could you read that please?

17   A     Yes.    As shown in Exhibit 3, simply, substituting the

18   EBITDA estimates from third party average base case

19   projections and Professor Fischel's EBITDA estimates based

20   on the February management projections leaving all other

21   assumptions unchanged results in Professor Fischel's DCF

22   indicating insolvency ranging from $697 million to $1.5

23   million as of June 4.     And I think as we discussed, that

24   leaving all other assumptions unchanged, there were two

25   assumptions related to a stock base comp in his 401K that
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 162 of 306
                                                                         162

 1   weren't changed.    So I think that was a poor choice of words

 2   with respect to that.

 3   Q     So to be clear, Professor Fischel had included the

 4   savings from the 401K contributions that were no longer

 5   going to be made.    Is that right?

 6   A     Correct.

 7   Q     And he included the savings from the stock based

 8   compensation that was to be I guess done away with at the

 9   end of the Step 2.    Is that correct?

10   A     That is correct and --

11   Q     And you did not include either of those savings in

12   this projection on Exhibit 3.        Is that correct?

13   A     We did not.     We left the assumptions the same on the

14   page in terms of the base valuation assumptions, but because

15   of the fair market value standard, we didn't, but the words

16   say all and it shouldn't say all.

17   Q     Okay.   So the -- if I understand it, the fair market

18   value standard was the one you used to decide which

19   assumptions you took and which assumptions you didn't?

20   A     Yes, it was a valuation exercise so it was just those

21   two were the assumptions that we changed because of that

22   standard, but we left his discount rate, his exit multiple,

23   the other numbers that were on his -- that were on the page.

24   Q     Okay.   On Page 19 of your rebuttal report, could you

25   turn there, please?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 163 of 306
                                                                            163

 1   A        Yes.

 2   Q        You have a paragraph there talking about the terminal

 3   value in implied long-term growth rates.            Do you see that?

 4   A        Yes.

 5   Q        And in the second sentence, could you read that,

 6   please, after correcting.        Do you see that?

 7   A        After correcting for Professor Fischel's erroneous

 8   weighted average cost of capital calculation as described

 9   above and applying a 9 percent WAC, I determined that

10   Professional Fischel's implied long-term growth rates for

11   the Tribune business were as high as 2.8 percent as of June

12   4 and 2.6 percent as of December 20.

13   Q        Now the phrase after correcting for Fischel's WAC,

14   that indicating that you did not actually use his WAC in

15   your calculation.    Is that right?

16   A        That's correct.

17   Q        Okay.

18   A        And I don't believe it would have been appropriate to

19   do so.

20   Q        Well, you were -- well be that as that may be.             If we

21   turn to Tab 15 in your binder, there's a publication by

22   Joshua Rosenbaum and Joshua Pearl.

23   A        Yes.

24   Q        If you look at the last Page 133, there is a

25   calculation, a formula set out there for calculating the
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 164 of 306
                                                                             164

 1   implied perpetuity in growth rate.           Do you see that exhibit

 2   -- their Exhibit 3.22A.       It would be the top formula there.

 3   A        It's very hard to read here.

 4   Q        Okay.    Do you have it in your binder at Tab 15.            Is it

 5   easier to read there?

 6   A        It's also -- no, it's not unfortunately, sorry.

 7   Q        It's difficult.

 8   A        But whatever you say it is, I'll accept that.

 9   Q        Right.   Well, what I wanted to establish is that there

10   are -- here in this formula, there are three factors, three

11   inputs, if you will, that they give.            One is the terminal

12   value.    The other is the WAC and the other is the pre-cash

13   flow for the terminal year.         Does that sound correct that

14   those are the three inputs you had used to calculate an

15   implied terminal value?       An implied growth rate, rather.

16   A        I don't know.    I haven't reviewed the formula and I

17   haven't seen this text so I would need to check that.

18   Q        Okay.    And if -- so do you know what terminal value --

19   did you use Professor Fischel's terminal value in your

20   calculation?

21   A        I know that we implied the -- we ultimately -- I

22   believe that we would have, but I would need to check

23   ultimately with respect to that calculation.

24   Q        Okay.    And well maybe I can put it this way.           If you

25   don't remember what actually goes into the formula, but you
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 165 of 306
                                                                                165

 1   do recall -- you recall that Professor Fischel had a WAC

 2   that went from 7.25 percent to 8.25 percent in June of 2007.

 3   Is that right?

 4   A        Yes.

 5   Q        And you did not use either of those WAC's in your

 6   calculation. Is that correct?

 7   A        Yes.    Could I explain why?

 8   Q        Well, you used the 9 percent.         Is that correct?

 9   A        Yes.    As it says in the report, I used the 9 percent,

10   but --

11   Q        Yeah.

12   A        -- if I could explain why that would be fine or if --

13   Q        Well, we'll get there.

14   A        -- you'd rather I don't that's --

15   Q        We'll get there in one second, but --

16   A        Okay.

17   Q        -- what I first want to establish is that you have not

18   actually given testimony as to what the implied growth rate

19   is for Professor Fischel's own analysis.

20   A        It would be an apples and oranges comparison.                It

21   would -- you can't do that because of the way he determines

22   his WAC.

23   Q        Well, you can't do the calculation with his numbers to

24   find out what the implied growth rate is for his analysis?

25   A        You can do the math.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11    Page 166 of 306
                                                                             166

 1   Q     Okay.

 2   A     But ultimately, the terminal value is a market based

 3   terminal multiple.     Implicit in that is a market based

 4   assessment, a market based capital structure.               You need to

 5   use the WAC with a market based capital structure.                He uses

 6   Tribune's specific capital structure.              So you have a market

 7   based multiple. You have a company specific WAC and you're

 8   trying to determine the growth between the two.               It's an

 9   apples and oranges comparison.

10   Q     Well, the purpose of doing the -- there are two

11   different ways to calculate terminate value, isn't that

12   correct?   One is with an exit multiple, the other is with

13   perpetuity growth rate.      Is that correct?

14   A     Yes, with the caveats I gave this morning about it --

15   Q     Um-hum.

16   A     -- introducing the market approach as a significant

17   part of the DC -- of the income approach, but yes.

18   Q     Okay.   And if you start with the multiple approach,

19   then you can calculate an implied growth rate as a check on

20   that multiple.      Is that correct?

21   A     Would you repeat that?

22   Q     Yeah, if you use the exit multiple approach to

23   calculate your terminal value, you can also -- you can

24   calculate what the implied growth rate would be from that as

25   a means of checking.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 167 of 306
                                                                          167

 1   A       Yes, you could do the math.        I'm just -- what I'm

 2   addressing is whether that result would be meaningful, but

 3   yes, you could.

 4   Q       And then the other way is if you use an implied growth

 5   rate to calculate your terminal value, you can also imply

 6   and calculate the implied multiple as a means of checking

 7   that.   Isn't that correct?

 8   A       Yes.

 9   Q       And, in fact, that's why these formulas are put here

10   in this book as a means of -- so practitioners can use them

11   to -- as a means of calculating either and doing that check.

12   Is that correct?

13   A       As I said, I would need to review the formulas, but I

14   can't even read them here so --

15   Q       All right.

16   A       -- it's a little difficult to comment.

17   Q       Well, let's look at what is easy to read on Page 133.

18   The PGM, they use that to mean the perpetuity growth method.

19   A       Yes.

20   Q       Can you read that paragraph for us, the PGM is often

21   used?

22   A       The PGM is often used in conjunction with the EMM.

23   Q       And that's a reference to the exit multiple method on

24   the prior page.

25   A       Okay.   With each serving as a sanity check on the
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 168 of 306
                                                                            168

 1   other.    For example, if the implied perpetuity growth rate

 2   as derived from the EMM is too high or low, see Exhibits

 3   3.22 and 3.22B.       It could be an indicator that the exit

 4   multiple assumptions are unrealistic.

 5   Q        All right.    And then below those graphs, the next

 6   sentence says similarly.

 7   A        Similarly, if -- would you like me to read that?

 8   Q        Please.

 9   A        Okay.    Similarly, if the implied exit multiple from

10   the PGM is not in line with the normalized trading multiples

11   for the target of its peers, the perpetuity growth rate

12   should be revisited.

13   Q        Okay.    And now you mentioned your reasons for not

14   using Professor Fischel's own WAC in imputing the implied

15   perpetuity growth rate for his calculation.              You understand

16   that Professor Fischel disagrees with you on that.                Is that

17   correct?

18   A        Yes.

19   Q        And you also understand that he disagrees with the way

20   you calculated your 9 percent WAC.           Is that right?

21   A        I believe.    Yes, I believe that's the case.

22   Q        Right.    Because you included a size risk premium.           Is

23   that correct?

24   A        Yes.

25   Q        And size risk premiums are to assess an extra premium,
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11    Page 169 of 306
                                                                                169

 1   extra risk for smaller companies.            Is that right?

 2   A        Well, it's empirical evidence tells us that the weight

 3   of return then investors require varies based on the size.

 4   So yes, there is a -- based on the size of a company, we

 5   know there's a relationship to return so it's common to use

 6   a size premium and this is something the examiner commented

 7   on that a size premium was appropriate as well.

 8   Q        Um-hum.   Now you also used the Barra Company, the beta

 9   that they project.       Is that correct?

10   A        Yes, I did.

11   Q        That they predict, right?        And that includes a risk as

12   one of the facts that they already included in predicting

13   the beta that you would use in your calculation.                 Is that

14   right?

15   A        It includes what as a risk?

16   Q        Size as one of the risk factors.

17   A        It's a different measure of size.             It's size as it

18   relates to the beta as opposed to size as it relates to the

19   capital asset pricing model.          And I know that to be true for

20   two reasons; one is that if you look at the Bloomberg betas,

21   the Bloomberg betas don't claim to make an adjustment for

22   size and they're virtually identical to the Barra beta.                  So

23   whatever size Barra is attempting to adjust in its betas as

24   it pertains to Tribune, it's minuscule compared to the size

25   that would be adjusted through Cap M.                And I also know that
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 170 of 306
                                                                             170

 1   because we verified it with the people at Barra who create

 2   the Barra beta and they've indicated exactly what I've said.

 3   Q        Now if you could turn to Tab 20 in your binder.

 4   A        Yes.

 5   Q        And you have an exhibit from Professor Shannon Pratt.

 6   You recognize him as an expert.          Is that right?

 7   A        Yes, I do.

 8   Q        And the cost of capital.       Do you see that?

 9   A        Yes.

10   Q        And the bottom of Page 136, he has a discussion of the

11   Barra.    Do you see that?

12   A        Yes.

13   Q        It says starting at the very bottom of the page, Barra

14   uses and it continues to the next page company risk factors,

15   company characteristics, plus industry risk exposures in

16   developing their predicted betas.           Do you see that?

17   A        I'm -- can you highlight it?        Let me see if I can see

18   the whole sentence.

19   Q        The very -- I'm sorry, the very bottom of page --

20   yeah, it was there for a second, Barra uses.              Can you see

21   that?

22   A        I'm just trying to put the sentence together.

23   Q        Yeah.

24   A        If I could just have a second.

25   Q        Sure.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 171 of 306
                                                                         171

 1   A      Yes, I see that.

 2   Q      Okay.    And then he continues below that these risk

 3   factors and he enumerates them and size is one of them.             Is

 4   that correct?

 5   A      Yes.

 6   Q      And it says size based on log of market capitalization

 7   and log of total assets.     Do you see that?

 8   A      Yes.

 9   Q      And on Page 138, he has a chart showing the sizes of

10   the various -- well, a comparison to Barra historical

11   predicted betas to some betas.        Do you see that?

12   A      Yes.

13   Q      And then in the second column is the largest market

14   cap.   Do you see that?

15   A      Yes, I do.

16   Q      So in the first decile, the 398, I take that to be

17   $398 billion.    Is that how you would take that?

18   A      I don't know.    I can't tell from this.

19   Q      Okay.

20   A      That very well may be -- that number is just a lot

21   larger than the second so --

22   Q      Right.

23   A      -- I don't see where it says in millions or billions.

24   Q      Yeah.    Professor Pratt doesn't provide you of course

25   in his book, but I assume there are companies larger than
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 172 of 306
                                                                          172

 1   $398 million, that's why I --

 2   A       Yeah.    No, yeah, I would -- yeah, I think that's right

 3   because of the -- we get down to the third to fifth decile,

 4   that's $2.8 to $7.9 billion, yeah.

 5   Q       Well the -- it would be the -- yeah, okay.

 6   A       Or I --

 7   Q       The second decile, the largest as I read it and you

 8   tell me if I'm wrong, but the largest cap in the second

 9   decile would be $17 billion.        So Tribune would fall in the

10   top 20 percent of companies from this chart.             Is that

11   correct?

12   A       I think this is looking at market capitalization.

13   Q       Right.

14   A       Yeah, this is looking at the market capitalization.           I

15   think --

16   Q       Tribune would be over $7.9 billion of market

17   capitalization in June of 2007, would it not?

18   A       Well, it's not clear whether we're talking about the

19   market capitalization of equity or total invested capital

20   here.

21   Q       Okay.    At any rate, it would be among the larger

22   companies, not among the smaller.          Is that correct?

23   A       Well, I think if my memory serves, I think we put it

24   in the third to five decile, but I would need to check.

25   Q       Okay.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 173 of 306
                                                                           173

 1   A       The company certainly didn't have a $17 billion market

 2   capitalization if that's what you're --

 3   Q       Well, no, no, but that would be the highest one in the

 4   second decile as I read the chart and so --

 5   A       I thought you were asking about Tribune.

 6   Q       It would -- Tribune would fall somewhere between the

 7   $7.9 billion which is the highest in the third decile and

 8   the $17.3 billion in the highest in the second decile.               Is

 9   that how you read the chart?

10   A       I would need to go back and recalculate it based on

11   the market capitalization.

12   Q       Okay.    At any rate, it's nowhere near the bottom of

13   the chart.      Is that --

14   A       It's not near the bottom of the chart.

15   Q       Right.    And is it correct that Tribune was also larger

16   than the other comparable companies except for one that you

17   identified in your comparable company analysis?

18   A       I would need to check that.

19   Q       Is that in your -- could you do that?           Where would we

20   look?   And if you can give me a moment, I might find in my

21   notes where the reference is.         Well, sir, I think if you

22   turn to -- well, no.      So if you turn to Exhibit 1-2 in your

23   report, there's some help here.         On Page 2 of 2 --

24   A       Yes, I have that, yes.

25   Q       -- of that exhibit?
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 174 of 306
                                                                             174

 1   A        Yes, I have it.

 2   Q        And that shows the total capitalization for the five

 3   comparable companies that you used.            Is that right?

 4   A        Yes, it does.

 5   Q        And only Gannett was larger than Tribune.            Is that

 6   right?

 7   A        I want to check EW Scripps, but I think that the other

 8   three were smaller.

 9   Q        Well it shows here for EW Scripps $8.4 billion total

10   capitalization. Is that right?

11   A        I'm sorry it says the --

12   Q        Are you with me?

13   A        Yes, I am.

14   Q        Okay.    And --

15   A        And as I said, I would like to go back and recalculate

16   the market capitalization for Tribune at the timeframe that

17   we're talking about.

18   Q        Um-hum.   Your own valuation was higher than that.             Is

19   that right?

20   A        Again, the capitalization -- oh, this is total

21   capitalization.

22   Q        Yes.

23   A        I see.    Yes, that's correct.

24   Q        Okay.    So were you adding the size premium to your

25   discount rate because Tribune had greater risk as a smaller
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 175 of 306
                                                                         175

 1   company?

 2   A     Of the -- no.     The size premium is based on empirical

 3   data for companies of this size for the discounted cash flow

 4   analysis, not for the market multiple. It's a function of

 5   the weighted average cost of capital and empirical data

 6   tells us companies of this size justify a size premium.             In

 7   addition, I'll point out, if you add our size premium to our

 8   equity risk premium which we chose a 6.3 percent equity risk

 9   premium, you come up to very close to Professor Fischel's

10   equity risk premium of 7 percent.         So in the overall -- now

11   he didn't apply a size premium, but in the overall scheme of

12   things, the real difference between our WAC and Professor

13   Fischel's weighted average cost of capital is his use of

14   Tribune's highly leveraged capital structure in his

15   analysis.

16   Q     Um-hum.   Well, let's look at your demonstrative

17   Exhibit 23 for a moment.

18   A     Yes.

19   Q     This is where you drew information as to how you got

20   to your perpetuity growth rate.        Is that correct?

21   A     That's correct.

22   Q     And you looked at Duff & Phelps, Morgan's -- JP Morgan

23   and Morgan Stanley information.        Is that right?

24   A     That's right.

25   Q     And I think -- and then you drew a judgment as to
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 176 of 306
                                                                         176

 1   ultimately it was your judgment looking at those as to what

 2   the growth rate should be.       Is that correct?

 3   A     That's correct.

 4   Q     Now let's turn first, I guess we should turn first to

 5   Exhibit BD of Professor Fischel's rebuttal report which I

 6   think is behind Tab 22.     Make this easy here.

 7   A     Yes.

 8   Q     Here Professor Fischel has calculated the implied

 9   multiples that come from the growth rates that you used.

10   Correct?

11   A     He has.    And I think as I pointed to you at my

12   deposition his 5.97 is in error. I know he has not corrected

13   that, but that calculation is in error.           I believe that

14   number is 6.5.

15   Q     You think the 5.97, you're talking about the February

16   2007 management projection is line --

17   A     Yes.

18   Q     And that should be 6.5?

19   A     Yes.

20   Q     Okay.   And the other numbers are correct?

21   A     I believe I'd need to check his -- yes, I think the

22   5.93 is incorrect as well.       He pulls his numbers from the

23   wrong line in terms of doing his calculation for the EBITDA

24   is what I recall.    So that -- those -- I think both the 5.97

25   and 5.93 are incorrect.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 177 of 306
                                                                          177

 1   Q       And do you know what the 5.93 should be?

 2   A       It's -- I think it's in the neighborhood of 6.5 as

 3   well.

 4   Q       Okay.   And if we could look at -- turn to Page 23.

 5   A       I'm sorry, Page 23 or --

 6   Q       Tab 23, I'm sorry, Tab 23 in the binder.

 7   A       Yes.

 8   Q       And this is the -- one of the Duff & Phelps documents

 9   that you looked at.      We haven't put the whole thing here.

10   If you need it for context, we can get that for you, but it

11   will be easier if we just put the select pages.              So if you -

12   - the back of the second page is Page 9, you see at the

13   bottom of the page?

14   A       Yes.

15   Q       And the -- this is their valuation of publishing.            Do

16   you see that?

17   A       Yes.

18   Q       And their weighted average cost of capital that they

19   used was from 7.5 percent to 8.5 percent.             Do you see that?

20   A       Yes, I do.

21   Q       Okay.   And that was -- that's lower than the 9 percent

22   rate that you used.      Is that right?

23   A       Yes.

24   Q       And if you look at page -- the next page, Page 27 of

25   their document, the WAC that they are using for broadcasting
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 178 of 306
                                                                               178

 1   goes from 8 percent to 9 percent.           Is that right?

 2   A        Yes.

 3   Q        So the high end of their range is equal to yours.                Is

 4   that right?

 5   A        Yes.

 6   Q        Okay.

 7   A        That's based on these pages, yes.

 8   Q        Right.    And I guess we need to make it clear for

 9   everyone.       When the higher the WAC, the lower the present

10   value.    Is that correct?

11   A        Yes.

12   Q        Okay.    So --

13   A        All other assumptions equal.

14   Q        All other assumptions being the same.           Now if you

15   could turn to the last page here, they come up with a total

16   enterprise value of $12.6 billion to $14.2 billion.                   Do you

17   see that?

18   A        Yes, I do.

19   Q        Now did -- you did not use their -- well, let's look

20   at a couple more and then we'll come to those questions.                  If

21   you'd turn to Tab 24.       And this is the Morgan Stanley

22   presentation on April 1, 2007.

23   A        Yes.

24   Q        And the second page has their DCF analysis and you see

25   that they are using a discount rate of 7 percent to 8
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 179 of 306
                                                                          179

 1   percent.   Do you see that?

 2   A     Yes.

 3   Q     And that's again, lower than the discount rate that

 4   you were using.     Is that right?

 5   A     Yes.

 6   Q     And they were using exit multiples ranging from eight

 7   times to nine times.     Is that correct?

 8   A     Yes.

 9   Q     And that's higher than the implied multiple of 6.5

10   from your -- implied from your perpetuity growth rate.              Is

11   that correct?

12   A     Yes and that would have the same issues associated

13   with it that I described this morning and as described in my

14   report, yes.

15   Q     So you don't accept their WAC and you don't accept

16   their multiple, Morgan Stanley's.         Is that right?

17   A     That's correct.

18   Q     But you do rely on their perpetuity growth rate as

19   supporting the perpetuity growth rate you use.

20   A     I referenced it and I felt that was a reasonable

21   growth rate, yes.

22   Q     Um-hum.

23   A     The WAC and the exit multiple, I think.             As I

24   mentioned, the use of the exit multiple invades the

25   structural integrity of the income approach and I think the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 180 of 306
                                                                         180

 1   WAC is too low.     I don't recall as I sit here how they went

 2   about calculating their WAC.       If you want to show me that, I

 3   could tell you issues associated with that.

 4   Q     I'm not sure we have that detail.

 5   A     Okay.

 6   Q     Thank you.     If you can -- and the valuations that

 7   they've come up with are higher than the valuations you came

 8   up with.   Is that correct?      This is Morgan Stanley again.

 9   And you see their --

10   A     Do you want to point me to, I'm sorry, the line --

11   Q     The total aggregate value again is going -- 8 percent

12   WAC, nine, eight times is $9.7 billion.           Now that's before -

13   -

14   A     Well, I mean, I see as an example under the 8 percent,

15   $28 a share and we talked about earlier --

16   Q     Yeah, well are you referring to the aggregate --

17   A     Okay.    I'll post that --

18                 THE COURT:   Counsel, don't interrupt the witness,

19   please.

20                 MR. BURSATH:   Yeah, thank you.

21                 MR. TULIANO:   I'm sorry.      I was just saying that

22   we talked earlier today that you had a chart that basically

23   put the amounts from my valuation.

24                 MR. BURSATH:   Um-hum.

25                 MR. TULIANO:   And if you were to use management
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 181 of 306
                                                                          181

 1   projections, that's the identical amount based on management

 2   projections using the assumptions in my valuation.              So I see

 3   the share price that's here and I saw the use -- their use

 4   of the other approach is a $12 billion number which is close

 5   to my market approach, but in any case would indicate

 6   insolvency.

 7   BY MR. BURSATH:

 8   Q     Yeah, well it's not actually the identical number to

 9   the price per share for your DCF analysis, is it?

10   A     As I mentioned -- it's not.         The DCF shows just to be

11   clear, the DCF is -- shows $21 per share.

12   Q     Right.

13   A     The value I selected shows $25 per share.             And if you

14   were to adjust that for management's projections, that would

15   be $28 per share so --

16   Q     Okay.

17   A     I didn't rely solely on the DCF.            And you have to -- I

18   recognized and weighed the market approach, so I think that

19   the $25 per share would be the right number to use if you

20   want to characterize my analysis.

21   Q     I understand here though that this is Morgan Stanley's

22   DCF analysis that's coming up with the $28 per share number.

23   A     Yes, and I believe they are using management's

24   projections to do that.     And as I mentioned if I used it, I

25   would come up at least under the eight times multiple with
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 182 of 306
                                                                              182

 1   the same number.

 2   Q       So comparing their DCF price per share to your DCF

 3   price per share, yours is lower than theirs by about --

 4   A       Yeah, I think I said that, yeah.

 5   Q       Yeah, okay.    And -- okay, I think I asked those

 6   questions.      If we turn to Tab 25.       Now this is moving into

 7   the December time period.          Actually, so before we do that,

 8   we need to -- it's out of order, but we need to go back to

 9   Tab 53 which is the JP Morgan analysis.

10   A       Okay.

11   Q       And that's the second page, but numbered 70.              Do you

12   see -- are you with me?       Do you see that the discount rates

13   they are using are 7.5 percent to 8.5 percent on the far

14   left?

15   A       Yes.

16   Q       And the -- if you turn to the next page marked 71,

17   they do an analysis using multiples and you see they are

18   using multiples of seven times to nine times.               Do you see

19   that?

20   A       Yes, I do.

21   Q       And those are greater than the 6.5 times that you

22   used.   Is that right?

23   A       I didn't use an exit multiple for all the reasons we

24   talked about and many others as to why that approach is

25   problematic.     So I used a Gordon growth model which
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 183 of 306
                                                                             183

 1   preserves the linkage and preserves the -- that keeps it a

 2   pure income approach.

 3   Q        Right, right.   Let me rephrase the question.           The

 4   multiple they used is larger than the multiple that was

 5   implied from the growth -- the perpetuity growth rate that

 6   you used?

 7   A        Yes, that's correct, yes.      And there are reasons for

 8   that, but that's correct.

 9   Q        Now having reviewed -- well, let's now look at the

10   December time period we were looking at and about to turn to

11   a moment ago which is behind Tab 25.

12   A        Yes.

13   Q        This is the Duff & Phelps analysis as of December 31,

14   2007.

15   A        Yes.

16   Q        And if you'd look at the second page which is numbered

17   40, again, for publishing, the weighted average cost of

18   capital they're using is 8 percent to 9 percent.              Is that

19   right?

20   A        Yes, that is -- yes, that's correct.          And I believe in

21   our report, we have a range of 8.5 to 9.5.

22   Q        Okay.   And well you used 9 percent in your report,

23   isn't that correct?

24   A        We used 9 percent, but we prepared -- presented a

25   sensitivity table ultimately showing 8.5 to 9.5.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 184 of 306
                                                                         184

 1   Q     When you say prepared it ultimately --

 2   A     Well, there's a range so that one can see the effect

 3   of the change in the discount rate, but we did select a 9

 4   percent WAC, you are correct.

 5   Q     Okay.   And if you look at the broadcasting also a

 6   range of 8 percent to 9 percent WAC.          Is that correct?

 7   A     Yes.

 8   Q     If you turn to the next page, they have their value

 9   conclusions and they are showing again, December, values of

10   $10.8 to $12 billion which is higher than the value you came

11   up with.   Is that correct?

12   A     I think that's pretty close actually to our -- if you

13   don't mind, can I check?

14   Q     Please.   I think it's Demonstrative 25.

15   A     So my selected value as of Step 2 was $10.4 billion.

16   That looks pretty close to me the $10.8, but in either case,

17   I believe these two values indicate insolvency.

18   Q     Well as that may be, it's lower -- your $10.4 is lower

19   than the $10.8 to $12.1 billion?         Is that right?

20   A     Yes, that's true.

21   Q     And so you relied on these documents for the -- to

22   help you achieve a perpetuity growth rate or define that,

23   but you didn't rely on them to help you determine what

24   should be an appropriate WAC or in a -- is that correct?

25   A     That's -- I referenced them for all of those
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 185 of 306
                                                                          185

 1   considerations and assumptions that I found reasonable was a

 2   -- I used.   And if there was an assumption that was

 3   unreasonable, then I acknowledged -- I recognized and

 4   determined why it was unreasonable, but went with the

 5   correct calculation.

 6   Q     Um-hum.    You also looked at the examiner's own --

 7   A     I'm sorry, can I just add -- would -- could I add to

 8   my last --

 9   Q     Please.

10   A     The reference to these documents is an overall

11   reasonableness check and that's how we used it in terms of

12   the growth rates.    The differences that you're pointing out,

13   I don't see is -- an 8.5 to 9 percent WAC as compared to our

14   9 percent WAC as indicating our weighted average cost of

15   capital is any way unreasonable.         I think these documents by

16   and large are consistent but for when these advisors made --

17   used an exit multiple approach and basically used current

18   market information to determine an exit multiple five years

19   from now.    Again, a current market multiple would imply near

20   term growth.    A perpetual multiple should be less because

21   it's implying perpetual growth if you were going to use that

22   approach.    So there's a problem with using near term

23   multiples in terms of perpetual growth and that is that you

24   are essentially double counting your near term growth.              And

25   that's one of the issues associated with these analyses.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 186 of 306
                                                                             186

 1   Q       Well, there is a difference of course between near

 2   term growth and perpetuity, but it's not always at the --

 3   perpetuity is less than the near term, right?

 4   A       Generally speaking, the perpetuity cannot be greater

 5   than the near term -- than ultimately if you have a company

 6   growing into perpetuity at a high growth rate, it overtakes

 7   the economy.    So the theory tells you that perpetual growth

 8   generally has to be modified in terms of the near term

 9   growth.

10   Q       Well, there's a couple things there.          But first of

11   all, you can have a recessionary -- you can begin a

12   recessionary period and have low near term growth.              Isn't

13   that correct?

14   A       Yes.

15   Q       And then when you come out of that recessionary

16   period, you can have a perpetuity growth that is greater.

17   Isn't that correct?

18   A       I think you'd need to be very careful about how

19   implying recovery growth into your perpetual growth rate.

20   You would want normalized perpetual growth into that growth

21   rate.

22   Q       Well but it is correct isn't it, that you can have

23   near term growth that's lower than perpetuity growth if

24   you're in a downturn in the near term.

25   A       Yes, I think that would be -- you could have your term
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 187 of 306
                                                                           187

 1   growth that was, in fact, no growth, negative.

 2   Q      Right.   And you relied in part on what the examiner

 3   came up with at -- well, turn to 23 in your demonstratives

 4   to establish --

 5   A      Yes.

 6   Q      Actually, sorry, let's turn to Page 26 because we're

 7   in the December time period.

 8   A      Yes.

 9   Q      And the examiner's 1.04 percent growth there is one of

10   the things that you looked at.        Is that correct?

11   A      Yes.

12   Q      And that was a weighted average of the -0.1 percent

13   growth for publishing/broadcasting and the 4 percent of

14   interactive.    Do you see that?      That's in your footnote,

15   too.

16   A      Yes.

17   Q      Okay.    Now there you are averaging the growth in the

18   current year based on the weights of the different sections

19   of the business and then using that for your perpetuity

20   growth rate.    Is that correct?

21   A      You're asking me how the examiner did it?

22   Q      Yes.

23   A      That's how the examiner did it, yes.

24   Q      Right.   And you know that Professor Fischel pointed

25   out that there were errors in that assumption.             Correct?
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 188 of 306
                                                                          188

 1   A     I don't specifically recall --

 2   Q     Okay.

 3   A     -- as I sit here.      I do know that the examiner did a

 4   detailed look at how Tribune's growth rate historically

 5   compared to as an example gross domestic product and

 6   inflationary growth and how it was significantly less

 7   historically.       And the examiner concludes that it would not

 8   be reasonable to use as an example nominal growth or real

 9   growth for Tribune and that's in very detail laid out in the

10   examiner's report.

11   Q     Right.    I guess the issue here though is if you have

12   one segment of the business that's growing and another

13   that's declining, their weighted averages will change year

14   to year.   Isn't that correct?

15   A     Yes, I believe that's correct.

16   Q     Okay.     Isn't it the one segment grows it will become

17   over time a bigger share of the business?

18   A     That's correct.

19   Q     The one that's declining will become a lower share.

20   Correct?

21   A     That's correct.

22   Q     And so if you simply average the two in the current

23   year you're in and use that for a perpetuity growth rate, it

24   won't actually reflect the dynamics of the different pieces

25   of the business.     Isn't that correct?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 189 of 306
                                                                             189

 1   A      Hypothetically, I think you could have an issue.             I

 2   have no issue with how the examiner did his work based on

 3   the results that he came up with.         I think it's with respect

 4   to this perpetual growth rate.

 5   Q      Yeah, well -- so here you have one segment of the

 6   business interactive which is growing that has a 4 percent

 7   growth rate.     Is that correct?     That's what you have in the

 8   footnote.

 9   A      Yes, and one needs to recognize that interactive of

10   course was a very tiny part of the business, was a business

11   that the examiner comments on extensively as being a

12   business for which there was only the broadest plans in

13   terms of growth of that interactive business.             And the --

14   ultimately the growth from my perspective in that business

15   was speculative by definition given the type of business it

16   was.   And it is an area of concern with respect to the

17   projections because over time, interactive becomes as of

18   Step 2, close to 30 percent of the operating cash flow of

19   the business.    So for an internet business, that's highly

20   speculative that the company has very little experience,

21   that's a tiny part of the business.          This management plan,

22   putting all other issues aside was a very significant issue

23   related to the growth in that interactive business.

24   Q      Um-hum.

25   A      And it's further problematic when you leverage to
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 190 of 306
                                                                           190

 1   finance that growth which is why many internet companies are

 2   financed by equity financing because that growth is so

 3   speculative.

 4   Q     Um-hum.     And you recall, sir, that the growth rate for

 5   the broadcasting business is 1.6 percent?            That segment of

 6   Tribune's business?     I don't think it's on the

 7   demonstrative, but do you recall that?

 8   A     I don't recall.

 9   Q     Okay.    So there were two segments of the business that

10   had positive growth rates, one segment that had negative.

11   The examiner averaged them together and said well, we'll use

12   that for the perpetuity growth rate.          Is that your

13   understanding of how it went?

14   A     I think the footnote describes that comes from the

15   examiner report.    I know he did an averaging of the

16   specifics of the calculation.        I would need to go and review

17   to give you a precise an answer.

18   Q     Okay.    Now Professor Fischel in his report pointed out

19   the problems with this analysis because the relative weights

20   of the business would change over time.           And you did not

21   comment on that at all in your rebuttal report.             Is that

22   correct?

23   A     I don't recall Professor Fischel's commentary on that

24   specific point.

25   Q     And do you recall any discussion of that in your
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 191 of 306
                                                                          191

 1   rebuttal report?

 2   A       I don't.    My major issue with Professor Fischel

 3   related to his use of the exit multiple, among the many

 4   other issues that we talked about with respect to this.              And

 5   I was very comfortable with the perpetual growth rates that

 6   we are using and the -- any implied multiple resulting there

 7   from.

 8   Q       Um-hum.    And sir, if you turn to your comparable

 9   company analysis for a moment, you talked earlier that you

10   actually weighted, averaged together the income approach in

11   the comparable company approach to come up with a single

12   indicated value.     Is that correct?

13   A       I did the income approach separate and distinct from

14   the market approach.      I derived two separate value

15   indications and then yes, I applied weighting to that based

16   on my professional judgment.

17   Q       Okay.   Now if we were to unpack that and look at the

18   value for -- that you derived for the comparable company

19   approach, if you turn to Exhibit 1 to your report, Page 1 of

20   2.

21   A       Yes.

22   Q       And you derived there a -- you show the guideline

23   public company traded method of $12.78 billion.              Do you see

24   that?

25   A       Correct.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 192 of 306
                                                                               192

 1   Q        Then if you bearing that in mind, turn to Tab 3 of

 2   your report where you calculate the effect for the Tribune

 3   subsidiaries.

 4   A        Yes, that -- by virtue of math, that’s correct.

 5   Q        Okay.    And if we could turn to Exhibit 6 of your

 6   report, do the same for December 20, you’re showing there a

 7   guideline -- a publicly traded company of $11.47 billion, is

 8   that right?

 9   A        Yes.

10   Q        And again, turning to tab 8, if we were to use that

11   value, subtract out the 592 million of Tribune Legal Entity

12   assets from that, we would, again, show that the guarantor

13   subsidiaries were solvent, is that right?

14   A        By virtue of math, I believe that is -- I’m sorry.

15   Let me see where you are.          There’s about a billion dollars

16   of difference, I think, between the two.              Do you want to

17   show me what numbers you’re --

18   Q        Right.   Well, yeah, we were looking at tab 6.               You had

19   the --

20   A        Yes.

21   Q        -- it says December 20 market value of 11 billion, 470

22   million.    Do you see that?

23   A        Yes.

24   Q        And then, turning to tab 8, your subsidiary analysis,

25   second line.      You’re showing Tribune Legal Entity assets of
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 193 of 306
                                                                             193

 1   592 million.

 2   A     Yes.

 3   Q     If we were to even round that up, make it 600 to make

 4   it even, we’d get $10.47 billion?

 5   A     Yes.

 6   Q     I’m sorry.    10.8.

 7   A     Right.

 8   Q     10.8.     And that would be bigger than the 10.693

 9   million of --

10   A     By approximately 100 million.

11   Q     Yeah.

12   A     The comment I would just like to make is you’re

13   looking only at the market approach, and the examiner

14   rejects the market approach in its entirety because of the

15   issues we talked about this morning, with respect to

16   inflated multiples.     Just by virtue of the way these

17   multiples are calculated, they are likely inflated.                 I still

18   think they’re useful, and that’s why I’ve given them some

19   analysis, but I think you have to be careful about drawing

20   conclusions exclusively based on the market approach for

21   that reason.    We know, because of the equity investments, we

22   don’t have the market data for the equity investments for

23   the comparable --

24   Q     Um-hum.

25   A     -- so when you’re deriving the multiples, you’re going
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 194 of 306
                                                                            194

 1   to end up with multiples that are higher than what’s really

 2   implied by the market.

 3   Q     Okay.     Appreciate your reasoning.        I just wanted to

 4   understand --

 5   A     Okay.

 6   Q     -- what the effect would be if we looked at the

 7   comparable company value by itself.

 8   A     Yes.

 9   Q     Now, at your deposition, you mentioned that you have,

10   before, seen debt answers, much like the PHONES, but you had

11   never come across them in a solvency analysis before, is

12   that correct?    Never dealt with them before in a solvency

13   analysis?

14   A     In terms of the PHONES were the participating hybrid

15   option notes, exchangeable securities --

16   Q     Um-hum.

17   A     -- they had a low coupon, a very low coupon.              They

18   were taxed specific tax attributes, and they were attached

19   to the Time Warner shares, which we valued separately.              And

20   the answer to your question is yes, I’ve dealt with them,

21   but not in an insolvency-related matter.

22   Q     Okay.     And have you ever dealt with below-market notes

23   before, zero-coupon bonds, in a solvency situation?

24   A     Below-market notes, yes, absolutely.            And I valued

25   those at face.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 195 of 306
                                                                            195

 1   Q        Okay.   Zero-coupon bonds.     Have you ever dealt with

 2   those before?

 3   A        I think I’d need to go and check in terms of zero-

 4   coupon bonds.     I don’t recall.

 5   Q        When you did your analysis on -- of the assets on a

 6   going-concern basis, is that correct?

 7   A        That is correct.

 8   Q        And doing -- and following that approach, is it also

 9   important to look at the liabilities on a going-concern

10   basis?

11   A        Well, I think it’s important to look at the

12   liabilities as to what is owed with respect to the company,

13   but the company is valued as if it’s sold, as of going-

14   concern, an operating business, but the debt component, a

15   buyer could structure the capital structure in any way,

16   shape, or form that the buyer chooses, so I don’t think the

17   question that you’re asking me makes a lot of sense, in

18   terms of looking at the liabilities of solvency analysis.

19   We’re valuing the assets, then we’re comparing it to the

20   debt, what the company owes.        The company doesn’t operate

21   its debt; the company owes its debt.

22   Q        Well, it can choose when to -- how to pay it off and

23   how to structure it, isn’t that correct?             It has options

24   there, isn’t that correct?

25   A        Yes, and I -- that was my point.          A buyer could put
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 196 of 306
                                                                           196

 1   whatever capital structure, and presumably would put

 2   whatever capital structure in place with respect to the

 3   business.       So what we’re looking is at the value of the

 4   business overall as a going concern.            We’re determining a

 5   value.    We’re then comparing that to the amount that the

 6   company owes as of the solvency date to determine whether

 7   there’s an excess or a deficiency.

 8   Q        Okay.    Well -- so do you have an opinion as to whether

 9   or not the liabilities should be looked at on a going-

10   concern basis the same way that the assets should be?

11   A        I’m having trouble understanding what you mean

12   liabilities on a going concern.          Going concern -- the

13   premise of value, in a valuation world, as it pertains to

14   how you would operate a business, and that presumes that the

15   business continues to operate as opposed to liquidate, as an

16   example.    Liquidation’s another premise of value, and you

17   could do a solvency analysis under that premise if the

18   company was under -- on its death bed, I think, according to

19   the case law.      Once you do that, on a going-concern basis,

20   you then compare it to what the company owes, and that’s

21   consistent with how I’ve done fraudulent conveyance cases

22   over the last 22 years.

23   Q        Well, it’s correct, isn’t it, that the PHONES had a

24   below-market rate?

25   A        Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 197 of 306
                                                                         197

 1   Q     As two percent?

 2   A     Two or two-and-a-half.       I don’t recall.        It was

 3   something in that neighborhood.

 4   Q     And that’s reading it below the risk-free rate that

 5   you used in your DCF analyses, is that correct?

 6   A     I believe that’s correct.

 7   Q     Okay.   And would you agree that the below-interest

 8   rate on the PHONES should be taken into account in valuating

 9   the PHONES on a going-concern basis?

10   A     Are you asking for purposes of solvency --

11   Q     Yes.

12   A     -- analysis?    No, you should use the face value of the

13   PHONES.   If what you’re implying is you would look at every

14   debt instrument that a company owes, and depending on what

15   the interest rate was on that debt, you would then

16   ascertain, essentially, a market value and use market value.

17   And I think that has been looked at, in cases such as TWA --

18   Q     Uh-huh.

19   A     -- and my understanding is face value, and that’s what

20   I’ve used, and that’s consistent.         That’s what the company

21   owes as of that date.     And for the PHONES, that’s what the

22   company received as well, and that’s what the company

23   acknowledged in its documents and statements of fact, in

24   terms of the face value.     That’s what the company owed.

25   Q     Now, if Professor Pratt had a different view, would
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 198 of 306
                                                                           198

 1   that be of interest to you and -- since you’ve never looked

 2   at this before in a solvency case?

 3   A     I don’t know what Professor Pratt had to -- has to say

 4   with respect to this specific issue.            This issue is not a

 5   difficult issue for me.        I understand there may be legal

 6   aspects associated with it, but in terms of consistency with

 7   how I’ve seen these cases dealt with over the years, face

 8   value is the way took at this.          And the implication of

 9   looking at the PHONES at market value, to me, would imply

10   that you would need to look at every debt instrument at

11   market value or book value, and that is not consistent with

12   my understanding as to how to do a solvency analysis.

13   Q     Okay.       Well, let’s look at what Professor Pratt has to

14   say on this subject.         If we could have video clip 92,

15   please.

16   (Playback, Video Deposition of PROFESSOR PRATT:)

17                 Q       If we took a round number, say there’s $10

18         million in debt due 5 years down the road, you would

19         agree the present value of 10 numbers is less than $10

20         million, correct?

21                 A       Yes, but if it’s a debt, they have to pay

22         interest on it.

23                 Q       So would it depend on whether or not the

24         interest was below or above market?

25                 A       Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 199 of 306
                                                                         199

 1              Q        And if the interest was below market rate

 2         and the $10 million was due in five years, then the

 3         present value would be less than $10 million, is that

 4         correct?

 5              A        That’s correct.

 6              Q        And would you take that into account when

 7         valued in that Yahoo! debt, this hypothetical merger

 8         we’re talking about --

 9              UNKNOWN:     Objection, outside the scope.

10              THE WITNESS:     In terms of your hypothetical, I

11         think I would.     I’d have to think about that.

12   BY MR. BUSATH:

13   Q     Okay, now, Mr. --

14              MR. QURESHI:     Your Honor, if I can just get an

15   objection on the record that Professor Pratt has not been

16   called by us in this case, hasn’t submitted an expert report

17   that -- not in evidence, and so I would object to the use of

18   deposition on that basis.

19              MR. BUSATH:     Your Honor, he’s been recognized by

20   the witness as an expert in the field.

21              THE COURT:     Well, I’m assuming -- well, let’s

22   just talk purely here -- I’m assuming the video clip was

23   shown so that you could ask the next question.

24              MR. BUSATH:     Yes, Your Honor.

25              THE COURT:     Ask the next question.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11    Page 200 of 306
                                                                            200

 1   BY MR. BUSATH:

 2   Q       Mr. Tuliano, do you agree with Professor Pratt?

 3   A       I think it’s important to -- I think it’s hard to

 4   ascertain exactly what Professor Pratt is saying here, so I

 5   can’t say I agree or disagree.         I think he said he would

 6   need to think about it.      That being said, I think there’s

 7   important distinction here that you need to draw.                If one is

 8   going to value debt as a fair value, as an example, for

 9   purposes of, say, a stock and debt approach, then one would

10   look at the market value of the debt.              And that’s what I

11   hear Dr. Pratt talking about is if you were going to value a

12   company, as an example, using a stock and debt approach,

13   which is a form of a market approach, where you would look

14   at the market capitalization of the stock and the market

15   value of the debt, add the two together, and that would give

16   you the total invested capital and a value estimate for the

17   business.   Then you would look at the market value of the

18   debt.   For purposes of solvency, we look at the fair value

19   of the business and then look at whether that fair value is

20   sufficient to cover what is owed to creditors as of the

21   transfer date at issue.      That is a different issue, and in

22   my experience, face value of the debt is what is used in

23   that analysis.      So I think you have to be very careful about

24   confusing what Dr. Pratt seems to be talking about here and

25   what was implied by the question that was asked of him,
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 201 of 306
                                                                         201

 1   which is if you were going to value debt, how would you go

 2   about valuing debt.

 3   Q     Now, you understand that the examiner adopted, and I

 4   think you mentioned this on direct, the book value of the

 5   PHONES, is that correct?

 6   A     Yes.

 7   Q     And you understand that the actual market value is

 8   even less than that, is that correct?

 9   A     I believe that the book value has a market value

10   component and a derivative component, and I think if you add

11   those together, you would come close to the market value,

12   but I would need to ultimately check that.            The examiner is

13   not very clear.     The examiner doesn’t explain why he selects

14   this, so it’s not clear to me the examiner’s thinking with

15   respect to selecting book or accounting value with respect

16   to the PHONES.

17   Q     Okay.   So what I’m just trying to establish is whether

18   or not you have a recollection that the market value of the

19   PHONES was even less than the book value.

20   A     I don’t have the -- a recollection, because I think,

21   ultimately, the market value -- the book value is determined

22   based upon the market value divided -- including a

23   derivative component and a base component.

24   Q     Do you agree that it would’ve been possible for

25   Tribune to by the PHONES at the market value, must satisfy
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 202 of 306
                                                                             202

 1   its debt at what -- below the face value?

 2                MR. QURESHI:   I object to the form.          Just

 3   clarification of the timeframe, please.

 4   BY MR. BUSATH:

 5   Q     At the time of your analysis in June and December,

 6   when you were doing your balance-sheet analysis.

 7   A     I don’t agree with that.        I think were Tribune to go

 8   into the marketplace and attempt to purchase the debt,

 9   assuming it had the liquidity and the capital to do so, it

10   would drive up the market price of that debt pretty

11   significantly, so I think one would need to look.              I have

12   not done that analysis, but I think that is not an

13   assumption I would make, by any means.

14   Q     But it is a -- it is something that a debtor can do to

15   buy back debt at market value, is that correct?

16   A     Companies can buy back and retire debt in increments

17   by trying to go out in the marketplace, assuming they --

18   there’s liquidity, assuming it can find the debt, but again,

19   that’s going to tend to drive the price of that debt up

20   pretty significantly.

21   Q     Um-hum.    Turn to the issue of ability to pay, for a

22   moment.   You recall that, at your deposition, we discussed

23   exhibits that you had prepared showing capital adequacy --

24   A     Yes.

25   Q     -- cash-flow analyses that looked at various
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11    Page 203 of 306
                                                                            203

 1   downsides, is that right?

 2   A        Correct.

 3   Q        And then, I asked you if you had prepared any similar

 4   charts with respect to base-case projections in order to

 5   look at ability to pay.       Do you recall that?

 6   A        Yes.

 7   Q        And you indicated that there -- referred me to some

 8   pages with some charts that looked at the operating level

 9   but not all the way down to the -- in the exact same form as

10   the other charts that you’d done for capital adequacy, is

11   that correct?       Do you recall that?

12   A        Yes.

13   Q        And if we can clarify this now.            If we turn to page 34

14   of your demonstratives.       And I guess we need to go back to

15   page 33 to start.

16   A        Yes.

17   Q        And in the far left, this is one of the comparisons

18   with -- that you did in the report comparing the base-case

19   projections, the February management projections of 2007.

20   That’s in the blue and red bars on the far left, is that

21   right?

22   A        Correct.

23   Q        And you have calculated the -- let’s see.             The blue is

24   the free cash-flow, and the red is the total debt service,

25   is that right?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 204 of 306
                                                                            204

 1   A     Yes, that’s correct.

 2   Q     And the difference there between those lines is about

 3   $1.2 billion?

 4   A     Correct.

 5   Q     Okay.     And then, what you didn’t do is then look at,

 6   well, could these be satisfied through sales of assets, is

 7   that correct?

 8   A     In terms of the February management projections, that

 9   is correct.   As I mentioned, we deem those projections to be

10   unreasonable, and in addition, within my report, there’s a

11   framework of capital adequacy and ability to pay.              These

12   tests are closely related.       We’ve tested the downside cases,

13   in terms of our capital adequacy, to see if the company

14   could ultimately use those sources in -- given that the

15   projected baseline projections were unreasonable, given that

16   reasonably foreseeable downsides would need to be

17   considered, given that certain of those downsides could,

18   indeed, be considered base cases, considering the company

19   was tracking those downsides, and we found that informative

20   with respect to ability to pay as well.           These tests are

21   closely related, but with respect to this piece right here,

22   we did not do -- you are correct.

23   Q     Okay.     So when you say these tests are closely

24   related, what tests are you referring to?

25   A     I’m referring to analyzing capital adequacy and
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 205 of 306
                                                                         205

 1   ability to pay, and within my report, I discuss the -- how

 2   they’re interrelated and exactly how we go about assessing

 3   this.

 4   Q       Okay.   So now, if we turn now to page 34 for the

 5   downside analysis, you’ve gone below the operating line, and

 6   you’ve shown the proceeds from asset sales and the cash

 7   received from equity investments.         And -- at the bottom of

 8   the page, do you see where I am?

 9   A       Yes.

10   Q       And so the proceeds from asset sales you used was $821

11   million?

12   A       That’s correct.

13   Q       And the proceeds from the cash received from equity

14   investments was 460 million, I believe?

15   A       480, I think.

16   Q       480 million.    That’s about 1.3 billion, is that right?

17   A       Correct.

18   Q       And so that’s greater than the deficiency that you

19   showed on the prior page, just for the Tribune management

20   projections, is that right?

21   A       Yes, that’s correct.

22   Q       Okay.   And if we can turn to page 36 in your

23   demonstratives.

24   A       Yes.

25   Q       Okay.   Again, the far-left column showing the October
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 206 of 306
                                                                         206

 1   2007 management projections, and the difference there

 2   between the operating cash-flows and the total debt service

 3   is about $1.4 billion, is that right?

 4   A     Yes.

 5   Q     And if you turn the page to 37, you have proceeds from

 6   asset sales of 899 million and cash received from equity

 7   investments of 523 million.       And if I have done my math

 8   correctly, that’s $1.422.5 million.          Does that sound right?

 9   A     That sounds about right.

10   Q     And that’s, again, greater than the deficiency that

11   you -- that was calculated on the prior page for the

12   management projections?

13   A     Yes.

14   Q     And I guess we should note, too, that when an asset is

15   used to pay down debt early in the period, there would also

16   be an effect on reducing interest further in the period, is

17   that correct?

18   A     Yes.

19   Q     So --

20   A     That is correct.     And with LBOs in general, it’s very

21   important to pay down debt in the early periods to reduce

22   that interest burden, and that’s typically an objective of

23   the LBO, which is why it’s necessary to ensure that the

24   company can have an adequate cushion in order to service its

25   debt and deal with downsides and contingencies and other
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 207 of 306
                                                                               207

 1   things that come up, with respect to the business.                So yes.

 2   Q        Okay.    Now, on two columns over, I guess you also --

 3   I’m sorry.       The next column over, you show the examiner

 4   adjusted base-case projections?

 5   A        Yes.

 6   Q        And if I could have you turn back to tab 17 in the

 7   binder we provided to you.

 8   A        Yes.

 9   Q        Here, the examiner does his own analysis based on the

10   base-case projections.       He provides a table, and just above

11   the table, do you see the sentence that starts “the table

12   below shows”?      Could you read that, please?

13   A        “The table below shows that, under the examiner’s

14   financial advisor’s base case, Tribune would be expected to

15   maintain compliance with debt covenants and have ample cash

16   to meet operational and financial commitments.”

17   Q        Okay.    And is that your understanding, too, of what

18   the table shows?

19   A        I haven’t drawn a conclusion with respect to this

20   table.    As I mentioned, we had a material error in the

21   examiner’s analytics related to his downside testing.                 I

22   would need to check to see what’s there and how that

23   affected this particular testing.

24   Q        Okay.    Now, the --

25   A        At any rate, this does rely on the -- I guess the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 208 of 306
                                                                          208

 1   examiner’s financial advisor’s base case.

 2   Q     Okay.   And we were looking at base-case projections.

 3   The reason for looking at downside projections, I guess, as

 4   you mentioned, is to see if the company continue to meet its

 5   obligations if there’s a general economic downturn or other

 6   contingencies arise, is that correct?

 7   A     Well, there’s -- it’s more than that.            It is, first of

 8   all, recognizing that management projections tend to be

 9   optimistic in general.     It’s recognizing that you need --

10   projections cannot be done to that level of precision such

11   that one needs to account for the fact that there will be

12   variation to those projections.        It also recognizes that,

13   yes, there are uncertainties that arise.            As a matter of

14   course, we’ve had approximately 11 or 12 economic downturns

15   in the past 60 years, so over the course of a business

16   cycle, an economic downturn is generally something that can

17   be expected to occur, and it tests the company’s ability to

18   do that while servicing its interests with -- when base-case

19   projections are reasonable.       And in this case, where you

20   have base-case projections that are not only extraordinarily

21   aggressive, but, based on the work that we have done,

22   unreasonable, this analysis becomes even more important, and

23   you’re not just testing a downside.          You’re testing, to a

24   great extent, the reality of the business.            We talked about

25   that the company was tracking its downside, and the company
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 209 of 306
                                                                          209

 1   was in decline.

 2   Q        Would you agree, sir, that the capital adequacy test

 3   should be based on reasonably anticipated downside cases, is

 4   that correct?

 5   A        Yes, and I so say it in my report.

 6   Q        And it’s also true that having adequate capital does

 7   not require a corporation to be able to withstand any and

 8   all possible setbacks, is that correct?

 9   A        That’s also a quote from the conceptual framework.           I

10   have about five pages in my report where I quote how these

11   things, from a financial perspective, reviewed.              I put some

12   of the case law in there as well, but it’s a consistent

13   framework that I followed, and those are quotes from that

14   framework.

15   Q        And you agree that the violation of a covenant in a

16   credit agreement does not, in and of itself, mean that a

17   company is insolvent or inadequately capitalized, is that

18   right?

19   A        I agree with that, yes.

20   Q        And you selected the various downsides that you used

21   in your analysis, is that right?

22   A        Yes.

23   Q        Okay.   And if we could look to Professor Fischel’s

24   rebuttal report, Exhibit BE.

25   A        Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 210 of 306
                                                                         210

 1   Q     He has shown here that while you selected certain

 2   cases, that you then altered some of the assumptions in

 3   those cases that you selected, is that right?

 4   A     I did, and as I explained this morning as an example,

 5   if you look at his exhibit under the Citi case, the Citi

 6   case we ended up increasing capital expenditures, because in

 7   the Citi downside, Citi eliminated, in its entirety,

 8   acquisition capital expenditures related to the business --

 9   Q     Um-hum.

10   A     -- but still showed 100 percent of the income coming

11   from those capital expenditures.         So it would make no sense

12   to preserve the assumption, and this gets at what I was

13   referring to earlier, that one really cannot make this

14   assessment without expertise and financial projections,

15   because to the extent that people use unreasonable

16   assumptions, and that Citi assumption is clearly

17   unreasonable, because you can’t have a return on an

18   investment you don’t make.

19   Q     Um-hum.

20   A     You cannot have equity income coming from investments

21   when you’re making no acquisition capital expenditures.             So

22   the fact is that, yes, we did adjust that.            In addition, as

23   an example, on the S&P case specifically, we lowered capital

24   expenditures, and that’s why you see a -- I believe that’s a

25   positive number here --
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 211 of 306
                                                                           211

 1   Q     Um-hum.

 2   A     -- with respect to the 221 for S&P, and that’s because

 3   S&P showed -- the management case entitled S&P showed

 4   capital expenditures with no reduction, and we felt a

 5   reduction was appropriate.       So I think one needs to be very

 6   careful about taking these cases without getting behind the

 7   underlying assumptions and applying professional judgment,

 8   assuming one has the experience to do so, which I do, to

 9   critically assess that and as to reasonableness.

10   Q     Okay.    So you have no issues with -- there’s no errors

11   here, in this chart, that you’ve identified from Professor

12   Fischel, is that correct?

13   A     I -- as I sit here, I don’t recall.            I see the Citi

14   case that looks right.      The S&P case looks right.          I don’t

15   recall, as I sit here.      I’m not sure I’ve compared every

16   number.

17   Q     Okay.    You recall that the -- we showed you his

18   rebuttal report at your deposition and asked you again if

19   there were any errors in it, and you did not identify

20   anything with this exhibit, is that correct?

21   A     That’s --

22   Q     Do you recall that?

23   A     I recall that.

24                 MR. BUSATH:   Your Honor, we’ve been going about

25   two hours.    It’ll be good for a short break at this point?
     Case 08-13141-BLS     Doc 8446-3     Filed 03/21/11   Page 212 of 306
                                                                             212

 1                   THE COURT:    Ten-minute recess.

 2                   MR. BUSATH:   Thank you, Your Honor.

 3   (Recess at 3:47 p.m. to 4:08 p.m.)

 4                   MR. BUSATH:   May I proceed, Your Honor?

 5                   THE COURT:    Yes.    How much more do you think you

 6   have?

 7                   MR. BUSATH:   I’m estimating 40 to 45 minutes,

 8   Your Honor.

 9                   THE COURT:    Okay.    Proceed.

10   BY MR. BUSATH:

11   Q       Okay.    Mr. Tuliano, could I have you turn to

12   demonstrative 29 in your set?

13   A       Yes.

14   Q       This is a comparison of various -- well, you were,

15   here, comparing the Tribune Company to other peers in the

16   industry, is that correct?

17   A       Yes, and to itself historically.

18   Q       And you do the same on demonstrative 30, is that

19   correct?

20   A       Yes.

21   Q       Were any of these industry peers that you’ve presented

22   here, were any of them ESOP S-corps?

23   A       Not to my knowledge.

24   Q       Okay.    So they were C-corps that’d be obligated to pay

25   federal taxes, is that correct?
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 213 of 306
                                                                          213

 1   A       I believe that’s the case, yes.

 2   Q       Tribune, as an ESOP S-corp. would not be obligated to

 3   pay federal taxes, is that correct?

 4   A       Yes, the taxes would flow through to the shareholders

 5   as an S-corp.

 6   Q       All right.   And the -- since the ESOP was the

 7   shareholder, it wasn’t obligated to pay taxes either, is

 8   that correct?

 9   A       Yes.

10   Q       Okay.   Am I correct, sir, that your opinion that

11   Tribune would be unlikely to be able to refinance this debt

12   is, in part, based on your conclusions as to balance-sheet

13   insolvency?

14   A       It is, in part.    Yes, I certainly took that into

15   consideration.

16   Q       Okay.   Now, you did not include, in your balance-sheet

17   test, the savings that came from eliminating the --

18   Tribune’s contributions to its employees 401K contributions,

19   is that right?

20   A       That’s correct.

21   Q       Now, you recognize that those cash savings are real

22   cash?

23   A       Yes.

24   Q       And you included them in your capital adequacy

25   ability-to-pay test, that’s correct?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 214 of 306
                                                                         214

 1   A     I recognize that yes, they were cash in terms of -- to

 2   the extent the company had profits, it would have tax

 3   savings, and then your 401K and stock-based compensation, if

 4   they eliminated those programs and replaced it in some way,

 5   I’d like to understand how they ultimately replaced it, but

 6   we did give them the benefit of that into the capital

 7   adequacy and ability to pay.

 8   Q     Okay.   And I believe you testified that -- certainly,

 9   at your deposition, that you believed that Tribune’s

10   compensation package was competitive before it had

11   eliminated the 401K contributions, is that right?

12   A     That’s an assumption I made that Tribune wasn’t

13   overpaying its employees.        But I indicated to you I haven’t

14   done a detailed study of the compensation programs at

15   Tribune.

16   Q     All right.    And you also didn’t look at -- do a study

17   as to their contribution -- or sorry, their compensation

18   programs after eliminating the 401K to see if it was

19   competitive, is that correct?

20   A     That’s correct.

21   Q     So if you could, turn to tab 40 in your binder,

22   please.

23   A     Yes.

24   Q     This is another public document, the Schedule 14A

25   filed with the Securities Exchange Commission on April 27,
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 215 of 306
                                                                            215

 1   2007.   If you look at the next page, there’s a presentation,

 2   a video message to employees.        Do you see that?

 3   A       Well, could you tell me what line you’re on?

 4   Q       I’m on the second page of the document.           It’s in the

 5   middle.    The bold type.   This finding consists of a

 6   transcript of a video message by the chairman, president,

 7   and chief executive officer of Tribune, addressed to the

 8   employees of Tribune Company, on April 27, 2007.             Are you

 9   with me?

10   A       I do see that.

11   Q       Okay.   And then, on the next page, item number 11.

12   You see it indicates that

13   “the company contributions to 401K plans will continue

14   through the merger closing or December 31, 2007, whichever

15   comes first.”

16   Do you see that?

17   A       Yes.

18   Q       Now, Tribune created its ESOP while it was still a C-

19   corp., is that correct?

20   A       Yes.

21   Q       And C-corps can have ESOPs, obviously.          You agreed

22   with that at the deposition, is that right?

23   A       Yes.

24   Q       So there’s nothing specific to -- that isn’t specific

25   to being an S-corp., is that correct?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 216 of 306
                                                                         216

 1   A     Correct.

 2   Q     And then, you see in the -- item 12, following then,

 3   it says:

 4   “Then beginning in 2008, Tribune will introduce a new

 5   package of retirement benefits for eligible employees.

 6   Here’s how it will work.     First, the company will fund a new

 7   cash balance plan.”

 8   Do you see that?

 9   A     Yes.

10   Q             “And second, we’ll have the employee stock

11   ownership plan.”

12                 That’s the ESOP, is that right?

13   A     Yes.

14   Q     And that would give the employees an interest in the

15   company, is that correct?

16   A     Yes, and as we discussed at my deposition, assuming

17   that had actual value, shares in an insolvent company are

18   not valuable, but yes, this is -- and I think we saw that e-

19   mail where they were commenting that, under a downside, no

20   equity in five years.     So I think you -- that just needs to

21   be taken into consideration, but I do see what you’re

22   pointing to.

23   Q     Okay.    And then, item three:

24   “Third, existing 401K accounts will remain in place for

25   employee contributions.”
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 217 of 306
                                                                           217

 1   Do you see that?

 2   A       Yes.

 3   Q       Now, if we turn to tab 41, this is a discussion of the

 4   Tribune pension plan update opportunities.            Look at page 2.

 5   See the third paragraph that starts “the pension surplus”?

 6   A       Yes.

 7   Q       Could you read that please?

 8   A       “The pension surplus will effectively fund our ongoing

 9   cash balance plan.    This 3 percent annual allocation will

10   add approximately 20 million to our liability each year, and

11   from an income statement perspective, 20 million of annual

12   non-cash pension expense, which is excluded for covenant

13   purposes.”

14   Q       Now, were you aware, sir, that there was a pension

15   overfunding?

16   A       I -- yes, I’ve seen it referenced that -- I’ve seen

17   that referenced.    I have not checked or analyzed whether it

18   was, indeed, overfunded, but I have seen a reference to

19   that.   I also understand that there would’ve been issues in

20   terms of accessing that overfunding, but yes.

21   Q       Okay.   And using that overfunding --

22   A       Effectively -- I’m sorry, effectively freezing the

23   plan and so forth, but go ahead.

24   Q       Okay.   So using the overfunding to -- well, let me

25   strike.   Let me go back to something else.           If we turn to
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 218 of 306
                                                                            218

 1   page 42, it’s a discussion from Professor Fischel’s report.

 2   A     Yes.

 3   Q     Paragraph 51.     Could you read that, please?

 4   A     Are you going to put it -- okay.            I guess I can read

 5   it from here.

 6   Q     Can we bring it up on the screen?            There we go.

 7   A     That makes it easier.       Thank you.       Although, it starts

 8   on the other page.    Do you want paragraph 51?

 9   Q     Paragraph 51, yes.

10   A     Okay.

11   “As of December 30, 2006 and December 31, 2007, Tribune’s

12   pension and other post-retirement plans were overfunded by

13   77.8 million and 324.3 million respectively.             The amount of

14   overfunding is value that Tribune could capture, for

15   example, by reducing future contributions to pension plans

16   until they are no longer overfunded.          I understand Tribune

17   was expected to use some or all of this overfunding through

18   a new employee retention plan; therefore, we have not added

19   the value of this overfunding to my estimates of Tribune’s

20   enterprise value.”

21   Q     Okay.     So you see that Professor Fischel included the

22   benefit of the -- reducing the contributions to the 401K but

23   did not add in the surplus of the pension.             Do you see that?

24   A     Yes.

25   Q     Now, you excluded the benefits.             Did you add in the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 219 of 306
                                                                           219

 1   pension surplus as -- into your assets of Tribune?

 2   A     I think, as I mentioned, we gave them the benefit of

 3   the cash from not funding the 401K in our capital adequacy

 4   and ability to pay.     @With respect to the valuation, we did

 5   not give them the 401K, because that was unique to this

 6   structure and inconsistent with the fair-market-value

 7   standard.   And I think, as well, the examiner comments with

 8   respect to this particular issue and talks about the fact

 9   that the employees would need -- or it may be Professor

10   Black, in fact, comments that the employees would need, on

11   the 401K, to have an offsetting, and I think does a

12   comparison and finds that, in fact, they would need more of

13   an offset than what’s illustrated here.

14   Q     And so I -- you’ve said in your response that it was

15   unique to the structure, and that’s what I’m trying to

16   understand, because I thought we already established that

17   ESOPs can be created by any C-corp., and therefore, it was

18   not unique to this ESOP S-corp. structure.

19   A     Not unique to this ESOP 401K reduction.             Yes, I --

20   companies could eliminate their 401K plan --

21   Q     Right.

22   A     -- at any time.

23   Q     They --

24   A     That’s the understanding.

25   Q     -- can provide -- they can -- they have different ways
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 220 of 306
                                                                           220

 1   in which they can provide compensation to their employees,

 2   isn’t that right?

 3   A     Yes.

 4   Q     And one of them is creating an ESOP?

 5   A     Yes.

 6   Q     And if they can do that and eliminate 401K

 7   contributions, that would be a real cash benefit.              It’s

 8   nothing unique to the structure that would say it shouldn’t

 9   be included on a balance-sheet test, is there?

10   A     Well, I think, as I discussed in my report, it would

11   need to be offset with a benefit that’s of equal value, and

12   I did not see that benefit of equal value here, and I think

13   a number of others have commented that as well.

14   Q     Well, the benefits that we’ve just discussed were the

15   cash balance plan, the shares in the -- and the shares in

16   the ESOP, and the continuing of the 401K plan that employees

17   could put their own contributions in, correct?             We just went

18   through those items.

19   A     Yes.

20   Q     And again, you did not do any analysis to determine

21   whether or not those were competitive compensation at the

22   time, is that correct?

23   A     Well, I think, as I mentioned, shares in an insolvent

24   company are not competitive compensation.            It’s not any

25   compensation.   So that element would -- we need to put
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 221 of 306
                                                                          221

 1   aside.    In terms of the access to the overfunding, I’ve not

 2   done an analysis in terms of the issues associated with

 3   that, which could include things like having to freeze the

 4   plan and so forth.     So I’ve not assessed the reasonableness

 5   of these -- this particular issue that you’ve pointed to.

 6   Q        Well, there’s -- just to unpack that a bit, the --

 7   you’re not saying, are you, that you eliminated the 401K

 8   contribution because the company would be insolvent, and

 9   therefore, the ESOP shares wouldn’t have any value?

10   Q        Well, there's -- just to unpack that a bit, you're not

11   saying, are you, that you eliminated the 401k contribution

12   because the company would be insolvent and therefore the

13   ESOP shares wouldn't have any value?

14   A        No.   What I'm saying is that we eliminated the 401k

15   because it was not clear as to that compensation expense

16   would be replaced.     You've not put a document that talks

17   about accessing a pension plan and ESOP shares as being the

18   replacement for the 401k and what I'm pointing to is that

19   there are issues associated with that ESOP value independent

20   of any value from eliminating the 401k.            This issue is not

21   by any means an issue that is determinative of solvency or

22   insolvency one way or another, in terms of the magnitude of

23   the issue to the valuation.

24   Q        Did you say at your deposition that really for you it

25   was just a matter of mathematics and logic, since they
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 222 of 306
                                                                               222

 1   eliminated the program and you hadn't seen where they put

 2   anything back into it, so therefore you shouldn't include

 3   it?

 4   A       Yes.

 5   Q       Okay.   And then you also eliminated the stock-based

 6   compensation.     Is that right?      Let me rephrase it.        You did

 7   not include the benefit of -- well, let me actually rephrase

 8   that.   You identified stock-based compensation as being a

 9   non-cash expense.     Is that correct?

10   A       Yes.

11   Q       And in your caplatic was the ability to pay test, you

12   did not reduce cash flows with that non-cash expense.                Is

13   that correct?

14   A       Yes.    I gave the company the benefit of the non-cash

15   aspect of stock-based compensation, although presumably at

16   some point in time a company would need to essentially

17   compensate or make up for the stock-based comp, but for the

18   period we looked at we added back stock-based compensation

19   expense across the scenarios.

20   Q       Okay.   And in your balance sheet test, you did deduct

21   the cash flows in your DCF analysis by the non-cash stock-

22   based compensation expense.        Is that correct?

23   A       Yes.

24   Q       And can you tell me why you did that?           Why would you

25   reduce the cash flows by non-cash expense?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 223 of 306
                                                                              223

 1   A     Well, first of all the -- it wasn't clear from the

 2   analysis that the stock-based compensation expense as to

 3   when it would be paid within the cash flows.            The ESOP model

 4   actually has an inconsistency.        On the summary page of the

 5   ESOP model we see, this is the financial model which

 6   essentially contains the February projections, we see the

 7   stock-based compensation expense in the first year and then

 8   it is zeroed out thereafter.       In the detail we see stock-

 9   based compensation expense continuing each and every year.

10   We therefore looked at this on a fair market value, any

11   willing buyer basis, looked at the detail, and that's an

12   element of compensation to the employees and that's how we

13   took it into account with respect to the valuation.                 We

14   chose to believe the detail or to look at the detail whereas

15   we could see in the summary page zeros across that line,

16   except for 2007, so there was an inconsistency with respect

17   to that in the source documents.

18   Q     Now did you look to see whether Tribune had planned to

19   do something else after it eliminated the stock-based

20   compensation plan?

21   A     I did not see, within the documentation, a plan to

22   eliminate stock-based compensation, but regardless even if

23   it did eliminate that plan or that stock-based compensation,

24   that's an element of compensation value that would need to

25   be replaced and a buyer of Tribune would need to replace
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 224 of 306
                                                                         224

 1   that value as well.

 2   Q       And have you looked to see what was replaced -- what

 3   was designed to replace that?

 4   A       I think I said I didn't see what was designed

 5   specifically or if there was anything designed to replace

 6   it.

 7   Q       Okay.   Could you turn to Page 43, please?

 8   A       Yes.

 9   Q       Tab 43 rather in the binder.       On Page 130, this is

10   from the Tribune 10-K, you see the bold heading, the second

11   one on the page, Tribune Company Management Equity Incentive

12   Plan.   Do you see that?

13   A       Yes.

14   Q       Could you read the first two sentences, please?

15   A       On December 20, 2007, the Board approved the company's

16   management equity incentive plan.         The management equity

17   incentive plan provides for phantom units that generally

18   track the share, the value of a share of the company's

19   common stock after the effective date of the merger.

20   Q       And did you analyze that plan at all, sir?

21   A       No, I did not.

22   Q       Okay.   Turn to Page 44, there's an excerpt from or Tab

23   44, Exhibit C to Professor Fischel's report.

24   A       Yes.

25   Q       And you see the third item there is the phantom
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 225 of 306
                                                                               225

 1   management equity incentive plan?          You see that?

 2   A     Yes.

 3   Q     And then he indicates it's not applicable at the recap

 4   stage, but in December he says this was adopted pursuant to

 5   the merger, no immediate cash expense, expense incurred if

 6   and when fair value of Tribune equity is positive.               And

 7   that's to the extent that the plan was tied to the equity or

 8   to the company's common stock that would be correct.                 Is

 9   that right?

10   A     What would be correct?

11   Q     That it -- that expense would be incurred if and when

12   fair value of Tribune equity is positive.

13   A     I think as I mentioned I haven't looked into the

14   details, nor have I seen details with respect to the phantom

15   management equity incentive plan.          I think he indicates

16   expense incurred if and when fair value of Tribune equity is

17   positive, which obviously goes to the solvency or insolvency

18   of the company, but --

19   Q     Okay.   Now you indicated in your report that you had

20   used a state tax rate based on the blended average of all 50

21   states.   Is that correct?

22   A     It's weighted by gross state product, but it is a

23   blended average and that's commonly the way this is

24   approached.   Yes.

25   Q     Okay.   And you did that again because you thought it
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 226 of 306
                                                                            226

 1   was more appropriate under the fair market value standard.

 2   Is that right?

 3   A        That's correct and we also thought that the rate

 4   within the projections, which was 37.1 percent I believe,

 5   was inconsistent with the prior history of the company.

 6   Q        Well, you testified at your deposition that under the

 7   fair market value standard you do not have to -- that the

 8   fair market value standard does not require us to assume

 9   that a buyer would move the Chicago Tribune to a different

10   state.    Isn't that correct?

11   A        That's absolutely true, yes, but a buyer --

12   Q        Okay.

13   A        -- of course has its own tax attributes, but

14   importantly with respect to this, the projections showed a

15   number that was wholly -- was inconsistent.               We see ranges

16   of 38 to 41 percent historically with -- 40 percent, 40.8 I

17   believe with respect to Tribune.

18   Q        For the state tax rate?

19   A        No.   That's a total tax rate that --

20   Q        Right.

21   A        -- incorporates the state.

22   Q        Yeah, okay.    And you indicated at your deposition that

23   you haven't conducted an analysis of how a willing buyer

24   would operate Tribune in the future in order to assess the

25   appropriate state tax rate.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 227 of 306
                                                                         227

 1   A      That's correct.

 2   Q      And you also said you had no reason to doubt that the

 3   4.1 percent state tax rate used by Professor Fischel as

 4   Tribune's actual blended state tax rate.            Is that correct?

 5   A      I may have said that.      I think I have reason to doubt

 6   that -- I think I also said that I have significant reason

 7   to doubt Tribune's financial projections overall and I think

 8   I've -- as I've mentioned to you, the state tax -- the

 9   blended tax rate for Tribune is a function of the state tax

10   rate and the federal tax rate.        Professor Fischel uses an

11   overall rate blended of 37.1 percent and that's inconsistent

12   with the historic numbers for Tribune.

13   Q      Now sir, you agreed that if Tribune spends less on

14   taxes, it has more cash available to use for other purposes,

15   including paying Creditors.       Is that correct?

16   A      As I said in my deposition, if you have less cash,

17   yes.

18   Q      Yeah.    And I think you said in your deposition cash is

19   fungible.     Is that right?

20   A      Yes.

21   Q      Now is it correct then, sir, that not only did the

22   ESOP benefit from the S corp election, but that Creditors

23   also benefited?

24   A      I don't think Creditors benefited at all from this

25   ESOP, S corp election.     The company was leveraged far beyond
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 228 of 306
                                                                         228

 1   its debt capacity, ended up with an interest burden that was

 2   far beyond its ability to service the interest and the debt,

 3   and I don't think this was at all beneficial.             I think this

 4   was very, very detrimental to this company.

 5   Q        You think not paying taxes was not -- was detrimental

 6   to the Creditors?

 7   A        I was talking about the ESOP tax structure as it was

 8   accomplished in this case, which was through a leveraged

 9   buyout of Tribune.    If you're asking me had they assumed

10   ESOP and tax structure without doing a leveraged buyout or

11   doing a leveraged buyout under a reasonable range of

12   leverage, then the tax benefit might have had some benefit

13   to the Creditors.

14   Q        They couldn't have elected S corp status without doing

15   a buyout.    Isn't that right?

16   A        As a public company, C corp, they needed to ultimately

17   do a buyout, but ultimately it's the amount of leverage

18   that's put on the company as a result of that.             That's the

19   issue.

20   Q        Now you agree that depending on the facts and

21   circumstances synergistic values may be appropriately

22   included in fair market value.        Is that correct?

23   A        I think it's a facts and circumstances, but generally

24   the valuation literature tells you that buyers specific

25   synergies are not included in fair market value and that's
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 229 of 306
                                                                            229

 1   consistent with the literature, but as I mentioned to you I

 2   want to look at that on a facts and circumstances basis.

 3   Q     Okay.     And you recognize Roger Grabowski as an expert

 4   in valuation?

 5   A     Roger Grabowski is a former partner of mine at Price

 6   Waterhouse and but you know Roger certainly performs

 7   valuations.   I'd want to see what Roger did specifically

 8   before I would recognize him as a general expert.              Roger

 9   Grabowski is not Shannon Pratt, but --

10   Q     But you did, when we showed you at your deposition a

11   list of various treatises, you identified him as one that

12   you believed was authoritative?

13   A     Yes, that is true.

14   Q     Can I have you turn to Tab 45, please, which is --

15   A     Yes.

16   Q     -- a book by -- well, a book by others, but Chapter 5

17   written by Roger Grabowski and William McFadden.

18   A     Yes.

19   Q     And I'd like to have you turn to Page 96.

20   A     Yes.

21   Q     In the second paragraph, the last sentence, but in

22   reality -- do you see that?       Could you read that, please?

23   A     I'm sorry.    But in reality or is this --

24   Q     Yeah.

25   A     -- you've highlighted a different -- oh, I got it.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 230 of 306
                                                                           230

 1   Thank you.    But in reality synergistic buyers often give up

 2   and sometimes a great deal of the synergistic value to the

 3   sellers in order to outbid other potential buyers.

 4   Q     And do you agree with that as observation based on

 5   market data?

 6   A     I think that's generally true.

 7   Q     Okay.    In the next sentence he writes for many sellers

 8   highest and best use may equate to sale of the subject

 9   business to any one of several likely synergistic buyers.

10   Do you agree with that statement?

11   A     That's -- I think that's -- highest and best use may

12   equate -- yes.

13   Q     And we discussed highest and best use at your

14   deposition.    Do you recall that?

15   A     Yes.

16   Q     And you indicated that was a concept that applied to

17   the valuation of businesses.       Is that right?

18   A     Yes.     And that's how we looked at Tribune here.            It's

19   a highest and best use as a going concern and I mentioned

20   that to you in the deposition and as a diversified media

21   company as opposed to something else.

22   Q     Can I have you turn to page -- Tab 49 in the binder,

23   another --

24   A     Yes.

25   Q     -- treatise by Shannon Pratt, Standards of Value.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 231 of 306
                                                                            231

 1   A        Yes.

 2   Q        And could you turn to Page 47?

 3   A        Yes.

 4   Q        And see the section that says when a controlling

 5   block?    Could you read those two sentences, please?

 6   A        Yes.    When a controlling block of shares is the

 7   subject of a valuation, a willing buyer with reasonable and

 8   relevant knowledge of the marketplace will understand that

 9   there may be synergistic buyers bidding for the business.

10   These synergistic buyers may give up a portion of the

11   synergistic value to the sellers in order to outbid other

12   buyers.

13   Q        Okay.   And do you agree with that statement, sir?

14   A        Yes, I do.

15   Q        Turn to Page 48, next page.        In the first full

16   paragraph, I guess it's the last sentence.              It starts both

17   US and Canadian.      Could you read that, please?

18   A        Both US and Canadian practitioners acknowledge that if

19   in addition to ordinary purchasers, several special interest

20   purchasers are involved in the bidding, the market itself

21   will eventually exclude the ordinary purchasers as the new

22   equilibrium price would reflect the synergistic value.

23   Q        And do you agree with that, sir?

24   A        It's not clear to me what is meant by the new

25   equilibrium price and special interest purchasers.                So I'm
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 232 of 306
                                                                           232

 1   not sure and this is -- I'd like to read the entire context

 2   of the chapter before I state whether I would agree with

 3   this or not.

 4   Q     Okay.    Well, if there is a competitive bid for a

 5   company, and different parties are bidding for it like there

 6   was with EGI-TRB, and Broden Burkole [ph] and different

 7   entities, that could establish a competitive price for the

 8   business greater than the public share price.             Would you

 9   agree with that?

10   A     Yes.

11   Q     Okay.    And you agree, sir, that there have -- within

12   the appraisal community there have long been heated

13   discussions regarding the appropriate methodologies to

14   employ in valuing S corporations relative to C corporations?

15   A     I don't have a view as to a heated debate in terms of

16   valuing S corps versus C corps.

17   Q     Okay.    Could I have you turn to Tab 39, please?

18   A     Yes.

19   Q     This is an article by Catherine Exwald [ph] and Donna

20   Walker.   It's one that you cited in your Demonstrative 18.

21   Is that correct?

22   A     Yes.

23   Q     And if you'd look at the second paragraph, beginning

24   of the second sentence, the right within the appraisal

25   community and you see where they mention there's been a
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 233 of 306
                                                                           233

 1   heated debate about how to valuate S corporations?

 2   A        Yes.

 3   Q        And have you been familiar with that, that there have

 4   been different articles taking two different sides of the

 5   issue?

 6   A        I have no reason to doubt that they're talking about a

 7   heated debate.      I do think the individuals take the position

 8   here that's quoted in the report that the specific benefits

 9   are not appropriate to include in fair market value and do a

10   very nice job of explaining why.

11   Q        Okay.   Now in the next paragraph they refer to three

12   US Tax Court cases, Decisions that came down in 2001 and

13   2002.    Do you see that?

14   A        Yes.

15   Q        And then the next topic, Page 90 after the citations,

16   they say these cases (not specifically about ESOP S corps)

17   support the premise that S corporations are more valuable

18   than identical C corporations.          Do you have an understanding

19   as to whether that is a fair characterization of those

20   cases?

21   A        I don't have an understanding as to whether that's a

22   fair characterization.       I do note it says a premise the

23   authors take issue with, but yes.

24   Q        Yes.    And that was my next point, that they take --

25   that the authors take issue with that premise.
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 234 of 306
                                                                             234

 1   A        Yes.

 2   Q        Is that right?    I gather you also take issue with that

 3   premise.

 4   A        I agree with how the authors approach the S corp issue

 5   and it's quoted in my Demonstrative.

 6   Q        And then it continues the Court cases reignited the

 7   debate that occurred in 1998 when ESOP S corporations became

 8   legal.    Do you recall any debate about valuation of S corp,

 9   ESOP S corps at that time?

10   A        I don't recall specific discussions at that time.

11   Q        I believe that you indicated in your direct testimony

12   that fair market value is a set of rules.              Is that right?

13   A        Well, fair market value is a standard of value that is

14   set out in various valuation literature, valuation texts,

15   valuation treatises and the definition that I use of fair

16   market value has been adopted by the National Association of

17   Certified Valuation Analysts, the American Society of

18   Appraisers, the AICPA, and others and that's what I was

19   referring to.

20   Q        Okay.   So if I wrote down the phrase, it's a set of

21   values if -- do you recall that testimony at all?                Does that

22   make or you would change that if that was the word you said?

23   A        I'm sorry.

24   Q        I had written down the phrase when you testified that

25   you had indicated that fair market value is a set of rules.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 235 of 306
                                                                         235

 1   You -- if that's what you said, would you still stand by

 2   that or you would change it?

 3   A     Well, I think it's a -- I'm not sure I described fair

 4   market value as a set of rules and if I did I'd like to see

 5   the overall context of the discussion.            I do recall you

 6   asking me with respect to fair market value and whether like

 7   Gap there was a set of principles that govern it and I think

 8   I replied that there are a set of valuation principles that

 9   -- and you asked me if that was subject to interpretation

10   and I said yes, it is similar to Gap as subject to

11   interpretation, but obviously the AICPA doesn't have Gap for

12   valuation, if that's what you're getting at.

13   Q     Right.    There is no authoritative body that issues a

14   set of rules for valuation, the same way that there is a

15   financial accounting standards board that issues accounting

16   principles for accounting.       Is that correct?

17   A     There is no identical body.         As I mentioned you have

18   various societies, the American Society of Appraisers, the

19   National Association of Certified Valuation Analysts, and

20   then you have the general valuation community and these --

21   valuation theory has evolved and certainly there is an

22   understanding, a very clear understanding, as to how to

23   theoretically approach a valuation, what a standard of value

24   is, what a premise of value is, and so forth.

25   Q     Um-hum.   Now if I could have you turn to Tab 47,
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 236 of 306
                                                                            236

 1   please.

 2   A     Yes.

 3   Q     And just to be clear, we had asked some questions

 4   about rules governing CPA's, but it's clear that under the

 5   AICPA rules, a CPA may give testimony concerning solvency in

 6   -- as an expert witness in a litigation.              Is that your

 7   understanding?

 8   A     That's absolutely the case.

 9   Q     Yes.    Okay.    So now but there is a standard, a rule,

10   that prohibits members of the AICPA from issuing --

11   providing assurance concerning matters relating to solvency

12   in other contexts outside of litigation.              Is that correct?

13   A     Assurance, yes, because it's not an accounting

14   function and it's not an attestation function with respect

15   to the way the AICPA views accounting and attestation

16   functions, so yes.

17   Q     Okay.   And if we look at Paragraph 27 here in their

18   rule they explain their reasoning for that prohibition, part

19   of which is that -- it's a legal issue.             Accountants aren't

20   lawyers, but in the middle the second sentence it says

21   because these matters.       Do you see that?         Could you read

22   that sentence, please?

23   A     Well, it says because these matters are not clearly

24   defined in an accounting sense and are therefore subject to

25   varying interpretations, they do not provide the
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 237 of 306
                                                                          237

 1   practitioner with suitable criteria required to evaluate the

 2   subject matter or an assertion under the Third General

 3   Attestation Standard.

 4   Q     All right.    And do you agree with that reasoning?

 5   A     Yes.     It's because -- this is not -- valuation is not

 6   an accounting function and they certainly -- it's not

 7   defined in the accounting literature.             Valuation is a

 8   separate -- valuation is defined within the valuation

 9   literature, so the accounting literature and the accounting

10   standards go to whether financial statements are fairly

11   stated in accordance with Gap, have various premises,

12   historical costs, and so forth.        Valuation is a different

13   set of principles and the AICPA is dealing with what's

14   called attestation, which is attesting that financial

15   statements are stated fairly in accordance with Gap.

16   Q     Right.    And could I have you now turn to Tab 27 in

17   your binder, which is Revenue Ruling 5960, which you cite in

18   your report.    Is that --

19   A     Yes, that's correct.

20   Q     Then again you cited that and it's footnoted in one of

21   your demonstratives.     This is where you got the definition

22   of the standard of value.        Is that right?

23   A     This is the grandfather of the standard of value for

24   fair market value, but this definition has been adopted by

25   the various societies that I've mentioned earlier, but it's
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 238 of 306
                                                                             238

 1   cited because this is the grandfather of that definition.

 2   Q     And we agreed at the deposition, as it says in Section

 3   1, that this was issued for the purpose of providing

 4   guidance in valuing closely held corporations for estate and

 5   tax gift purposes.    Is that right?

 6   A     Yes, and as it states up above this purpose, these are

 7   considerations in terms of valuing such securities.                 That's

 8   correct.

 9   Q     And turn to Section 3.03, we read through that at your

10   deposition.   You agreed the first sentence as I recall there

11   that valuation of securities is in essence a prophesy and

12   you preferred the word prediction, as to the future and must

13   be based on facts available at the required date of

14   appraisal.    Do you agree with that?

15   A     Yes.

16   Q     And we read the next sentence.          As a generalization,

17   the prices of stocks, which are traded in volume and a free

18   and active market by informed persons, best reflect the

19   consensus of the investing public as to what the future

20   holds for the corporations and industries represented.                Do

21   you agree with that sentence?

22   A     I do.    I think one needs to recognize, as in this

23   case, and as Professor Pratt recognizes that when you have a

24   transaction like the leveraged buyout here, then the stock

25   is going to be influenced by that specific transaction and
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 239 of 306
                                                                          239

 1   in fact buoyed above what it would otherwise trade at in the

 2   marketplace and would no longer trade on its fundamentals.

 3   And that's why we go about the analytics that we do here in

 4   terms of analyzing the valuation of the company for purposes

 5   of solvency.

 6   Q       Okay.    Turn to Tab 48, please.

 7   A       Yes.

 8   Q       Now this is again Shannon Pratt's text called Valuing

 9   a Business, The Analysis and Appraisal of Closely Held

10   Companies.      Is that right?

11   A       Yes.

12   Q       And if you turn to Page 41, he sets out the fair

13   market value standard.      Is that right, at the bottom of the

14   page?

15   A       Yes.

16   Q       Now am I correct that it's reading under the fair

17   market value standard, it's not really any willing buyer,

18   any willing seller.      Has to be a willing seller and a

19   willing buyer who are informed, who are capable of

20   completing the transaction, and who are not under

21   compulsion.     Is that all correct?

22   A       That's the definition here.        That is generally taken

23   to being any willing buyer, any willing seller standard, not

24   a specific buyer and a specific seller.

25   Q       Well, but it's certainly not just any willing buyer.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 240 of 306
                                                                            240

 1   It has to be one who's informed, one who's able, and one who

 2   is not under compulsion.

 3   A     Correct.

 4   Q     Okay.   On Page 42, the second paragraph there it says

 5   there is general.    Can you read that paragraph?

 6   A     There is also general agreement that the definition

 7   implies that parties have the ability, as well as the

 8   willingness, to buy or to sell.        The market in this

 9   definition can be thought of as all potential buyers and

10   sellers of like businesses or practices.

11   Q     Now do you agree with that statement?

12   A     I don't have an issue with that.

13   Q     Okay.   All right.    Turn to Tab 49, Pratt's book on

14   standards of value and turn to Page 45.

15   A     Is there a separate exhibit here?

16   Q     Yeah.   Tab 49 in the binder.

17   A     Okay.   Thank you.    Yes.

18   Q     And the first paragraph there it starts a marketplace.

19   Could you read that, please?

20   A     A marketplace should not be made up only of -- of only

21   sellers, nor can it be made up only of buyers.             While the

22   buyer is viewed as willing, this buyer will only buy for a

23   rational economic amount.        Similarly, sellers will only sell

24   for a rational economic amount.        A market will only be

25   created when the rational economic analysis of value
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11   Page 241 of 306
                                                                                241

 1   intersects between buyers and sellers.

 2   Q        And do you agree with that statement?

 3   A        Absolutely.

 4   Q        And if we turn to Page 56 in this binder or this same

 5   tab --

 6   A        Yes.

 7   Q        -- under no compulsion to buy or sell.            Okay.       In the

 8   middle of that paragraph it starts in a fair market value

 9   transaction.    See where I am?

10   A        I'm sorry.    What tab are you at?

11   Q        The same tab, 49, on Page 56.

12   A        That was 40 --

13   Q        That was 49.    Tab 49.

14   A        In a fair market value transaction, the buyer and

15   seller have equal negotiating power.             The buyer is looking

16   for the lowest price at which to buy and the seller is

17   looking for the highest price to sell.               There will be a

18   competition in the market place from other bidders willing

19   to offer a higher price and/or from other sellers willing to

20   sell for less.

21   Q        And the next sentence, too, please.

22   A        The fact that there is no compulsion to sell also

23   suggests the company may be valued with ample exposure to an

24   appropriate market rather than a forced liquidation.

25   Q        Do you agree with that statement, sir?
     Case 08-13141-BLS      Doc 8446-3   Filed 03/21/11    Page 242 of 306
                                                                              242

 1   A        I'd like to read the entire context, but I don't -- as

 2   I sit here I don't have -- I mean I think that you have --

 3   certainly have circumstances where buyers and sellers have

 4   different negotiating power, depending upon their facts and

 5   -- individual facts and circumstances.               I think I'd like to

 6   read the whole context and think about it a bit before I

 7   tell you I agree with the statement.

 8                    MR. BUSATH:   Okay.

 9                    THE COURT:    Not today.

10                    MR. BUSATH:   Okay.    Not today, yes.

11   BY MR. BUSATH:

12   Q        Can we have you turn to Tab 48?             Yeah, this is the

13   last one.       I just want to finish with a discussion, the term

14   investment value and you see on Page 43 here, Professor

15   Pratt discusses investment value.            Do you see that?

16   A        Yes.

17   Q        Now under his definition is it correct that investment

18   value can be less than, equal to, or greater than fair

19   market value?

20   A        Can you show me where you're reading, please?

21   Q        Well, I'm -- on Page 43, the discussion of investment

22   value.

23   A        Yeah.    Do you want me to read the whole thing or can

24   you point me to where --

25   Q        Well, okay.    Let's -- and he has a quote there and
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 243 of 306
                                                                          243

 1   from one of the leading real estate appraisal texts and

 2   you're welcome to read the whole thing.           I'm referring to

 3   the last sentence.    It says if the investors' requirements

 4   are typical of the market, investment value will be the same

 5   as market value.    And then in the next sentence he said the

 6   distinctions noted in the above quote can be carried over to

 7   business appraisal.     Do you agree with that, that investment

 8   value may be equal to market value?

 9   A     Well, in the circumstances, as an example, where there

10   is not any specific element of investment value, then yes, I

11   would agree that investment value in that case would be

12   zero, in which case you could have a situation where

13   investment value would equal market value.

14   Q     Well, he goes on and he says there can be valid

15   reasons for the investment value to one participating --

16   particular owner or prospective owner to differ from the

17   fair market value.    Among these reasons are and the first

18   one he mentions is differences in estimates of future

19   earning power.

20   A     Yeah.

21   Q     Do you see that?     Now is he saying there that if one

22   particular investor has a particular projection for future

23   earnings, that that would be a particular investment value

24   to that investor?

25   A     Potentially I think that's right.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 244 of 306
                                                                             244

 1   Q     Okay.   And then in the next paragraph after listing

 2   those items, he says the discounted economic income

 3   valuation method can easily be oriented toward developing an

 4   investment value.    And he continues, whether or not the

 5   value thus developed also represents fair market value,

 6   depends on whether the assumptions used would be accepted by

 7   a consensus of market participants.          Do you agree with that

 8   statement, sir?

 9   A     I would need to know -- I'd need to think about what

10   assumptions he's referring to here.          Investment value and he

11   mentions on Line 3 here differences in financing costs and

12   tax status.   Investment value is different.           It's a

13   different standard of value.       Whether or not the value

14   depends on whether the assumptions used would be accepted by

15   a consensus of market participants is not clear to me.              I

16   would need to look at that.

17   Q     All right.    So you don't -- as you sit here you don't

18   understand what Dr. Pratt is saying there?

19   A     It's not clear to me what he's getting at by what

20   assumptions specifically he's referring to and whether those

21   assumptions would be accepted by a consensus, what he means

22   by a consensus of market participants.

23   Q     Okay.   You would agree with me that he did not say

24   whether or not the value thus developed also represents fair

25   market value depends on whether the assumptions used would
     Case 08-13141-BLS     Doc 8446-3   Filed 03/21/11   Page 245 of 306
                                                                              245

 1   comply with accepted valuation rules?

 2   A        That's not what that says.        I -- those words are not

 3   there.

 4                   MR. BUSATH:    Thank you, Your Honor.        I have no

 5   more on cross.

 6                   THE COURT:    All right.    Thank you.      Any more

 7   cross examination?      Redirect?

 8                   MR. QURESHI:   Thank you, Your Honor.

 9                            REDIRECT EXAMINATION

10   BY MR. QURESHI:

11   Q        Mr. Tuliano, let's start with where Mr. Busath ended,

12   the fair market value discussion.           In your opinion, sir, is

13   an S Corp, ESOP buyer a hypothetical buyer?

14   A        No.

15   Q        Can you please explain why?

16   A        Well, an S Corp, ESOP buyer is a specific buyer.              It's

17   a single buyer.      It is unique to the S Corp, ESOP structure.

18   You can have one ESOP in terms of -- that could buy the

19   company.       In terms of looking at the fair market value of

20   the company, you need to look at a broader marketplace, not

21   a single buyer.      If you were going to look at a single

22   buyer, you would be looking at investment value and that's

23   what we were talking about before and the benefits to that

24   single buyer.      This -- as an example were the ESOP to sell

25   Tribune, the ESOP couldn't sell it to itself.               That's not a
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 246 of 306
                                                                          246

 1   fair market value standard.

 2   Q       Okay.   And the fair market value standard, do you know

 3   whether that standard has been adopted as a valuation

 4   standard by any professional organizations?

 5   A       Yes.    I think as I mentioned the National Association

 6   of Certified Valuation Analysts, the AICPA, the American

 7   Society of Appraisers, a number of other organizations as

 8   well.

 9   Q       Okay.   Let's switch topics and talk about pension for

10   a minute, which Mr. Busath asked you about.             I'd like you to

11   turn to Tab 41 in the binder that he handed you.              It is DCL

12   Exhibit 1374.

13   A       Yes.

14   Q       And you'll see from the title here, this is a 2007

15   Annual Report to the Board of Directors.             Turn to Page 4 of

16   the document, please, and tell me if you can tell the date

17   that this document appears to have been prepared.

18   A       February 7 of '08, 2008.

19   Q       And sir, can you tell me whether when conducting a

20   solvency analysis as of a particular date and time, in this

21   case December 20 of 2007 for Step 2, whether it is

22   appropriate to take into account events that occurred after

23   that date?

24   A       It is not appropriate.

25   Q       Okay.   Now let's turn to the discussion we had or you
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 247 of 306
                                                                                 247

 1   had with Mr. Busath about collapsing.             He pointed you to a

 2   section of the examiner's report.         That can be found at Tab

 3   3 of your binder.

 4   A     Yes.

 5   Q     And Mr. Busath had you read in the middle of Page 174,

 6   he had you read from the middle of the paragraph that begins

 7   on the other hand.    I'd like you to read into the record for

 8   completeness the first hand so to speak and that is from the

 9   beginning of that paragraph, beginning with to be sure.

10   A     To be sure had there been a way to structure the

11   transaction so that only one giant step were necessary, the

12   transaction would have been structured accordingly.                  It's

13   also evident from the transaction documents and other

14   evidence that one, Tribune and Zell Corp did their best to

15   ensure that the LBO Lenders were required to fund if Step 2

16   conditions were met and to narrow the conditions that had to

17   be satisfied and two, Tribune and the Zell Group did their

18   best vis-à-vis one another to ensure that each would be

19   obligated to work diligently to make Step 2 happen.

20   Q     Okay.   Thank you.    Now Mr. Busath had taken you to a

21   couple of pages in your demonstratives that I'd like to go

22   back to.

23   A     Yes.

24   Q     Let's start at Page 33.

25   A     Yes.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 248 of 306
                                                                         248

 1   Q      And recall that he had shown you the two bars, if we

 2   can bring that page up, the two bars to the left-hand side

 3   of the chart.

 4   A      Yes.

 5   Q      And you were asked to comment on the difference

 6   between the blue bar and the red bar, correct?

 7   A      Yes.

 8   Q      And that difference I -- can you tell me approximately

 9   what the difference is?

10   A      Well, it's approximately 1.3 billion on the management

11   -- February '07 management projections and it looks about

12   1.8 billion on the Step 1 adjusted projections.

13   Q      Right.   And then Mr. Busath had you compare that to

14   Page 34, so if we can turn to Page 34 and again in the chart

15   on the left side.

16   A      Yes.

17   Q      And that comparison, sir, what I'd like you to tell

18   the Court is does that cause you in any way to change your

19   conclusion with respect to capital adequacy and ability to

20   pay?

21   A      Absolutely not.

22   Q      And would the answer be the same at Step 2 where Mr.

23   Busath also made that comparison?

24   A      Yes.

25   Q      Can you please explain why?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 249 of 306
                                                                           249

 1   A     Well, with respect to -- first of all the comparison

 2   of baseline projections, we've talked about the fact that

 3   management's projections were unreasonable and even if they

 4   were reasonable, one needs to look at, as I mentioned

 5   earlier, the fact that projections generally are optimistic,

 6   but more importantly the fact that there must be a margin, a

 7   cushion, a margin of error, the ability to weather

 8   reasonably foreseeable downsides, and essentially as we

 9   talked about here the operating cash flows under all

10   scenarios were wholly deficient and we would need to look at

11   each of these in terms of not only whether the company's

12   base projections, but the contemporaneous downsides as well

13   to get a full picture.

14   Q     Thank you.    Now let's move on to credit default swaps.

15   A     Yes.

16   Q     You were asked a number of questions about that.               I'd

17   like to take you back to your demonstratives, please, to

18   Page 46 and if we can please have the chart blown up.               And

19   Mr. Busath showed you a chart that I think your comment was

20   that it was scaled very differently.

21   A     Yes.

22   Q     What I'd like you to do is on the left side on the

23   vertical axis of this chart, the --

24   A     Yes.

25   Q     -- scale goes from 200 to 1,400.            Can you just please
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 250 of 306
                                                                               250

 1   explain to the Court what those numbers mean?

 2   A        Those numbers represent the premium in basis points

 3   related to the debt that would need to be paid to ensure

 4   Tribune's debt and the redline for a period of one year.

 5   It's a one-year premium related to five-year credit default

 6   swaps.    So as an example, in prior to the LBO, one would

 7   need to give 200 basis points of premium.            So as an example,

 8   for $10 million in debt, which these are typically sold at,

 9   that would be $200,000 that one would need to pay as a

10   premium.    And one can look at that as an element of return

11   on the debt.    If it's a bond that's delivering a six percent

12   coupon, as an example, one is giving 200 basis points or 2

13   percentage points of that coupon to ensure the debt.                You

14   can see it rising very significantly up to the close of Step

15   1.   It goes up to 500 basis points.         And then by the time

16   that we are in July and the company is effectively

17   acknowledging the issues and the unreasonableness of the

18   original projections, it's up to 1,000 basis points.                So

19   that's basically a million dollars or I'm sorry, a -- yes, a

20   million dollars that's being paid for $10 million worth --

21   to ensure $10 million of debt, that effectively wipes out

22   any return whatsoever and from the coupon and that level is

23   very consistent with a company in severe financial distress.

24   And that's why around the July time period, what we took

25   here is that Tribune is viewed as the fourth riskiest
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 251 of 306
                                                                           251

 1   company of 1,200 worldwide with a 50 percent probability of

 2   default and that was approximately July 20.            I think that

 3   July period is particularly important and relevant to the

 4   June period because again you have disclosures of facts that

 5   were known or knowable as of June 4 that did not make it

 6   into ultimately the company recognizing at least a portion

 7   of the problems related to '07, still hanging on to the

 8   remaining years of the projections, but the '07 in this July

 9   timeframe.

10   Q       Okay.   I'd like you now to -- I want to --

11   A       And that's -- I'm sorry.      The last thing I'd just say

12   about that is that the chart that was shown to me went up to

13   16,000 basis points and that's really a nonsensical number

14   and I think one would need to get behind the numbers to look

15   at what's happening because as a company enters bankruptcy,

16   there could be some severe aberrations, obviously, in credit

17   default swaps because they're no longer valuable, if you

18   will.   So I think that data is suspect.          Someone would need

19   to get behind that, but it certainly distorts this

20   relationship that you see here.

21   Q       Okay.   Let's move on to the discussion you had with

22   Mr. Busath about implied growth rates.            And what I'd like to

23   do very briefly is turn you to Tab 15 of the binder.

24   A       Yes.

25   Q       And this is the excerpt from the Rosenbaum and Pearl.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 252 of 306
                                                                         252

 1   A     Yes, I have that.

 2   Q     Turn to Page 133.

 3   A     Yes.

 4   Q     Mr. Busath had you read under Exhibit 3.22B, the

 5   paragraph it says similarly if the implied exit multiple

 6   from the PGM is not in line with normalized trading

 7   multiples for the target or its peers, the perpetuity growth

 8   rate should be revisited.        Do you see that?

 9   A     Yes.

10   Q     You explained to Mr. Busath that -- he had asked you a

11   series of questions about whether you could use Professor

12   Fischel's weighted average cost of capital to imply a growth

13   rate and I believe what you said is doing that would be

14   apples and oranges.

15   A     Yes.

16   Q     The question, sir, is does the quote that I just read

17   you from this text relate at all to your view that that

18   comparison would be trying to compare apples to oranges?

19   A     Well, I think it's recognizing that the implied or the

20   exit multiples and perpetual growth rates in terms of

21   looking at the trading multiples one needs to recognize that

22   you're looking at certainly market based information in

23   ensuring that you're doing a consistent analysis.

24   Q     Mr. Tuliano, let's talk for one minute about the S

25   corp, ESOP structure.     Now I gather you're aware -- I think
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 253 of 306
                                                                           253

 1   you cited in your report that the auction that occurred in

 2   2006-2007, that there was a Broden Burkole bid that Mr.

 3   Busath referred to.

 4   A     Yes.

 5   Q     Do you believe, sir, or can you tell me whether in

 6   your opinion that bid shows that the market for Tribune was

 7   made up of S corp, ESOP?

 8   A     I do not believe that that shows that the market was

 9   made up of S corp, ESOP.     The original Broden Burkole report

10   -- proposal did not contain that.         We've looked at these

11   proposals.    Each of these proposals is consistent, by the

12   way, with the finding of insolvency in a share price in

13   terms of what we were talking about earlier and they were

14   made at a time, January, February in that timeframe, before

15   the continued deterioration of the business happened.               So we

16   even have a lower value in terms of ultimately as of June

17   and the close of Step 1.     Now I understand Broden Burkole

18   issued, once the Zell proposal was put forward, did issue a

19   letter offering to also do an S corp, ESOP structure, but I

20   do not see that as being an indication that there was a

21   market place of potential S corp, ESOP buyers.             This was

22   just a letter of intent in the most general terms or a

23   letter of interest.

24   Q     Okay.    Now let's turn please to Tab 53.           This is

25   Exhibit NPP0365.    If we can please have this brought up.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 254 of 306
                                                                            254

 1   Mr. Busath asked you about this document.            It's JPM credit

 2   analysis from April 5 of 2007.

 3   A     Yes.

 4   Q     Turn your attention, please, to Page 71.             And if we

 5   can get the chart at the bottom of that page enlarged,

 6   please.

 7   A     Yes.

 8   Q     I'd like you to just focus on the numbers under

 9   Columns A, B, and C and tell me if you can tell from this

10   chart how the firm value column was arrived at.

11   A     Well, the firm value column, it appears they're

12   implying a discount rate and also an exit multiple, which

13   has the issues that we associated with implying the market

14   approach and in addition it looks like all of those values

15   would imply insolvency under a unitary transaction.

16   Q     Okay.   Now I'd like to -- I'd like you to focus to the

17   bottom column and you'll see it says there's a net debt

18   column and beside that it says there's another column under

19   Letter E that says total equity value.            Do you see that?

20   A     Yes.

21   Q     Can you tell me, sir, if you take the firm value that

22   is on the chart above and if you subtract net debt, can you

23   arrive at the total equity value that's shown in this

24   document?

25   A     No.
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 255 of 306
                                                                          255

 1   Q     Does this --

 2   A     Oh -- I'd need to look at that firm value related to

 3   my prior comment, by the way, in terms of solvency or

 4   insolvency.    It's not clear to me in terms of how they're

 5   treating the equity investments, but no, you could not come

 6   up with -- those numbers do not compute.

 7   Q     Well, from just looking at this page, can you tell

 8   whether this calculation has been done correctly?

 9   A     It looks like it has not.

10                 MR. QURESHI:    Okay.    Your Honor, can I have a

11   brief moment, please?      Thank you.

12   BY MR. QURESHI:

13   Q     One last question, sir.         You discussed with Mr. Busath

14   market evidence at some length.         Did you have a chance to

15   read the testimony from Professor Black?

16   A     Yes.

17   Q     And Professor Black testified that people on occasion

18   do overpay for assets.       Sir, do you agree with that?

19   A     Yes.

20   Q     Professor Black also testified that banks do finance

21   bad deals and lend to companies where there is a likelihood

22   of insolvency.      Sir, do you agree with that?

23   A     Yes.

24                 MR. QURESHI:    I have nothing further.         Thank you.

25                 THE COURT:   Recross?
     Case 08-13141-BLS    Doc 8446-3   Filed 03/21/11   Page 256 of 306
                                                                           256

 1                  MR. BUSATH:    Clarify one point, Your Honor.

 2                            RECROSS EXAMINATION

 3   BY MR. BUSATH:

 4   Q      Mr. Tuliano, could you turn to Tab 53?

 5   A      Yes.

 6   Q      Okay.    Now Page 71 there were some errors at the

 7   bottom of the page.      Can you look at the top of the page and

 8   see that there are some errors there, too, that they have

 9   taken the EBITDA and added appreciation amortization to it

10   when they should have been subtracting?            Do you see that,

11   sir?

12   A      Yes, I do.

13   Q      And do you recall, you've read a number of

14   depositions.     Do you recall reading the deposition of Mr.

15   John Kowalczyk?

16   A      I may have.    Yes.

17   Q      Do you recall him testifying about the errors in this

18   chart and that it wasn't something that he relied on?

19   A      I don't recall that specific testimony.

20                  MR. BUSATH:    Okay.   Thank you.      Nothing else,

21   Your Honor.     Thank you.

22                  THE COURT:    Thank you, sir.       You may step down.

23                  MR. TULIANO:   Thank you.

24                  MR. ZENSKY:    Your Honor.     Good afternoon, David

25   Zensky, Akin Gump Strauss Hauer & Feld for the Noteholder
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 257 of 306
                                                                               257

 1   Plan Proponents and Aurelius.        That concludes our last live

 2   witness at this point, Your Honor, and as Mr. Bendernagel

 3   did, we just need to keep the record open for the hopeful

 4   final consensual agreement on which documents will be

 5   actually submitted into the evidentiary record and we will

 6   certainly be discussing that in the coming days.

 7                 THE COURT:   Okay.

 8                 MR. SOTTILE:   Your Honor, James Sottile of

 9   Zuckerman Spaeder, Special Counsel to the Committee.                The

10   parties have had some discussions, Your Honor, about what

11   the rebuttal case might look like and about briefing.               Is

12   that a subject that the Court would like to speak briefly

13   about now?

14                 THE COURT:   I'd like to hear briefly about it.

15                 MR. SOTTILE:   Your Honor, with respect to the

16   rebuttal case, the Court set aside the week of April 11 for

17   further --

18                 THE COURT:   Well, I set aside the week of April

19   11, not anticipating that it would be a goal to consume it

20   all.

21                 MR. SOTTILE:   I have happy news in that regard,

22   Your Honor.

23                 THE COURT:   Okay.

24                 MR. SOTTILE:   The parties are -- believe that the

25   rebuttal case should take no more than two days.             We are in
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 258 of 306
                                                                           258

 1   discussions and are considering precisely which witnesses

 2   would be called.    The Noteholder Plan Proponents I know are

 3   also considering that and obviously their views will respond

 4   to some extent to what the DCL Plan Proponents do, but our

 5   current expectation is no more than two days should be

 6   consumed for the rebuttal case.        As the Court will recall,

 7   there are objections on matters that were not the subject of

 8   this hearing, by other parties.        And we would suggest to the

 9   Court that it would be appropriate to set those objections

10   down to be heard, starting on Wednesday the 13th, and Your

11   Honor set aside two days for that purpose.             I'm not sure

12   that it would be required.       A number of those have been

13   resolved along the way, discussions are ongoing with respect

14   to others.   We may not need that, but we would suggest that

15   the Court, notionally at least, set aside two days for that

16   purpose, if that is satisfactory to the Court.

17                THE COURT:   It is, but I want to also confirm as

18   I think had been previously indicated, that there will be no

19   evidentiary record needed in connection with resolving them.

20                MR. SOTTILE:   That is my understanding, Your

21   Honor, of the Court's previous discussions and no party to

22   my knowledge has suggested otherwise.             Obviously I can't

23   speak for all of those objectors, but I am not aware of any

24   party that intends to do so and the Court I think has made

25   clear its understanding of what will be presented to be in
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 259 of 306
                                                                          259

 1   the nature of legal argument.

 2               THE COURT:    Okay.    I would also like submission

 3   of a chart in the usual form addressing the status of the

 4   objections, I guess by -- let's put it this way, by April 8.

 5   Okay?   Just to give me some general idea of where the

 6   parties stand at that point, understanding that discussions

 7   may still be continuing you know until the time we actually

 8   get to them.

 9               MR. SOTTILE:    Certainly, Your Honor.          As the

10   Court will no doubt not be surprised to learn, we have

11   charts like that in existence right now and we can certainly

12   submit them to the Court by April 8.

13               THE COURT:    Okay.    Is there anything else the

14   parties would like to discuss before we conclude today?

15               MR. SOTTILE:    Your Honor, the only other topic

16   that we would raise is briefing and we did -- we have had

17   some discussions about potential timing of briefing, but I

18   think it would be most helpful to the parties if we could

19   have an understanding of what the Court would find useful

20   from the parties in terms of briefing.            If it's useful, the

21   parties had discussed the possibility, subject to the

22   Court's views, of exchanging opening briefs on May 6 and the

23   DCL Plan Proponents would then contemplate replies two weeks

24   later on May 20.    I'm not sure that the Noteholder Plan

25   Proponents believe that replies are necessary and obviously
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 260 of 306
                                                                              260

 1   will be guided by the Court's wishes in that regard.                In

 2   addition to the timing and the number of briefs, obviously

 3   it would be very helpful to the parties, Your Honor, if we

 4   could understand what would help you in considering the

 5   many, many issues that the parties have presented to you.

 6               THE COURT:    I don't know, but let me do this, let

 7   me think about it and how about I let you know on -- at

 8   Tuesday's omnibus.

 9               MR. SOTTILE:    That would be very helpful, Your

10   Honor.   One subject that I know the Court had some

11   commentary on, although I don't think we came to a landing

12   was whether or not the Court wanted proposed findings and

13   conclusions, whether it wanted that plus a brief, or

14   combined and again, we just seek the Court's guidance in

15   that regard.

16               THE COURT:    Yeah.    I typically don't make that

17   Decision until the end of the evidentiary hearing.              So I'm

18   not prepared to let you know yet, but let me ask this, have

19   the parties anticipated wanting the opportunity for closing

20   and if so, when?

21               MR. SOTTILE:    Your Honor, I think both sides

22   would like the opportunity for closing arguments.              We have

23   not had a discussion about when, other than after the briefs

24   are all in we think would be most helpful to the Court.

25               THE COURT:    I think that's probably right.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 261 of 306
                                                                         261

 1                MR. SOTTILE:   Thank you, Your Honor.          Your Honor,

 2   I think those are all the subjects that we wanted to raise

 3   for consideration and obviously since we're going to be back

 4   before you next Tuesday, we can perhaps have further

 5   discussion then.    The only other thing I'd add, Your Honor,

 6   is that we are deeply grateful for the patience and good

 7   humor the Court has shown through a very long two-week

 8   hearing.    Thank you, Your Honor.

 9                THE COURT:    Thank you.     Mr. Zensky?

10                MR. ZENSKY:    Yes.   I would start by certainly

11   echoing Mr. Sottile's last comment, Your Honor, and it's

12   been -- I would like to say a great experience spending the

13   last two weeks here.

14                THE COURT:    I know what you mean.

15                MR. ZENSKY:    Let me turn to the issue of

16   briefing.   Mr. Sottile accurately reflected our discussion

17   and our view.   We agree that May 6 would be an appropriate

18   date to exchange opening briefs.         We are somewhat agnostic

19   on whether there should be a second round of briefing, but

20   we do agree that the object of the briefing is really

21   devoted to the proofs that were induced during the course of

22   the trial and will be submitted into the record through

23   deposition designations and the like, as opposed to a repeat

24   of the opening briefs that you got and we'll await your

25   instruction on what form those briefs should take and
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 262 of 306
                                                                          262

 1   whether you believe we'd need the second round or we'll just

 2   proceed to argument after that point.             On the issue of the

 3   rebuttal case, I was notified as to the witnesses that they

 4   at least at this point believe they would be calling back

 5   and I have to say there is some potential disagreement on

 6   the -- of what would be an appropriate response or rebuttal

 7   case at this point.     Certainly to the extent we in our

 8   opposition to their plan have now also moved our plan in,

 9   they indicated they wanted to bring Professor Black back

10   because in his rebuttal report he had some comments on costs

11   he believed that are associated with our plan, so we get

12   that.   But there are other issues that easily could have and

13   we think should have been dealt with during the course of

14   their case in chief.     For example, the FCC issue is

15   certainly something where issue was joined long before we

16   got to Day 1 of the trial, so it's not clear to us why they

17   didn't put their FCC expert on during the course of their

18   main case as opposed to assuming that the Court would allow

19   them to do it after the fact.        Similarly to the extent they

20   want to bring witnesses or Professor Black back to now say

21   that he had disagreements with how Mr. Tuliano did something

22   or with how Dr. Beron.     Again those are things that could

23   and should have, in our view, been brought up during the

24   course of the case.     So my sense, Your Honor, as I said I

25   think in a confirmation case rebuttal itself would be
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 263 of 306
                                                                         263

 1   unusual and it's always in the discretion of the Court, so

 2   naturally it would our view that at this point there is less

 3   need for more evidence than more need for more evidence.

 4                THE COURT:    Well, do this, make a submission.        I

 5   guess I'll start with the DCL Plan Proponents of what you'd

 6   like to do for your rebuttal and I'll have a submission from

 7   the Noteholders and to the extent there's a disagreement

 8   about what the other should do, we'll talk about it.

 9                MR. ZENSKY:   Okay.

10                THE COURT:    Not this coming Tuesday I think, but

11   you know join the issue with -- in writing within the next

12   week or so and I'll probably address it by conference

13   telephone.

14                MR. ZENSKY:   Okay.     We will, Your Honor.

15                THE COURT:    Okay.   Now --

16                MR. ZENSKY:   Can I ask one more question, Your

17   Honor?   I'm sorry.

18                THE COURT:    Go ahead.     Sure.

19                MR. ZENSKY:   Did you indicate that you were going

20   to discuss the topic of what you would like in briefing on

21   this Tuesday, at the next --

22                THE COURT:    I said I was going to think about it

23   and I may address it Tuesday.

24                MR. ZENSKY:   It would just be helpful to know

25   whether the -- all the litigators need to be here for that.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 264 of 306
                                                                            264

 1                THE COURT:    You can phone it in if you like, Mr.

 2   Zensky.

 3                MR. ZENSKY:   Oh, that's what I was going to ask.

 4   Okay.

 5                THE COURT:    If that's the only part of the

 6   interest that -- of the hearing you'd be interested in.

 7   (Laughter)

 8                MR. ZENSKY:   Okay.

 9                THE COURT:    Okay.   I mean I know it might be

10   something to deprive yourself of the pleasure of returning

11   yet again.

12   (Laughter)

13                THE COURT:    But you have the option.

14                MR. ZENSKY:   Okay.     Thank you, Your Honor.

15                THE COURT:    Okay.   All right.        I would like to

16   leave the parties with some thoughts, but what I'm about to

17   relate to you should not be considered a California style

18   tentative ruling or even any preliminary ruling by me.               The

19   evidentiary record is still open and so what I'm about to

20   share with you should not be considered a settled view on

21   any matter not yet ripe for Decision.             But I thought it

22   might be helpful to the parties to hear these views.

23                I don't know how else to say it other than I

24   don't like what I see here and it has nothing to do with the

25   presentations that have been made to me.             I mean the parties
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 265 of 306
                                                                           265

 1   here are represented by some of the best lawyers in the

 2   field and the presentations have illustrated that clearly.

 3   The experts whose CV's would intimidate even the stoutest of

 4   people, you know have given what in the end will be very

 5   helpful to the Court.

 6              You know but the parties are stuck.             You know

 7   we're in the middle of a multi-constituent -- Mr. LeMay I

 8   prefer the word melee, if that's okay.            I mean everyone is

 9   well represented.    You know how to fight well, you know

10   while the Debtor is just kind of stuck in this world of

11   business uncertainty.     And I think when the Debtor puts on

12   evidence that says it is I believe it.

13              You know just to address for a moment some of the

14   objections that have been raised by one set of plan

15   proponents against the other, you know by the Noteholders

16   that the expected value of the LBO causes of action is

17   multiples of the proposed settlement consideration, that the

18   releases and exculpations are impermissibly broad and for

19   inadequate consideration and that the LBO debt is unfairly

20   treated.

21              On the other hand the DCL Plan Proponents say

22   that the Noteholders Plan is not proposed in good faith

23   because it's really destroying whatever value is in the

24   company, it delays distributions, and really is brought as a

25   litigation tactic.    Well, what competing plan isn't, really?
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11    Page 266 of 306
                                                                              266

 1   It says the Noteholder Plan is not fair to the Senior

 2   Lenders because of a shifting of the risk unfairly onto the

 3   Senior Lenders.     Both object to the proposed post-

 4   confirmation litigation scenarios.         The evidence that's been

 5   presented so far I will tell you tells me that there is some

 6   merit in each of these assertions.         You know I heard the

 7   testimony about possible problems with the Plan and FCC

 8   approvals.   I may hear more on rebuttal.            I don't think what

 9   I've heard, if it's true, can help anybody, either party.

10   As I look at the valuation issue, at least at first blush it

11   strikes me that regardless of the number I might ultimately

12   determine for distributable value, the finding would fit

13   structurally in either Plan, I think.             But I understand that

14   it has a broader impact with respect to the extent and scope

15   of distributions.

16                You know there are things that are good and bad

17   about each proposed plan.        You know I think it's good that

18   more claims rather than fewer claims can be settled.                 I

19   think it leaves the company with less uncertainty.               On the

20   other hand it's appropriate only if the settlement is

21   properly priced and that sufficient value is given for the

22   releases that are being offered.         You know both Plans would

23   involve the deleverage of the company's balance sheet.

24   That's a good thing.

25                I do want to spend a minute, though, giving you
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 267 of 306
                                                                         267

 1   just a couple of comments about the respective accusations

 2   of lack of good faith.     You know we live in a -- I don't

 3   know I guess Darwinian business climate might be the way to

 4   say it.   And frankly I'm of the view that if Oaktree or

 5   Angelo Gordon you know want to say to themselves, look no

 6   bottom feeder is going to come into my Chapter 11 and

 7   squeeze a disproportionate allocation of value of the

 8   estate.   They're perfectly free to say that.           JPM wants to

 9   say hey, we're JPM and you're not, we're not going to talk

10   to you, perfectly free.     Aurelius wants to say look, you

11   know I have every right to take advantage of what I look at

12   as a best business opportunity and to make a stink in the

13   bankruptcy because others are proceeding unfairly, they have

14   the perfect right to do that.        But you know at the end there

15   has to be an exit of some kind and I know all of you, based

16   on your experience, understand that in a case like this, the

17   alternative to a consensual resolution is usually a series

18   of disputes, which have to be resolved judicially over a

19   period of time.     And I find often at the end of that

20   process, nobody really ends up winning.           There's a

21   resolution, but nobody ends up the better for it, really.              I

22   don't know what would happen here if taken to its

23   conclusion.   But I will tell you despite the disparate

24   interpretations of the examiner's report, I'm still of the

25   view that it can serve as a sound basis for consensual plan.
     Case 08-13141-BLS   Doc 8446-3   Filed 03/21/11   Page 268 of 306
                                                                          268

 1               I realize that there's a very large divide about

 2   what that's supposed to mean.        I will tell you I don't know

 3   yet whether either, both, or neither Plan, how it will

 4   result in the end and whether I'll find both Plans are

 5   confirmable or neither.     But I will tell you this, if I

 6   ultimately find that neither Plan is confirmable and because

 7   this case has been pending for so long and because the

 8   parties, because of their disparate views and business

 9   interests, have been so much at odds, I will consider teeing

10   up a hearing to determine whether a Chapter 11 Trustee

11   should be appointed, based primarily on the considerations

12   taken into account in the Third Circuit's Decision in

13   Marvel, with which I'm sure you are all familiar.              This is

14   not something I'm anxious to undertake, but as I try to look

15   ahead and without deciding what the outcome is, because I

16   don't know what it will be yet, I think I have to be more

17   proactive in drawing us to some kind of conclusion.

18               So with that I leave you with my encouragement

19   that you will continue to have discussions among yourselves

20   or with my colleague, with the hope that perhaps the divide

21   can be traversed or at least narrowed.            So I'm hopeful

22   actually that the parties might be able to make some

23   progress between now and the time that they will return in

24   April.   And with that I will bid you farewell, wish you a

25   good weekend, and safe travels home.          Court is adjourned.
     Case 08-13141-BLS           Doc 8446-3                       Filed 03/21/11   Page 269 of 306
                                                                                                      269

 1                 ALL:        Thank you, Your Honor.

 2   (Whereupon, at 5:29 p.m., the hearing was adjourned.)

 3

 4                                                   CERTIFICATION

 5                 I certify that the foregoing is a correct

 6   transcript from the electronic sound recording of the

 7   proceedings in the above-entitled matter.

 8
                          Digitally signed by Wendy Evans
 9   Wendy Evans          DN: cn=Wendy Evans, c=US,
                          o=DiazDataServices, email=info@diazdata.com

10                        Date: 2011.04.20 14:46:44 -04'00'
                                                                                      20 March 2011
11   Transcriber                                                                           Date
12
     Case 08-13141-BLS   Doc 8446-3    Filed 03/21/11    Page 270 of 306
                                                                               270

 1                                     INDEX

 2   WITNESSES:                        Direct    Cross      Redirect       Recross

 3   Ralph S. Tuliano                    14        128           245        256
 4
 5
 6
 7   DEPOSITION PLAYBACK:
 8
 9   Professor Pratt                    198
10
11
12
13
14                                    EXHIBITS
15   NPP EXHIBITS:                                  Identified         Received

16   944 - Summary of Tuliano Reports                       23               25

17   955 - Tuliano opinions Re: Expert Reports 25                            26

18

19   DCL EXHIBITS:

20   2000 - DCF Tender Offer                               133

21   2001 - DCF Analysis                                   134

22

23
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 271 of 306
Word                         Page:Line   Word                         Page:Line    Word                        Page:Line     Word                        Page:Line
08-13141-kjc(1) 1:5                      accounted(3) 57:20 57:23 75:11            adjustments(3) 66:13 78:23 79:1           all(91) 13:3 13:19 14:4 15:13 21:15 24:23
99c10(1) 133:21                          accounting(21) 15:4 15:15 15:22 16:15     adler(1) 4:21                             25:1 27:4 27:14 30:7 31:23 34:1 56:22
a's(2) 106:23 106:23                     58:6 58:11 59:20 75:16 75:21 89:17        administration(1) 15:14                   66:2 72:17 72:22 72:22 73:1 74:11 75:17
a.m(2) 1:14 13:1                         201:15 235:15 235:15 235:16 236:13        admit(1) 24:2                             75:25 77:11 79:2 80:10 80:20 83:4 94:21
aberration(3) 37:8 136:12 138:21         236:15 236:24 237:6 237:7 237:9 237:9 admitted(10) 24:5 24:7 24:9 24:18 24:20 97:10 103:8 105:15 106:12 107:5 108:15
aberrations(1) 251:16                                                              25:5 25:22 25:25 26:13 26:15              110:15 113:25 114:6 122:22 122:23 123:9
abid(2) 2:39 13:5                        accounts(1) 216:24                                                                  127:2 128:12 129:17 132:13 134:7 140:21
ability(34) 21:8 22:4 23:11 41:2 53:18   accurate(5) 111:25 117:1 117:12 117:22 adopted(5) 201:3 225:4 234:16 237:24         150:1 159:16 161:20 161:24 162:16 162:16
55:10 55:16 67:20 67:25 68:4 68:11 68:12119:11                                     246:3                                      167:15 168:5 178:13 178:14 182:23
68:19 68:19 68:22 70:12 76:12 89:22                                                                                          184:25 186:11 189:22 190:21 203:9 208:8
110:1 111:17 123:1 202:21 203:5 204:11 accurately(1) 261:16                        advance(1) 24:13                          209:8 213:6 214:16 218:17 223:1 224:20
204:20 205:1 208:17 214:7 219:4 222:11 accusations(1) 267:1                        advances(1) 119:5                         225:20 227:24 228:3 234:21 237:4 239:21
228:2 240:7 248:19 249:7                 achievable(1) 35:20                       advantage(2) 128:4 267:11                 240:9 240:13 244:17 245:6 249:1 249:9
                                         achieve(3) 38:21 41:7 184:22              advertising(4) 32:3 103:6 103:23 146:15 252:17 254:14 257:20 258:23 260:24 261:2
ability-to-pay(1) 213:25                 achievement(1) 146:10                     advice(1) 112:6                            263:25 264:15 267:15 268:13 269:1
able(17) 41:7 70:15 81:21 96:12 96:15    achieving(2) 29:11 36:13                  advised(1) 62:24
97:15 121:19 127:20 134:23 140:5 142:2 acknowledge(1) 231:18                       advisor(1) 63:1
142:3 156:24 209:7 213:11 240:1 268:22 acknowledged(2) 185:3 197:23                                                          allege(1) 108:22
                                                                                   advisors(6) 64:16 84:11 151:24 152:2
                                         acknowledges(1) 89:7                      152:17 185:16                             allinson(1) 4:32
about(174) 15:1 15:12 16:3 17:24 18:22 acknowledging(1) 250:17                                                               allison(1) 6:37
19:17 21:11 22:7 27:20 27:25 30:19 31:18acquisition(8) 78:14 80:5 95:13 95:14      advisory(1) 15:6                          allocation(2) 217:9 267:7
31:21 31:25 32:7 36:21 37:21 39:7 39:13 96:14 146:12 210:8 210:21                  advisor’s(2) 207:14 208:1                 allow(1) 262:18
41:12 48:4 50:1 55:11 56:2 60:1 60:14                                              affected(2) 138:21 207:23                 almost(2) 49:20 137:23
60:19 60:23 61:17 63:8 63:13 63:16 63:25across(5) 80:20 148:13 194:11 222:19       affecting(1) 103:23                       along(5) 30:13 60:6 81:8 127:21 258:13
64:8 65:5 68:9 68:24 70:17 70:19 71:7 223:15                                       affidavit(1) 74:1                         already(5) 36:1 96:12 142:14 169:12
73:2 74:14 75:24 76:4 78:9 79:18 79:25                                             afford(1) 115:2                           also(96) 16:1 17:1 17:10 18:9 19:6 19:9
82:5 82:16 82:17 82:19 84:18 86:22 87:4 action(1) 265:16                                                                     19:14 20:4 22:3 22:15 22:19 23:8 25:17
                                                                                   after(18) 61:6 70:24 77:10 81:15 139:3
87:5 87:6 89:3 91:6 91:12 91:14 92:19 active(1) 238:18                             151:3 163:6 163:7 163:13 214:18 223:19 27:6 32:24 36:3 39:15 43:5 44:7 45:22
93:8 93:11 93:24 95:1 95:6 97:24 100:2 activity(2) 83:25 137:17                    224:19 233:15 244:1 246:22 260:23 262:2 50:9 52:9 54:6 56:25 59:24 60:9 62:18
101:10 101:12 101:20 102:10 109:1 109:2 actual(19) 33:17 33:18 35:22 36:20 37:25 262:19                                      64:3 64:13 66:3 67:13 71:3 78:6 78:11
113:19 113:21 115:19 116:16 116:17       40:14 42:2 45:12 49:9 85:22 85:23 132:17afternoon(4) 127:14 128:17 128:18 256:24 79:4 84:6 89:18 90:15 94:17 98:20 98:23
116:17 118:22 120:19 120:25 121:2 121:14151:2 157:17 157:19 160:25 201:7 216:17                                              99:25 100:15 105:10 113:10 113:11 113:14
                                                                                   again(45) 28:15 30:21 36:25 37:12 37:23
 122:11 123:2 127:19 129:13 135:21       227:4                                                                                122:11 125:8 125:9 126:6 134:18 136:19
                                                                                   40:4 40:14 40:20 41:11 41:15 44:11 47:6
137:10 137:14 137:18 138:16 139:14                                                                                           137:24 140:7 149:21 152:13 155:17 156:23
                                                                                   48:14 63:24 70:20 73:3 81:7 81:17 122:25
139:15 140:13 148:16 160:11 163:2 166:14actually(25) 33:23 39:5 44:10 72:1 73:12                                              160:4 164:6 166:23 167:5 168:19 169:8
                                                                                   131:16 141:19 152:15 156:5 174:20 179:3
 172:18 173:5 174:17 176:15 180:2 180:1582:17 89:13 112:15 121:18 130:8 158:22                                               169:25 173:15 184:5 185:6 195:8 206:15
                                                                                   180:8 180:11 183:17 184:9 185:19 192:10
182:3 182:24 183:10 186:18 191:4 192:15 163:14 164:25 165:18 181:8 182:7 184:12                                              207:2 208:12 209:6 209:9 214:16 217:19
                                                                                   192:12 202:18 205:25 206:10 211:18
193:15 193:19 199:8 199:11 200:6 200:11 187:6 188:24 191:10 222:7 223:4 257:5                                                222:5 226:3 227:2 227:6 227:23 234:2
                                                                                   220:20 225:25 237:20 239:8 248:14 251:4
200:23 200:24 201:2 204:2 205:2 205:16 259:7 268:22                                                                          240:6 241:22 244:5 244:24 247:13 248:23
                                                                                   260:14 262:22 264:11
206:3 206:9 208:24 209:10 211:6 211:24                                                                                       253:19 254:12 255:20 258:3 258:17 259:2
219:8 221:17 228:7 233:1 233:6 233:16                                                                                        262:8
                                         adam(1) 3:19                              against(5) 21:22 35:17 44:9 44:11 265:15
234:8 236:4 239:3 242:6 244:9 245:23
                                         add(11) 25:11 52:19 175:7 185:7 185:7 agencies(7) 22:12 22:20 82:19 98:8 98:11
246:9 246:10 247:1 248:11 249:2 249:9                                                                                        altered(1) 210:2
                                         200:15 201:10 217:10 218:23 218:25 261:598:14 98:21
249:16 251:12 251:22 252:11 252:24                                                                                           alternative(1) 267:17
253:13 254:1 256:17 257:10 257:11 257:13                                                                                     although(9) 59:21 61:12 128:3 132:14
                                         added(6) 65:22 94:3 108:12 218:18 222:18agent(1) 98:17
 257:14 259:17 260:7 260:7 260:23 263:8                                                                                      144:20 157:7 218:7 222:15 260:11
                                          256:9                                    aggregate(2) 180:11 180:16
263:8 263:22 264:16 264:19 266:7 266:17
267:1 268:1                                                                        aggressive(1) 208:21                      alvarez(3) 9:18 9:18 11:8
                                         adding(2) 148:12 174:24                   agnostic(1) 261:18
                                         addition(19) 47:25  49:18 67:8 74:22 75:9                                           always(6) 50:16 51:15 96:3 131:3 186:2
above(9) 29:4 149:22 163:9 198:24 207:10                                           ago(2) 19:11 183:11                       263:1
 238:6 239:1 243:6 254:22                77:1  89:25 92:7  95:23 100:12 123:6 125:7agree(52) 32:14 47:15 53:16 85:12 95:5
                                         134:16 175:7 204:10 210:22 231:19 254:1497:2 97:3 115:11 118:14 119:10 119:22
                                          260:2                                                                              america(4) 6:4 6:10 105:25 106:21
aboveentitled (1) 269:7                                                            120:10 139:18 144:15 145:7 145:14 147:12
                                                                                                                             american(3) 234:17 235:18 246:6
absent(2) 108:1 108:3                                                               158:4 158:4 197:7 198:19 200:2 200:5
                                         address(6) 22:15 71:1 71:3 263:12 263:23 201:24 202:7 209:2 209:15 209:19 228:20 americas(1) 3:6
absolutely(15) 17:5 17:14 17:21 31:18                                                                                        amit(1) 9:47
                                         265:13                                    230:4 230:10 231:13 231:23 232:2 232:9
39:1 41:4 47:17 130:12 140:16 141:24                                                                                         among(7) 43:8 69:21 172:21 172:22 191:3
194:24 226:11 236:8 241:3 248:21                                                   232:11  234:4  237:4 238:14 238:21 240:11
                                         addressed(2) 25:4 215:7                   241:2 241:25 242:7 243:7 243:11 244:7 243:17 268:19
                                         addressing(2) 167:2 259:3               244:23 255:18 255:22 261:17 261:20
accelerates(2) 30:18 30:19                                                                                                amortization(1) 256:9
                                         adds(1) 84:15
accept(7) 25:1 133:15 135:11 136:25
164:8 179:15 179:15                      adelman(1) 7:49                         agreed(6) 94:2 113:7 215:21 227:13 238:2 amount(30) 20:3 22:18 30:1 51:11 57:16
                                         adequacy(39) 22:4 53:18 55:10 55:16     238:10                                   57:17 57:18 57:24 58:12 58:12 69:22 70:9
                                         67:19 67:25 68:4 68:8 68:12 68:25 70:7                                           75:22 77:19 77:22 86:1 98:13 101:4
accepted(4) 244:6 244:14 244:21 245:1
                                         71:8 71:20 72:21 76:11 80:25 81:2 82:1 agreement(9) 5:4 5:38 113:5 113:7 116:23 116:10 124:4 125:17 130:2 136:19 136:23
accepting(1) 136:4                                                                                                        181:1 196:5 218:13 228:17 240:23 240:24
                                         84:13 84:19 84:24 85:4 89:21 94:14 95:2 117:2 209:16 240:6 257:4
access(1) 221:1
                                         110:11 111:16 122:25 152:7 202:23 203:10
accessing(2) 217:20 221:17                204:11 204:13 204:25 209:2 213:24 214:7agudelo(1) 11:20                         amounts(1) 180:23
accomplish(1) 116:13                     219:3 248:19                                                                     ample(2) 207:15 241:23
                                                                                 ahead(4) 102:20 217:23 263:18 268:15
accomplished(7) 55:2 116:14 120:24                                                                                        amply(1) 115:8
                                                                                 ahmed(1) 10:35
121:12 122:8 123:15 228:8                adequate(2) 206:24 209:6                                                         amsden(1) 75:24
                                                                                 aicpa(7) 16:13 234:18 235:11 236:10
                                         adequately(1) 53:24                     236:15 237:13 246:6                      analyses(13) 50:5 57:14 68:1 89:16 109:2
accordance(2) 237:11 237:15              adjourned(2) 268:25 269:2                                                        130:5 130:7 132:25 133:5 161:10 185:25
according(1) 196:18                      adjust(7) 14:8 77:23 78:11 78:16 169:23 akin(4) 2:38 7:42 13:5 256:25            197:5 202:25
accordingly(3) 18:18 145:22 247:12       181:14 210:22
account(20) 47:6 53:5 53:16 53:18 53:19
54:4 65:17 76:21 77:18 78:10 89:18 89:21adjusted(23) 45:2 45:14 45:15 45:20 45:22
89:22 123:3 197:8 199:6 208:11 223:13 45:25 49:14 49:16 50:8 50:9 60:9 65:4
246:22 268:12                           67:12 67:15 71:16 77:21 79:5 79:25 160:3
                                         160:6 169:25 207:4 248:12
accountant(2) 15:25 19:4
accountants(1) 236:19                    adjustment(1) 169:21
Page : 1                                                                                                                                              04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                   Page 272 of 306
Word                        Page:Line     Word                       Page:Line    Word                       Page:Line     Word                       Page:Line
analysis(120) 17:22 26:18 26:22 26:25     and(301) 13:5 13:6 14:2 14:6 14:8 14:10 and(301) 64:3 64:18 64:21 65:2 65:5 65:5 and(301) 106:5 106:6 106:10 106:11
26:25 40:12 42:15 42:18 44:3 45:1 45:3 14:23 14:24 14:25 15:6 15:9 15:12 15:12 65:8 65:10 65:10 65:12 65:21 65:22 65:23106:23 106:23 107:4 107:4 107:9 107:10
45:4 45:21 48:5 48:7 50:17 51:18 54:20 15:15 15:15 15:17 15:19 15:23 16:1 16:1066:1 66:3 66:6 66:9 66:10 66:12 66:17 107:11 107:16 107:18 107:25 108:1 108:4
54:25 57:8 57:21 60:2 60:5 60:8 60:10 16:14 16:15 16:25 17:3 17:6 17:7 17:12 66:19 66:25 67:4 67:5 67:9 67:13 67:19 108:11 108:12 108:17 108:18 109:1 109:7
63:9 66:8 66:18 66:19 67:4 67:9 67:20 17:13 17:22 17:23 18:2 18:6 18:9 18:15 67:22 67:22 67:24 67:25 68:4 68:7 68:9 109:24 110:5 110:10 110:19 111:2 111:9
68:20 70:6 71:8 72:21 76:10 77:7 78:20 18:21 19:6 19:11 19:16 19:17 19:21 19:2468:11 68:13 68:13 68:16 68:17 68:23         111:16 112:8 112:19 112:23 113:3 113:4
80:9 81:6 81:23 84:13 84:16 84:19 86:14 20:1 20:4 20:5 20:10 20:13 20:14 20:16 68:23 69:1 69:4 69:6 69:7 69:10 69:13 113:4 113:7 113:10 113:11 113:14 113:19
89:12 91:2 91:25 92:22 95:2 95:16 95:23 20:19 20:21 20:23 20:25 21:4 21:7 21:9 69:16 69:18 69:19 69:22 69:23 70:1 70:2 113:20 113:23 113:24 114:4 114:14 115:7
96:15 96:20 96:24 98:6 98:19 107:19       21:10 21:10 21:14 21:14 21:21 22:1 22:2 70:3 70:10 70:11 70:13 70:15 70:21 70:22115:18 116:2 116:6 116:8 116:11 116:15
107:21 108:5 108:15 114:2 114:3 121:5 22:4 22:5 22:12 22:15 22:20 22:25 23:5 70:23 71:1 71:3 71:9 71:13 71:16 71:21 116:17 116:24 117:4 117:8 117:20 117:22
133:11 133:12 133:15 134:3 151:19 152:1523:6 23:10 23:15 24:1 24:4 24:5 24:6      71:25 72:3 72:8 72:9 72:10 72:10 72:12 118:4 118:12 118:15 118:20 119:6 119:10
 152:21 152:25 160:10 160:22 160:24       24:14 24:16 25:1 25:8 25:18 26:4 26:5 72:16 72:17 72:20 72:23 73:7 73:9 73:12 119:24 120:6 121:2 121:16 121:18 122:1
160:25 161:14 165:19 165:24 173:17 175:426:9 26:18 26:21 27:1 27:2 27:17 27:24 73:16 73:19 74:6 74:10 74:14 74:16 75:1 122:6 122:17 122:20 122:25 123:1 123:4
 175:15 178:24 181:9 181:20 181:22 182:927:25 28:8 28:12 28:18 29:1 29:2 29:13 75:4 75:4 75:6 75:11 75:11 75:11 75:13 123:6 123:16 123:18 123:23 124:8 124:16
182:17 183:13 190:19 191:9 192:24 193:1929:20 29:24 29:25 30:3 30:4 30:7 30:10 75:13 75:17 75:22 76:3 76:4 76:6 76:10 124:21 124:21 124:21 125:3 125:3 125:4
 194:11 194:13 195:5 195:18 196:17        30:12 30:15 30:16 30:19 31:15 31:16     76:17 76:17 76:18 76:20 76:21 77:1 77:6 125:7 125:12 125:17 125:20 125:23 126:4
197:12 198:12 200:23 202:5 202:6 202:12 31:21 32:1 32:9 32:10 32:19 33:13 33:15 77:10 77:11 77:18 77:20 77:25 78:8 78:11126:4 126:6 126:9 126:18 126:23 127:16
205:5 207:9 208:22 209:21 220:20 221:2 33:18 33:20 34:1 34:7 34:13 34:22 35:1 78:15 78:17 78:20 79:1 79:3 79:5 79:7 127:20 127:22 128:6 128:6 128:7 128:23
222:21 223:2 226:23 239:9 240:25 246:20 35:6 35:13 35:21 36:3 36:8 36:8 36:18 79:8 79:10 79:12 79:13 79:20 79:24 79:24129:6 129:8 129:10 129:16 129:20 129:25
252:23 254:2 270:21                       36:21 36:22 36:23 37:6 37:8 37:8 37:14 80:6 80:11 80:17 80:18 80:23 80:23 81:10130:5 130:7 130:17 130:18 130:20 132:23
                                          37:19 37:20 38:1 38:3 38:7 38:16 38:19 81:10 81:12 81:15 81:16 81:17 81:18 82:1132:25 133:1 133:4 133:5 133:6 133:10
analyst(7) 16:1 16:4 19:5 19:5 144:6      38:20 38:21 39:5 39:6 39:20 39:20 39:25 82:6 82:13 82:17 82:18 82:20 83:1 83:13 133:24 134:2 134:5 134:9 134:12 134:16
154:13 155:12                             40:1 40:2 40:3 40:4 40:13 40:14 40:19 83:16 83:20 83:25 84:3 84:6 84:15 84:19 134:17 134:21 134:21 134:24 135:4 135:6
                                          40:21 41:1 41:1 41:9 41:10 41:15 41:18 84:21 84:23 85:1 85:5 85:7 85:11 85:17 136:5 136:10 136:17 136:21 136:24 137:4
analyst's(1) 155:7                        42:1 42:4 42:6 42:9 42:14 42:19 42:21 85:19 85:22 85:23 85:24 87:12 87:14        137:6 137:21 137:21 138:1 138:3 138:16
analysts(15) 16:7 22:12 22:20 69:11 69:16 43:4 43:7 43:9 43:13 43:17 43:18 43:19 87:14 87:18 87:21 87:23 87:24 88:3 88:6 138:20 138:21 139:1 139:10 139:11 139:16
 154:21 154:22 155:9 155:11 155:22 156:943:21 43:21 43:23 44:2 44:2 44:4 44:4 88:9 88:9 88:19 89:1 89:8 89:18 89:25         139:25 140:1 140:6 140:7 140:9 140:12
156:13 234:17 235:19 246:6                44:10 44:11 44:15 44:23 44:25 45:8 45:1189:25 90:4 90:4 90:7 90:9 90:12 90:19 140:15 140:18 140:19 141:7 141:10 141:13
                                          45:16 45:19 45:20 45:23 46:6 46:8 46:13 90:22 91:1 91:5 91:9 91:10 91:11 91:16 141:15 141:21 142:7 142:21 143:2 143:5
analytical(1) 88:6                        46:15 46:20 46:21 46:21 46:25 47:15     91:18 91:20 91:24 92:2 92:4 92:5 92:11 143:22 144:6 144:10 144:15 144:21 145:8
analytically(1) 87:17                     47:18 48:4 48:9 48:12 48:14 48:18 48:19 92:20 92:23 93:5 93:12 93:15 93:22 93:24145:14 145:22 145:24 145:24 146:4 147:1
analytics(3) 42:21 207:21 239:3           48:22 48:24 49:6 49:6 49:10 49:11 49:12 94:3 94:6 94:11 94:22 95:5 95:13 95:18 147:2 147:12 147:20 147:20 147:21 147:22
analyze(3) 95:25 99:2 224:20              49:24 50:2 50:7 50:8 50:8 50:9 50:14    95:21 96:1 96:1 96:7 96:17 96:19 96:22 148:4 148:8 148:10 148:11 148:14 148:24
analyzed(2) 22:6 217:17                   50:19 50:25 50:25 51:2 51:12 51:13 51:1496:23 96:24 96:25 97:11 97:13 97:14      149:5 149:8 149:13 149:17 150:4 150:14
analyzing(6) 17:13 26:20 97:22 111:14     51:23 52:2 52:20 52:22 53:3 53:7 53:13 97:24 97:25 98:3 98:7 98:8 98:16 98:22 150:14 150:23 151:4 151:4 151:15 151:16
204:25 239:4                              53:13 53:18 53:18 53:19 53:22 54:2 54:1398:22 99:1 99:7 99:21 99:24 100:3 100:4 151:21 151:24 152:2 152:7 152:10 152:11
                                          54:15 54:17 54:20 54:23 54:23 55:10     100:5 100:9 100:10 100:13 100:14 100:19 152:22 152:23 153:6 153:11 153:19 153:21
anchor(1) 85:23                           55:15 55:16 55:17 55:19 55:25 56:1 56:2 100:20 101:1 101:3 101:6 101:7 101:8      154:9 154:9 154:22 154:25 155:6 155:12
                                          56:2 56:4 56:19 56:23 57:4 57:8 57:10 101:13 101:14 101:14 101:14 101:16         155:15 155:21 155:22 155:25 156:5 156:7
                                          57:11 57:24 58:5 58:8 58:25 59:2 59:7 101:19 101:21 101:21 101:25 102:2 102:5 156:7 156:18 156:25 156:25 157:4 157:8
                                          59:9 59:13 59:18 60:1 60:18 60:19 60:20 102:10 102:12 102:14 102:16 103:9 103:12157:10 157:16 157:19 157:25 158:2 158:3
                                          60:23 61:1 61:5 61:14 61:15 61:25 62:2 103:13 103:16 103:18 103:21 103:23        158:5 158:17 158:20 158:21 158:25 158:25
                                          62:4 62:5 62:18 62:23 62:24 63:9 63:12 104:1 104:5 104:12 104:16 104:18 104:23 159:4 159:9 159:10 159:19 159:23 160:3
                                          63:13 63:16 63:24 64:3                  104:25 104:25 105:2 105:5 105:7 105:9 160:6 160:13 160:14 160:15 160:17 160:24
                                                                                  105:11 105:15 105:17 105:18 105:19        160:25 161:4 161:5 161:10 161:14 161:14
                                                                                  105:20 106:2                             161:15 161:19 161:23 162:7 162:10 162:11
                                                                                                                            162:16 162:19 163:5 163:9 163:12 163:18
                                                                                                                           163:22 164:12 164:16 164:18 164:24 165:5
                                                                                                                            165:20 166:7 166:9 166:18 167:4 167:6
                                                                                                                           167:9 167:11 167:23 168:3 168:5 168:13
                                                                                                                           168:19 168:25 169:6




Page : 2                                                                                                                                           04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                  Page 273 of 306
Word                       Page:Line    Word                        Page:Line   Word                        Page:Line    Word                        Page:Line
and(301) 169:11 169:19 169:22 169:25    and(256) 224:20 224:25 225:3 225:6 225:6any(77) 17:3 17:6 17:12 18:16 23:20 24:9 april(20) 34:9 36:8 37:8 43:9 101:2
170:2 170:5 170:8 170:10 170:14 171:2 225:11 225:16 225:23 225:25 226:3         24:9 24:18 26:11 29:5 44:2 51:23 52:22 101:14 132:4 133:8 133:24 145:18 152:11
171:3 171:3 171:6 171:7 171:9 171:13    226:22 227:2 227:7 227:10 227:11 227:18 52:22 53:3 53:3 53:9 58:15 58:22 66:12 178:22 214:25 215:8 254:2 257:16 257:18
172:7 173:4 173:7 173:10 173:15 173:20 228:2 228:3 228:10 228:20 228:23 228:25 67:25 70:8 74:14 76:2 78:23 86:11 87:13 259:4 259:12 268:24
174:2 174:5 174:14 174:15 174:15 175:5 229:2 229:3 229:6 229:17 229:19 230:2 89:13 91:9 95:19 106:25 110:19 119:5
175:12 175:22 175:23 175:25 175:25      230:4 230:8 230:11 230:13 230:13 230:16 125:3 126:15 127:16 150:20 153:15 160:21are(198) 14:21 21:9 22:8 24:5 25:5 28:5
176:11 176:18 176:20 176:25 177:1 177:4 230:18 230:19 230:19 230:20 231:2 231:4 172:21 173:12 181:5 185:15 190:25 191:629:3 31:3 31:11 31:19 31:23 34:1 37:20
177:8 177:15 177:18 177:21 177:24 178:8 231:7 231:13 231:17 231:18 231:23 231:25195:15 202:13 203:3 207:25 209:7 211:19 39:9 40:23 40:24 41:1 43:14 43:22 45:20
178:20 178:21 178:24 178:24 179:3 179:6 232:1 232:5 232:6 232:6 232:11 232:19 212:21 212:22 219:17 219:22 220:20         50:23 51:8 52:7 53:8 53:25 55:25 56:4
179:9 179:12 179:13 179:15 179:20 179:23232:23 232:25 233:3 233:9 233:12 233:15 220:24 221:9 221:13 221:20 221:21 223:1058:2 58:2 59:3 59:18 61:7 61:23 63:25
 179:25 180:6 180:9 180:15 180:25 181:3 233:24 234:5 234:6 234:15 234:18 234:18 230:9 234:8 239:17 239:18 239:23 239:2368:18 68:18 69:20 69:22 71:9 72:14 74:13
181:13 181:17 181:18 181:23 181:24 182:5235:4 235:6 235:7 235:9 235:10 235:19 239:25 243:10 245:6 246:4 248:18 250:22 74:13 74:22 77:8 77:8 79:7 79:19 79:20
 182:11 182:16 182:17 182:21 182:24     235:20 235:21 235:24 236:3 236:14 236:15258:23 264:18 264:21                     82:16 87:6 87:7 89:1 90:15 92:9 93:16
183:1 183:7 183:10 183:16 183:20 183:22 236:17 236:24 237:4 237:6 237:9 237:12                                           93:24 93:24 94:2 94:5 94:6 94:18 95:10
184:5 184:9 184:21 185:1 185:2 185:3    237:13 237:16 237:20 238:2 238:4 238:6 anybody(4) 42:17 88:11 128:3 266:9        97:5 97:13 97:16 97:16 97:17 99:6 99:12
185:11 185:16 185:17 185:23 185:24 186:2238:9 238:11 238:12 238:16 238:17 238:18anyone(1) 127:4                          100:4 100:22 103:2 104:7 105:1 107:8
 186:12 186:15 187:2 187:9 187:12 187:13 238:20 238:23 238:25 239:2 239:3 239:9 anything(6) 25:11 90:5 211:20 222:2      107:9 114:14 121:1 121:17 121:18 121:21
187:19 187:24 188:5 188:6 188:7 188:9 239:12 239:18 239:20 239:24 240:1 240:9 224:5 259:13                               121:23 122:9 123:12 126:8 126:10 126:10
188:12 188:22 188:23 189:9 189:13 189:16240:14 240:18 241:1 241:2 241:4 241:14                                           132:23 133:4 140:20 140:23 141:7 149:5
 189:25 190:4 190:11 190:16 190:20      241:16 241:21 242:3 242:4 242:5 242:6 anywhere(2) 42:17 108:24                   153:13 154:4 156:12 157:1 158:17 158:23
190:25 191:4 191:6 191:8 191:13 191:15 242:14 242:25 242:25 243:1 243:5 243:14 apologize(1) 25:24                        161:6 164:10 164:10 164:14 166:10 167:9
191:17 191:22 192:5 192:10 192:24 193:8 243:17 244:1 244:4 244:10 244:11 244:20 appearances(8) 5:13 6:1 7:1 8:1 9:1 10:1 168:4 168:25 171:25 174:12 176:20 176:25
193:13 193:18 194:18 194:19 194:22      245:22 245:23 246:2 246:9 246:14 246:16 11:1 12:1                                 177:25 178:25 180:7 180:16 181:23
194:24 195:3 195:8 195:8 195:22 195:25 246:19 246:20 247:5 247:8 247:13 247:14                                           182:12 182:13 182:13 182:17 182:21 183:7
196:1 196:14 196:16 196:20 197:4 197:7 247:16 247:17 247:17 248:1 248:5 248:6 appeared(2) 76:20 121:11                    184:4 184:9 185:16 185:24 187:17 190:1
197:14 197:16 197:17 197:19 197:19      248:8 248:11 248:13 248:14 248:17 248:19appears(7) 31:10 33:1 65:13 104:13       191:6 192:15 193:17 193:17 194:1 197:10
197:20 197:21 197:22 197:23 198:1 198:8 248:22 249:3 249:8 249:10 249:18 249:18119:12 246:17 254:11                      204:12 204:20 204:22 204:23 204:24
198:11 199:1 199:2 199:6 199:17 200:9 250:4 250:10 250:15 250:16 250:17 250:22                                           208:13 208:19 208:20 209:13 213:21 215:8
200:10 200:12 200:14 200:15 200:16       250:22 250:24 251:2 251:3 251:11 251:13apples(4) 165:20 166:9 252:14 252:18      216:17 218:4 218:16 220:24 221:7 221:11
200:19 200:21 200:24 201:3 201:7 201:10 251:14 251:22 251:25 251:25 252:13      applicable(1) 225:3                      221:19 228:25 231:20 232:5 233:9 233:17
201:10 201:23 202:5 202:8 202:9 202:16 252:14 252:20 253:13 253:17 254:4 254:9                                           235:8 236:23 236:24 237:10 237:15 238:6
                                                                                application(1) 87:24
203:3 203:7 203:13 203:14 203:17 203:20 254:9 254:12 254:14 254:17 254:18 254:22                                         238:17 239:19 239:19 239:20 241:10 243:4
                                                                                applied(7) 86:23 87:1 87:18 88:11 157:19
203:23 203:24 204:2 204:5 204:10 204:11 255:17 255:21 256:7 256:9 256:13 256:18                                           243:17 245:2 249:5 250:8 250:16 256:8
                                                                                191:15 230:16
204:19 204:25 205:1 205:2 205:5 205:6 257:1 257:2 257:5 257:11 258:1 258:3                                               257:24 257:25 258:1 258:2 258:7 258:13
205:7 205:10 205:13 205:18 205:22 206:1 258:8 258:10 258:21 258:24 259:11 259:16                                         259:25 260:24 261:2 261:6 261:18 262:11
                                                                                applies(1) 92:4
206:2 206:5 206:6 206:7 206:10 206:14 259:22 259:25 260:2 260:7 260:12 260:14                                            262:12 262:22 265:1 265:6 265:18 266:16
206:20 206:22 206:25 206:25 206:25 207:6260:20 261:3 261:6 261:11 261:17 261:22 apply(2) 64:25  175:11
                                                                                                                         266:16 266:22 267:13 268:4 268:13
 207:10 207:15 207:16 207:17 207:22     261:23 261:24 261:25 262:5 262:12 262:23applying(3) 152:6  163:9 211:7
208:2 208:17 208:19 208:22 208:25 209:5 263:1 263:6 263:7 263:12 263:23 264:19 appointed(1) 268:11
209:6 209:7 209:13 209:15 209:16 209:20 264:24 265:2 265:11 265:18 265:18 265:19appraisal(8) 52:17 52:21 232:12 232:24 area(6) 16:15 17:4 17:12 18:10 104:2
209:23 210:4 210:12 210:14 210:16 210:24265:24 266:7 266:14 266:16 266:21 267:4238:14 239:9 243:1 243:7                  189:16
 211:2 211:4 211:7 211:9 211:18 211:19 267:6 267:9 267:12 267:15 267:19 268:4
212:17 212:18 213:6 213:24 214:3 214:3 268:6 268:7 268:8 268:15 268:23 268:24 appraisers(3) 234:18 235:18 246:7          areas(2) 17:23 18:15
214:4 214:7 214:8 214:16 215:7 215:11 268:25                                    appreciate(2) 25:10 194:3                aren't(3) 77:13 100:21 236:19
215:21 216:2 216:14 216:16 216:18 216:23                                        appreciation(1) 256:9                    arguing(1) 150:15
 217:10 217:21 217:23 218:11 218:12                                             approach(61) 14:15 24:21 50:7 50:8 54:13 argument(7) 63:21 72:3 151:6 151:11
218:13 219:4 219:6 219:7 219:8 219:11 and/or(1) 241:19                           54:13 54:14 54:15 55:25 56:3 56:5 56:18 160:11 259:1 262:2
219:12 219:14 219:15 219:17 220:4 220:6 anderson(1) 4:4                         58:8 60:16 60:18 60:18 91:10 91:11 91:12
220:6 220:11 220:12 220:15 220:16 220:20andrea(1) 8:9                           91:15 91:19 91:22 91:23 91:24 92:1 92:2
                                                                                                                         arguments(2) 151:23 260:22
 221:4 221:8 221:12 221:17 221:18 221:25andrew(6) 3:29 3:39 5:31 5:41 7:12 7:14 92:6 107:23 108:21 108:23 129:2 130:25 arif(1) 11:38
222:1 222:5 222:11 222:20 222:24 223:7 angeles(3) 4:49 15:16 28:10              131:16 152:22 166:16 166:17 166:18
                                                                                                                         arise(2) 208:6 208:13
223:9 223:11 223:12 223:25 224:2        angelo(3) 4:45 5:44 267:5               166:22 179:25 181:4 181:5 181:18 182:24
                                                                                183:2 185:17 185:22 191:10 191:11 191:13arms(1) 97:19
                                        anna(2) 8:16 8:16                                                                around(7) 44:8 83:25 97:19 98:15 101:2
                                                                                 191:14 191:19 193:13 193:14 193:20
                                        announcement(1) 139:3
                                                                                195:8 200:9 200:12 200:13 234:4 235:23 124:8 250:24
                                        annual(9) 48:16 48:21 49:13 73:17 99:11
                                                                                254:14
                                        158:20 217:9 217:11 246:15                                                       arps(1) 7:29
                                                                                approached(3) 41:8 138:22 225:24         arrive(1) 254:23
                                        another(16) 41:13 41:25 52:24 53:7                                               arrived(3) 55:22 61:2 254:10
                                                                                approaches(1) 108:24
                                        102:10 122:12 135:9 140:4 146:23 188:12
                                        196:16 214:24 221:22 230:23 247:18      appropriate(27) 50:21 52:17 52:19 52:20 arriving(1) 66:12
                                                                                53:4 54:4 57:3 58:17 62:6 78:19 87:2     arrow(1) 36:5
                                        254:18
                                                                                157:12 163:18 169:7 184:24 211:5 226:1 arrowgrass(2) 11:36 11:36
                                        answer(5) 110:13 142:11 190:17 194:20
                                                                                226:25 232:13 233:9 241:24 246:22 246:24arthur(1) 12:5
                                        248:22                                                                           article(5) 101:10 101:11 101:20 102:10
                                                                                 258:9 261:17 262:6 266:20
                                                                                                                         232:19
                                        answering(1) 151:13
                                                                                appropriately(2) 52:25 228:21
                                        answers(1) 194:10                                                                articles(1) 233:4
                                                                                approval(9) 33:16 116:1 118:25 122:11
                                        anticipated(2) 209:3 260:19                                                      arts(1) 15:15
                                                                                144:2 144:12 146:13 146:23 148:24
                                        anticipating(1) 257:19                                                           ascertain(7) 34:8 34:10 42:3 142:2 142:3
                                        anxious(1) 268:14                       approvals(4) 55:5 116:8 118:21 266:8     197:16 200:4
                                                                                approved(1) 224:15
                                                                                approximately(25) 16:24 18:1 18:24 19:11 ascertainable(1) 152:7
                                                                                 20:8 20:18 27:18 29:23 30:14 40:15 40:17ascertained(1) 34:12
                                                                                 50:14 57:22 65:7 67:17 84:16 99:19      ascertaining(1) 84:4
                                                                                102:13 108:6 193:10 208:14 217:10 248:8 ashby(1) 2:47
                                                                                248:10 251:2                             ashish(1) 8:5
                                                                                                                         ashley(2) 3:31 5:22
                                                                                                                         aside(7) 77:19 189:22 221:1 257:16 257:18
                                                                                                                          258:11 258:15



Page : 3                                                                                                                                          04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                   Page 274 of 306
Word                         Page:Line    Word                        Page:Line    Word                         Page:Line  Word                        Page:Line
ask(11) 24:17 106:8 119:10 127:22 137:9 availability(1) 96:25                      base-case(7) 203:4 203:18 207:4 207:10 before(42) 1:18 13:7 14:25 18:4 23:13
148:16 199:23 199:25 260:18 263:16 264:3available(13) 47:7 53:15 81:16 113:8       208:2 208:18 208:20                     26:2 34:2 67:23 69:9 69:12 74:1 76:10
                                          124:16 130:15 134:22 140:21 141:21 142:7                                         84:3 86:24 107:13 107:20 112:24 115:22
asked(17) 20:25 21:2 21:5 79:24 112:12 142:12 227:14 238:13                        baseball(1) 116:2                       127:14 128:19 136:1 146:24 151:3 156:16
139:14 182:5 200:25 203:3 211:18 235:9                                             based(71) 27:17 30:14 33:12 44:23 44:24 157:8 180:12 182:7 194:10 194:11 194:12
236:3 246:10 248:5 249:16 252:10 254:1 ave(2) 1:35 4:48                            49:12 52:5 55:24 56:3 56:5 56:10 61:6 194:23 195:2 198:2 214:10 229:8 232:2
                                          avenue(5) 2:12 2:49 3:6 4:15 4:41        63:3 63:19 64:21 65:5 70:21 75:23 90:7 242:6 245:23 253:14 259:14 261:4 262:15
asking(9) 70:10 131:8 151:14 173:5        average(25) 38:18 45:22 46:1 49:18 49:21 90:8 90:10 90:13 99:24 103:17 111:10
187:21 195:17 197:10 228:9 235:6          60:13 61:2 61:19 65:20 70:19 90:17 92:18121:25 122:5 126:11 129:17 129:22 129:24begin(3) 13:7 20:13 186:11
                                          161:11 161:18 163:8 175:5 175:13 177:18 141:19 151:25 152:7 152:10 155:7 156:9 beginning(7) 20:16 115:21 158:23 216:4
aspect(1) 222:15                          183:17 185:14 187:12 188:22 225:20       157:18 158:17 158:24 161:19 162:7 166:2 232:23 247:9 247:9
aspects(6) 70:8 120:9 121:1 121:1 121:3 225:23 252:12                              166:3 166:4 166:5 166:7 169:3 169:4
198:6                                                                              171:6 173:10 175:2 178:7 181:1 187:18 begins(6) 111:2 114:19 139:1 144:10
                                          averaged(2) 190:11 191:10                189:2 191:15 193:20 201:22 207:9 208:21 148:4 247:6
assert(2) 104:2 108:23                    averages(3) 155:18 156:7 188:13          209:3 213:12 222:22 223:9 225:20 230:4
asserted(2) 25:6 72:11                    averaging(2) 187:17 190:15               238:13 252:22 267:15 268:11             behalf(4) 13:6 20:12 20:14 142:19
assertion(3) 41:24 103:10 237:2           await(1) 261:24                                                                  behind(11) 41:16 41:17 41:18 96:23 107:9
assertions(1) 266:6                       aware(10) 39:9 53:13 58:2 59:18 125:3 baseline(3) 141:7 204:15 249:2              154:9 176:6 183:11 211:6 251:14 251:19
asserts(2) 98:20 103:20                   130:7 156:12 217:14 252:25 258:23        bases(3) 23:16 26:4 122:20
assess(5) 98:7 126:6 168:25 211:9 226:24                                           basically(18) 27:23 31:7 46:1 51:6 53:2 being(34) 13:14 24:8 24:18 28:6 41:7
assessed(1) 221:4                         away(2) 90:6 162:8                       56:6 60:13 73:14 75:3 75:15 80:1 101:18 48:15 56:15 70:15 74:20 75:6 79:21 93:12
assesses(1) 104:24                        axis(1) 249:23                           105:21 123:16 138:14 180:22 185:17      96:11 96:15 116:14 121:2 122:15 123:11
assessing(4) 70:12 126:6 140:10 205:2     b-1(1) 71:22                             250:19                                  125:4 137:23 138:15 145:13 145:25 159:16
assessment(11) 100:23 102:14 102:18       bachelor(1) 15:15                        basis(64) 24:2 24:9 24:9 24:16 29:20     178:14 189:11 200:6 215:25 221:17 222:8
145:14 147:12 147:14 148:19 148:20 149:1back(29) 37:14 56:9 64:2 85:10 94:18       34:10 35:19 38:12 38:16 38:18 39:2 40:20239:23 250:20 253:20 266:22
 166:4 210:14                             94:23 103:6 103:7 103:23 136:5 137:11 41:14 48:22 52:6 52:7 53:21 61:23 64:16
asset(20) 8:11 8:12 57:16 61:8 67:11      143:11 173:10 174:15 177:12 182:8 202:1566:22 73:13 75:8 77:15 87:22 93:2 93:2 believe(89) 16:23 20:9 20:15 20:23 24:7
75:10 76:16 76:19 76:20 77:19 80:23        202:16 203:14 207:6 217:25 222:2 222:1894:23 99:10 107:24 109:22 110:2 110:12 27:1 30:9 33:15 37:6 39:12 39:24 39:25
81:16 97:5 97:6 97:7 169:19 205:6 205:10247:22 249:17 261:3 262:4 262:9 262:20 112:20 121:5 122:1 122:17 122:18 122:19 41:1 42:16 43:23 44:1 46:25 48:24 51:22
206:6 206:14                                                                       124:21 135:13 136:8 136:20 136:20 136:2253:17 59:20 66:14 67:11 67:14 77:12
assets(24) 21:6 23:3 23:9 54:17 66:24     back-end(6) 35:7 39:7 41:15 48:23 85:24 136:23 142:4 145:22 152:15 160:18 195:678:18 84:1 84:7 85:14 88:2 89:3 90:4
67:13 76:12 76:23 76:24 76:25 77:4 78:1 126:8                                      195:10 196:10 196:19 197:9 199:18 223:1193:22 98:14 100:3 108:7 113:2 113:9
88:13 88:15 96:9 171:7 192:12 192:25                                                229:2 250:2 250:7 250:12 250:15 250:18 113:22 114:4 118:17 118:20 121:13 123:22
195:5 195:19 196:10 204:6 219:1 255:18 backdoor(1) 24:19                           251:13 267:25                            124:1 124:3 124:18 124:18 124:20 125:11
                                          backdrop(1) 36:9                                                                 130:4 144:22 145:10 145:12 150:13 152:3
assignment(1) 19:12                       backed(1) 66:25                          basket(1) 75:4                          152:16 155:14 155:20 160:19 163:18
                                                                                   bear(1) 106:12                          164:22 168:21 168:21 176:13 176:21
associated(11) 59:1 93:23 139:13 179:12 bad(5) 31:20 37:3 101:15 255:21 266:16
180:3 185:25 198:6 221:2 221:19 254:13 baiera(1) 5:45                              bearing(2) 35:13 192:1                  181:23 183:20 184:17 188:15 192:14 197:6
262:11                                                                             bears(2) 59:11 94:8                      201:9 205:14 210:24 213:1 214:8 223:14
                                          balance(30) 21:5 22:3 23:5 23:6 49:23                                            226:4 226:17 234:11 252:13 253:5 253:8
association(4) 16:6 234:16 235:19 246:5 50:1 53:25 54:8 55:9 65:10 66:4 66:18 became(1) 234:7
                                                                                   because(96) 22:10 24:19 34:14 35:15     257:24 259:25 262:1 262:4 265:12
assume(3) 80:6 171:25 226:8               86:12 86:15 87:2 88:21 109:23 111:7
assumed(3) 45:16 51:1 228:9               111:23 112:1 121:7 122:24 123:16 123:18 37:11 37:20 38:13 42:3 45:6 52:5 52:24
assumes(1) 83:19                          142:24 216:7 217:9 220:15 222:20 266:23 61:13 64:1 67:16 69:20 74:19 75:14 76:5
                                                                                   79:14 80:2 84:14 89:11 89:23 90:20 92:17believed(5) 112:16 157:17 214:9 229:12
assuming(12) 90:3 110:12 110:13 110:16                                                                                     262:11
199:21 199:22 202:9 202:17 202:18 211:8 balance-sheet(4) 202:6 213:12 213:16       95:20 97:8 97:20 100:1 103:5 103:7
216:16 262:18                                                                      103:25 103:25 114:24 118:21 121:4 121:8
                                          bale(1) 5:17
                                                                                   121:10 122:1 122:18 125:21 125:24 127:22below(13) 38:3 58:20 73:15 96:9 168:5
                                          baltimore(2) 28:12 42:8                                                          171:2 197:4 198:24 199:1 202:1 205:5
                                                                                    127:25 134:16 135:21 137:19 138:7
assumption(21) 55:13 60:20 76:4 76:5      banc(1) 4:39
                                                                                   138:10 138:17 140:4 147:9 151:12 155:9 207:12 207:13
83:17 83:20 84:5 85:5 115:2 115:9 115:12bank(14) 6:4 6:10 8:19 8:23 8:43 8:43
                                                                                   159:2 162:14 162:21 165:21 168:22 170:1
115:16 115:19 115:23 124:2 185:2 187:25 9:28 99:17 104:20 104:22 104:23 105:25
                                                                                   172:3 174:25 185:20 187:6 189:17 190:2 below-interest(1) 197:7
202:13 210:12 210:16 214:12               106:21 144:6                             190:19 193:14 193:21 201:20 210:6 210:15below-market(3) 194:22 194:24 196:24
                                                                                    210:17 211:2 219:5 219:16 221:8 221:12 ben(1) 9:39
assumptions(31) 41:2 60:7 72:14 78:12     bank's(2) 104:4 104:23                   221:15 225:25 236:13 236:21 236:23 237:5bendernagel(3) 1:24 47:1 257:2
90:15 95:10 95:12 97:10 97:13 161:21      banker(2) 147:4 147:6                     238:1 251:4 251:15 251:17 262:10 265:23beneficial(1) 228:3
161:24 161:25 162:13 162:14 162:19        bankers(1) 91:21                         266:2 267:13 268:6 268:7 268:8 268:15 benefit(22) 45:18 78:7 80:6 90:13 95:14
162:19 162:21 168:4 178:13 178:14 181:2 bankruptcy(13) 1:1 1:19 82:20 98:9 98:16
185:1 210:2 210:16 211:7 244:6 244:10 99:18 102:6 136:13 138:13 138:21 138:22                                              157:22 158:8 158:21 158:22 160:16 160:18
244:14 244:20 244:21 244:25                                                                                                 214:6 218:22 219:2 220:7 220:11 220:12
                                          251:15 267:13                            become(3) 42:5 188:16 188:19            222:7 222:14 227:22 228:12 228:12
                                                                                   becomes(7) 27:24 36:8 76:5 92:1 92:5
assurance(2) 236:11 236:13                banks(4) 105:7 107:7 107:9 255:20        189:17 208:22                           benefited(2) 227:23 227:24
asylum(1) 4:28                            bar(22) 35:8 35:18 36:5 36:7 37:1 37:22
atamian(1) 9:49                                                                                                            benefits(7) 52:19 59:1 216:5 218:25
                                          41:17 42:1 45:5 45:11 45:12 45:12 45:14 bed(2) 50:24 196:18                      220:14 233:8 245:23
atkinson(1) 19:2                          49:14 49:15 49:16 49:19 49:20 49:21      been(70) 13:13 15:10 15:17 15:18 16:24
attached(2) 134:13 194:18                 71:12 248:6 248:6                        17:1 17:8 17:10 17:15 17:17 17:23 18:3 benjamin(1) 2:5
attempt(1) 202:8                                                                   18:6 18:9 21:16 21:19 23:14 35:18 41:5 bennett(1) 4:47
attempting(1) 169:23                      barclays(3) 3:4 9:38 9:38                42:20 42:21 45:3 49:9 50:15 51:13 59:14 benson(2) 2:30 10:4
attention(2) 13:9 254:4                   barely(1) 70:25                          67:13 72:4 76:21 78:18 87:15 88:7 106:5 bernstein(1) 2:6
attestation(4) 236:14 236:15 237:3 237:14 barra(9) 169:8 169:22 169:23 170:1 170:2 106:9 108:1 108:2 116:3 139:25 147:10
                                                                                                                           beron(1) 262:22
attesting(1) 237:14                        170:11 170:13 170:20 171:10             160:12 161:2 163:18 197:17 199:15 199:19berry(1) 7:45
attorney(3) 51:10 114:2 123:11                                                      201:24 211:24 217:19 232:12 232:25     beside(1) 254:18
attributes(2) 194:18 226:13               bars(15) 29:21 30:15 45:9 71:9 71:10     233:3 233:4 234:16 237:24 246:3 246:17 best(11) 62:2 74:19 230:8 230:11 230:13
auction(2) 138:15 253:1                   72:17 74:23 79:7 79:8 79:19 94:2 94:5 247:10 247:12 255:8 256:10 258:12 258:18
                                          203:20 248:1 248:2                                                               230:19 238:18 247:14 247:18 265:1 267:12
audible(1) 26:12                                                                    261:12 262:13 262:23 264:25 265:14
august(2) 148:4 148:7                                                              266:4 268:7 268:9                       beta(5) 169:8 169:13 169:18 169:22 170:2
aurelius(9) 2:38 7:37 7:38 13:6 20:14     base(20) 45:23 46:1 49:19 49:22 50:12
                                          62:2 72:4 77:12 79:5 80:21 160:21 161:11                                         betas(6) 169:20 169:21 169:23 170:16
24:11 24:15 257:1 267:10                                                                                                   171:11 171:11
                                          161:18 161:25 162:14 201:23 204:18
austin(2) 1:23 6:20                       207:14 208:1 249:12
authoritative(3) 87:11 229:12 235:13
authors(3) 233:23 233:25 234:4
Page : 4                                                                                                                                           04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 275 of 306
Word                         Page:Line    Word                        Page:Line   Word                          Page:Line     Word                         Page:Line
better(6) 82:13 126:5 127:21 147:10 148:9bonds(29) 82:10 99:7 99:11 99:22 100:4 bursath(26) 127:18 128:13 128:16 129:2 buyer(36) 52:22 52:23 52:24 53:3 53:9
 267:21                                   100:5 100:14 100:20 100:20 100:21 100:22129:5 130:25 131:7 131:10 131:12 131:16 53:9 61:24 90:9 90:10 90:17 195:15
                                           101:6 125:9 125:14 125:16 125:17 125:19131:21 132:3 132:8 132:11 132:16 134:5 195:16 195:25 223:11 223:25 226:9 226:11
between(18) 20:19 20:23 67:25 100:5       126:16 128:21 129:1 129:10 134:21 137:6 134:8 137:11 138:5 138:9 142:20 146:21 226:23 231:7 239:17 239:19 239:23
105:17 125:4 136:16 151:2 166:8 173:6 139:12 139:16 139:23 194:23 195:1 195:4 150:21 180:20 180:24 181:7                      239:24 239:25 240:22 240:22 241:14
175:12 186:1 192:16 204:2 206:2 241:1                                                                                         241:15 245:13 245:13 245:16 245:16
248:6 268:23                                                                      busath(40) 2:11 109:6 109:7 109:12          245:17 245:21 245:22 245:24
beyond(6) 21:8 23:10 76:23 77:4 227:25 book(20) 32:8 56:10 56:13 58:6 58:11       126:19 126:21 126:25 127:10 128:14
228:2                                     64:2 107:13 107:20 108:8 167:10 171:25 199:12 199:19 199:24 200:1 202:4 211:24 buyers(12) 228:24 230:1 230:3 230:9
                                          198:11 201:4 201:9 201:15 201:19 201:21 212:2 212:4 212:7 212:10 242:8 242:10 231:9 231:10 231:12 240:9 240:21 241:1
bible(1) 14:6                             229:16 229:16 240:13                    242:11 245:4 245:11 246:10 247:1 247:5 242:3 253:21
bid(5) 100:7 232:4 253:2 253:6 268:24                                             247:20 248:13 248:23 249:19 251:22 252:4buyout(10) 21:15 21:24 68:21 90:18 228:9
bidders(1) 241:18                         both(16) 21:3 37:19 57:11 68:3 82:1      252:10 253:3 254:1 255:13 256:1 256:3 228:10 228:11 228:15 228:17 238:24
bidding(3) 231:9 231:20 232:5             116:13 122:10 158:20 176:24 231:16      256:20
bifferato(1) 2:23                         231:18 260:21 266:3 266:22 268:3 268:4 bush(2) 3:38 5:30                            buyouts(1) 111:14
big(2) 15:21 136:16                                                               business(84) 15:14 23:9 27:17 27:19 27:23 bynum(1) 7:22
bigelow(4) 11:13 43:8 73:2 73:8           bottom(29) 16:16 19:17 31:10 31:20 31:24 28:6 28:7 28:15 28:16 29:11 29:13 31:20 c-corp(2) 53:1 219:17
bigger(3) 159:10 188:17 193:8              34:24 38:10 38:16 60:20 64:5 106:22    31:21 32:1 32:12 39:1 50:7 51:8 61:25 c-corps(2) 212:24 215:21
bill(1) 2:48                              108:20 132:24 133:2 144:8 146:7 147:5 68:17 70:10 70:23 73:8 74:25 74:25 75:2 c10(2) 133:6 133:8
billion(51) 54:16 54:18 56:22 57:12 60:22 170:10 170:13 170:19 173:12 173:14      75:25 76:1 76:25 77:2 79:12 81:21 84:2 cable(3) 19:7 29:25 30:4
64:20 65:7 65:9 66:10 66:10 95:19 99:19 177:13 205:7 239:13 254:5 254:17 256:7 84:3 152:22 156:18 156:23 157:11 157:25 calculate(10) 88:10 158:3 164:14 166:11
99:21 105:6 106:23 108:17 123:21 124:5 267:6                                      159:23 160:14 160:24 161:1 163:11 187:19166:19 166:23 166:24 167:5 167:6 192:2
124:9 124:10 124:11 124:14 124:22 141:20  bottoms(1)  160:24                       188:12 188:17 188:25 189:6 189:10
 143:2 143:9 171:17 172:4 172:9 172:16 bowden(1) 2:48                             189:10 189:12 189:13 189:14 189:15          calculated(8) 38:19 141:20 143:2 168:20
173:1 173:7 173:8 174:9 178:16 178:16 box(6) 35:21 37:18 38:6 77:9 103:12         189:19 189:19 189:21 189:23 190:5 190:6 176:8 193:17 203:23 206:11
180:12 181:4 184:10 184:15 184:19 191:23boxes(1) 128:7                            190:9  190:20  195:14  196:3  196:4 196:14
 192:7 192:15 192:21 193:4 204:3 205:16 brandywine(1) 5:8                         196:15 200:17 200:19 207:1 208:15 208:24calculating(3) 163:25 167:11 180:2
206:3 248:10 248:12                       brass(1) 11:33                           210:8 230:9 231:9 232:8 239:9 243:7        calculation(18) 62:12 96:22 141:24 159:25
                                          break(3) 127:4 128:19 211:25            253:15 265:11 267:3 267:12 268:8            163:8 163:15 163:25 164:20 164:23 165:6
billions(2) 77:14 171:23                  breakdown(1) 57:7                                                                   165:23 168:15 169:13 176:13 176:23 185:5
binder(22) 43:5 106:2 114:10 118:2 135:2 breaks(1) 106:11                         businesses(3) 28:10 230:17 240:10            190:16 255:8
138:23 144:4 155:17 163:21 164:4 170:3 brett(1) 6:31                              but(241) 13:17 24:3 25:3 33:19 35:11
177:6 207:7 214:21 224:9 230:22 237:17 brian(1) 9:19                              35:17  36:4 36:11  37:3  37:23  39:14 39:15 calculations(2) 60:12 158:17
240:16 241:4 246:11 247:3 251:23          brickley(1) 11:5                        39:17 40:12 46:9 48:20 51:3 51:3 51:10 california(2) 15:16 264:17
                                                                                  52:7 52:15 53:9 53:21 55:14 56:4 56:18 call(4) 14:1 45:1 113:24 123:8
                                          brief(2) 255:11 260:13
binders(1) 109:8                                                                  57:23 59:1 63:22 64:4 65:19 66:7 66:15
                                          briefing(8) 257:11 259:16 259:17 259:20                                             called(11) 35:7 39:6 41:19 71:24 87:1
                                                                                  67:16 68:5 68:9 68:20 69:24 71:20 72:5 100:15 104:11 199:16 237:14 239:8 258:2
bingham(1) 9:28                           261:16 261:19 261:20 263:20
                                                                                  73:21 74:17 77:13 77:23 79:8 79:19 80:4
bit(14) 15:1 18:22 27:25 37:8 39:8 60:23
                                                                                  80:19 81:13 81:23 82:15 84:11 85:4 85:21
62:19 68:20 73:4 124:9 127:20 221:6       briefly(7) 47:1 102:25 107:19 127:15                                                calling(1) 262:4
                                                                                  86:5 87:15 89:6 90:23 91:21 92:8 95:16
221:10 242:6                              251:23 257:12 257:14                                                                calls(1) 123:8
                                                                                  96:16 97:18 99:12 100:18 101:17 103:7
                                                                                  103:22 104:6 105:9 107:22 110:5 112:4 came(26) 30:13 35:23 44:25 46:2 46:14
black(11) 26:6 32:24 73:13 73:25 108:2 briefs(7) 151:8 259:22 260:2 260:23
                                                                                  112:15 113:24 114:1 114:3 114:6 116:14 48:18 49:11 54:15 64:22 65:6 101:10
219:10 255:15 255:17 255:20 262:9 262:20261:18 261:24 261:25
                                                                                  118:5 118:8 118:11 118:23 119:13 120:8 101:18 101:18 123:19 124:14 124:18
                                                                                  120:22 121:22 122:11 122:14 122:18          124:19 124:21 149:8 180:7 184:10 187:3
black's(1) 24:13                          brigade(2) 8:38 8:39                    123:11 123:13 125:2 125:19 127:20 127:25189:3 213:17 233:12 260:11
blackstone(1) 155:19                      bring(7) 134:9 147:2 154:16 218:6 248:2 128:2 130:1 131:22 132:3 132:23 133:15
blake(1) 5:7                              262:9 262:20                            136:19 137:1 137:3 140:19 141:9 141:19 campanario(1) 7:31
blanket(5) 115:9 115:12 115:15 115:19                                             142:7 144:3 145:2 146:22 148:24 149:24 can(188) 13:23 13:25 14:20 14:25 16:18
115:23                                    broad(1) 265:18                         149:24 151:3 151:17 151:19 152:1 152:3 20:5 20:16 21:10 24:7 27:1 27:10 28:10
                                          broadcasters(3) 63:14 94:8 94:25        156:8 157:12 157:23 158:22 159:7 159:19 30:12 30:14 30:17 30:25 32:14 33:7 33:20
blended(6) 107:24 225:20 225:23 227:4 broadcasting(12) 20:4 29:23 30:3 92:10 160:4 160:21 161:6 162:14 162:15 162:22 35:22 36:3 36:5 36:16 38:16 38:22 40:14
227:9 227:11                              93:10 93:13 94:6 157:4 157:7 177:25     164:8 164:22 164:25 165:10 165:15 166:2 42:4 43:3 45:9 47:13 48:13 48:14 49:14
                                          184:5 190:5                             166:17 167:2 167:13 171:25 172:8 172:24 49:25 52:11 53:22 54:11 56:9 56:25 58:1
blew(2) 103:8 103:12                                                              173:3 174:7 175:11 176:13 177:10 179:18 58:10 60:4 60:8 60:12 60:20 61:14 61:14
block(2) 231:5 231:6                      broader(4) 82:5 101:17 245:20 266:14    181:5 182:8 182:11 183:8 183:24 184:3 61:15 62:18 62:20 65:12 65:22 66:18
bloomberg(5) 135:3 135:12 135:22 169:20 broadest(1) 189:12                        184:16 184:23 185:4 185:16 186:2 186:10 67:23 69:8 70:10 70:14 76:18 78:4 79:1
169:21                                    broadway(1) 2:34                        186:22 190:7 193:19 194:10 194:21 195:1380:15 81:13 84:7 87:12 87:16 87:24 88:1
                                          broden(4) 232:6 253:2 253:9 253:17       195:14 198:6 198:21 201:12 202:12          88:2 88:8 88:11 90:19 93:15 94:7 94:15
blow(1) 103:24                            broken(1) 28:4                          202:14 202:18 203:9 204:21 208:21 209:1294:17 94:22 98:10 99:14 100:12 100:13
blown(3) 27:10 36:16 249:18               brokerage(1) 153:12                      210:10 214:5 214:13 216:18 216:21          100:14 101:3 101:6 102:3 102:25 103:16
blows(1) 103:15                           bromberg(1) 6:15                        217:18 217:20 217:23 218:22 222:17          105:14 107:17 108:18 108:25 114:10
blue(13) 30:14 45:14 45:24 71:9 71:12     brought(5) 13:9 130:20 253:25 262:23    223:22 225:4 225:18 225:22 226:11 226:13116:20 117:14 117:15 118:6 122:13 125:22
74:23 79:7 79:7 94:19 149:5 203:20        265:24                                   227:22 228:17 228:23 229:1 229:6 229:9 128:6 136:18 136:19 137:1 138:4 142:11
203:23 248:6                                                                      229:10 229:16 229:21 229:23 230:1 233:23146:3 149:24 154:14 154:16 164:24 165:25
blush(1) 266:10                           brown(4) 4:26 6:14 9:44 154:18           235:11 236:4 236:9 236:20 237:24 237:25 166:19 166:23 166:23 167:5 167:10
board(8) 3:11 7:28 10:46 33:15 75:6       bruce(1) 4:47                           239:25 242:1 249:6 249:12 251:8 251:19 167:20 170:17 170:17 170:20 173:20
224:15 235:15 246:15                      bryan(1) 6:33                           253:19 255:5 258:4 258:14 258:17 258:23 177:10 180:6 184:2 184:13 185:7 186:11
                                          bryant(1) 2:43                          259:17 260:6 260:18 261:19 262:12 263:10186:11 186:16 186:22 195:22 199:14
                                                                                   264:13 264:16 264:21 265:6 266:13          202:14 202:16 202:18 203:13 205:22
bob(1) 2:17                               budget(3) 153:7 153:23 154:2
                                                                                  267:14  267:21  267:23  268:5  268:14       206:24 208:16 215:21 218:4 218:6 219:17
body(2) 235:13 235:17                     building(2) 5:8 156:19                                                              219:25 219:25 220:1 220:6 222:24 229:14
boelter(1) 1:27                           built(1) 157:10                                                                     230:22 240:5 240:9 240:21 242:12 242:18
bohan(1) 10:21                            bullet(4) 16:3 16:17 82:5 85:11                                                     242:20 242:23 243:6 243:14 244:3 245:15
bold(2) 215:5 224:10                      buoname(1) 3:12                         buy(9) 99:14  100:13  202:15  202:16  240:8
                                                                                  240:22  241:7  241:16  245:18               245:18 246:16 246:19 247:2 248:2 248:8
bond(14) 22:21 99:13 99:16 99:16 99:16 buoyed(1) 239:1                                                                        248:14 248:25 249:18 249:25 250:10
99:25 100:11 125:14 126:15 128:25 137:6 burden(2) 206:22 228:1                                                                250:14 253:5 253:25 254:5 254:9 254:21
139:2 140:2 250:11                        burkole(4) 232:6 253:2 253:9 253:17                                                 254:22 255:7 255:10 256:7 259:11 261:4
                                                                                                                              263:16 264:1 266:9 266:18 267:25 268:21
bondholder(1) 125:22
bondholders(1) 31:17

Page : 5                                                                                                                                              04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                   Page 276 of 306
Word                        Page:Line     Word                         Page:Line   Word                        Page:Line    Word                        Page:Line
can't(6) 70:13 165:21 165:23 167:14       cash(65) 27:18 44:16 53:23 55:6 60:7     chart(70) 27:8 27:17 27:20 28:3 29:10    close(50) 21:4 31:23 34:6 34:13 35:25
171:18 258:22                             60:22 70:15 74:6 74:12 74:13 74:16 74:2229:18 30:6 30:8 30:9 30:13 33:6 34:24 37:20 45:24 46:2 49:21 50:23 54:18 71:1
                                          75:2 75:9 75:15 76:6 76:10 76:13 76:18 35:16 35:21 36:16 36:19 36:20 37:10        71:19 74:2 79:7 79:19 79:20 85:17 101:7
canadian(2) 231:17 231:18                 77:6 77:10 77:13 77:16 77:20 78:2 80:12 40:22 44:17 45:9 45:12 48:13 49:3 49:6 102:7 105:4 108:1 113:24 115:3 115:13
cannot(8) 74:16 74:19 74:20 87:15 186:4 80:18 80:19 80:20 81:14 81:17 84:22 91:269:8 70:17 71:10 79:19 80:12 93:20 94:7 115:20 115:23 116:4 117:18 117:24 119:20
208:10 210:13 210:20                      91:18 92:3 93:11 95:8 116:8 116:12       101:1 103:12 103:14 106:18 128:25 129:11123:8 144:17 145:4 145:16 146:2 146:11
                                          119:24 120:1 122:12 175:3 189:18 205:6 134:24 135:3 136:4 136:7 138:3 138:6 147:15 148:21 149:18 150:2 150:5 175:9
cantor(1) 6:5                             205:13 206:6 207:15 213:21 213:22 214:1 138:16 143:11 149:22 153:21 156:5 156:8 181:4 184:12 184:16 189:18 201:11 250:14
canyon(1) 10:26                           216:7 217:9 219:3 220:7 220:15 222:12 156:10 171:9 172:10 173:4 173:9 173:13 253:17
can’t(2) 200:5 210:17                     222:21 222:25 223:3 225:5 227:14 227:16 173:14 180:22 211:11 248:3 248:14 249:18closed(1) 119:6
cap(4) 80:5 169:25 171:14 172:8           227:18 249:9                              249:19 249:23 251:12 254:5 254:10       closely(5) 204:12 204:21 204:23 238:4
capable(1) 239:19                                                                  254:22 256:18 259:3                      closest(1) 73:16
capacities(1) 16:25                       cash-flow(2) 202:25 203:24                                                        closing(8) 39:10 106:24 139:5 147:8 151:4
capacity(1) 228:1                         cash-flows(1) 206:2                      charts(13) 29:3 29:4 29:16 34:1 34:3      215:14 260:19 260:22
capital(126) 5:15 5:15 7:37 7:38 8:34 8:35cashman(2) 12:8 12:8                     34:17 103:4 135:14 136:24 203:4 203:8
 8:38 8:39 9:13 9:14 9:24 9:24 9:38 10:9 catalyst(1) 31:14                         203:10 259:11                            co-presidents(1) 46:21
10:10 10:34 10:34 10:37 10:37 11:36 13:6catherine(1) 232:19                        chase(3) 8:19 8:23 109:7                 cobb(2) 3:18 5:34
21:7 21:25 22:1 22:4 23:9 53:18 55:10 caught(1) 85:2                               cheaper(1) 100:9                         coincides(1) 101:9
55:15 60:14 61:3 61:8 61:14 61:19 61:24 cause(2) 75:19 248:18                      check(15) 138:19 164:17 164:22 166:19 cole(1) 1:32
62:1 62:2 62:3 62:5 65:20 67:19 67:25 caused(1) 94:24                              167:11 167:25 172:24 173:18 174:7 176:21collapse(3) 112:24 113:1 124:1
68:4 68:8 68:12 68:25 70:7 70:15 70:24 causes(1) 265:16                             184:13 185:11 195:3 201:12 207:22       collapsed(1) 122:1
71:8 71:20 72:21 76:12 78:14 79:25 80:2 caveats(1) 166:14                                                                   collapsing(7) 111:9 113:23 120:6 121:5
80:25 81:1 81:20 82:1 84:2 84:12 84:19 cds(3) 105:13 135:7 136:2                   checked(2) 135:11 217:17                 123:8 123:13 247:1
84:24 85:4 89:21 90:16 90:17 90:19 90:20cede(1) 13:18                              checking(2) 166:25 167:6
90:24 92:18 94:13 95:2 95:13 95:14 96:4 central(1) 52:14                           chicago(8) 1:29 3:14 10:41 10:42 28:10 colleague(1) 268:20
96:5 96:6 96:8 96:12 96:14 96:16 97:11 ceo(1) 46:20                                42:9 67:11 226:9                         collectively(1) 30:4
97:11 110:11 111:16 122:25 148:12 152:7 certain(9) 13:11 28:4 60:18 69:11 77:19                                             colleen(1) 6:25
163:8 166:4 166:5 166:6 169:19 170:8      143:20 150:25 204:17 210:1               chief(2) 215:7 262:14                    collins(1) 8:28
172:19 175:5 175:13 175:14 177:18 183:18                                           choice(1) 162:1                          column(13) 40:15 105:12 105:13 105:15
 185:15 195:15 196:1 196:2 200:16 202:9 certainly(63) 17:8 32:19 34:5 34:8 39:14 choose(1) 195:22                           105:16 171:13 205:25 207:3 254:10 254:11
202:23 203:10 204:11 204:13 204:25 209:239:17 46:10 51:11 52:15 55:3 57:2 57:25 chooses(1) 195:16                            254:17 254:18 254:18
 209:6 210:6 210:8 210:11 210:21 210:23 58:25 58:25 63:21 67:8 72:2 73:6 76:22 chose(3) 59:22 175:8 223:14
211:4 213:24 214:6 219:3 248:19 252:12 83:21 86:25 87:2 87:11 87:18 89:4 98:11 christine(1) 2:32                            columns(2) 207:2 254:9
                                          103:21 109:9 116:1 116:5 118:24 120:22 chronology(2) 22:5 22:17                   combined(2) 55:6 260:14
                                          120:23 121:11 125:8 129:19 131:18 136:18chung(2) 2:42 6:11                        come(23) 37:14 39:21 56:9 56:23 66:9
capitalization(13) 171:6 172:12 172:14     137:14 139:12 144:21 144:24 145:25      circled(1) 38:7                          67:2 71:18 105:11 158:9 158:10 175:9
172:17 172:19 173:2 173:11 174:2 174:10 147:20 149:25 150:4 160:12 173:1 213:14 circuit's(1) 268:12                         176:9 178:15 178:20 180:7 181:25 186:15
174:16 174:20 174:21 200:14               214:8 229:6 235:21 237:6 239:25 242:3 circulation(3) 30:12 30:13 30:22            191:11 194:11 201:11 207:1 255:5 267:6
                                          251:19 252:22 257:6 259:9 259:11 261:10 circumstances(10) 21:14 74:19 87:23
capitalized(2) 53:24 209:17               262:7 262:15                             115:7 228:21 228:23 229:2 242:3 242:5 comes(8) 30:9 30:10 41:16 92:24 102:3
caplatic(1) 222:11                                                                 243:9                                    102:10 190:14 215:15
capture(1) 218:14                         certificate(7) 116:3 121:19 143:25 144:1 citations(1) 233:15
career(5) 17:15 17:19 27:5 51:20 59:13 147:24 149:20 150:3                         cite(1) 237:17                           comfort(2) 89:13 95:19
careful(5) 79:18 186:18 193:19 200:23                                              cited(4) 232:20 237:20 238:1 253:1       comfortable(6) 28:13 63:3 65:25 66:1
211:6                                     certification(2) 16:12 269:4             citi(11) 79:24 95:11 95:12 130:5 130:7   160:7 191:5
                                          certified(12) 15:25 16:1 16:2 16:4 16:7  210:5 210:5 210:7 210:7 210:16 211:13
carefully(1) 84:3                         19:4 19:4 19:5 19:5 234:17 235:19 246:6                                           coming(12) 23:25 44:22 75:2 75:15 112:20
carey(1) 1:18                                                                      citibank(2) 7:9 78:13                     142:6 155:18 181:22 210:10 210:20 257:6
caridas(1) 5:31                           certify(1) 269:5                         citigroup(1) 146:3                       263:10
carlyle(1) 4:39                           chad(1) 9:30                             clad(1) 144:23                           comma(1) 146:16
carol(1) 5:17                             chadbourne(2) 3:25 5:21                  claim(1) 169:21                          comment(11) 20:1 104:6 104:18 107:19
carried(1) 243:6                          chairman(1) 215:6                        claims(2) 266:18 266:18                  167:16 190:21 193:12 248:5 249:19 255:3
carroon(1) 4:4                            challenged(1) 107:8                      claire(1) 11:14                          261:11
case(93) 1:5 10:15 14:1 27:6 45:23 46:1 challenges(1) 141:16                       clarification(1) 202:3                   commentary(8) 30:12 69:16 125:1 137:22
49:19 49:22 50:12 51:11 51:13 57:25 59:7challenging(1) 74:18                       clarify(3) 137:9 203:13 256:1            137:25 145:23 190:23 260:11
68:5 68:24 69:7 71:22 71:22 71:23 71:24 chance(4) 36:12 120:20 145:12 255:14       class(1) 92:18
71:24 71:25 72:1 72:4 72:7 72:8 72:8      chandler(5) 11:13 43:8 73:2 75:5 116:11 classified(1) 67:14                       commented(3) 69:10 169:6 220:13
72:12 72:13 73:3 73:16 74:14 74:15 77:12chaney(1) 10:27                            clear(29) 24:17 31:11 84:19 104:25 109:18commenting(3) 31:8 69:16 216:19
78:13 79:5 79:24 80:21 81:10 88:12 91:9 change(12) 52:18 106:23 125:14 126:15       112:5 122:15 123:1 128:9 150:19 159:20 comments(11) 75:22 82:16 82:17 82:18
91:9 95:11 95:12 100:4 100:19 113:9       128:20 137:6 184:3 188:13 190:20 234:22 160:5 162:3 172:18 178:8 181:11 201:13 82:19 98:10 189:11 219:7 219:10 262:10
118:15 124:20 134:3 134:12 137:5 141:3 235:2 248:18                                201:14 221:15 223:1 231:24 235:22 236:3 267:1
141:4 150:13 155:14 161:12 161:18 168:21                                           236:4 244:15 244:19 255:4 258:25 262:16 commission(1) 214:25
 181:5 184:16 196:19 198:2 199:16 207:14changed(4) 32:2 160:15 162:1 162:21                                                 commitment(4) 104:23 105:2 105:6 105:22
208:1 208:19 209:12 210:5 210:6 210:23 changes(5) 29:19 65:13 125:18 125:18                                                 commitments(4) 117:18 144:21 144:24
                                                                                   clearer(1) 36:22
211:3 211:14 211:14 213:1 228:8 236:8 135:20                                                                                148:24
                                                                                   clearly(6) 30:21 80:20 140:2 210:16
238:23 243:11 243:12 246:21 257:11
                                                                                   236:23 265:2
257:16 257:25 258:6 262:3 262:7 262:14 channel(1) 104:25                                                                    commitments.”(1) 207:16
262:18 262:24 262:25 267:16 268:7         chapter(5) 1:7 229:16 232:2 267:6 268:10 cleary(1) 5:7                            committee(7) 3:10 3:17 5:20 7:27 10:46
                                          characteristics(1) 170:15                clerk(5) 14:5 14:8 14:14 83:7 127:13     63:2 257:9
cases(37) 16:25 27:5 50:15 50:20 50:22 characterization(5) 32:15 141:11 158:5
51:12 51:16 71:7 72:18 72:20 73:7 73:22 233:19 233:22                              clients(1) 16:20
                                                                                   climate(1) 267:3                         common(5) 75:5 119:19 169:5 224:19
74:11 78:24 80:8 84:24 84:25 87:20 94:22
                                                                                   climb(1) 41:6                            commonly(2) 69:4 225:23
95:10 100:4 104:25 114:4 140:19 196:21
                                          characterize(1) 181:20                   clip(2) 198:14 199:22                    communications(1) 94:4
197:17 198:7 204:12 204:18 209:3 210:2
                                          characterizing(1) 141:10                                                          community(5) 87:8 87:9 232:12 232:25
210:3 211:6 233:12 233:16 233:20 234:6
                                          charge(1) 15:20                                                                   235:20

                                                                                                                           comp(2) 161:25 222:17



Page : 6                                                                                                                                             04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 277 of 306
Word                        Page:Line    Word                           Page:Line Word                          Page:Line     Word                        Page:Line
companies(37) 17:9 17:11 19:7 32:2 50:23 comply(1) 245:1                          consistency(2) 43:15 198:6                  corporations(8) 232:14 232:14 233:1
 56:5 56:6 56:6 56:13 62:4 63:12 63:13 component(12) 26:25 35:4 48:19 57:20       consistent(32) 27:4 30:1 30:22 32:21        233:17 233:18 234:7 238:4 238:20
63:17 63:20 64:1 68:15 69:12 69:20 69:2464:9 140:14 140:15 195:14 201:10 201:10 32:23 35:24 44:4 50:20 51:14 54:6 57:25
70:1 92:10 93:13 93:25 94:6 169:1 171:25201:23 201:23                             59:9 68:5 68:6 87:19 115:15 123:2 124:25corps(4) 232:16 232:16 233:16 234:9
172:10 172:22 173:16 174:3 175:3 175:6                                            129:8 135:6 136:11 139:7 149:17 185:16 correct(194) 42:12 54:21 54:22 55:21
190:1 202:16 219:20 239:10 255:21        compound(3) 48:15 48:21 49:13            196:21 197:20 198:11 209:12 229:1 250:2361:20 61:22 90:25 93:3 109:20 109:25
                                         comprehensive(1) 16:7                     252:23 253:11                              110:17 110:21 110:22 112:7 112:11 112:14
company(165) 1:7 6:40 7:21 11:4 11:32 compresses(1) 103:7                                                                      112:17 112:18 113:1 113:2 114:8 115:24
11:32 33:15 33:22 34:7 34:16 35:3 35:7 comps(1) 93:7                              consistently(2) 47:22 51:13                 117:25 121:6 122:23 123:25 124:7 124:23
37:12 38:1 38:2 39:9 39:18 39:25 40:3 compulsion(4) 239:21 240:2 241:7 241:22 consists(1) 215:5                               125:2 125:10 125:11 125:15 129:12 129:14
41:2 44:5 44:22 45:4 47:22 48:1 48:18 compute(1) 255:6                            consolidated(5) 27:22 66:22 66:23 93:2       129:18 130:3 130:6 130:22 133:12 135:1
48:24 53:20 53:22 53:22 55:19 57:17      conaway(1) 5:5                           154:1                                       137:7 138:18 139:19 139:20 142:8 142:13
57:18 58:12 58:13 58:16 63:6 64:19 66:24concept(4) 52:22 87:13 88:12 230:16                                                   143:10 143:13 143:14 143:24 149:6 151:23
67:2 69:17 70:11 70:14 71:18 72:1 73:10 conceptual(1) 209:9                       construct(1) 123:5                           154:21 155:1 155:13 155:19 156:4 156:11
75:3 75:7 75:15 75:18 75:19 76:2 76:3 concern(18) 17:10 39:15 50:6 51:17 51:24 consulting(3) 14:22 15:2 15:4                  157:2 157:3 157:13 158:13 158:18 159:18
76:7 76:17 77:17 77:21 77:24 80:2 80:22 52:2 52:5 52:6 87:22 98:15 150:3 189:16 consume(1) 257:19                             162:6 162:9 162:10 162:12 163:16 164:13
84:14 85:22 89:25 90:8 93:9 93:14 94:4 195:14 196:4 196:10 196:12 196:12 230:19consumed(1) 258:6                              165:6 165:8 166:12 166:13 166:20 167:7
95:18 95:24 96:3 96:5 97:6 102:12 122:9                                           contain(4) 22:5 23:15 26:3 253:10           167:12 168:17 168:23 169:9 171:4 172:11
122:14 126:12 136:11 137:19 137:23                                                contained(3)  33:21  48:21  133:15          172:22 173:15 174:23 175:20 175:21 176:2
                                         concerned(1) 121:18
138:12 138:21 140:10 140:12 141:6 141:9                                           contains(1) 223:6                            176:3 176:10 176:20 178:10 179:7 179:11
                                         concerning(3) 83:18 236:5 236:11
142:19 143:25 144:22 145:25 146:12 154:1                                                                                      179:17 180:8 183:7 183:8 183:20 183:23
                                         concerns(1) 151:20                       contemplate(1) 259:23
 158:8 158:10 158:21 160:16 160:19 166:7                                                                                      184:4 184:6 184:11 184:24 185:5 186:13
                                                                                  contemplated(1) 73:17
169:4 169:8 170:14 170:15 173:1 173:17 conclude(5) 47:18 48:9 93:5 152:9 259:14                                               186:17 186:22 187:10 187:20 187:25
                                                                                  contemplation(1) 21:23
175:1 186:5 189:20 191:9 191:11 191:18 concluded(4) 48:11 79:13 79:13 122:21                                                  188:14 188:15 188:18 188:20 188:21
191:23 192:7 194:7 195:12 195:13 195:20  concludes(3) 97:1   188:7  257:1         contemporaneous(16)    22:8  22:10 29:20
                                                                                                                              188:25 189:7 190:22 191:12 191:25 192:4
195:20 195:21 196:6 196:18 196:20 197:14conclusion(27) 54:11 56:21 56:23 60:21    30:2  64:16  69:5  69:15 69:15  71:21 72:24
                                                                                                                              194:12 195:6 195:7 195:23 195:24 196:23
 197:20 197:22 197:22 197:24 200:12      62:11 64:4 64:18 64:22 65:6 66:21 77:6 73:13 79:22 81:7 111:13 113:20 249:12 197:5 197:6 198:20 199:4 199:5 201:5
204:13 204:18 206:24 208:4 208:25 208:2581:22 85:3 85:21 95:5 104:2 104:20                                                    201:8 202:15 203:2 203:11 203:22 204:1
 209:17 212:15 214:2 215:8 215:13 216:6 112:21 123:20 124:22 126:3 139:15 152:12contemporaneously(1) 74:1                     204:4 204:7 204:9 204:22 205:12 205:17
216:15 216:17 220:24 221:8 221:12 222:14207:19 248:19 267:23 268:17               contended(1) 150:25                         205:21 206:17 206:20 208:6 209:4 209:8
 222:16 224:11 225:18 226:5 227:25 228:4                                          contending(2) 151:9 151:14                  211:12 211:20 212:16 212:19 212:25 213:3
228:16 228:18 230:21 232:5 239:4 241:23 conclusions(13) 23:15 23:16 65:3 66:12    contested(1) 113:1                           213:8 213:10 213:20 213:25 214:19
245:19 245:20 250:16 250:23 251:1 251:6  66:20 81:5  82:1   86:13  122:21 184:9   context(12) 51:24 87:3 93:5 95:18 95:24 214:20 215:19 215:25 216:1 216:15 220:17
251:15 265:24 266:19                     193:20 213:12 260:13                     123:9 159:21 177:10 232:1 235:5 242:1 220:22 222:9 222:13 222:22 225:8 225:10
                                                                                  242:6                                       225:21 226:3 226:10 227:1 227:4 227:15
company's(18) 26:20 26:23 39:20 44:9     condition(4) 21:3 83:21 115:18 145:23    contexts(1) 236:12                          227:21 228:22 232:21 235:16 236:12
47:21 48:6 68:10 68:22 74:2 74:25 85:15 conditions(5) 117:21 119:6 144:3 247:16 contingencies(5) 68:13 71:4 95:22 206:25 237:19 238:8 239:16 239:21 240:3 242:17
121:14 147:9 224:15 224:18 225:8 249:11 247:16                                    208:6                                       248:6 269:5
266:23
company’s(1) 208:17                      conduct(1) 66:4                          continue(7) 83:8 102:5 115:4 148:15 208:4
comparable(17) 56:6 56:6 56:13 62:4      conducted(2) 60:5 226:23                  215:13 268:19                              corrected(1) 176:12
63:11 63:17 93:14 93:25 94:18 173:16     conducting(3) 50:1 50:17 246:19                                                      correcting(3) 163:6 163:7 163:13
173:17 174:3 191:8 191:11 191:18 193:23 conference(1) 263:12                      continued(14) 2:2 3:2 4:2 5:2 6:2 7:2 8:2 correctly(2) 206:8 255:8
194:7                                    confidence(5) 107:2 147:7 147:14 147:16 9:2 10:2 11:2 12:2 47:21 103:18 253:15 corrects(1) 84:23
comparables(4) 69:19 92:10 93:13 94:21 147:25                                                                                 cost(20) 60:13 61:2 61:5 61:5 61:6 61:6
compare(3) 196:20 248:13 252:18                                                   continues(6) 146:17 170:14 171:2 196:15 61:8 65:20 89:20 90:17 92:18 100:8 163:8
compared(18) 34:25 35:4 35:23 69:9       confidential(2) 13:14 13:16              234:6  244:4                                170:8 175:5 175:13 177:18 183:17 185:14
88:13 88:15 94:20 96:9 126:9 133:13      confidentiality(1) 13:11                                                             252:12
135:19 140:11 155:3 156:6 169:24 185:13 confirm(1) 258:17                         continuing(7) 16:8 16:9 16:14 30:19
188:5 211:15                             confirmable(2) 268:5 268:6               220:16 223:9 259:7                          costly(2) 125:24 125:24
compares(2) 70:1 153:21                  confirmation(2) 262:25 266:4                                                         costs(4) 160:25 237:12 244:11 262:10
comparing(6) 57:15 182:2 195:19 196:5 confirmatory(1) 31:3                        contractual(4) 104:23 107:10 144:24         could(123) 32:17 34:10 34:12 34:19 38:4
203:18 212:15                            confusing(1) 200:24                      contrarian(2) 9:13 9:14                     45:3 46:4 46:21 53:15 56:25 58:16 63:9
                                         conjunction(1) 167:22                    contributed(1) 19:11                        66:24 72:3 72:4 73:21 73:22 75:19 80:2
comparison(11) 44:12 69:19 165:20 166:9 connection(5) 117:19 130:1 130:14 132:4 contribution(3) 214:17 221:8 221:11           90:6 90:8 92:2 95:25 96:3 96:4 96:20
171:10 212:14 219:12 248:17 248:23 249:1258:19                                    contributions(9) 162:4 213:18 213:18        97:21 97:21 101:15 103:13 103:14 110:25
 252:18                                                                           214:11 215:13 218:15 218:22 220:7 220:17111:3 114:21 115:1 118:1 118:12 118:16
                                         consensual(3) 257:4 267:17 267:25                                                    118:18 118:20 119:4 119:16 120:4 126:25
comparisons(3) 153:7 155:18 203:17       consensus(9) 32:18 153:15 154:13 155:4 contributions.”(1) 216:25                     130:14 130:18 131:22 137:8 138:23 144:11
compelled(1) 24:17                       238:19 244:7 244:15 244:21 244:22        control(3) 75:18 76:7 78:1                   145:10 146:8 146:24 147:1 147:5 148:2
compensate(2) 90:10 222:17                                                        controller(1) 43:7                          148:5 149:3 150:6 158:10 160:11 161:4
compensation(32) 37:6 78:8 90:2 90:3     consequences(3) 77:1 104:24 105:1        controlling(2) 231:4 231:6                  161:16 162:24 163:5 165:7 165:12 167:1
90:6 90:7 90:8 90:11 90:13 162:8 214:3 conservative(1) 160:11                     convey(2) 28:5 103:3                        167:3 168:3 170:3 170:24 173:19 177:4
214:10 214:14 214:17 220:1 220:21 220:24conserve(1) 96:4                          conveyance(17) 16:22 16:23 16:25 17:2       178:15 180:3 185:7 186:25 189:1 192:5
 220:25 221:15 222:6 222:8 222:15 222:18consider(6) 55:14 76:11 113:19 141:2      17:4 27:4 50:15 50:18 50:22 57:25 59:14 195:15 195:25 196:17 198:14 199:23 204:6
222:22 223:2 223:7 223:9 223:12 223:20 157:6 268:9                                87:3 87:20 88:12 88:17 110:21 196:21         204:14 204:17 207:6 207:12 209:23
223:22 223:23 223:24                                                                                                          212:11 214:21 215:3 217:7 218:3 218:14
                                         considerable(1) 143:22                   conveyed(1) 34:22                           219:20 220:17 221:3 223:15 224:7 224:14
compete(1) 69:21                         consideration(7) 24:22 52:10 213:15      conveying(2) 45:10 103:2                    229:22 231:2 231:5 231:17 232:7 232:17
competing(3) 69:24 69:25 265:25          216:21 261:3 265:17 265:19               cooperstown(2) 10:9 10:10                   235:25 236:21 237:16 240:19 243:12
competition(1) 241:18                                                             copy(2) 15:8 23:13                          245:18 251:16 252:11 255:5 256:4 259:18
competitive(6) 214:10 214:19 220:21      considerations(9) 48:25 65:18 82:6 116:6 core(1) 76:24                               260:4 262:12 262:22
220:24 232:4 232:7                       126:10 152:6 185:1 238:7 268:11          corner(6) 38:10 40:10 93:21 130:19
                                                                                  131:23 133:22                               couldn't(2) 228:14 245:25
competitor(1) 56:5                       considered(8) 13:14 82:6 102:11 151:22                                               counsel(13) 13:18 20:11 24:11 24:15 43:23
competitors(2) 22:2 69:9                 204:17 204:18 264:17 264:20              corp(17) 84:15 215:19 227:22 227:25          50:12 66:8 112:6 121:14 144:22 151:7
complete(3) 114:25 118:12 129:20                                                  228:14 228:16 234:4 234:8 245:13 245:16 180:18 257:9
completeness(1) 247:8                    considering(8) 80:24 81:15 109:22 143:12 245:17 247:14 252:25 253:7 253:9 253:19
completing(1) 239:20                     204:18 258:1 258:3 260:4                 253:21                                      counting(1) 185:24
compliance(1) 207:15                                                              corporate(1) 15:21
                                                                                  corporation(1) 209:7
Page : 7                                                                                                                                              04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                     Page 278 of 306
Word                       Page:Line     Word                        Page:Line    Word                           Page:Line     Word                        Page:Line
couple(8) 72:24 75:11 102:24 104:7       cubs(2) 67:11 75:11                      debt(113) 54:20 54:21 54:24 55:1 55:11 definition(13) 51:3 52:20 69:23 75:1
178:20 186:10 247:21 267:1               cumulative(7) 44:24 44:24 71:11 71:12    55:14 57:7 57:12 57:14 59:1 59:16 61:5 189:15 234:15 237:21 237:24 238:1 239:22
                                         71:15 71:23 77:15                        61:6 61:6 62:5 65:8 66:25 68:11 68:22         240:6 240:9 242:17
coupon(9) 59:2 59:10 59:11 194:17 194:17                                          69:2 69:4 69:6 69:7 69:17 69:18 69:22
 195:4 250:12 250:13 250:22              current(12) 13:15 34:16 92:7 92:8 96:7 70:13 70:13 71:2 74:7 74:12 74:16 74:20 definitional(1) 51:7
                                         96:9 96:10 185:17 185:19 187:18 188:22 77:10 80:12 81:14 83:24 89:18 90:22            degree(5) 34:11 34:13 70:20 124:24 145:24
couri(1) 10:11                           258:5                                    95:19 98:9 100:10 100:13 100:15 105:21 delaaware(1) 13:1
couriers(1) 128:1                        currently(1) 148:11                      105:23 108:17 109:22 110:4 110:7 110:14 delaware(5) 1:2 1:11 1:35 2:49 4:41
course(23) 17:19 18:2 18:25 27:5 51:20 cushion(3) 68:14 206:24 249:7              110:16 111:9 112:1 112:6 118:8 121:6         delays(1) 265:24
59:13 69:23 73:20 86:11 89:3 98:22 123:7cut(1) 148:7                              122:23 123:3 124:6 125:8 143:5 143:9         deleverage(1) 266:23
150:25 171:24 186:1 189:10 208:14 208:15cutler(1) 5:39                            143:13 144:13 144:20 148:12 152:22           delivering(1) 250:11
 226:13 261:21 262:13 262:17 262:24      cv's(1) 265:3                            194:10 195:14 195:20 195:21 195:21           demo(1) 6:21
                                         cycle(3) 32:3 68:17 208:16               197:14 197:15 198:10 198:18 198:21 199:7demonstrate(1) 115:8
court(134) 1:1 13:2 13:10 13:19 13:23    cyclical(2) 28:25 71:4                    200:8 200:9 200:10 200:12 200:15 200:18demonstrative(12) 15:7 86:18 107:14
14:4 14:17 15:1 16:19 18:16 18:18 21:11 damien(1) 2:10                            200:22 201:1 201:2 202:1 202:8 202:10 107:18 142:21 175:16 184:14 190:7 212:12
23:1 23:20 24:21 25:9 25:11 25:14 25:19 daniel(6) 2:40 3:20 6:5 6:7 10:23 11:16 202:15 202:16 202:18 202:19 203:24 206:2212:18 232:20 234:5
25:22 26:11 26:13 26:22 27:12 28:22 31:1darwinian(1) 267:3                         206:15 206:21 206:25 207:15 213:11
32:14 33:8 45:10 50:1 51:4 52:13 54:11 data(21) 1:41 22:21 34:7 36:14 82:8 103:4228:1 228:2 250:3 250:4 250:8 250:11           demonstratives(11) 22:25 49:24 93:19
54:23 60:4 61:1 63:8 65:2 66:19 67:24                                             250:13 250:21 254:17 254:22 265:19           143:8 149:2 187:3 203:14 205:23 237:21
                                          103:5 103:13 103:16 135:19 136:25 138:4
72:25 74:9 81:5 83:1 83:4 83:9 88:23     138:19 140:5 153:15 155:4 175:3 175:5                                                 247:21 249:17
99:4 102:25 103:24 106:8 106:12 106:15 193:22 230:5 251:18                                                                     denial(1) 146:12
108:13 109:5 109:9 126:19 126:22 127:2                                            debtor(3)  202:14   265:10 265:11
                                                                                                                               dennis(1) 2:9
127:6 127:8 127:11 127:11 127:14 127:22 data's(1) 100:17                          debtors(3) 1:11 1:23 13:15
                                                                                                                               denominator(1) 158:24
127:25 128:6 128:12 129:4 131:3 131:6 date(22) 38:20 45:15 46:7 65:17 132:2       debts(6) 21:7 21:8 23:10 53:24 110:1
                                                                                                                               depend(1) 198:23
131:18 131:20 132:9 132:13 134:7 142:14 139:5 141:15 141:21 145:17 151:4 151:25 111:17
                                                                                                                               dependent(4) 80:22 84:1 89:24 98:20
142:17 150:20 152:8 180:18 199:21 199:25152:1 196:6 197:21 200:21 224:19 238:13
                                                                                                                               depending(7) 59:2 87:23 125:17 125:20
 212:1 212:5 212:9 233:12 234:6 242:9 246:16 246:20 246:23 261:18 269:11          december(26) 20:15 21:9 23:6 38:21 49:11
                                                                                                                               197:14 228:20 242:4
245:6 248:18 250:1 255:25 256:22 257:7                                             125:4 135:24 136:17 138:18 154:12
257:12 257:14 257:16 257:18 257:23 258:6                                          154:17 163:12 182:7 183:10 183:13 184:9
                                         dated(5) 43:9 104:12 105:4 133:8 133:24
 258:9 258:15 258:16 258:17 258:24 259:2                                          187:7 192:6 192:21 202:5 215:14 218:11 depends(3) 244:6 244:14 244:25
                                         dates(5) 21:9 23:4 23:10 23:12 57:19                                                  depiction(1) 126:5
259:10 259:12 259:13 259:19 260:6 260:10                                          218:11 224:15 225:4 246:21
                                         david(9) 2:41 3:26 4:21 6:43 8:7 10:6                                                 depleted(1) 96:5
 260:12 260:16 260:24 260:25 261:7 261:9
                                         10:21 19:13 256:24                                                                    deposition(31) 112:23 124:6 125:12 126:1
261:14 262:18 263:1 263:4 263:10 263:15                                           decide(1) 162:18
263:18 263:22 264:1 264:5 264:9 264:13                                            decided(1) 54:23                             126:14 139:15 139:21 155:6 161:5 176:12
264:15 265:5 268:25                      davis(5) 2:4 7:10 8:19 109:7 128:14                                                   194:9 198:16 199:18 202:22 211:18 214:9
                                                                                  deciding(1) 268:15
                                         day(9) 3:11 7:34 10:46 82:11 100:6 105:4                                              215:22 216:16 221:24 226:6 226:22 227:16
                                                                                  decile(8) 171:16 172:3 172:7 172:9 172:24
                                         125:20   128:10  262:16                                                                227:18 229:10 230:14 230:20 238:2
court's(4) 258:21 259:22 260:1 260:14                                              173:4 173:7 173:8
                                                                                                                               238:10 256:14 261:23 270:7
courtney(1) 8:44
                                         days(5) 257:6 257:25 258:5 258:11 258:15
courtroom(4) 1:9 19:2 32:10 128:2                                                 decision(7) 39:20 39:23 112:15 121:25
                                         dbtca(1) 4:19                                                                         depositions(1) 256:14
courts(1) 24:1                                                                    260:17 264:21 268:12
                                         dcf(20) 55:19 60:1 60:21 62:10 91:7                                                   depreciation(2) 96:13 96:13
covenant(2) 209:15 217:12
                                         107:23 134:2 161:21 178:24 181:9 181:10                                               deprive(1) 264:10
covenants(1) 207:15                                                               decisions(1) 233:12
                                         181:11 181:17 181:22 182:2 182:2 197:5                                                derivation(1) 73:4
cover(6) 70:11 70:25 81:14 100:12 125:23 222:21 270:20 270:21                     decline(34)  28:1  28:20 28:23  28:24  28:25
200:20                                                                            29:2 30:3 30:11 30:15 30:16 30:18 30:21 derivative(2) 201:10 201:23
                                                                                  31:6 32:6 32:19 32:23 32:25 33:23 38:25 derive(4) 95:19 108:18 118:10 159:25
                                         dcl(10) 24:12 107:16 132:12 134:6 246:11                                              derived(6) 56:16 92:19 168:2 191:14
coverage(2) 70:4 70:18                                                            70:23 70:23 73:18 73:19 73:20 83:22
                                         258:4 259:23 263:5 265:21 270:19                                                      191:18 191:22
cpa(1) 236:5                                                                      93:12  103:16   148:13  149:24  151:12  160:13
cpa's(1) 236:4                                                                     160:14 160:14 209:1
                                         deal(10) 68:16 81:21 82:15 127:15 144:7                                               derives(1) 93:16
crane(2) 43:13 43:22                     145:13 145:20 146:14 206:25 230:2
                                                                                  declines(2)  73:22  152:10                   deriving(2) 53:6 193:25
create(1) 170:1
                                                                                  declining(3) 149:22 188:13 188:19            describe(19) 16:17 16:18 37:17 40:11
created(5) 144:15 145:3 215:18 219:17    dealing(3) 56:1 97:12 237:13
                                                                                  decrease(1) 30:18                            44:17 49:25 52:13 63:8 65:13 66:19 67:23
240:25                                   deals(1) 255:21
                                                                                  deduct(2) 108:16 222:20                      72:24 76:15 79:1 81:5 82:6 85:7 88:23
                                         dealt(8) 112:24 113:1 194:12 194:20                                                   102:25
creating(1) 220:4                                                                 deducted(1) 66:22
                                         194:22 195:1 198:7 262:13                                                             described(14) 54:2 55:4 64:3 66:2 68:2
credential(2) 16:6 16:13                                                          deducting(2) 70:24 84:17
                                                                                                                               88:1 122:6 122:16 122:19 125:1 163:8
credentials(3) 14:25 15:13 15:23         dearborn(1) 1:28                         deem(1) 204:9
                                                                                                                               179:13 179:13 235:3
credit(57) 5:4 5:38 19:22 22:20 22:21    death(2) 50:23 196:18                    deemed(1) 72:18
76:17 76:22 77:18 77:19 77:22 77:22                                               deep(3)  42:18  58:25  59:10
                                         debate(6) 39:17 232:15 233:1 233:7 234:7                                              describes(2) 72:14 190:14
80:23 82:12 83:25 96:15 97:6 98:4 98:7 234:8                                      deepening(1) 77:2
                                                                                                                               describing(1) 58:13
98:7 98:18 99:2 99:4 99:6 99:12 99:15                                             deeply(1) 261:6
                                                                                                                               description(1) 32:12
99:18 99:20 100:10 100:13 100:16 105:11 debenture(2) 2:23 10:4                    default(42) 19:23 22:21 72:10 72:12 82:12
105:18 107:11 113:5 113:7 116:23 117:2                                                                                         deserves(1) 56:18
                                                                                   82:20 83:25 98:16 99:2 99:5 99:6 99:12
125:21 125:22 125:24 126:4 134:17 134:18                                          99:15 99:19 99:20 100:10 100:13 100:16 designation(1) 16:5
 136:8 136:21 138:11 138:14 140:1 140:5                                           102:14 105:11 105:18 116:25 125:21           designations(1) 261:23
140:20 140:23 144:14 209:16 249:14 250:5                                          125:22 125:25 126:4 134:17 134:18 136:8 designed(3) 224:3 224:4 224:5
 251:16 254:1                                                                     136:21 138:1 138:1 138:11 138:14 140:1 desire(2) 55:6 122:12
                                                                                  140:5 140:20 140:23 249:14 250:5 251:2 despite(3) 123:6 149:13 267:23
creditors(9) 3:18 5:21 53:15 200:20                                               251:17                                       destroying(1) 265:23
227:15 227:22 227:24 228:6 228:13                                                 deficiencies(5) 36:12 48:1 80:25 81:19       detail(12) 34:8 60:6 62:9 68:2 85:7 112:3
                                                                                  95:17                                        180:4 188:9 223:8 223:11 223:14 223:14
criteria(1) 237:1
critical(4) 22:14 26:25 97:10 140:17                                              deficiency(7) 38:20 44:22 77:14 143:2        detailed(6) 21:14 27:7 85:21 118:23 188:4
critically(6) 27:3 28:2 95:9 95:25 97:22                                          196:7 205:18 206:10                          214:14
211:9
                                                                                  deficient(1) 249:10                          details(4) 67:23 114:12 225:14 225:14
criticisms(3) 88:24 89:1 91:5                                                     deficits(1) 41:3                             deteriorate(1) 47:22
criticized(1) 52:3                                                                define(1) 184:22                             deteriorated(1) 157:25
critique(1) 88:20                                                                 defined(3) 236:24 237:7 237:8                deteriorating(4) 33:14 39:1 83:21 85:15
cross(5) 127:15 128:15 245:5 245:7 270:2                                                                                       deterioration(2) 147:21 253:15
cross-examination(2) 109:5 109:11                                                                                              determinative(1) 221:21

Page : 8                                                                                                                                               04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                      Page 279 of 306
Word                       Page:Line      Word                            Page:Line     Word                           Page:Line   Word                        Page:Line
determine(7) 166:8 184:23 185:18 196:6    disagrees(2) 168:16 168:19                    dollar(2) 17:10 159:9                      drew(2) 175:19 175:25
220:20 266:12 268:10                      discern(1) 135:15                             dollars(5) 53:14 77:14 192:15 250:19       drill(1) 28:9
                                          disclose(3) 117:17 137:20 140:11              250:20                                     drilled(2) 40:12 85:19
determined(4) 79:11 163:9 185:4 201:21 disclosed(1) 117:23                                                                         drive(3) 97:7 202:10 202:19
determines(1) 165:21                      disclosures(3) 39:16 43:16 251:4              domain(3) 134:10 137:14 137:16             drop(1) 155:11
determining(3) 84:4 87:17 196:4           discount(11) 58:25 60:13 62:15 125:16         domestic(1) 188:5                          dropped(1) 149:14
detrimental(2) 228:4 228:5                162:22 174:25 178:25 179:3 182:12 184:3 dominant(1) 92:2                                 ducayet(1) 1:26
deutsch(1) 3:32                           254:12                                        dominated(6) 27:16 28:7 29:10 29:13        due(6) 65:19 111:17 146:12 148:10 198:18
deutsche(2) 9:28 144:6                    discounted(5) 60:7 60:22 91:2 175:3 244:263:16 93:9                                       199:2
developed(2) 244:5 244:24                 discretion(1) 263:1
developing(2) 170:16 244:3                discuss(5) 83:13 127:3 205:1 259:14           don(5) 6:45 43:13 43:19 43:19 43:21        duff(7) 10:30 62:23 62:24 65:23 175:22
devote(1) 16:20                           discussed(18) 56:20 62:16 64:21 67:10         don't(76) 25:3 27:1 32:16 39:3 42:16 56:7 177:8 183:13
devoted(7) 18:23 18:25 20:18 20:19 20:22 73:16 89:17 101:11 137:13 159:1 161:5 59:11 62:23 85:14 86:4 86:5 88:2 89:9
22:8 261:21                               161:23 202:22 216:16 220:10 220:14            96:19 97:3 97:8 107:8 113:25 115:19        during(9) 25:4 127:4 129:10 149:14
                                          230:13 255:13 259:21                          117:3 117:3 117:13 120:11 120:19 122:4 150:24 261:21 262:13 262:17 262:23
devotes(1) 20:3                                                                         131:14 136:13 137:1 140:2 145:2 148:1
dewey(2) 4:45 5:48                        discusses(1) 242:15                           151:9 151:10 151:18 153:14 155:9 158:4 dynamics(1) 188:24
diamond(1) 11:29                          discussing(2) 153:2 257:6                     163:18 164:16 164:25 165:14 169:21         each(20) 23:4 23:10 23:11 28:16 38:20
diaz(1) 1:41                              discussion(17) 39:15 86:20 118:24 134:17 171:18 171:23 179:15 179:15 180:1 180:1840:13 40:19 79:15 81:15 92:4 117:19
did(146) 16:22 20:13 22:15 26:19 26:22 170:10 190:25 217:3 218:1 235:5 242:13 184:13 185:13 188:1 190:6 190:8 190:23 161:1 167:25 217:10 223:9 247:18 249:11
42:16 46:16 47:18 48:5 48:9 49:8 53:10 242:21 245:12 246:25 251:21 260:23 261:5191:2 227:24 228:3 232:15 233:21 234:10 253:11 266:6 266:17
55:14 56:22 56:23 60:16 63:22 64:25 65:1 261:16                                         240:12 242:1 242:2 244:17 244:17 256:19
65:16 65:19 66:3 66:8 72:20 75:18 75:20                                                 260:6 260:11 260:16 264:23 264:24 266:8 earlier(24) 39:8 60:11 63:25 64:8 64:22
76:11 76:15 77:6 77:23 77:24 78:6 78:11 discussions(10) 39:13 232:13 234:10             267:2 267:22 268:2 268:16                  65:5 78:7 78:9 80:16 93:8 101:13 109:2
78:23 80:8 81:8 81:9 96:3 103:8 107:2 257:10 258:1 258:13 258:21 259:6 259:17                                                      118:22 124:10 135:15 137:13 143:16
107:12 110:7 110:7 110:12 112:5 113:17 268:19                                           donald(1) 2:6                              180:15 180:22 191:9 210:13 237:25 249:5
113:18 113:19 114:6 115:9 115:12 116:23 dismal(2) 101:12 101:14                         done(30) 17:22 27:5 44:21 45:3 45:13       253:13
116:24 117:10 121:5 123:16 126:14 128:9 disparate(2) 267:23 268:8                       46:13 46:17 50:11 91:11 91:20 91:21 93:1early(6) 33:16 41:9 151:12 156:25 206:15
128:20 130:10 132:15 137:6 139:12 139:21disproportionate(1) 267:7                       108:11 118:22 127:20 130:5 151:25 152:25206:21
 140:18 140:19 140:20 141:12 141:23       disputes(1) 267:18                             160:19 161:10 162:8 196:21 202:12
141:25 142:1 148:14 151:8 151:17 152:3 disregarding(1) 120:7                            203:10 206:7 208:10 208:21 214:14 221:2 earning(1) 243:19
157:10 157:11 157:12 157:12 157:15        distinct(2) 51:18 191:13                      255:8                                      earnings(3) 148:7 156:13 243:23
157:16 157:22 160:4 160:10 160:16 160:21distinction(2) 67:24 200:7                                                                 easier(4) 154:10 164:5 177:11 218:7
 161:1 161:2 161:3 161:14 161:14 162:11 distinctions(1) 243:6                           donna(1) 232:19                            easily(4) 45:4 158:10 244:3 262:12
162:13 163:14 164:19 165:5 169:10 178:19distorts(4) 94:11 138:6 138:7 251:19            don’t(13) 24:7 51:22 66:14 193:22 195:4 east(3) 4:35 11:45 11:45
 178:19 184:3 187:21 187:23 188:3 189:2 distress(3) 15:6 136:11 250:23                  195:16 197:2 198:3 201:20 202:7 210:18 easy(2) 167:17 176:6
190:15 190:20 191:13 195:5 203:18 204:22distributable(1) 266:12                         211:13 211:14                              ebitda(16) 60:11 69:2 69:4 69:7 70:22
 210:4 210:22 211:19 213:16 214:6 218:23distribute(1) 75:20                                                                        70:24 71:11 71:12 71:16 71:23 148:11
218:25 219:4 220:12 220:20 221:24 222:6                                                 dorr(1) 5:40                               156:8 161:18 161:19 176:23 256:9
                                          distributions(6) 75:13 75:15 75:16 80:22
222:12 222:20 222:24 223:18 223:21                                                      dotted(2) 33:18 149:9
                                          265:24 266:15
223:23 224:20 224:21 225:25 227:21 229:7                                                double(1) 185:24                           echoing(1) 261:11
 229:10 235:4 244:23 247:14 247:17 251:5                                                doubt(8) 45:18 157:23 158:8 227:2 227:5 economic(22) 68:17 73:24 86:22 87:1 87:8
                                          district(1) 1:2
253:10 253:18 255:14 257:3 259:16 262:21                                                227:7 233:6 259:10                          87:25 88:5 88:10 88:15 103:22 111:11
                                          dive(1) 42:18
 263:19                                                                                                                            112:16 122:21 123:23 124:2 208:5 208:14
                                          diversified(9) 50:6 63:12 63:15 69:25 93:9
                                                                                        dougherty(2) 7:4 7:5                       208:16 240:23 240:24 240:25 244:2
                                           93:17 94:1 94:3 230:20
didn't(14) 77:25 86:11 87:13 120:20                                                     douglas(1) 3:32
126:14 162:15 162:19 173:1 175:11 181:17                                                dow(2) 11:4 11:4                           economics(1) 111:11
 182:23 184:23 224:4 262:17               divide(3) 108:17 268:1 268:20
                                                                                        down(28) 16:16 19:16 28:9 36:5 39:5        economy(3) 32:4 103:17 186:7
                                          divided(1) 201:22
                                                                                        40:12 82:20 85:20 89:19 96:8 98:17         ecro(1) 1:39
didn’t(4) 62:22 76:2 204:5 214:16         dla(1) 3:4
                                                                                        103:19 105:21 105:22 115:18 152:14 154:1education(5) 15:13 15:24 16:8 16:10 16:14
differ(1) 243:16                          document(24)    13:21  43:16  104:9  104:14    160:12 172:3 198:18 203:9 206:15 206:21effect(8) 39:4 67:17 84:18 84:18 184:2
                                          105:3 105:24 105:25 106:22 113:8 124:19 233:12 234:20 234:24 256:22 258:10
difference(11) 105:17 136:16 136:19                                                                                                192:2 194:6 206:16
175:12 186:1 192:16 204:2 206:1 248:5 131:9 131:25 133:14 133:17 134:13 135:9
248:8 248:9                               177:25   214:24  215:4  221:16   246:16  246:17
                                                                                        downgrades(2) 98:4 98:9                    effective(1) 224:19
                                           254:1 254:24
differences(3) 185:12 243:18 244:11                                                     downside(55) 71:7 71:22 71:25 72:1 72:3 effectively(7) 91:23 124:25 217:8 217:22
different(29) 53:20 62:19 72:14 79:8 85:3                                               72:6 72:18 72:20 73:3 73:3 73:5 73:7       217:22 250:16 250:21
                                          documentation(2) 117:7 223:21
85:21 98:25 136:5 149:24 150:22 151:13                                                  73:8 73:16 73:19 74:3 78:13 78:17 78:24
154:13 166:11 169:17 187:18 188:24        documents(37)    13:11  13:14  13:16  21:16   79:21 79:24 80:3 80:8 95:11 95:12 95:21 efficiency(2) 129:16 129:19
197:25 200:21 219:25 226:9 229:25 232:5 21:17 21:18 24:5 24:20 30:2 30:23 55:4 97:13 133:11 133:12 133:15 134:3 134:12 efficient(2) 100:9 129:25
232:6 233:4 233:4 237:12 242:4 244:12 62:25 67:16 69:5 69:10 71:25 104:7                140:19 141:3 141:4 141:6 141:7 141:8
                                          111:13 113:4 113:20 115:7 115:10 115:22 141:10 141:12 141:12 141:13 144:11               eggs(1) 75:3
244:13
                                          116:18 117:11 120:23 121:10 134:11                                                       egi(1) 117:8
differently(1) 249:20                                                                   144:12 146:8 146:10 204:12 205:5 207:21
                                          148:20 177:8 184:21 185:10 185:15 197:23208:3 208:23 208:25 209:3 210:7 216:19 egi-trb(1) 232:6
difficult(7) 127:19 135:15 147:7 147:13
                                           223:17 247:13 257:4                                                                     ehmer(1) 10:38
164:7 167:16 198:5
                                                                                        downsides(21) 68:13 71:4 71:21 71:21       eight(5) 93:18 93:25 179:6 180:12 181:25
                                          does(37) 16:4 17:3 22:5 23:15 23:17 26:3 77:11 79:3 79:20 79:20 79:23 80:24 81:7 eighteen(1) 38:22
difficulties(1) 103:10
                                          32:17 42:14 42:16 51:4 51:5 58:5 58:14 81:9 81:13 203:1 204:16 204:17 204:19 eitan(1) 9:41
difficulty(1) 83:24                       58:22 58:24 59:6 64:11 68:4 78:6 95:9 206:25 209:20 249:8 249:12                         either(12) 87:13 90:10 146:12 156:8
digress(1) 32:8                           107:4 118:10 129:8 146:19 164:13 174:4                                                   162:11 165:5 167:11 184:16 213:7 266:9
diligently(1) 247:19                      206:8 207:9 207:25 209:6 209:16 219:11
                                                                                        downturn(7)   68:17  73:24  81:21 103:22   266:13 268:3
direct(9) 14:3 14:18 114:7 116:6 127:3    226:8 234:21 248:18 252:16 255:1
                                                                                        186:24 208:5 208:16                        elden(1)  7:4
150:9 201:4 234:11 270:2
                                                                                                                                   eldersveld(1) 6:43
                                          doesn't(9) 71:1 71:3 79:8 95:25 99:15                                                    elected(1) 228:14
director(2) 14:24 19:14                                                                 downturns(1) 208:14
                                          99:16 99:17 171:24 235:11                                                                election(2) 227:22 227:25
directors(5) 3:11 7:29 19:3 19:9 246:15                                                 downward(1)    77:21
                                                                                        drafting(2) 115:22 116:18                  electric(1) 19:24
disagree(7) 32:21 58:8 59:24 121:8 139:18doesn’t(3) 42:3 195:20 201:13
 145:2 200:5                                                                            draw(7)  81:22  126:2  126:3  136:13 137:1 electronic(2) 1:47 269:6
                                          doing(20) 43:14 44:10 80:5 87:19 87:22                                                   element(10) 89:20 90:8 91:22 129:19
                                                                                        138:4 200:7
                                          112:19 143:5 158:2 158:3 160:25 166:10                                                   147:17 220:25 223:12 223:24 243:10
disagreed(1) 121:4                        167:11 176:23 195:8 202:6 228:10 228:11
                                                                                        drawing(2)  193:19   268:17                250:10
disagreement(2) 262:5 263:7               228:14 252:13 252:23
                                                                                        drawn(2)  33:18  207:19                    elements(2) 53:8 90:6
disagreements(1) 262:21
Page : 9                                                                                                                                                   04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                   Page 280 of 306
Word                        Page:Line   Word                        Page:Line   Word                       Page:Line     Word                        Page:Line
elevation(1) 118:10                     equity(52) 56:7 56:8 56:10 56:10 56:12 evaluation(9) 17:20 29:5 35:2 42:22 86:12 excuse(1) 141:18
eligible(1) 216:5                       56:15 57:21 57:22 61:5 61:8 61:10 61:11 111:2 111:7 111:11 111:16                execute(1) 116:7
eliminate(6) 80:5 90:1 219:20 220:6     62:5 64:1 64:6 73:5 73:9 75:13 75:14                                             executing(1) 98:24
223:22 223:23                           75:18 75:19 77:20 77:23 80:22 81:17     even(37) 39:5 59:10 66:11 68:15 71:1     executive(2) 14:24 215:7
                                        98:13 124:25 125:2 172:19 175:8 175:8 77:11 80:23 81:15 83:23 89:25 90:1 90:22exercise(4) 96:18 159:21 159:22 162:20
eliminated(10) 78:14 210:7 214:4 214:11 175:10 190:2 193:21 193:22 205:7 205:13 95:16 95:19 97:17 97:20 99:15 102:18     exhibit(45) 15:10 23:14 23:18 25:25 26:3
221:7 221:11 221:14 222:1 222:5 223:19 206:6 210:20 216:20 224:11 224:16 224:16102:18 115:21 124:13 124:13 135:20 137:326:15 43:4 86:18 104:11 105:25 106:21
                                         225:1 225:6 225:7 225:12 225:15 225:16 141:19 160:8 167:14 193:3 193:4 201:8 107:15 108:11 128:24 128:24 129:6 130:20
eliminates(1) 92:3                      254:19 254:23 255:5                     201:19 208:22 223:22 249:3 253:16 264:18131:24 132:23 133:14 133:21 134:13
eliminating(3) 213:17 214:18 221:20                                              265:3                                   139:2 142:22 146:5 161:16 161:17 162:12
elimination(1) 90:13                    erroneous(1) 163:7                                                               164:1 164:2 170:5 173:22 173:25 175:17
elizabeth(1) 7:18                       error(8) 84:7 84:10 84:11 85:8 176:12   event(2) 31:16 116:25                    176:5 191:19 192:5 209:24 210:5 211:20
elkins(1) 8:31                          176:13 207:20 249:7                     events(3) 22:6 22:9 246:22               224:23 240:15 246:12 252:4 253:25
elliot(1) 2:8                                                                   eventually(1) 231:21
else(7) 159:16 217:25 223:19 230:21     errors(6) 187:25 211:10 211:19 256:6    ever(9) 51:20 51:23 51:24 59:15 69:12    exhibits(10) 14:16 15:7 84:12 102:24
256:20 259:13 264:23                    256:8 256:17                            88:11 101:21 194:22 195:1                130:21 168:2 202:23 270:14 270:15 270:19

email(8) 42:25 43:7 43:11 43:22 44:2 44:7escalate(1) 102:5                         everest(2) 41:6 140:13                   exist(2) 99:17 110:7
 73:2 101:19                             esop(45) 52:10 53:5 62:24 78:8 84:15      every(10) 17:16 38:21 40:19 57:25 159:3 existence(1) 259:11
                                         89:24 90:1 115:1 117:8 120:9 122:15       197:13 198:10 211:15 223:9 267:11        existing(4) 125:9 125:14 126:16 216:24
emails(2) 24:5 76:3                      139:4 212:22 213:2 213:6 215:18 216:12                                             exists(1) 130:23
embedded(8) 36:11 44:20 44:25 45:17      219:18 219:19 220:4 220:16 221:9 221:13 everyone(3) 13:2 178:9 265:8               exit(22) 60:16 91:20 92:4 92:15 92:21
48:16 56:15 95:10 95:15                  221:17 221:19 223:3 223:5 227:22 227:25 everything(3) 41:4 123:10 131:4            162:22 166:12 166:22 167:23 168:3 168:9
                                         228:7 228:10 233:16 234:7 234:9 245:13 evidence(26) 23:19 24:6 24:7 25:13 25:25 179:6 179:23 179:24 182:23 185:17 185:18
embedding(1) 92:15                       245:16 245:17 245:18 245:24 245:25        26:10 26:15 32:17 32:20 32:20 32:22       191:3 252:5 252:20 254:12 267:15
emm(2) 167:22 168:2                      252:25 253:7 253:9 253:19 253:21          41:24 71:25 72:12 98:1 104:5 104:21
empirical(4) 99:24 169:2 175:2 175:5                                               107:6 169:2 199:17 247:14 255:14 263:3 expect(2) 35:24 107:25
employ(1) 232:14                         esops(3) 52:17 215:21 219:17              263:3 265:12 266:4                       expectation(2) 35:10 258:5
employed(2) 14:21 15:19                  especially(2) 73:23 116:10                                                         expected(5) 35:12 207:14 208:17 218:17
employee(3) 216:10 216:25 218:18         esq(133) 1:24 1:25 1:26 1:27 1:34 2:5 2:6 evidenced(2) 86:5 111:13                 265:16
                                          2:7 2:8 2:9 2:10 2:11 2:17 2:24 2:32     evident(2) 126:11 247:13
employees(12) 90:5 213:18 214:13 215:2
                                         2:33 2:39 2:40 2:41 2:42 2:48 3:5 3:12 evidentiary(4) 257:5 258:19 260:17 264:19 expects(1) 31:16
215:8 216:5 216:14 219:9 219:10 220:1
                                         3:19 3:20 3:26 3:27 3:28 3:29 3:30 3:31 evolved(1) 235:21                          expenditure(1) 95:14
220:16 223:12
                                         3:32 3:38 3:39 3:40 4:5 4:13 4:14 4:20 exact(2) 118:23 203:9                       expenditures(15) 70:24 78:14 80:1 80:2
                                         4:21 4:27 4:34 4:40 4:46 4:47 5:7 5:17 exactly(4) 120:12 170:2 200:4 205:2         95:13 96:12 96:14 96:16 97:11 210:6
empty(1) 128:1
                                         5:22 5:24 5:26 5:30 5:31 5:35 5:41 5:45 examination(7) 14:18 127:15 128:15         210:8 210:11 210:21 210:24 211:4
encouragement(1) 268:18                  5:49 6:5 6:7 6:11 6:15 6:17 6:21 6:23
end(20) 41:8 43:15 46:13 46:17 65:8                                                150:25 245:7 245:9 256:2
                                         6:25 6:27 6:31 6:33 6:35 6:37 6:41 6:43                                            expense(18) 70:9 70:11 84:15 84:20
91:20 92:5 95:17 101:16 128:9 134:25     6:45 6:47 7:5 7:10 7:12 7:14 7:16 7:18 examiner(71) 19:6 42:14 48:25 50:12 54:7 217:12 221:15 222:9 222:12 222:19 222:22
135:4 162:9 178:3 194:1 260:17 265:4     7:22 7:24 7:31 7:35 7:39 7:43 7:45 7:50 56:2 56:19 59:18 59:20 62:22 64:2 65:23 222:25 223:2 223:7 223:9 225:5 225:5
267:14 267:19 268:4                      8:5 8:7 8:9 8:13 8:20 8:24 8:28 8:32 8:3667:9 67:10 75:22 79:4 79:13 83:19 84:7 225:11 225:16
                                          8:44 9:5 9:9 9:15 9:19 9:21 9:25 9:35 84:10 84:13 85:2 85:2 85:8 85:14 85:19
ended(4) 61:12 210:6 228:1 245:11        9:41 9:45 9:47 9:49 10:5 10:6 10:11
ends(2) 267:20 267:21                                                              86:3 86:11 91:12 113:22 115:11 120:11 expensed(1) 37:5
                                         10:16 10:21 10:23 10:27 10:35 10:38       121:4 123:2 123:5 123:6 123:7 123:10
enforcing(1) 106:5                                                                                                          experience(22) 16:14 16:19 17:3 17:6
                                         10:43 10:47 11:5 11:9 11:14 11:16 11:20 139:1 139:18 139:22 139:22 150:10 150:16
engaged(3) 150:15 151:7 151:15                                                                                              17:24 19:6 19:22 57:14 59:6 59:9 88:18
                                         11:25 11:29 11:33 11:38 11:42 11:46 12:5 150:24 151:6 151:16 151:22 152:5 152:8
engagement(2) 18:23 18:25                                                                                                   111:14 112:20 112:25 157:8 157:9 158:6
                                         12:9 12:13                                152:24 153:5 153:15 159:4 169:6 187:2 189:20 200:22 211:8 261:12 267:16
english(1) 4:19
                                                                                   187:21 187:23 188:3 188:7 189:2 189:11
enlarged(4) 34:19 104:16 106:19 254:5    essence(2) 53:14 238:11                   190:11 190:15 193:13 201:3 201:12 201:13experiencing(1) 33:22
enormous(1) 69:22                        essential(1) 17:21                         207:3 207:9 219:7                       expert(23) 9:8 18:3 18:6 18:10 18:14
enough(1) 31:12                          essentially(17) 29:25 32:16 44:19 54:12                                            19:21 22:5 23:14 23:25 24:10 24:15 24:22
ensure(6) 206:23 247:15 247:18 250:3     55:5 61:7 64:2 77:17 84:11 92:1 99:6      examiner's(21) 42:11 82:22 83:13 83:17 25:2 26:5 112:15 170:6 199:16 199:20
250:13 250:21                            99:12 185:24 197:16 222:16 223:6 249:8 84:12 84:24 85:11 113:17 114:11 118:4 229:3 229:8 236:6 262:17 270:17
                                                                                   138:24 139:15 150:23 151:24 152:12
ensuring(1) 252:23                       establish(7) 109:15 126:14 164:9 165:17 152:17 185:6 187:9 188:10 247:2 267:24 expertise(6) 17:12 89:8 89:10 96:20 97:15
entail(1) 120:7                          187:4 201:17 232:7                                                                 210:14
entered(1) 117:19                                                                  examiner’s(4) 201:14 207:13 207:21 208:1
enterprise(3) 108:16 178:16 218:20       established(7) 124:6 125:12 128:19 155:6 example(35) 17:9 39:3 41:12 44:7 50:21 experts(3) 51:23 52:1 265:3
enters(1) 251:15                         156:7 156:8 219:16                        59:7 75:5 75:25 78:13 79:25 82:10 95:11 explain(27) 26:21 27:12 31:1 33:8 36:18
entire(4) 48:20 136:9 232:1 242:1                                                  96:4 97:5 100:11 108:20 133:2 144:1      45:9 49:6 51:4 54:23 55:22 58:10 62:10
entirety(8) 56:3 78:15 80:6 85:16 91:13 estate(4) 103:6 238:4 243:1 267:8          147:24 168:1 180:14 188:5 188:8 196:16 70:6 71:8 74:9 80:15 84:9 98:5 99:4
95:15 193:14 210:7                       esther(1) 6:11                            200:8 200:12 210:4 210:23 218:15 243:9 108:13 165:7 165:12 201:13 236:18 245:15
                                         estimate(7) 57:1 57:3 62:2 127:16 148:7 245:24 250:6 250:7 250:12 262:14            248:25 250:1
entities(2) 118:9 232:7                  153:12 200:16
entitled(1) 211:3                                                                  exceed(7) 35:12 36:11 37:12 38:1 38:4    explained(2) 210:4 252:10
entity(3) 66:24 192:11 192:25            estimated(1) 29:19                        41:19 41:20                              explaining(1) 233:10
enumerated(1) 114:1                      estimates(7) 64:15 72:6 154:13 161:18                                              explanation(4) 23:16 28:22 34:3 59:21
enumerates(1) 171:3                      161:19  218:19   243:18                   exceeded(2) 23:3 54:17                   exposure(9) 104:11 105:7 105:12 105:14
environment(2) 31:17 32:1                                                          exceeds(1) 56:13                         105:17 105:18 106:24 125:23 241:23
eos(2) 9:4 9:4                           estimating(1) 212:7                       except(3) 25:3 173:16 223:16
ephraim(1) 11:29                         estimation(1)  34:11                      excerpt(5) 32:9 46:18 114:11 224:22      exposures(1) 170:15
equal(12) 51:1 57:17 75:16 159:16 178:3 evaluate(6) 21:5 42:23 95:9 142:4 142:9 excess(2) 96:7 196:7                        express(5) 25:4 56:23 56:25 57:1 57:3
178:13 220:11 220:12 241:15 242:18 243:8237:1                                      exchange(3) 54:1 214:25 261:18           expressed(2) 98:14 114:6
 243:13                                                                            exchangeable(1) 194:15                   expressing(2) 73:7 76:3
                                         evaluated(2) 21:24 159:20                 exchanging(1) 259:22                     expressly(1) 25:4
equate(2) 230:8 230:12                   evaluates(1) 35:1                         excitement(1) 127:23                     extensive(7) 16:14 19:22 19:25 20:3 56:19
equilibrium(2) 231:22 231:25             evaluating(7) 17:13 17:15 27:3 27:15      exclude(1) 231:21                        86:1 111:14
                                         35:18 38:4 159:22                         excluded(2) 217:12 218:25
                                                                                   exclusively(1) 193:20                    extensively(1) 189:11
                                                                                   exculpations(1) 265:18
Page : 10                                                                                                                                            04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                     Page 281 of 306
Word                         Page:Line    Word                         Page:Line   Word                            Page:Line     Word                         Page:Line
extent(18) 27:24 55:12 55:14 56:12 60:18 feel(3) 56:17 157:12 161:3                fischel's(40) 32:9 32:12 32:15 45:22 49:18 for(301) 1:2 1:23 2:4 2:23 2:38 3:4 3:10
76:19 78:12 110:4 123:3 208:24 210:15 feld(4) 2:38 7:42 13:5 256:25                53:10 58:18 86:20 88:20 89:16 91:6 91:253:17 4:4 4:19 4:26 4:39 4:45 5:4 5:15
214:2 225:7 258:4 262:7 262:19 263:7      fell(1) 38:13                            93:25 94:13 94:21 95:1 96:25 102:24           5:20 5:38 6:4 6:14 6:20 7:4 7:9 7:21 7:27
266:14                                    felt(8) 34:13 57:2 63:3 113:23 160:7     103:15 104:4 104:20 107:5 108:12 108:16 7:37 8:4 8:11 8:16 8:19 8:31 8:34 8:38
extra(2) 168:25 169:1                     160:10 179:20 211:4                      108:19 128:24 161:19 161:21 163:7 163:108:43 9:4 9:8 9:13 9:18 9:24 9:28 9:38
extraordinarily(5) 35:14 45:6 92:22                                                 163:13 164:19 165:19 168:14 175:9            10:4 10:9 10:15 10:19 10:26 10:30 10:34
145:19 208:20                             few(1) 89:2                              175:13 176:5 190:23 224:23 252:12             10:37 10:41 10:46 11:4 11:8 11:13 11:19
                                          fewer(1) 266:18                                                                        11:23 11:28 11:32 11:36 11:41 11:45 12:4
extreme(9) 135:12 135:21 136:1 136:7      field(2) 199:20 265:2                    fischel’s(2) 209:23 218:1                     12:8 12:12 13:4 13:20 14:10 14:13 15:9
136:21 136:23 137:4 138:7 138:20          fifteen(4) 39:6 81:11 154:21 154:22      fit(1) 266:12                                 15:18 15:21 17:4 17:14 19:16 19:24 21:24
                                          fifth(2) 94:3 172:3                      fitch(2) 31:14 31:16                          22:4 22:25 23:16 23:23 24:9 24:11 24:15
exwald(1) 232:19                          fifty(2) 67:14 102:13                    five(18)  41:22  63:17  73:6  92:2 92:3 92:20 24:18 25:5 26:4 27:3 28:22 29:7 29:14
face(14) 57:13 57:14 58:1 58:14 59:8      fifty-seven(1) 40:19                     94:1 94:2 106:15 155:10 155:10 155:21 31:9 31:17 31:20 32:8 33:11 33:14 33:15
59:12 59:16 194:25 197:12 197:19 197:24 fifty-three(1) 38:14                       172:24 174:2 185:18 199:2 209:10 216:20 33:19 34:25 35:3 35:8 35:10 35:11 36:20
198:7 200:22 202:1                                                                                                               37:13 37:25 38:2 38:4 38:14 38:17 38:20
                                          fifty-two(2) 38:14 108:23
                                                                                   five-billion-dollar(1) 95:18                  38:21 39:6 40:10 40:14 40:16 40:17 40:19
                                          fight(1) 265:9
faced(1) 32:1                                                                      five-month(1) 85:16                           41:2 41:19 41:19 41:21 41:22 42:2 42:4
                                          figure(3) 43:13 43:19 127:25                                                           42:6 42:7 42:8 42:8 42:8 42:9 44:21 45:5
facility(2) 89:19 105:6                   filed(3) 132:4 135:23 214:25             five-year(4)  74:6  77:15  91:15  250:5
facing(1) 31:16                                                                    flash(1)  34:9                                45:7 45:15 46:11 47:3 47:24 48:22 49:11
                                          filing(7) 98:10 130:17 130:22 132:2                                                    49:16 49:22 50:4 50:22 50:22 52:2 52:3
fact(65) 27:20 31:25 36:4 37:4 37:7 39:4 132:17 132:18 136:1                       flexibility(1) 96:11
46:25 56:3 59:8 60:17 61:10 63:15 69:13                                            flips(1) 84:24                                52:13 54:9 55:15 56:1 56:8 56:12 57:1
74:17 75:24 76:2 77:22 77:24 79:21 79:22filings(4) 21:18 117:17 117:23 130:13                                                    57:2 57:20 57:23 58:17 60:21 61:18 63:8
                                                                                   flom(1) 7:30
81:13 82:20 83:22 85:14 90:12 96:16 99:7final(3) 46:19 106:8 257:4                                                               64:14 65:24 66:19 66:21 67:15 67:23
                                                                                   floor(3) 4:8 5:9 43:18
99:14 100:18 112:23 115:16 118:12 118:14finally(1) 46:7                                                                          68:11 69:17 71:14 71:20 72:18 72:25
                                                                                   florida(3) 28:11 40:22 42:9
 118:24 119:6 119:19 121:14 121:15 122:7                                                                                         73:19 75:12 76:22 77:19 77:22 79:12 80:3
                                          finance(6) 15:15 16:1 19:21 146:14 190:1 flow(19)   27:18  44:16  60:7  60:22 74:6 76:681:5 81:6 82:23 84:13 84:23 85:16 85:18
129:16 136:21 139:25 140:7 141:8 141:9 255:20                                       76:10 77:7 77:10 77:16 78:2 80:12 91:2 87:2 87:13 88:7 88:23 90:7 90:13 90:23
141:13 141:17 147:22 149:17 155:6 160:13                                           93:11 95:8 164:13 175:3 189:18 213:4
 167:9 187:1 197:23 208:11 210:22 219:8                                                                                          91:3 91:13 91:17 92:19 92:23 93:6 94:8
                                          financed(1) 190:2                                                                      95:8 96:15 97:6 99:2 99:10 100:3 100:15
219:10 219:12 239:1 241:22 249:2 249:5                                             flows(18)   53:23  74:12  74:13  74:16 74:22
                                          financial(64) 13:15 14:22 15:2 15:3 15:3                                               101:5 101:13 101:21 102:25 103:5 104:10
249:6 262:19
                                          16:2 16:12 16:15 17:13 17:16 17:18 17:2075:2 77:13 80:18 80:19 81:14 84:23 91:18106:12 109:7 112:9 112:12 112:20 115:17
                                          18:10 18:15 19:5 21:3 21:20 21:21 26:20 92:3 222:12 222:21 222:25 223:3 249:9 116:2 117:8 118:9 119:22 120:6 121:18
factor(4) 28:2 38:13 58:22 144:7
                                          26:24 27:2 27:6 27:15 29:6 29:12 34:15                                                 122:17 122:18 122:20 122:24 122:25
factors(9) 65:19 68:24 121:21 121:23      35:15 36:11 42:19 43:23 44:6 44:13 48:2 fluctuate(1) 59:5
159:21 164:10 169:16 170:14 171:3                                                                                                123:16 126:15 126:15 128:14 128:20
                                          58:7 83:21 84:11 89:8 89:10 89:11 96:20 fluctuation(1) 59:2                            128:25 129:10 132:9 133:2 135:23 136:8
                                          114:3 130:5 132:24 133:5 136:11 140:11 focus(15) 33:19 34:3 34:17 38:16 40:9           140:16 143:12 148:8 151:2 151:5 151:10
facts(10) 21:14 87:23 169:12 228:20       145:23 147:21 151:24 152:17 152:18       57:10 61:18 63:9 82:4 83:16 95:4 105:14 153:16 153:16 153:22 154:1 154:10 154:12
228:23 229:2 238:13 242:4 242:5 251:4 159:22 159:24 207:14 207:16 208:1 209:11111:18 254:8 254:16
                                                                                                                                  154:17 155:19 155:21 155:22 155:25
                                           210:14 223:5 227:7 235:15 237:10 237:14                                               156:2 157:17 160:10 161:1 163:7 163:10
failed(3) 23:5 40:3 46:9                  250:23                                   focused(2) 34:1 41:11                         163:13 163:25 164:13 165:19 165:24
fails(1) 65:10                                                                     focusing(3) 77:9 122:20 123:18                167:20 168:1 168:11 168:13 168:15 169:1
failure(2) 116:25 146:11                  financing(8) 116:24 116:25 139:4 144:13 folks(1) 128:7                                 169:19 169:21 170:20 173:16 174:2 174:9
fair(70) 23:3 23:4 50:5 50:19 50:20 50:25 144:20 151:3 190:2 244:11                follow(1) 152:13                              174:16 175:3 175:3 175:4 175:17 176:23
50:25 50:25 51:1 51:3 51:10 51:12 51:21                                            followed(2) 152:15 209:13                     177:10 177:10 177:25 178:8 181:9 181:14
51:25 52:20 52:23 53:2 53:21 54:1 54:3 find(10) 87:12 97:8 107:8 165:24 173:20 following(4) 119:20 153:24 195:8 216:2 182:23 183:7 183:17 184:21 184:25 185:16
54:18 56:22 61:23 62:6 66:22 87:4 87:21 202:18 259:19 267:19 268:4 268:6           follows(2) 45:19 52:25                         187:13 187:19
87:21 88:13 89:23 90:3 90:14 148:20                                                footnote(6) 27:20 56:19 64:3 187:14 189:8
162:15 162:17 200:8 200:18 200:19 223:10finding(4) 49:1 215:5 253:12 266:12         190:14
 225:6 225:12 225:16 226:1 226:7 226:8 findings(3) 151:16 151:17 260:12                                                          for(99) 188:9 188:23 189:12 189:19 190:4
228:22 228:25 233:9 233:19 233:22 234:12                                                                                         190:12 191:9 191:18 191:18 192:2 192:6
                                          finds(2) 152:8 219:12                    footnoted(1) 237:20
 234:13 234:15 234:25 235:3 235:6 237:24                                                                                         193:20 193:22 193:22 197:10 197:21 198:5
                                          fine(2) 128:11 165:12
239:12 239:16 241:8 241:14 242:18 243:17                                                                                          200:8 200:16 200:18 201:24 202:21
                                          finer(1) 57:4
 244:5 244:24 245:12 245:19 246:1 246:2                                                                                          203:10 205:4 205:19 206:11 208:3 208:11
266:1                                     finger(2) 2:16 8:27
                                          finish(1) 242:13                                                                       211:2 211:25 216:5 216:24 217:12 218:14
                                          firm(10)  15:4  15:22 75:8 150:14 151:5                                                221:18 221:24 222:17 222:17 223:16
fair-market-value(1) 219:6                                                                                                       224:17 226:18 227:9 227:12 227:14 230:7
                                          151:11 254:10 254:11 254:21 255:2
fairly(2) 237:10 237:15                                                                                                          231:9 232:4 232:5 232:7 235:11 235:14
faith(2) 265:22 267:2                                                                                                            235:16 236:18 237:23 238:3 238:4 238:20
                                          first(70) 15:13 16:22 20:6 20:8 20:13
fall(5) 33:13 68:15 156:22 172:9 173:6                                                                                           239:4 240:22 240:24 241:16 241:17 241:20
                                          22:17 24:23 26:21 27:14 27:14 30:7 35:9
fallen(1) 41:22                                                                                                                   243:15 243:22 246:9 246:21 247:7 250:4
                                          41:22 47:3 51:4 56:22 61:1 63:11 63:22
fallon(1) 7:24                            69:1 72:2 73:1 73:1 73:6 73:14 75:17                                                   250:8 250:20 252:7 252:24 253:6 255:18
falls(1) 45:24                            77:9 77:9 79:2 80:19 85:11 95:4 97:12                                                  256:25 257:3 257:16 258:6 258:11 258:15
familiar(4) 153:13 154:4 233:3 268:13     99:4 104:6 109:15 111:3 111:18 111:21                                                  258:23 260:19 260:22 261:3 261:6 262:14
far(23) 13:13 13:17 29:21 29:24 44:18     112:25 114:14 114:18 116:23 118:5 118:6                                                263:3 263:3 263:6 263:25 264:21 265:13
48:13 71:12 85:1 93:24 94:17 100:9 103:7119:10 120:19 133:17 139:1 144:8 147:11                                                  265:18 266:12 266:21 267:21 267:25 268:7
117:22 145:13 145:15 151:18 155:13        148:5 159:2 165:17 171:16 176:4 176:4
182:13 203:17 203:20 227:25 228:2 266:5 186:10 208:7 216:6 223:1 223:7 224:14
                                          231:15 238:10 240:18 243:17 247:8 249:1                                                forced(1) 241:24
far-left(1) 205:25                        266:10                                                                                 forecast(2) 47:9 47:16
farewell(1) 268:24                        first.”(1) 215:15                                                                      foregoing(1) 269:5
fargo(1) 10:15                            fiscal(1) 154:17                                                                       forensic(2) 15:4 16:15
fcc(5) 116:2 144:12 262:14 262:17 266:7 fischel(36) 26:5 32:16 33:1 58:3 61:11                                                   forensics(5) 16:2 16:12 16:15 18:10 18:15
february(35) 31:8 33:7 33:16 36:1 36:3 63:13 87:12 87:14 87:25 89:7 90:20 93:6                                                   foreseeable(11) 55:12 55:15 68:13 71:3
36:24 39:10 44:20 45:13 48:15 48:16       93:13 94:6 95:6 97:19 97:25 98:19 100:20                                               95:21 110:5 110:7 110:14 123:4 204:16
48:19 49:12 50:10 71:13 73:11 85:12       103:3 103:9 103:20 104:1 108:21 161:10                                                 249:8
98:21 102:1 137:15 140:9 140:14 150:11 162:3 165:1 168:16 176:8 187:24 190:18                                                    forever(1) 32:2
151:3 152:10 156:25 158:14 161:20 176:15191:2 211:12 218:21 227:3 227:10                                                         form(16) 27:1 39:22 100:14 111:12 118:11
 203:19 204:8 223:6 246:18 248:11 253:14                                                                                          119:21 119:24 120:8 120:25 150:18
                                                                                                                                 195:16 200:13 202:2 203:9 259:3 261:25
federal(3) 212:25 213:3 227:10
feeder(1) 267:6                                                                                                                  formal(1) 15:24
Page : 11                                                                                                                                                04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                     Page 282 of 306
Word                       Page:Line     Word                        Page:Line    Word                           Page:Line    Word                        Page:Line
forman(1) 1:32                           full(16) 14:10 19:10 94:23 97:9 97:10    glazer(1) 2:9                               growth(114) 33:23 44:24 45:17 45:19
format(1) 31:21                          102:17 114:14 114:18 118:5 120:17 129:20goal(1) 257:19                               48:16 48:21 48:23 49:11 49:13 49:13
formed(2) 112:20 139:17                   139:1 148:4 150:24 231:15 249:13        goes(13) 62:19 96:25 103:7 135:13 135:21 60:15 60:19 60:20 62:9 62:10 62:14 62:15
former(3) 7:27 19:24 229:5                                                        136:1 138:12 164:25 178:1 225:17 243:14 62:16 62:23 63:1 65:13 65:14 65:21 65:22
formula(6) 61:4 163:25 164:2 164:10      function(6) 92:17 175:4 227:9 236:14     249:25 250:15                               66:1 74:24 79:16 91:16 92:12 92:13 92:14
164:16 164:25                            236:14 237:6                                                                         92:15 92:20 157:20 157:23 158:9 158:17
                                                                                  going(49) 22:13 31:8 31:19 32:8 50:6        158:19 158:20 158:23 159:3 159:9 159:16
formulas(2) 167:9 167:13                 functions(1) 236:16                      51:17 51:24 52:2 52:5 52:6 56:14 59:3 160:7 160:18 163:3 163:10 164:1 164:15
forth(24) 16:10 19:6 22:12 30:25 40:5    fund(10) 8:31 12:12 104:5 104:21 104:22 65:14 87:22 91:17 92:16 94:23 97:9           165:18 165:24 166:8 166:13 166:19 166:24
42:10 57:7 60:24 62:8 67:22 68:17 73:10 104:23 107:6 216:6 217:8 247:15           100:21 101:15 101:24 103:4 103:6 126:19 167:4 167:18 168:1 168:11 168:15 175:20
77:7 78:3 78:21 98:3 98:22 102:23 105:2                                           138:8 162:5 180:11 185:21 193:25 195:13 176:2 176:9 179:10 179:18 179:19 179:21
126:9 217:23 221:4 235:24 237:12         fundamental(3) 10:41 10:42 147:9         196:4 196:9 196:12 196:12 200:8 200:11 182:25 183:5 183:5 184:22 185:12 185:20
                                         fundamentals(2) 148:13 239:2             201:1 202:19 211:24 218:4 230:19 238:25 185:21 185:23 185:24 186:2 186:6 186:7
forty-four-and-a-half(1) 38:23           funding(5) 104:25 105:1 144:25 146:13    245:21 261:3 263:19 263:22 264:3 267:6 186:9 186:12 186:16 186:19 186:19 186:20
forty-seven(1) 108:22                    219:3                                    267:9                                        186:20 186:23 186:23 187:1 187:1 187:9
forward(7) 42:21 44:24 68:22 89:6 156:14                                          going-concern(4)   195:6  195:9 196:19 197:9187:13   187:17 187:20 188:4 188:6 188:8
 160:18 253:18                           fungible(1) 227:19                       golden(1) 2:40                              188:9 188:23 189:4 189:7 189:13 189:14
                                         further(9) 102:19 109:4 154:1 155:4      goldfarb(1) 3:39                            189:23 190:1 190:2 190:4 190:10 190:12
found(5) 158:14 158:15 185:1 204:19      189:25 206:16 255:24 257:17 261:4        goldman(3) 5:41 7:21 7:21                   191:5 251:22 252:7 252:12 252:20
foundation(2) 10:20 11:24                                                         gone(3)  96:8  105:10  205:5
four(12) 15:21 47:20 70:19 72:22 80:10 future(9) 155:3 156:6 160:22 218:15        good(20) 13:2 13:3 13:4 14:20 23:22         gruszka(1) 10:43
92:3 94:1 94:2 94:3 155:10 155:10 157:24226:24 238:12 238:19 243:18 243:22        109:6 109:13 127:14 128:13 128:17 128:18guarantor(1) 192:12
                                                                                   211:25 256:24 261:6 265:22 266:16          guess(19) 131:23 134:5 146:17 152:5
fourteen(1) 93:17                        gandhi(1) 8:5                            266:17 266:24 267:2 268:25                  156:16 162:8 176:4 178:8 188:11 203:14
                                         gangat(1) 11:38                                                                      206:14 207:2 207:25 208:3 218:4 231:16
fourth(6) 16:11 82:4 102:11 105:15
137:23 250:25                            gannett(1) 174:5                         gordon(9) 4:45 5:44 7:12 60:15 60:19        259:4 263:5 267:3
                                         gap(5) 235:7 235:10 235:11 237:11 237:15 62:14  91:16   182:25  267:5
frame(5) 13:17 16:24 20:9 34:2 98:15     garvan(1) 2:24                                                                       guidance(4) 156:13 156:14 238:4 260:14
framework(5) 68:3 204:11 209:9 209:13 gary(1) 6:41                                got(13) 33:6 40:5 45:8 51:2 115:22 126:23guided(1) 260:1
209:14                                   gather(5) 42:11 58:8 59:24 234:2 252:25 127:16 138:17 175:19 229:25 237:21           guideline(5) 55:19 63:6 64:19 191:22 192:7
                                         gathering(1) 156:18                      261:24 262:16                               gump(4) 2:38 7:42 13:5 256:25
frank(3) 5:26 11:8 11:9                  gave(11) 76:17 76:22 96:15 97:6 112:8                                                guy(1) 131:3
frankel(1) 9:34                          158:21 160:16 160:17 166:14 219:2 222:14 gotshal(1) 8:4                              guys(1) 43:13
frankly(2) 24:6 267:4                                                             gotten(1) 152:14                            had(135) 13:13 18:22 18:24 21:7 21:16
fraud(3) 19:6 49:2 49:2                  gavin(1) 5:45                            govern(1) 235:7                             21:18 24:12 34:7 34:9 35:18 37:1 38:14
                                         gear(1) 128:1                            governed(1)   91:24                         39:25 40:18 41:20 42:6 42:7 44:22 44:23
fraudulent(17) 16:22 16:22 16:25 17:1
17:3 27:4 50:14 50:18 50:22 57:25 59:14 geddes(1) 2:47                            governing(1) 236:4                          46:12 46:15 47:21 48:25 58:25 58:25
                                                                                                                              63:20 64:1 64:2 64:14 70:17 75:10 76:7
87:3 87:20 88:12 88:17 110:20 196:21     general(17) 19:24 21:11 43:23 61:1 121:14grabowski(4) 229:3 229:5 229:9 229:17
                                                                                                                              76:21 77:1 77:3 79:4 85:2 85:19 86:22
                                          130:9 144:22 206:20 208:5 208:9 229:8 gradual(2) 30:15 35:9
                                                                                  graem(2)  3:38   5:30                       96:5 96:6 96:8 96:8 96:11 100:5 102:16
free(5) 61:9 203:24 238:17 267:8 267:10 235:20 237:2 240:5 240:6 253:22 259:5
                                                                                  grand(1) 4:48                               102:16 103:22 103:24 105:6 105:9 105:10
freeze(1) 221:3
                                                                                                                              107:24 110:2 112:24 112:25 113:14 118:12
freezing(1) 217:22                       generalization(1) 238:16                 grandfather(2) 237:23 238:1
                                                                                                                               118:15 121:12 125:12 127:19 128:19
friday(1) 13:1                           generally(13) 34:15 51:1 68:5 74:11 88:7 graph(2)  149:5   149:6
                                                                                                                              129:13 134:16 134:24 139:17 141:23 142:1
friedman(2) 2:31 7:48                    186:4 186:8 208:16 224:17 228:23 230:6 graphs(1) 168:5                                144:25 148:22 150:10 151:16 151:18
from(169) 13:16 15:15 22:15 24:4 30:9 239:22 249:5                                grateful(1) 261:6                           151:20 151:25 152:14 153:8 155:2 156:5
30:10 31:24 32:8 32:9 34:9 34:10 34:23                                            great(7) 4:39   27:24 34:8  34:11 208:24    157:24 157:25 159:15 159:17 160:14
36:9 37:23 37:24 43:7 44:7 45:12 46:19 generate(1) 53:14                          230:2 261:12                                161:10 162:3 164:14 165:1 174:25 180:22
46:22 51:18 52:15 58:6 68:4 68:5 71:23 generated(1) 74:13                                                                     190:10 190:10 192:18 194:10 194:17
72:24 73:1 73:2 73:13 74:13 75:2 75:16 gentilotti(1) 2:23                         greater(10) 73:23 134:12 174:25 182:21 196:23 197:25 198:3 202:9 202:23 203:3
76:18 76:18 76:25 77:10 77:20 78:7 78:16george(2) 7:4 7:5                         186:4 186:16 205:18 206:10 232:8 242:18 207:20 208:14 214:2 214:10 216:17 223:18
80:6 81:16 81:17 81:22 81:23 81:23 82:19georgia(1) 19:10                                                                       225:19 227:2 228:9 228:12 234:24 234:25
88:17 89:8 89:15 93:16 95:14 95:19       get(52) 14:25 24:19 34:2 34:19 36:16     green(10) 33:17 33:19 45:11 45:12 48:14 236:3 246:25 247:1 247:5 247:6 247:10
101:12 102:24 105:15 105:16 106:19       40:21 41:9 43:3 43:13 43:19 43:19 44:16  49:15  71:9  72:17  94:1  94:2              247:16 247:20 248:1 248:13 251:21 252:4
106:21 107:16 108:12 109:7 114:11 115:1055:6 67:23 76:24 80:6 82:8 82:9 96:23                                                 252:10 257:10 258:18 259:16 259:21
 116:10 117:1 117:11 118:4 118:10 118:1197:19 104:6 104:16 105:22 107:9 115:17 greg(1) 6:21                                   260:10 260:23 262:10 262:21
119:5 120:22 121:10 121:24 122:7 125:1 116:8 119:23 120:20 121:19 122:2 122:12 greissman(1) 10:16
127:12 128:24 130:17 132:17 132:22 135:3126:23 131:21 137:17 138:12 139:21 140:4grippo(1) 7:4                                 hadn't(1) 222:1
 135:22 137:2 138:4 138:24 144:6 145:13 140:5 156:16 159:2 165:13 165:15 172:3 gross(4) 105:14 105:17 188:5 225:22            hale(1) 5:39
145:15 146:4 146:22 148:19 153:12 155:18177:10 193:4 199:14 249:13 251:14 251:19ground(2) 35:2 42:22
                                                                                                                              half(7) 35:11 37:11 37:12 41:20 119:7
 157:10 157:20 160:8 160:24 161:18        254:5 259:8 262:11                      grounded(2) 29:6 159:24                     119:19 147:10
161:22 162:4 162:7 165:2 166:24 168:2                                             grounds(1) 160:21
168:9 170:5 171:18 172:10 176:9 176:22 gets(3) 101:22 103:25 210:12               group(2) 43:8 247:17                        hand(17) 14:6 14:6 27:9 29:1 109:8 109:8
177:19 178:1 179:6 179:10 179:10 180:23 getting(3) 211:6 235:12 244:19            groves(1) 31:24                              114:19 114:23 114:24 120:19 120:19
183:5 185:19 189:14 190:14 191:7 191:13 giant(1) 247:11                           growing(3) 186:6 188:12 189:6               130:19 131:23 247:7 247:8 265:21 266:20
192:12 205:6 205:7 205:10 205:13 205:13 gift(1) 238:5
                                                                                  grows(3) 159:9 159:10 188:16
206:5 206:6 209:9 209:11 209:13 210:11 give(19) 61:1 77:21 78:7 101:5 126:4
                                                                                                                              handed(6) 114:11 131:11 131:12 131:15
210:20 211:11 213:17 217:11 218:1 218:5 157:22 161:7 164:11 173:20 190:17 200:15
                                                                                                                              133:17 246:11
219:3 221:20 223:1 224:10 224:22 227:22 214:6 216:14 219:5 230:1 231:10 236:5
227:24 236:10 241:18 241:19 243:1 243:16250:7 259:5
 246:14 247:6 247:8 247:13 249:25 250:22given(31) 35:24 38:25 38:25 40:2 40:2                                                 hanging(1) 251:7
251:25 252:6 252:17 254:2 254:9 255:7 41:4 41:18 41:21 63:19 83:20 100:21                                                     happen(2) 247:19 267:22
255:15 259:20 263:6 269:6                                                                                                     happened(3) 37:4 69:12 253:15
                                         102:15 106:10 109:16 110:19 137:3 140:10                                             happening(5) 96:17 103:17 145:13 148:9
                                          140:15 145:23 148:13 148:23 157:24                                                  251:15
                                         160:12 165:18 189:15 193:18 204:14
front(6) 15:8 25:17 110:23 129:6 130:17 204:15 204:17 265:4 266:21
133:19                                                                                                                        happy(1) 257:21
                                                                                                                              hard(4) 97:19 135:19 164:3 200:3
                                         gives(4) 53:7 53:7 57:4 90:12                                                        harrisburg(1) 1:43
                                         giving(6) 45:18 136:9 136:9 158:8 250:12                                             hartenstein(2) 46:20 47:15
                                         266:25
                                                                                                                              hartford(1) 4:29

Page : 12                                                                                                                                              04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                     Page 283 of 306
Word                        Page:Line    Word                            Page:Line      Word                         Page:Line    Word                         Page:Line
has(75) 13:17 19:6 19:11 19:11 19:22     haven’t(2) 207:19 214:13                       his(86) 19:20 20:3 23:25 24:3 24:10 24:14 i'll(14) 89:1 96:19 114:16 127:20 133:15
20:22 22:17 34:16 42:20 51:12 56:19 57:4having(8) 43:17 58:19 83:23 134:11 183:9 33:2 42:17 46:22 49:1 49:1 62:23 63:15 135:11 136:25 164:8 175:7 180:17 263:5
64:3 67:13 68:14 73:8 84:13 87:14 88:6 196:11 209:6 221:3                               74:1 75:23 84:10 84:12 84:16 84:19 84:25263:6 263:12 268:4
88:7 88:11 89:8 94:19 97:20 98:21 102:1                                                 86:6 86:15 86:21 88:24 89:7 90:15 90:16
105:2 120:1 126:12 129:20 133:10 134:2 hazeltine(1) 4:32                                91:2 92:1 92:9 92:9 92:15 92:20 92:25 i'm(70) 15:25 16:1 16:2 25:19 32:8 51:10
138:17 139:22 140:24 144:23 147:10       he's(10) 19:14 92:8 92:17 97:12 97:14          92:25 93:13 93:15 94:5 94:11 94:11 94:1259:22 59:22 86:8 102:7 103:3 111:22
170:10 171:9 176:8 176:11 176:12 178:24 121:1 153:11 244:10 244:19 244:20               94:17 95:5 95:16 96:24 97:5 97:16 103:4 114:2 114:15 120:11 126:19 126:19 127:25
186:8 189:6 189:20 195:23 197:17 198:3                                                  103:12 104:2 104:4 106:11 108:23 108:24 128:2 130:7 131:8 132:1 132:3 132:17
198:13 199:15 201:9 210:1 211:8 223:4 heading(3) 28:18 48:6 224:10                      109:2 120:13 121:3 146:11 150:25 152:2 142:18 145:17 147:16 153:23 153:24
226:13 227:14 234:16 235:21 237:24       hear(6) 26:13 157:10 200:11 257:14             153:6 161:25 162:22 162:22 162:23 163:14153:24 153:25 153:25 154:15 156:1 161:7
239:18 240:1 242:25 243:22 246:3 254:13 264:22 266:8                                     165:22 165:23 165:24 168:15 171:25       167:1 167:1 170:17 170:19 170:22 172:8
255:8 255:9 258:22 258:24 261:7 264:24                                                  175:13 175:14 176:12 176:21 176:22        174:11 177:5 177:6 180:4 180:10 180:21
266:14 267:15 268:7                      heard(7) 86:22 86:25 88:14 100:19 258:10 176:23 189:2 190:18 191:3 207:9 207:21 185:7 221:14 221:18 229:23 231:25 234:23
                                          266:6 266:9                                   210:5 211:17 242:17 262:10                 235:3 241:10 242:21 243:2 250:19 251:11
hasn't(1) 87:15                                                                                                                   258:11 259:24 260:17 263:17 264:16
hasn’t(1) 199:16                         hearing(6) 258:8 260:17 261:8 264:6            historic(3) 21:20 94:23 227:12            264:19 267:4 267:24 268:13 268:14 268:21
hauer(4) 2:38 7:42 13:5 256:25           268:10 269:2                                   historical(2) 171:10 237:12
have(301) 13:10 13:21 15:8 15:10 15:14                                                  historically(11) 21:22 70:2 75:17 75:20
15:17 15:23 16:5 16:24 17:1 17:6 17:8 hearsay(2) 24:19 24:25                            77:25 90:4 94:19 188:4 188:7 212:17       i've(36) 15:18 17:10 17:15 17:15 17:17
17:8 17:12 17:25 18:2 18:6 18:9 20:17 heated(4) 232:12 232:15 233:1 233:7               226:16                                    17:22 27:5 41:5 45:22 50:24 50:24 52:2
20:19 20:21 23:13 25:1 25:17 26:2 27:10 heightened(1) 31:17                             history(1) 226:5                          52:8 68:6 68:7 72:12 72:13 81:23 86:25
28:19 31:22 32:4 34:12 36:10 36:12 38:22heilbut(1) 8:13                                 hit(4) 42:6 73:2 73:8 141:17              86:25 87:19 88:14 89:5 89:9 100:19
39:3 39:13 39:21 39:24 40:18 41:5 41:20 held(2) 238:4 239:9                             hitting(2) 140:14 141:16                  120:23 123:11 124:2 126:22 127:20 142:18
42:6 42:7 42:21 43:17 43:21 44:5 44:21 hello(1) 109:14                                  holds(1) 238:20                            170:2 227:8 227:8 237:25 266:9
44:21 45:3 45:13 45:24 46:13 46:16 47:25help(6) 43:13 173:23 184:22 184:23 260:4 home(1) 268:25
47:25 49:9 50:15 51:11 51:14 51:15 51:20266:9                                           honor(72) 13:3 13:4 13:7 13:21 14:1 14:2 ibes(1) 153:12
51:22 51:23 52:1 52:9 53:23 56:7 56:7                                                   14:15 15:9 18:13 18:17 18:19 23:18 23:22ibs(1) 153:19
56:14 57:20 57:23 58:22 59:2 59:4 59:15                                                 23:24 24:17 25:7 25:12 25:23 26:9 26:16 icpa(1) 236:5
                                         helpful(7) 259:18 260:3 260:9 260:24
60:9 62:3 62:23 62:23 63:17 66:9 67:11 263:24 264:22 265:5                              43:4 83:8 104:10 106:4 106:9 106:16       idea(1) 259:5
67:12 67:15 67:17 68:3 68:13 68:16 69:16                                                109:6 127:1 127:10 128:13 129:3 131:1 identical(6) 49:20 169:22 181:1 181:8
71:18 71:25 72:4 72:11 73:20 75:7 75:18                                                 131:17 132:12 134:5 137:8 150:19 199:14 233:18 235:17
                                         henderson(1) 6:29
76:23 76:25 77:2 77:21 77:25 78:18 79:15                                                199:19 199:24 211:24 212:2 212:4 212:8
                                         hercules(1) 4:6
80:11 81:18 85:3 85:20 87:13 88:24 88:25                                                245:4 245:8 255:10 256:1 256:21 256:24 identification(1) 132:10
89:13 90:4 90:11 91:15 92:16 93:20 98:3  here(139)  16:1 19:1  26:18   28:5  28:8  29:3
                                         30:24  32:16  33:6  35:6  36:22  37:14   38:16 257:2 257:8 257:10 257:15 257:22 258:11 identified(11) 66:24 75:10 76:16 76:20
98:21 100:7 100:15 106:5 106:15 107:2                                                   258:21 259:9 259:15 260:3 260:10 260:21 77:4 158:25 173:17 211:11 222:8 229:11
108:1 108:2 109:8 109:16 109:18 109:20   39:4  40:5  41:10  41:16  44:15  45:10   54:16
                                         55:17  55:25  56:21  61:8  62:8  62:19   63:12 261:1 261:1 261:5 261:8 261:11 262:24 270:15
109:24 110:5 110:6 110:10 110:19 110:23                                                 263:14 263:17 264:14 269:1                identify(1) 211:19
111:8 114:10 114:11 116:3 117:3 118:1    64:21  66:17  67:4  67:15  69:8  72:15   72:23
                                         74:6  76:6  76:19  77:5  77:9  77:21  78:12                                              illinois(1) 3:14
118:16 120:14 120:15 123:9 126:7 126:8                                                  honorable(1) 1:18                         illiquid(2) 82:12 100:6
126:20 126:22 126:25 128:1 128:7 129:6   79:9  79:23  80:11  81:19  81:25   83:1  89:22
                                                                                        hope(1) 268:20                            illiquidity(2) 139:23 140:4
130:17 130:19 131:9 132:11 132:14 133:1990:14 91:11 92:1 95:17 97:21 97:22 98:3 hopeful(2) 257:3 268:21                           illustrated(3) 29:2 219:13 265:2
 134:21 137:2 138:12 138:13 138:14       99:1  100:17  102:24  103:2   103:8  103:24
                                         105:10  108:11  111:21   111:23   113:25       hopefully(1) 154:9
                                                                                    118:5                                         illustrates(1) 27:17
138:19 138:20 139:12 139:25 140:7 140:17
 140:18 140:19 140:20 141:16 141:23       118:8 121:22 122:14 123:7 128:7 132:3 hoping(1) 121:18                                  imagine(2) 73:22 92:2
                                                                                        horan(1) 4:40                             immediate(1) 225:5
141:25 142:1 144:19 146:3 147:1 148:1 133:14 135:22 136:15 136:21 137:2 139:15
                                          141:12  141:15  141:16   148:23   149:5       hours(7) 20:17 20:19 20:21 20:24 106:6 impact(2) 73:21 266:14
148:25 149:8 150:23 154:9 157:8 158:10
                                                                                        127:19 211:25
160:12 160:19 161:2 163:2 163:18 164:4 155:21 164:3 164:10 167:9 167:14 172:20                                                    impermissibly(1) 265:18
164:22 165:17 166:6 166:7 170:5 170:24 173:23 174:9 176:6 176:8 177:9 178:15                                                      implication(1) 198:8
                                                                                        housing(2) 103:5 103:16
173:1 173:24 174:1 179:12 180:4 181:17 180:1 181:3 181:21 188:3 188:11 189:5                                                      implicit(2) 158:19 166:3
183:21 184:8 186:5 186:11 186:12 186:16 199:22 200:4 200:7 200:24 204:21 207:9 how(99) 15:17 17:24 20:17 21:11 21:21 implied(33) 71:12 71:16 94:20 107:18
186:22 186:25 188:11 189:1 189:2 189:5 210:1 210:25 211:11 211:13 211:15 212:1522:12 22:23 24:21 35:17 35:18 35:19                107:22 108:4 108:13 108:18 163:3 163:10
189:7 193:19 193:22 194:9 194:22 195:1 212:22 218:5 219:13 220:12 230:18 233:842:23 44:10 50:1 50:4 51:8 51:15 54:7 164:1 164:15 164:15 164:21 165:18 165:24
196:8 198:14 198:21 199:11 200:23 201:18236:17 238:24 239:3 239:22 240:15 242:2 55:4 55:22 58:2 58:15 58:23 59:11 59:18 166:19 166:24 167:4 167:6 168:1 168:9
 201:20 202:11 203:23 206:5 206:7 206:24242:14 244:10 244:11 244:17 246:14 249:960:4 61:2 61:24 63:8 66:8 68:6 68:7 70:1 168:14 176:8 179:9 179:10 183:5 191:6
207:6 207:15 208:20 208:21 209:10 210:17250:25 251:20 261:13 263:25 264:24              79:18 79:20 82:16 85:17 86:4 88:9 88:11 194:2 200:25 251:22 252:5 252:19
 210:20 211:10 212:6 212:11 214:2 215:21265:1 267:22                                    92:19 94:19 95:5 96:19 99:4 100:21
216:10 217:17 217:18 218:18 219:11                                                      100:23 101:12 104:23 107:4 107:10 122:5 implies(3) 89:4 92:20 240:7
219:25 220:13 221:9 221:13 224:2 225:14  here’s(1) 216:6                                122:5 123:11 126:5 129:14 138:10 140:9 imply(5) 167:5 185:19 198:9 252:12
226:7 227:5 227:5 227:6 227:16 228:12 hey(1) 267:9                                      151:18 171:17 173:9 175:19 180:1 185:11 implying(5) 185:21 186:19 197:13 254:12
228:14 229:14 229:19 230:22 232:11       he’s(1) 199:19                                 186:18 187:21 187:23 188:4 188:6 189:2 254:13
232:12 232:15 232:17 233:3 233:3 233:6 high(11) 35:18 136:2 137:4 138:1 138:10 190:13 195:22 195:23 196:14 196:21 198:7
233:18 233:21 235:11 235:17 235:20       138:17 144:14 163:11 168:2 178:3 186:6 198:12 201:1 205:1 205:2 207:22 209:10 important(25) 22:9 27:25 28:2 28:8 34:14
235:25 237:11 237:16 238:23 240:7 240:12                                                212:5 214:5 216:6 223:12 226:23 230:18 34:23 35:5 35:14 45:6 62:13 69:20 74:10
 241:15 242:2 242:2 242:3 242:3 242:12 higher(13) 69:11 70:20 79:22 81:12               233:1 234:4 235:22 254:10 255:4 260:7 75:14 77:9 79:9 103:5 119:25 159:1 195:9
243:12 245:4 245:18 246:17 247:12 249:18148:22 159:15 174:18 178:9 179:9 180:7 262:21 262:22 264:23 265:9 268:3                   195:11 200:3 200:7 206:21 208:22 251:3
 251:4 252:1 253:16                      184:10 194:1 241:19
                                                                                        howard(2) 3:28 4:27                       importantly(12) 35:11 37:24 63:12 68:11
                                         highest(8) 173:3 173:7 173:8 230:8 230:11however(2) 41:18 128:8                          71:20 71:23 89:7 91:1 95:16 101:24
have(34) 253:25 255:10 255:14 255:24      230:13 230:19 241:17                          humor(1) 261:7                            226:14 249:6
256:8 256:10 256:16 257:10 257:21 258:12                                                hundred(3) 16:24 59:14 78:15
 259:10 259:16 259:19 260:5 260:18       highlight(2) 89:2 170:17                       hundreds(1) 17:18                         imposition(1) 70:9
260:22 261:4 262:5 262:8 262:12 262:13 highlighted(2) 154:17 229:25                     hybrid(1) 194:14                          impossibility(2) 41:6 140:12
262:23 263:6 264:13 264:25 265:2 265:4 highly(8) 69:9 69:22 75:1 82:13 98:12            hypothetical(4) 112:8 199:7 199:10 245:13 impossible(1) 141:17
265:14 267:11 267:13 267:18 268:9 268:16100:6 175:14 189:19                             hypothetically(1) 189:1                   improper(1) 92:19
 268:19                                                                                 i'd(25) 127:15 128:23 176:21 229:7 229:19improve(1) 147:23
                                         him(8) 121:8 142:14 151:22 170:6 200:25 232:1 235:4 242:1 242:5 244:9 246:10 improvement(2) 47:24 147:22
haven't(17) 13:16 42:17 67:16 90:4 118:22229:8 229:11 256:17                            247:7 247:21 248:17 249:16 249:22 251:10imputing(1) 168:14
 119:12 120:17 133:13 135:11 135:19                                                      251:11 251:22 254:8 254:16 254:16 255:2imrad(1) 10:35
136:25 147:25 164:16 164:17 177:9 225:13                                                257:14 261:5                              inability(1) 144:13
 226:23                                                                                                                           inadequate(1) 265:19
                                                                                                                                  inadequately(1) 209:17
Page : 13                                                                                                                                                04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 284 of 306
Word                        Page:Line    Word                           Page:Line   Word                        Page:Line     Word                         Page:Line
inappropriate(2) 93:6 152:9              information(70) 22:15 22:18 22:22 31:2 introduces(1) 91:22                           it's(172) 15:3 15:25 22:9 22:14 23:2 23:8
inc(4) 9:18 9:18 9:38 11:8               33:8 34:11 34:12 34:14 34:16 34:22 36:18introducing(1) 166:16                        25:3 26:13 26:25 29:1 36:4 36:6 43:4
incentive(5) 224:11 224:16 224:17 225:1  40:2 40:3 40:5 40:10 46:12 47:7 52:10 invades(1) 179:24                              43:4 43:9 45:4 49:16 49:20 51:8 51:14
225:15                                   64:14 64:17 72:25 74:9 80:15 82:7 98:4 invading(1) 91:6                              52:18 53:7 53:24 54:1 55:4 55:24 55:24
                                         98:5 101:22 101:24 102:3 102:17 103:25 invalid(1) 89:4                               58:12 58:14 58:16 58:24 61:22 62:20 64:3
inclined(1) 128:2                        104:19 107:1 108:14 113:11 113:12 113:15invested(2) 172:19 200:16                    64:12 65:9 66:6 66:6 68:5 68:6 68:10
include(11) 54:24 92:10 112:5 143:5       126:11 129:17 129:20 129:22 130:2         investigation(1) 21:14                    68:10 68:23 69:6 70:23 71:14 76:6 80:5
146:14 162:11 213:16 221:3 222:2 222:7 130:10 134:10 134:18 134:22 136:14 137:2investing(1) 238:19                            82:25 84:19 85:5 87:3 87:14 87:16 88:8
233:9                                     137:5 137:14 138:2 140:8 140:10 140:18 investment(25) 10:42 10:42 53:6 75:13        88:10 89:4 89:23 90:3 90:9 90:9 90:23
included(13) 67:10 112:1 130:5 140:9     140:25 141:3 141:21 141:23 142:1 142:9 75:14 80:22 87:6 89:20 91:21 210:18           90:25 91:20 91:21 91:21 93:5 94:22 95:8
162:3 162:7 168:22 169:12 213:24 218:21 152:2 152:24 153:7 156:18 157:18 161:11 242:14 242:15 242:17 242:21 243:4 243:7 96:21 96:21 97:18 98:18 98:20 100:9
220:9 228:22 228:25                      175:19 175:23 185:18 252:22                243:10 243:11 243:13 243:15 243:23 244:4101:9 103:5 104:11 104:12 105:4 105:25
                                                                                     244:10 244:12 245:22                     106:2 106:5 118:4 120:3 122:18 123:23
includes(4) 54:21 144:12 169:11 169:15                                                                                        124:11 127:18 131:13 135:15 135:19 136:5
including(12) 73:15 74:15 74:23 76:24    informative(1) 204:19                      investments(22) 56:7 56:8 56:10 56:11      140:24 141:2 141:6 141:8 144:10 146:3
80:21 82:19 91:13 94:21 96:13 110:16     informed(3) 238:18 239:19 240:1            56:12 56:15 64:1 64:6 64:13 64:15 75:18   150:19    154:2 154:9 159:1 159:16 164:3
201:22 227:15                            initially(2) 82:4 83:16                    75:19 77:20 78:16 81:17 193:21 193:22 164:6 164:6 164:7 166:8 167:16 169:2
income(33) 50:7 54:13 54:14 60:16 60:17 inputs(2) 164:11 164:14                     205:7 205:14 206:7 210:20 255:5           169:5 169:17 169:17 169:24 172:18 173:12
73:21 75:16 75:20 75:21 75:21 75:25 76:3insight(1) 22:18                                                                       173:14 175:4 177:2 177:2 181:8 181:10
76:21 76:25 77:23 78:15 84:14 84:21      insisted(1) 43:17                          investor(2) 243:22 243:24                 182:8    184:14 184:18 185:21 186:2 189:3
84:22 91:10 91:15 91:18 91:23 92:1       insolvency(28) 16:18 16:21 17:16 65:9                                                189:25 190:6 225:3 225:22 228:17 228:23
                                                                                    investors(2) 169:3 243:3
166:17 179:25 183:2 191:10 191:13 210:1066:9 67:3 67:5 77:2 86:14 121:18 124:5 involve(2) 17:4 266:23                         230:18 231:16 231:24 232:20 234:5 234:20
 210:20 217:11 244:2                     124:24 125:9 139:14 139:16 140:3 141:20 involved(11) 16:24 17:1 17:8 17:11 17:15 235:3 236:4 236:13 236:14 236:19 237:5
                                         157:6 161:22 181:6 184:17 213:13 221:22 17:17 17:17 50:16 59:15 123:12 231:20 237:6 237:20 237:25 239:16 239:17 239:25
incomplete(1) 138:2                      225:17 253:12 254:15 255:4 255:22                                                     244:12 244:19 245:16 247:12 248:10
inconsistency(2) 223:4 223:16                                                                                                 250:5 250:11 250:18 252:19 254:1 255:4
                                                                                    involvement(1)  20:17                     259:20 261:11 262:16 263:1 265:23 266:9
inconsistent(6) 58:14 139:16 219:6 226:5 insolvency-related(1) 194:21               involves(2) 16:7 16:8
226:15 227:11                            insolvent(12) 23:5 23:6 107:7 123:20                                                 266:17 266:20
                                                                                    iron(1) 144:23
                                         124:1 124:4 124:22 209:17 216:17 220:23 ironclad(1) 121:15
incorporated(1) 52:21                    221:8 221:12                                                                         item(8) 64:6 64:11 133:1 133:6 215:11
                                                                                    isn't(26) 87:19 115:23 125:4 125:9 125:14 216:2 216:23 224:25
incorporates(1) 226:21                   instances(2)  82:11 100:9                  138:11 138:18 140:21 141:22 142:8 142:12
incorporation(1) 110:16                  instead(3) 32:3 84:16 84:22                 158:18 159:11 159:17 166:11 167:7
                                         institutional(1) 153:12                                                              items(3) 37:5 220:18 244:2
incorrect(2) 176:22 176:25                                                          183:23 186:12 186:17 186:22 188:14
                                         instruction(2)  126:25  261:25                                                       its(93) 21:8 23:3 23:9 23:11 27:16 29:11
increase(14) 38:24 39:2 39:6 40:20 40:21                                            188:16 188:25 226:10 228:15 265:25        29:12 33:22 34:8 35:8 35:8 35:12 36:11
40:24 48:22 52:16 101:2 101:3 101:22     instrument(4) 100:11 136:10 197:14 198:10
                                                                                                                              36:13 38:21 39:10 39:17 40:1 41:17 44:5
102:4 102:18 137:16                      instruments(3) 57:19 59:1 100:12           isn’t(5) 195:23 195:24 196:23 215:24 220:244:6 44:9 46:8 46:9 46:10 46:12 48:19
                                         insufficient(2) 80:20 81:14                issuance(1) 125:20                        53:24 54:17 56:3 62:25 68:11 69:9 70:11
increased(3) 35:10 75:2 143:9            insurance(4) 99:6 99:11 100:14 101:5       issue(60) 13:18 13:21 39:20 41:14 41:25 70:12 70:12 70:13 70:16 70:20 74:3 75:3
increasing(2) 102:4 210:6                integrity(2) 91:7 179:25                   44:16 52:13 52:14 54:7 63:24 75:6 75:23 75:16 77:17 78:15 80:3 80:6 90:1 90:3
increments(2) 99:9 202:16                intend(1) 13:12                            86:1 86:5 91:13 93:23 97:18 113:1 113:2390:5 91:13 94:20 95:14 96:6 96:7 100:1
incurred(5) 21:7 23:10 225:5 225:11      intended(2) 25:12 55:3                     114:5 123:7 123:13 139:23 140:4 140:6 103:23 104:24 104:24 110:1 111:12 111:17
indeed(3) 69:11 204:18 217:18            intends(1) 258:24                          148:1 150:10 158:25 159:19 188:11 189:1 135:23 138:22 148:7 148:12 153:8 156:17
independent(1) 221:19                    intent(5) 111:12 113:3 114:7 116:18        189:2 189:22 191:2 198:4 198:4 198:5      156:21 157:23 160:18 168:11 169:23
index(5) 130:20 130:21 131:24 132:23     intentional(2) 49:2 110:20                 200:21 200:21 202:21 219:8 221:5 221:20 193:14 195:21 195:21 196:18 197:23 202:1
indicate(3) 181:5 184:17 263:19          interactive(11) 74:25 75:4 75:7 75:25 76:1 221:21 221:23 228:19 233:5 233:23 233:25206:24 208:4 208:18 208:25 210:7 213:18
indicated(20) 15:25 23:2 67:13 73:14      187:14 189:6 189:9 189:13 189:17 189:23 234:2 234:4 236:19 240:12 253:18 261:15214:13 215:18 226:13 228:1 228:2 239:2
112:23 113:14 139:17 148:23 150:9 170:2                                             262:2 262:14 262:15 263:11 266:10         252:7 258:25 267:22
191:12 203:7 214:13 225:19 226:22 230:16interest(24) 58:19 59:3 59:5 70:4 70:9
 234:11 234:25 258:18 262:9              70:11 70:18 70:25 71:2 144:13 197:15       issued(8) 16:6 16:13 34:10 73:9 74:1 99:8 itself(21) 22:17 39:6 46:7 58:13 72:12
                                         198:1 198:22 198:24 199:1 206:16 206:22 238:3 253:18                                 74:16 81:18 93:22 98:17 101:14 101:16
indicates(4) 150:24 215:12 225:3 225:15 216:14 228:1 228:2 231:19 231:25 253:23                                               104:5 136:10 149:21 158:11 194:7 209:16
indicating(3) 161:22 163:14 185:14       264:6                                      issues(32) 13:10 43:16 56:4 71:4 76:24    212:17 231:20 245:25 262:25
indication(2) 64:20 253:20               interested(3) 10:26 12:12 264:6            77:3 83:22 91:13 103:20 103:22 112:24
indications(1) 191:15                    interests(2) 208:18 268:9                  123:12 137:20 138:13 144:12 157:23        it’ll(1) 211:25
indicative(3) 70:20 107:8 140:3          interim(1) 15:6                            179:12 180:3 185:25 189:22 191:4 193:15 it’s(18) 58:16 195:11 195:13 196:23
indicator(3) 82:13 126:2 168:3           internal(3) 39:12 126:22 142:2             211:10 217:19 221:2 221:19 235:13 235:15198:21 200:3 200:3 201:14 206:20 206:23
indicators(1) 82:10                      internet(5) 29:25 30:5 132:22 189:19 190:1250:17 254:13 260:5 262:12                 208:7 208:9 209:6 209:12 215:4 218:1
individual(3) 28:9 40:13 242:5           interpretation(2) 235:9 235:11                                                       220:7 220:24
individually(1) 79:15                    interpretations(2) 236:25 267:24           issuing(2) 51:7 236:10                    i’d(3) 195:3 199:11 214:5
individuals(1) 233:7                     interrelated(1) 205:2                                                                i’m(13) 192:14 193:6 196:11 199:21
induced(1) 261:21                        interrupt(1) 180:18                                                                  199:22 201:17 204:25 207:3 211:15 212:7
industries(3) 63:18 157:9 238:20         intersects(1) 241:1                                                                  215:4 217:22 219:15
industry(26) 19:7 22:2 28:1 28:19 29:1 interval(1) 147:14
29:8 29:15 31:6 31:9 31:25 32:3 32:19 interview(1) 75:23                                                                      i’ve(10) 193:18 194:20 196:21 197:20
38:25 61:7 61:19 62:3 70:2 70:23 83:22 intimidate(1) 265:3                                                                    198:7 211:15 217:16 217:16 221:1 221:4
145:24 157:2 157:5 160:15 170:15 212:16 into(77) 14:25 23:19 24:5 24:7 25:13
212:21                                   26:10 26:23 28:9 34:2 41:9 41:16 42:18                                               jack(1) 19:8
industry-leading(1) 19:15                43:10 44:16 46:22 47:6 48:6 53:4 53:16                                               james(6) 1:24 1:26 3:40 4:46 9:8 257:8
inflate(2) 56:16 92:16                   53:17 53:19 54:4 60:18 65:17 67:23 70:14                                             jane(2) 4:13 23:22
inflated(8) 56:1 63:25 91:14 92:9 159:3 76:21 76:24 77:4 77:18 78:10 79:17 85:20                                              janet(1) 6:29
159:4 193:16 193:17                      86:17 88:9 89:18 89:21 89:22 91:18 91:22                                             january(12) 33:14 33:14 34:2 35:23 35:25
                                         92:12 102:3 105:10 107:7 114:21 117:19                                               36:1 36:23 40:16 47:4 156:25 156:25
inflates(2) 63:14 92:24                  118:7 118:18 121:6 123:3 126:12 137:17                                               253:14
inflating(1) 92:17                       138:12 141:3 155:11 164:25 182:6 186:6                                               january/february(1) 20:9
inflation(3) 94:11 94:24 109:2           186:19 186:20 197:8 199:6 202:8 213:14                                               jarashow(1) 7:50
inflationary(1) 188:6                    214:6 216:21 219:1 222:2 223:13 225:13                                               jean(1) 9:49
inflow(1) 84:22                          246:22 247:7 251:6 257:5 261:22 267:6                                                jefferies(2) 11:32 11:32
influenced(2) 139:12 238:25              268:12                                                                               jeffrey(1) 9:29
                                         intrinsic(1) 87:6                                                                    jennifer(1) 11:42
                                         introduce(1) 216:4                                                                   jessica(1) 1:27
Page : 14                                                                                                                                             04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                       Page 285 of 306
Word                        Page:Line     Word                           Page:Line      Word                          Page:Line    Word                         Page:Line
jillian(1) 6:27                           know(71) 68:21 78:9 86:4 88:5 91:10 99:7leave(3) 128:6 264:16 268:18                     like(81) 19:16 22:25 24:5 25:5 26:19
job(1) 233:10                              99:21 99:24 103:17 103:22 114:1 115:19 leaves(1) 266:19                                 34:24 40:9 43:1 43:10 45:5 46:3 46:18
joe(1) 10:31                              117:3 117:13 117:22 120:18 120:19 127:16leaving(3) 80:21 161:20 161:24                   57:10 61:1 65:16 67:8 71:4 78:11 79:6
john(3) 7:45 11:25 256:15                  127:20 131:3 151:4 151:9 151:10 164:16 leboeuf(2) 4:45 5:48                             82:4 82:22 83:16 86:8 95:4 96:7 97:4
johnston(1) 4:46                          164:18 164:21 169:5 169:19 169:25 171:18led(1) 77:2                                      103:15 104:6 104:18 107:14 107:19 109:13
join(1) 263:11                             176:12 177:1 187:24 188:3 190:15 193:21left(29) 14:6 21:6 23:8 27:8 29:17 29:24 109:15 127:15 128:8 128:23 132:6 135:13
joined(2) 19:10 262:15                    198:3 229:6 244:9 246:2 258:2 259:7           34:18 37:19 40:10 40:14 44:18 48:13 71:9168:7 174:15 193:12 194:10 214:5 221:3
jonathan(1) 11:20                         260:6 260:7 260:10 260:18 261:14 263:11 71:12 75:9 94:1 94:17 99:9 105:15 106:10229:19 232:1 232:5 235:4 235:6 238:24
jones(5) 3:11 7:34 10:46 11:4 11:4        263:24 264:9 264:23 265:4 265:6 265:6 127:16 133:21 162:13 162:22 182:14                 240:10 242:1 242:5 246:10 247:7 247:21
jordan(1) 9:35                            265:9 265:9 265:13 265:15 266:6 266:16 203:17 203:20 248:15 249:22                       248:17 249:17 249:22 251:10 251:22 254:8
joshua(4) 5:49 9:15 163:22 163:22         266:17 266:22 267:2 267:3 267:5 267:11                                                    254:14 254:16 254:16 255:9 257:11
                                          267:14 267:15 267:22 268:2 268:16             left-hand(1) 248:2                         257:12 257:14 259:2 259:11 259:14 260:22
journal(1) 94:4
jpm(3) 254:1 267:8 267:9                                                                legal(9) 112:9 114:2 123:12 192:11 192:25 261:12 261:23 263:6 263:20 264:1 264:15
                                          knowable(3) 34:6 49:10 251:5                   198:5 234:8 236:19 259:1                  264:24 267:16
judge(2) 1:18 1:19
                                          knowing(1) 43:15
judgment(8) 55:24 63:3 96:18 158:5
                                          knowledge(3) 212:23 231:8 258:22              lehman(2) 148:7 148:23                     likelihood(5) 147:8 147:17 148:8 148:21
175:25 176:1 191:16 211:7
                                          known(8) 34:6 49:10 53:6 74:17 129:17 lemay(2) 3:26 265:7                                255:21
                                          129:22   152:7  251:5                         lend(2)  107:7   255:21
judicially(1) 267:18
july(20) 46:6 46:15 46:16 48:18 101:8                                                   lenders(18) 5:5 5:39 17:4 22:11 44:8 44:8 likely(9) 49:1 56:1 63:25 68:16 125:23
101:8 101:10 102:10 102:13 103:18 104:12knows(3) 101:25 126:7 129:24                    46:10 83:23 105:19 121:12 121:16 121:17 147:9 152:8 193:17 230:9
 124:19 137:17 137:24 158:16 250:16       korpus(1) 10:5                                122:2 125:1 144:25 247:15 266:2 266:3
                                          kowalczyk(1) 256:15                                                                      limit(1) 106:5
250:24 251:2 251:3 251:8
                                          kpmg(1) 15:22                                 lending(2) 107:9 107:10                    limited(2) 121:12 151:17
                                          krakauer(1) 6:33                              length(4) 56:2 56:20 159:1 255:14          line(31) 33:17 33:18 33:20 38:16 45:24
jump(1) 102:20
                                          kramer(1)   9:33                              leonard(1)   1:33                          46:23 46:23 48:14 64:6 64:11 77:18 84:13
june(32) 21:9 23:6 34:7 38:21 41:9 67:4
109:21 110:11 111:8 111:17 122:1 122:23   l-p-h(1) 14:13                                less(19) 65:7 70:19 71:24 125:23 125:24 94:19 115:18 120:18 144:23 149:9 153:25
                                                                                                                                   154:15 154:16 154:17 168:10 176:16
123:21 125:4 136:6 136:7 136:17 137:4 l.a(8) 40:9 40:15 41:12 41:15 42:7 46:20 159:17 185:20 186:3 188:6 198:19 199:3
137:11 142:25 146:4 147:6 149:8 158:15 101:12 101:17                                    201:8 201:19 227:13 227:16 241:20 242:18176:23 180:10 192:25 205:5 215:3 223:15
                                                                                         263:2 266:19                              244:11 252:6
161:23 163:11 165:2 172:17 202:5 251:4
251:5 253:16                              lack(2) 146:14   267:2
                                          laid(1) 188:9                                 let(15) 16:3 24:21 170:17 183:3 192:15 lines(3) 49:6 80:23 204:2
just(98) 14:2 19:16 24:3 24:17 27:10 31:3 lance(1) 8:32                                 217:24 217:25 222:6 222:7 260:6 260:6 linkage(1) 183:1
37:1 40:9 41:12 42:2 43:9 43:10 46:4      landing(1)  260:11                            260:7 260:18 260:18 261:15                 liquid(5) 82:13 99:23 100:18 129:25 140:6
46:21 46:22 49:10 49:16 60:4 67:23 69:17landis(3) 3:18 3:19 5:34                                                                   liquidate(1) 196:15
71:2 79:2 80:17 81:10 89:1 89:3 92:5      lanrty(1) 1:25                                let's(86) 15:7 15:12 16:3 18:21 20:5 20:5 liquidation(8) 50:21 50:24 51:18 52:2 52:6
94:15 96:2 97:7 103:12 104:7 111:21       large(10) 80:24 81:18 88:25 116:10 125:1326:18 26:20 27:8 28:3 28:18 28:22 29:16 87:5 87:22 241:24
111:23 118:20 119:8 120:8 120:25 123:1 126:15 128:20 130:2 185:16 268:1                 30:6 30:24 33:3 33:24 34:17 34:17 36:14
127:15 127:17 127:18 128:19 132:1 134:9                                                 37:14 38:6 38:6 40:4 40:4 41:10 42:25 liquidation’s(1) 196:16
136:1 136:2 137:9 137:19 138:16 142:18 largely(1) 92:8                                  44:15 45:8 48:4 49:3 49:23 51:2 54:5       liquidity(8) 68:10 81:16 100:1 125:24
150:19 151:4 159:19 160:17 161:7 162:20 larger(8) 40:21 42:5 171:21 171:25 172:2157:6 60:1 60:23 61:18 61:18 62:8 63:5 129:13 129:13 202:9 202:18
167:1 170:22 170:24 171:20 177:11 180:21173:15 174:5 183:4                              64:23 67:19 71:7 74:4 76:8 80:11 81:25
 181:10 185:7 193:12 193:16 194:3 199:14                                                83:1 83:1 83:12 85:10 86:7 86:17 86:21 list(1) 229:11
199:22 201:17 202:2 205:19 207:10 208:23largest(4) 40:6 171:13 172:7 172:8              88:20 91:3 93:19 94:13 95:1 95:13 98:3 listing(1) 244:1
 216:20 220:14 220:17 221:6 221:10        last(41) 13:9 15:18 16:17 17:14 20:9          99:1 104:8 104:16 105:24 108:8 119:8       literally(3) 17:18 21:17 69:13
221:25 236:3 239:25 242:13 249:25 251:1124:11 32:10 86:7 86:8 86:17 87:20 96:19 150:22 150:22 167:17 175:16 176:4 178:19literature(7) 52:16 228:24 229:1 234:14
 252:16 253:22 254:8 255:7 257:3 259:5 105:12 107:13 107:16 107:20 108:8 111:15183:9 187:6 242:25 245:11 246:9 246:25 237:7 237:9 237:9
260:14 262:1 263:24 265:10 265:13 267:1 114:18 114:21 128:9 131:3 133:8 139:11 247:24 249:14 251:21 252:24 253:24 259:4
                                          145:9 146:7 152:4 161:15 163:24 178:15                                                   litigation(6) 15:5 105:2 236:6 236:12
                                          185:8 196:22 229:21 231:16 242:13 243:3                                                  265:25 266:4
justify(1) 175:6                          251:11 255:13 257:1 261:11 261:13             letter(5) 72:13 253:19 253:22 253:23
justin(1) 11:33                                                                         letters(1) 77:19                           litigators(1) 263:25
kalenchits(2) 8:16 8:16                   lastly(1) 20:1                                let’s(3) 198:13 199:21 203:23              little(18) 15:1 18:22 19:1 39:8 40:8 59:22
kaminetzky(3) 2:5 18:17 106:4             late(5) 20:15 33:13 35:25 147:6 156:25 level(19) 2:26 57:4 66:25 67:2 67:3 74:20 60:23 62:9 62:18 68:20 73:4 79:18 124:9
kansa(1) 6:23                             later(4) 55:11 122:1 155:11 259:24            75:21 105:23 136:2 140:1 147:7 147:16 127:20 139:3 150:22 167:16 189:20
kaplan(1) 7:48                            latter(5) 36:9 37:11 37:12 41:19 147:10 147:25 156:18 156:23 157:11 203:8 208:10
kasowitz(2) 2:30 10:4                     laughter(7) 13:24 127:24 128:5 131:5           250:22                                    litvack(1) 8:7
katharine(1) 4:20                         146:20 264:7 264:12                                                                      live(2) 257:1 267:2
katherine(1) 6:15                                                                       levels(3) 102:5 102:5 139:13               llc(2) 4:33 7:4
katten(2) 10:20 11:24                     launching(2) 45:7 140:15                      leverage(14) 21:15 21:24 68:10 69:13       llp(19) 1:23 2:31 3:25 4:4 5:21 5:29 5:34
kaufman(1) 9:21                           lauren(1) 3:12                                70:20 82:18 90:18 111:14 115:1 139:4       5:48 6:14 8:4 8:19 8:31 9:28 9:34 9:44
kavalis(1) 12:5                           laurie(1) 4:5                                 145:24 189:25 228:12 228:17                10:20 11:19 11:24 12:8
kay(1) 4:12                               law(8) 2:23 10:4 51:11 51:13 68:5 68:24
kaye(3) 9:35 11:19 23:22                  196:19 209:12                                 leveraged(12) 68:21 69:9 69:12 69:23       loaded(3) 35:7 85:24 126:8
keep(4) 37:10 38:3 60:16 257:3                                                          98:12 120:9 175:14 227:25 228:8 228:10 loading(3) 39:7 41:15 48:23
                                          lawyers(2) 236:20 265:1                       228:11 238:24                              loan(1) 100:16
keeping(2) 37:25 106:10
keeps(2) 95:13 183:1                      layton(2) 2:16 8:27                           levered(1) 148:11                          locked(1) 121:16
ken(1) 6:23                               lbo(21) 13:17 17:1 21:3 28:2 29:20 30:10 levin(1) 9:33                                   log(2) 171:6 171:7
kenneth(1) 8:36                           30:20 68:23 69:9 69:12 69:24 70:8 90:17 levy(1) 7:14                                     logic(1) 221:25
            6:25                          98:24  111:8   145:9  206:23 247:15   250:6   lexi(1) 7:24                               long(6) 15:17 104:1 232:12 261:7 262:15
kenney(1)
kept(1) 78:15                             265:16 265:19                                 lexington(1) 2:12                          268:7
kevin(2) 1:18 1:25                                                                      liabilities(12) 23:3 54:17 57:16 59:17
                                          lbos(3) 69:22 107:7 206:20                    88:14 88:16 96:10 195:9 195:12 195:18 long-term(9) 29:2 32:19 62:9 62:15 62:16
kim(1) 8:20
                                          lcds(1) 100:16                                196:9 196:12                               63:1 65:13 163:3 163:10
kind(6) 42:18 42:18 101:22 265:10 267:15
                                          lead(1) 99:25                                 liability(5) 57:15 57:24 58:16 118:9 217:10
 268:17
                                          leading(4) 26:23 42:15 115:7 243:1            liang(1) 8:36                              longacre(1) 12:12
                                          league(1)  116:2                              liberty(1)  17:9                           longer(4) 162:4 218:16 239:2 251:17
king(4) 2:19 2:25 4:22 19:13
kira(1) 7:10                              learn(1) 259:10                               liebentritt(1) 6:45
kizzy(1) 7:50                             least(12) 25:2 48:25 60:21 71:17 94:2         liewant(1) 10:31
knapp(1) 43:7                             160:19   181:25  251:6  258:15  262:4  266:10 light(2) 151:1 152:5
                                          268:21
Page : 15                                                                                                                                                   04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 286 of 306
Word                        Page:Line   Word                        Page:Line   Word                           Page:Line       Word                        Page:Line
look(112) 21:2 27:6 28:16 29:16 29:21   maintain(1) 207:15                      market(202) 1:10 3:21 4:7 22:15 22:18          mccarter(1) 4:19
29:24 30:6 32:10 34:14 35:16 36:9 36:14 major(4) 116:2 146:8 146:10 191:2       22:18 22:22 22:23 23:4 29:19 29:22 30:1 mccolm(1) 7:18
37:18 37:24 38:6 38:15 39:3 40:22 41:25 majority(4) 16:20 28:7 28:15 91:25      30:4 32:17 32:20 32:20 32:22 50:5 50:7 mccormack(1) 3:27
42:1 44:12 46:25 48:13 49:3 62:20 64:5 make(32) 24:17 41:2 41:3 78:23 82:9      50:19 50:25 51:1 51:3 51:10 51:12 51:21 mccormick(2) 10:19 11:23
68:21 70:1 70:4 71:20 74:10 74:11 79:7 97:12 97:14 103:24 112:5 115:2 115:9     51:25 52:21 52:23 53:3 53:21 54:1 54:3 mccutchen(1) 9:28
79:15 79:19 84:3 84:20 85:21 88:9 88:15 115:12 116:24 119:12 169:21 176:6 178:8 54:13 54:15 54:18 55:25 56:3 56:5 56:7 mcdaniel(1) 2:24
88:20 100:23 103:13 105:24 106:18 112:9 193:3 193:3 193:12 202:13 210:11 210:13 56:13 56:14 56:17 56:22 58:20 59:3 59:4 mcfadden(1) 229:17
112:9 113:17 114:6 116:20 120:22 122:22 210:18 222:17 234:22 247:19 251:5 260:1659:6 59:16 60:18 61:23 62:6 66:23 82:12 mcguire(1) 5:35
125:21 126:3 130:10 130:13 132:7 134:23 263:4 267:12 268:22                     82:13 87:5 87:21 88:13 89:23 90:3 90:14 meagher(1) 7:29
143:8 151:15 153:25 163:24 167:17 169:20                                        91:11 91:12 91:22 91:24 92:2 92:6 94:20 mean(24) 16:4 28:23 91:7 112:12 120:3
 173:20 175:16 177:4 177:24 178:19 183:9makes(5) 74:18 85:6 153:6 195:17 218:7 97:25 98:20 99:5 99:23 99:25 99:25              124:24 138:4 150:2 153:19 154:22 155:22
183:16 184:5 188:4 191:17 195:9 195:11 making(6) 97:14 97:14 151:6 151:11       100:19 100:23 102:15 102:16 107:23             159:8 160:23 167:18 180:14 196:11 209:16
197:13 198:10 198:13 200:10 200:13      159:23 210:21                           108:23 113:15 125:23 125:25 126:5 126:7 242:2 250:1 261:14 264:9 264:25 265:8
200:17 200:18 200:19 202:11 203:5 204:5                                         126:11 129:9 129:20 129:22 129:24 129:25268:2
209:23 210:5 214:16 215:1 217:4 223:14 management(77) 5:16 7:38 7:38 8:12 8:12 140:6 140:9 140:17 140:18 140:21 140:24
223:18 229:2 232:23 236:17 244:16 245:208:31 8:35 8:35 8:39 8:39 9:14 9:14 10:10140:25 141:9 141:10 145:19 149:17 149:19meaning(2) 35:7 87:14
 245:21 249:4 249:10 250:10 251:14 255:2 10:10 11:36 11:41 11:41 12:12 13:6 15:6 149:20 149:21 149:25 154:6 162:15
                                                                                                                               meaningful(6) 19:12 31:14 103:8 136:14
256:7 257:11 266:10 267:5 267:10 267:11 19:23 44:20 46:7 46:16 48:12 50:10 50:11162:17 166:2 166:3 166:4 166:5 166:6           137:1 167:2
268:14                                  62:17 66:4 66:7 66:11 66:15 71:13 71:22 166:16  171:6  171:13   172:12   172:14   172:16
                                        71:24 72:1 72:8 72:13 74:15 74:23 77:12 172:19 173:1 173:11 174:16 175:4 181:5 means(10) 88:5 100:6 120:12 166:25
looked(63) 21:5 21:17 21:20 21:21 21:22 79:4 79:14 85:12 89:6 98:22 102:1 108:4 181:18 185:18 185:19 191:14 192:21             167:6 167:10 167:11 202:13 221:21 244:21
21:25 22:1 22:20 22:21 22:21 22:22 28:13112:12 124:13 124:16 133:11 137:15 150:7193:13 193:14 193:20 193:22 194:2 197:16
38:12 47:1 49:8 51:15 54:7 55:8 59:7     150:17 157:22 158:15 160:4 161:20       197:16  198:9  198:11   198:24   199:1  200:10
                                                                                                                               meant(5) 79:19 84:21 98:18 147:16 231:24
62:18 69:16 72:5 72:6 72:7 76:16 80:19 176:16 180:25 181:1 189:21 203:19 204:8 200:13 200:14 200:14 200:17 201:7 201:9
                                                                                201:11  201:18   201:21   201:22   201:25      measure(3) 69:6 152:6 169:17
81:1 81:24 85:19 110:4 110:15 113:4     205:19 206:1 206:12 208:8 211:3 224:11
113:10 113:15 113:22 114:4 114:7 119:12 224:16 224:16 225:1 225:15 248:10 248:11202:10 202:15 223:10 226:1 226:7 226:8 measurement(1) 67:2
121:21 121:23 123:14 124:9 136:25 150:10                                        228:22 228:25 230:5 231:20 233:9 234:12 mechanism(1) 117:8
 152:21 155:5 175:22 177:9 185:6 187:10 management's(13) 33:7 45:17 60:10 108:6 234:13 234:16 234:25 235:4 235:6 237:24 media(16) 17:7 17:9 17:9 17:10 19:7 20:3
194:6 196:9 197:17 198:1 202:25 203:8 141:19 141:25 142:7 150:10 158:12 160:8 238:18 239:13 239:17 240:8 240:24 241:8 32:2 50:6 63:12 63:15 69:25 93:9 93:17
222:18 223:10 223:11 224:2 225:13 230:18181:14 181:23 249:3                     241:14 241:18 241:24 242:19 243:4 243:5 94:1 94:4 230:20
 253:10                                                                         243:8 243:13 243:17 244:5 244:7 244:15
                                        manager(1) 19:24                        244:22 244:25 245:12 245:19 246:1 246:2 median(7) 63:19 63:22 94:8 94:20 153:16
looking(58) 17:18 27:2 35:3 37:11 41:6 managing(3) 14:24 19:3 19:9              252:22 253:6 253:8 253:21 254:13 255:14 154:25 155:25
41:13 44:9 53:3 53:20 53:21 56:4 57:15 manges(1) 8:4
61:5 61:6 61:7 61:23 61:23 62:3 68:10 many(28) 17:22 17:22 17:24 20:17 68:24                                                   meet(5) 70:15 80:20 152:3 207:16 208:4
71:2 76:11 79:18 81:7 82:9 88:17 95:20 69:5 69:15 71:14 73:22 82:18 88:7 88:8 market's(1) 138:2                                meeting(1) 126:22
98:15 110:11 113:3 115:17 123:13 123:13 88:8 94:22 95:10 99:14 100:3 100:9      marketplace(25) 31:5 39:16 46:10 69:21 meisel(1) 1:32
123:14 126:1 136:13 138:8 139:25 153:25 142:19 155:9 159:21 159:21 182:24 190:1 82:5 82:8 99:17 101:17 101:23 101:25           melamed(1) 9:41
154:15 156:1 172:12 172:14 176:1 183:10 191:3 230:7 260:5 260:5                 101:25 102:3 105:10 105:19 126:12 129:17melee(1) 265:8
192:18 193:13 195:18 196:3 198:9 208:2                                           140:8 141:4 202:8 202:17 231:8 239:2 member(1) 19:21
208:3 241:15 241:17 245:19 245:22 252:21marc(3) 3:31 5:22 5:24                  240:18 240:20 245:20                           members(1) 236:10
 252:22 255:7                                                                                                                  memo(1) 101:11
                                        march(8) 1:13 13:1 36:3 37:3 37:4 37:7
                                        153:16 269:10                           marking(1)  132:9                              memory(1) 172:23
looks(15) 35:14 36:20 68:23 68:24 80:17                                         marsal(3) 9:18 9:18 11:8                       mention(4) 45:6 46:4 78:11 232:25
103:14 103:15 135:13 136:5 184:16 211:14                                        marvel(1) 268:13                               mentioned(44) 37:21 48:18 52:1 60:11
                                        margin(2) 249:6 249:7
 211:14 248:11 254:14 255:9                                                     marvin(1)  7:35                                66:6 69:5 71:14 77:11 78:6 79:24 80:16
                                        marie(1) 9:49
                                                                                masters(1) 15:14                               80:18 81:12 95:12 108:2 112:19 113:3
                                        marino(1) 3:5
los(2) 4:49 15:16                                                               material(1) 207:20                             113:10 116:6 122:17 125:19 126:1 136:18
                                        mark(4) 8:28 10:38 132:11 134:6
losing(2) 29:22 30:4                                                            materials(3) 25:13  132:25   152:16            157:8 160:3 168:13 179:24 181:10 181:24
                                        marked(5) 15:10 23:14 25:21 26:2 182:16                                                194:9 201:4 204:9 207:20 208:4 219:2
losquadro(1) 8:40                                                               math(11) 157:19 158:3 159:7 159:14
lost(2) 28:10 103:25                                                            159:21 159:25 165:25 167:1 192:4 192:14 220:23 225:13 227:8 229:1 230:19 235:17
lot(5) 40:5 97:25 100:21 171:20 195:17                                          206:7                                          237:25 246:5 249:4
low(12) 35:8 35:18 36:6 37:2 59:10 72:6                                         mathematical(2) 84:6 85:8
159:8 168:2 180:1 186:12 194:17 194:17                                          mathematics(1) 221:25                          mentions(2) 243:18 244:11
                                                                                matter(25) 13:8 17:17 20:18 20:22 21:16 merger(11) 108:1 108:3 117:10 118:13
lower(16) 37:18 61:11 61:13 94:23 96:13                                         25:5 36:5 37:7 51:5 59:8 69:13 74:17           118:15 119:6 146:24 199:7 215:14 224:19
97:5 159:17 177:21 178:9 179:3 182:3                                            87:3 96:21 99:14 119:21 119:24 141:9           225:5
184:18 184:18 186:23 188:19 253:16                                              159:7 194:21 208:13 221:25 237:2 264:21 merit(1) 266:6
                                                                                269:7                                          merrill(13) 4:4 11:19 13:9 13:17 13:20
lowered(3) 145:13 160:17 210:23                                                 matters(11) 16:21 16:22 17:2 18:4 21:13 23:23 24:6 104:8 105:5 105:22 132:25
lowest(1) 241:16                                                                50:18 59:14 236:11 236:21 236:23 258:7 147:4 147:6
ludwig(1) 6:27
lugano(1) 1:39                                                                  matthew(5) 2:33 5:35 7:39 11:8 11:9            mesirow(9) 14:22 14:23 15:1 15:2 15:3
lunch(1) 128:19                                                                 matured(2) 21:8 23:11                          15:17 15:18 18:22 20:6
lynch(11) 4:4 11:19 13:9 13:17 13:20                                            maturity(1) 125:17
23:23 24:6 104:9 133:1 147:4 147:6                                              maturity's(1) 128:25                           message(2) 215:2 215:6
                                                                                may(62) 13:10 14:15 14:17 18:18 24:1           mester(1) 5:49
lynch's(1) 105:5                                                                32:18 34:2 34:11 36:8 37:8 38:2 40:16 met(6) 119:6 151:15 151:22 151:24 152:2
lynn(4) 2:11 7:35 109:6 128:13                                                  41:8 43:15 44:23 45:16 46:13 46:17 68:15247:16
macquarie(2) 9:24 9:24                                                          83:8 85:3 101:14 101:16 106:8 109:8
made(24) 24:10 24:12 27:15 65:12 66:13                                          128:3 128:12 128:23 129:2 129:4 130:25 method(9) 55:20 63:6 64:19 91:6 91:7
72:3 72:10 84:7 84:11 85:8 130:15 144:25                                        131:16 131:18 133:13 139:10 152:11             167:18 167:23 191:23 244:3
160:12 162:5 185:16 214:12 240:20 240:21                                        157:18 157:18 163:20 171:20 184:18 198:5
 248:23 253:7 253:9 253:14 258:24 264:25                                         212:4 219:9 227:5 228:21 230:8 230:11 methodologies(3) 55:19 64:25 232:13
                                                                                231:9 231:10 236:5 241:23 243:8 256:16 methodology(2) 66:13 66:15
madlyn(2) 4:14 13:20                                                            256:22 258:14 259:7 259:22 259:24 261:17metric(3) 69:1 69:3 70:3
magnitude(4) 39:2 40:21 41:25 221:22                                             263:23 266:8                                  michael(4) 2:7 6:47 9:45 12:13
mail(1) 216:19                                                                                                                 michelle(1) 3:5
main(1) 262:18                                                                  maybe(3) 90:22 113:23 164:24                   microphone(1) 14:9
mainly(1) 37:3                                                                  mayer(2) 4:20 9:44

Page : 16                                                                                                                                             04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                   Page 287 of 306
Word                       Page:Line      Word                         Page:Line    Word                        Page:Line    Word                        Page:Line
middle(9) 43:11 70:18 107:15 215:5        move(19) 20:5 28:3 30:24 33:24 40:8       negative(9) 63:2 84:25 96:25 97:17 97:20 not(301) 17:18 23:24 24:5 24:18 24:24
236:20 241:8 247:5 247:6 265:7            42:25 49:23 64:23 65:12 67:19 80:11       139:3 151:2 187:1 190:10                 31:11 32:17 32:19 32:20 32:21 35:20 36:6
                                          82:22 86:17 94:13 97:24 99:1 226:9                                                 36:10 37:3 39:13 39:20 41:4 42:6 42:16
midway(1) 118:4                           249:14 251:21                             negligible(1) 98:13                      43:14 47:10 51:10 52:5 52:18 53:4 53:9
might(18) 50:20 79:7 85:20 117:18 117:23 moved(1) 262:8                             negotiating(2) 241:15 242:4              53:11 53:20 54:3 55:13 56:7 56:23 58:11
 139:11 144:19 146:1 150:4 161:1 173:20 moving(1) 182:6                             neighborhood(3) 40:23 177:2 197:3        58:12 58:14 58:16 58:24 59:6 59:12 59:17
228:12 257:11 264:9 264:22 266:11 267:3 much(15) 42:5 42:5 82:13 85:21 86:4 86:5neil(1) 8:40                                 59:21 60:16 67:15 69:24 70:25 71:15
268:22                                     107:2 112:3 125:23 126:5 137:1 148:22 neither(3) 268:3 268:5 268:6                73:18 75:18 75:19 75:20 76:21 77:24
mike(1) 9:5                               194:10 212:5 268:9                        net(7) 77:10 84:18 92:23 105:12 105:16 78:17 78:18 80:5 81:20 81:22 83:20 84:14
million(44) 38:18 38:23 40:16 40:19 44:19                                           254:17 254:22                            84:21 87:2 87:3 87:8 87:16 88:3 88:8
 57:22 65:7 67:5 67:6 67:17 84:16 84:19 muchin(2) 10:20 11:24                                                                88:11 89:22 90:1 90:18 90:19 90:23 90:25
105:9 105:11 105:23 106:24 108:17 161:22mulhern(1) 8:32                             never(6) 25:12 86:25 88:14 194:11 194:12 92:13 92:13 93:14 94:18 95:9 96:21 98:18
 161:23 172:1 192:11 192:22 193:1 193:9 multi-billion(1) 17:10                      198:1                                    99:12 100:17 104:24 105:1 107:2 109:16
193:10 198:18 198:20 199:2 199:3 205:11 multi-constituent(1) 265:7                                                           109:20 110:1 110:2 110:6 110:6 110:7
205:14 205:16 206:6 206:7 206:8 217:10 multiple(42) 56:9 56:15 60:17 63:10 63:19 new(13) 2:13 2:35 2:44 3:7 3:34 4:16        110:7 110:10 110:12 110:14 110:19 110:20
217:11 218:13 218:13 250:8 250:19 250:2063:22 91:1 91:20 92:4 92:15 92:21 94:8 31:11 39:21 216:4 216:6 218:18 231:21 112:5 114:2 114:15 115:1 115:9 115:12
 250:20 250:21                            94:11 94:20 162:22 166:3 166:7 166:12 231:24                                       116:23 116:24 117:10 117:18 117:23 118:8
                                          166:18 166:20 166:22 167:6 167:23 168:4 news(2) 11:4 257:21                         118:10 118:12 118:12 118:15 118:16
millions(1) 171:23                        168:9 175:4 179:9 179:16 179:23 179:24 newsday(1) 28:11                            119:21 119:24 120:7 120:11 120:25 122:19
mind(6) 35:13 37:10 37:25 38:4 184:13 181:25 182:23 183:4 183:4 185:17 185:18 newsletter(1) 31:25                             123:11 125:3 125:6 125:19 126:10 126:14
192:1                                     185:19 185:20 191:3 191:6 252:5 254:12 newspaper(30) 17:7 17:11 20:4 27:16 28:9127:3 127:22 128:3 128:20 130:1 130:3
                                                                                                                             130:7 131:13 132:3 134:19 137:6 139:12
                                                                                     28:19 29:7 29:11 29:13 30:12 30:13 30:22
mine(1) 229:5                             multiples(27) 56:1 56:17 63:15 63:25                                               139:17 139:21 140:18 141:6 141:8 141:12
                                                                                     31:5 31:9 31:16 31:20 40:13 42:14 42:15
minkove(1) 8:24                           91:14 92:7 92:8 92:9 93:15 93:16 93:23 69:12 93:11 94:10 101:10 142:3 142:4        141:23 141:24 141:25 142:1 143:21 143:23
minuscule(1) 169:24                       94:5 94:18 168:10 176:9 179:6 182:17                                                144:16 145:13 145:15 146:1 147:14
                                                                                    152:14 152:15 157:1 157:7 160:14
minute(8) 19:16 34:25 60:15 61:18 91:3 182:18 185:23 193:16 193:17 193:25 194:1                                              147:16 148:12 148:25 149:18 150:2 150:5
246:10 252:24 266:25                       252:7 252:20 252:21 265:17                                                        150:11 150:12 150:16 150:19 151:8 152:14
                                                                                    newspapers(20) 28:4 28:8 28:13 28:17
                                                                                                                              152:24 153:24 154:15 156:12 157:1 157:4
                                                                                    29:22 30:2 30:3 31:22 37:15 37:20 37:21
                                          murphy(1) 11:14                                                                    157:6 157:10 157:12 157:15 160:16 160:21
minutes(3) 106:10 106:15 212:7                                                      38:2 38:17 40:22 40:23 42:5 85:20 93:15
                                                                                                                              161:1 161:2 161:2 162:11 162:13 163:14
miss(3) 36:4 36:8 127:23                  must(6) 27:15 29:6 126:6 201:25 238:12 101:20 148:14
                                          249:6                                                                              164:6 165:5 165:17 168:10 168:13 172:17
missed(3) 42:20 85:14 139:22
                                                                                                                             172:18 172:22 173:14 175:4 176:12 178:19
misses(1) 37:9                                                                      next(43) 13:7 14:1 18:21 31:13 31:19      180:4 181:8 181:10 186:2 188:7 190:20
mistake(3) 61:15 85:1 85:2                myers(1) 6:4                              43:14 48:4 70:3 99:1 116:20 117:4 117:5 194:21 196:9 198:4 198:11 198:23 199:15
model(11) 31:21 60:15 60:19 61:9 62:14    myrick(1)   6:31                          117:14  118:1  118:18 119:3 119:16 120:4 199:17 201:13 201:14 201:18 202:12
91:17 169:19 182:25 223:3 223:5 223:5 myself(1) 157:6                               133:4 145:8 152:4 168:5 170:14 177:24 202:12 203:9 204:22 208:20 208:23 209:7
                                          name(1) 14:10                             182:16 184:8 199:23 199:25 207:3 215:1 209:16 211:15 211:19 212:23 213:2 213:16
modifications(1) 72:10                    nance(1) 128:10                           215:11 230:7 231:15 233:11 233:15 233:24216:18 217:17 218:18 218:23 219:3 219:5
modified(1) 186:8                         nancy(1) 2:42                              238:16 241:21 243:5 244:1 261:4 263:11 219:18 219:19 220:12 220:20 220:21
modifies(1) 92:7                          narrow(1) 247:16                          263:21                                   220:24 220:24 221:1 221:4 221:7 221:10
modify(1) 24:15                           narrowed(1) 268:21                        nice(1) 233:10                           221:15 221:16 221:20 222:7 222:12 223:21
moment(12) 32:9 82:23 106:13 127:23       national(5) 15:20 16:6 234:16 235:19      nicholas(1) 8:13                          224:21 225:3 226:7 226:8 227:21 228:5
131:22 173:20 175:17 183:11 191:9 202:22naturally(1) 263:2                          nick(1) 7:31                             228:5 228:25 229:9 231:24 232:1 232:3
 255:11 265:13                            nature(3) 28:25 85:24 259:1               night(4) 13:9 24:11 107:16 107:16        233:9 233:16 235:3 236:13 236:14 236:23
                                          near(15) 92:13 92:15 92:20 173:12 173:14 nine(4) 60:14 179:7 180:12 182:18         236:25 237:5 237:5 237:6 239:17 239:20
monday(2) 101:11 128:8                     185:19 185:22 185:24 186:1 186:3 186:5 nineteen(2) 41:18 41:22                    239:23 239:25 240:2 240:20 242:9 242:10
montenegro(1) 2:32                        186:8 186:12 186:23 186:24                ninety(2) 28:14 90:21                    243:10 244:4 244:13 244:15 244:19 244:23
month(2) 37:5 37:7                                                                  ninety-five(1) 90:21                      244:24 245:2 245:2 245:20 245:25 246:24
monthly(2) 36:14 158:20                   necessarily(5) 90:18 99:16 99:17 126:11 ninety-one(1) 37:21                        248:21 249:11 251:5 252:6 253:8 253:10
months(8) 19:11 31:9 36:9 36:24 41:23 155:9                                         nobody(4) 95:19 108:25 267:20 267:21     253:20 255:4 255:5
47:20 148:9 157:24                                                                  nominal(1) 188:8
                                          necessary(6) 78:12 114:25 161:3 206:23 nomura(2) 12:4 12:4
more(46) 13:23 16:25 28:14 40:8 57:4      247:11 259:25                             non-cash(6) 217:12 222:9 222:12 222:14
62:9 72:14 73:4 73:4 75:4 75:4 85:7                                                 222:21 222:25                            not(22) 255:6 255:9 257:19 258:7 258:11
85:21 89:6 92:5 92:5 99:22 100:9 102:3 necessitated(1) 55:5                                                                  258:14 258:23 259:10 259:24 260:12
105:24 112:3 114:24 123:20 124:11 125:23need(66) 34:15 37:24 38:20 42:3 43:13       non-party(1) 10:30                       260:18 260:23 262:16 263:10 264:17
 148:12 178:20 208:7 208:22 212:5 219:1271:20 88:16 90:2 90:10 97:14 99:10 126:3none(1) 26:13                                264:20 264:21 265:22 266:1 267:9 267:9
226:1 227:14 233:17 245:5 245:6 249:6 138:19 140:4 140:6 152:16 152:18 164:17 nonsensical(1) 251:13                          268:14
257:25 258:5 263:3 263:3 263:3 263:16 164:22 166:4 167:13 172:24 173:10 173:18nor(6) 118:20 119:4 157:12 161:3 225:14 note(2) 206:14 233:22
266:8 266:18 268:16                        176:21 177:10 178:8 182:8 182:8 186:18 240:21                                     noted(4) 32:24 147:4 147:6 243:6
                                          190:16 195:3 198:10 200:6 200:7 201:12                                             noteholder(4) 256:25 258:2 259:24 266:1
morgan(22) 2:4 8:4 8:19 8:23 31:7 62:25 202:11 203:14 204:16 207:22 208:9 219:9 normalized(3) 168:10 186:20 252:6            noteholders(7) 13:6 20:12 20:14 21:1
63:1 65:24 109:7 130:6 130:8 133:5        219:10 219:12 220:11 220:25 222:16        norman(1) 1:34                           263:7 265:15 265:22
133:10 133:14 133:24 175:22 175:23        223:24 223:25 244:9 244:9 244:16 245:20 north(3) 2:19 2:25 4:7
178:21 179:16 180:8 181:21 182:9          249:10 250:3 250:7 250:9 251:14 251:18                                             notes(11) 57:11 57:13 58:3 58:19 58:23
                                          255:2 257:3 258:14 262:1 263:3 263:3                                               59:19 64:9 173:21 194:15 194:22 194:24
morgan's(1) 175:22                        263:25
morning(12) 13:2 13:3 13:4 14:20 23:22                                                                                       nothing(8) 41:23 89:5 109:4 215:24 220:8
109:6 109:13 140:13 166:14 179:13 193:15needed(17) 36:10 38:22 63:11 69:21 78:16                                             255:24 256:20 264:24
 210:4                                     116:1 116:3 118:21 122:10 143:25 146:14
                                          146:23 147:22 148:24 160:6 228:16 258:19                                           notice(1) 108:20
morton(1) 31:24                                                                                                              notified(3) 46:10 46:10 262:3
moskowitz(1) 2:8                          needs(32) 29:14 35:2 35:17 37:10 38:3                                              notifies(1) 51:7
moss(1) 12:9                              42:21 44:12 63:24 68:21 70:1 79:18 82:9                                            noting(2) 117:18 139:2
most(14) 19:1 19:3 24:1 34:16 35:11 36:1 84:3 85:22 88:5 89:12 95:23 96:16 96:17                                             notional(1) 99:20
37:23 47:6 63:20 82:11 95:16 253:22       96:22 97:9 107:9 108:15 125:21 147:9                                               notionally(1) 258:15
259:18 260:24                             189:9  208:11   211:5 216:20 238:22 249:4                                          november(1) 49:9
                                          252:21
mount(1) 41:6                             neftalis(1) 9:33



Page : 17                                                                                                                                            04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                       Page 288 of 306
Word                         Page:Line   Word                         Page:Line      Word                           Page:Line      Word                         Page:Line
now(122) 16:11 18:13 26:18 29:4 32:8     off(7) 74:3 80:20 135:14 136:24 155:11 one(250) 1:28 2:18 2:43 11:45 11:45 13:8 opinions(9) 23:1 23:25 24:10 24:15 26:4
33:3 36:9 40:4 42:25 46:3 46:18 48:4     155:11 195:22                               13:21 14:3 19:3 19:3 19:8 21:4 26:23          26:4 89:10 109:15 270:17
49:23 52:9 53:10 56:21 57:6 58:2 58:18                                               27:1 29:17 31:8 31:23 32:8 33:11 34:6
64:23 67:19 72:7 74:4 76:8 82:22 86:7 offer(14) 18:13 23:18 25:13 26:10 73:15 34:13 35:1 35:1 35:6 35:14 35:16 35:17 opportunities(1) 217:4
86:17 91:23 93:1 94:13 95:1 97:24 104:3 130:2 130:14 130:18 131:24 132:5 149:9 35:24 37:10 38:3 38:13 39:11 39:21 41:8 opportunity(3) 260:19 260:22 267:12
106:6 107:13 108:8 115:10 116:17 117:1 149:13 241:19 270:20                          42:3 42:15 42:21 43:1 43:23 44:11 45:2 opposed(11) 28:25 37:1 38:14 93:2 103:11
117:11 118:1 118:14 119:22 120:10 121:4                                              45:20 45:25 46:4 46:21 47:19 47:20 47:21 111:12 169:18 196:15 230:21 261:23
123:19 124:5 126:13 126:23 129:13 130:1 offered(3) 24:8 24:14 266:22                 48:2 48:16 48:25 49:8 49:13 50:2 50:8 262:18
133:8 138:23 141:12 143:15 149:2 150:6 offering(4) 24:13 24:16 145:12 253:19         50:20 53:5 53:6 53:7 53:7 54:9 54:19          opposition(1) 262:8
150:6 154:4 155:2 156:15 157:1 163:13 officer(1) 215:7                               54:24 55:12 55:15 56:18 56:25 56:25           optimal(2) 62:1 62:1
168:13 169:8 170:3 175:10 176:4 178:14 officers(1) 43:24                             57:11 57:14 57:15 59:6 59:11 60:9 60:11 optimistic(2) 208:9 249:5
178:19 180:12 182:6 183:9 183:9 185:19 official(2) 3:17 5:20                         61:22 62:16 62:23 62:25 63:6 63:24 64:12option(2) 194:15 264:13
187:17 190:18 191:17 194:9 197:25 199:13offset(3) 31:12 219:13 220:11                64:19 65:8 65:22 65:24 66:4 66:10 66:11 options(1) 195:23
 201:3 203:13 205:4 205:4 207:2 207:24 offsetting(2) 65:19 219:11                    67:5 67:13 67:15 68:21 69:11 70:1 70:8 oranges(4) 165:20 166:9 252:14 252:18
213:16 213:21 215:18 217:3 217:14 218:25often(7) 91:10 91:21 129:14 167:20 167:2271:8 71:16 71:19 71:22 73:1 73:21 74:2 order(8) 76:12 88:4 182:8 203:4 206:24
 223:18 225:19 227:13 227:21 228:20       230:1 267:19                               74:7 76:17 78:4 78:4 79:6 79:7 79:18          226:24 230:3 231:11
233:11 235:25 236:9 237:16 239:8 239:16                                              81:1 81:8 81:10 81:22 82:1 82:9 82:9
240:11 242:17 243:21 246:25 247:20       okay(301) 13:23 14:25 15:7 15:19 15:23      82:11  83:19  83:23  84:3  84:13  84:23  85:4
                                                                                                                                   ordinary(2) 231:19 231:21
249:14 251:10 252:25 253:17 253:24       16:3 16:11 16:16 17:6 17:12 17:23 18:2 85:17 85:22 86:2 86:12 86:15 88:5 88:8 organization(1) 31:22
254:16 256:6 257:13 259:11 262:8 262:20 18:12 20:5 20:10 20:13 20:16 20:25 21:1089:12 92:2 92:3 95:5 95:9 96:7 96:8 96:9
                                                                                                                                   organizations(2) 246:4 246:7
263:15 268:23                            22:24 25:9 25:14 26:8 26:18 27:8 28:3 96:17 96:22 96:24 97:1 98:11 98:14 99:10oriented(1) 244:3
                                         28:18 29:4 29:16 30:6 30:24 32:8 33:3       99:14  99:15  99:15  100:5  100:22   101:7
                                                                                                                                   original(5) 44:25 62:17 105:6 250:18 253:9
nowhere(1) 173:12                        33:24 34:17 36:14 37:14 38:6 39:9 39:20 101:21 103:15 105:1 105:4 105:5 105:24 originally(1) 33:12
npp(11) 15:10 23:14 25:22 25:25 26:3     40:4 41:10 42:11 42:14 42:25 43:25 44:15    105:25  107:8  108:15   109:21  110:2  110:5
26:15 43:4 104:11 105:25 106:21 270:15 45:8 46:3 46:18 46:25 47:14 47:18 48:4 110:11 111:9 114:25 118:6 118:9 118:13 orlando(2) 28:11 42:8
                                                                                                                                   other(83) 13:16 15:23 21:13 22:22 24:9
                                         49:23 51:2 51:17 52:9 53:13 55:17 56:21 118:15 119:17 119:20 120:6 121:6 122:1 24:9 24:9 24:18 30:23 42:4 46:4 51:21
npp0365(1) 253:25                        57:6 58:2 59:13 60:1 60:23 62:8 63:5        123:4 124:19 125:19 125:20 126:16 131:21
                                                                                                                                   51:23 51:25 52:1 56:4 64:15 64:16 64:16
number(47) 17:1 30:25 38:8 38:11 44:19 64:5 64:18 64:23 66:3 66:17 67:7 67:19 133:8 140:3 151:5 153:6 155:5 155:12
45:9 46:11 49:11 54:20 76:23 88:25 92:2369:1 72:23 78:2 78:20 80:11 85:10 95:1 162:18 164:11 165:15 166:12 169:12                  66:12 69:24 69:25 70:14 78:4 78:11 81:23
95:9 99:7 106:6 124:9 132:11 132:24                                                  169:16  169:20   171:3  173:3  173:16  177:8  90:2 97:4 102:7 102:9 108:24 113:10
                                         97:24 102:20 103:1 104:3 107:4 107:13
155:10 156:2 157:16 157:17 158:23 159:2 108:8 109:3 109:17 110:9 110:19 110:23 184:2 185:25 187:9 188:12 188:16 188:19 114:4 114:19 114:23 114:23 120:18 122:17
159:3 159:8 159:16 171:20 176:14 181:4 111:20 111:24 112:19 113:3 113:10 114:10189:5 189:9 190:10 200:7 200:9 202:11 131:21 133:17 146:14 152:23 161:20
181:8 181:19 181:22 182:1 198:17 210:25 114:16 114:17 115:6 116:19 117:4 117:14203:17 208:11 210:13 211:5 211:8 220:4 161:24 162:23 164:12 164:12 166:12 167:4
211:16 215:11 220:13 226:15 246:7 249:16118:1 118:18 119:2 119:3 119:9 119:14 221:22 224:11 229:11 230:9 232:20 237:20168:1 173:16 174:7 176:20 178:13 178:14
                                                                                                                                   181:4 189:22 191:4 203:10 206:25 208:5
 251:13 256:13 258:12 260:2 266:11       119:18 120:2 121:24 124:5 124:12 125:7 238:22 240:1 240:1 240:1 242:13 243:1 212:15 218:8 218:12 227:14 230:3 231:11
                                         126:13 126:18 126:25 127:5 127:22 129:13    243:15  243:18   243:21  245:18  247:11
                                                                                                                                   236:12 241:18 241:19 246:7 247:7 247:13
numbered(2) 182:11 183:16                 129:21 130:1 130:10 131:7 132:6 132:9 247:14 247:18 249:4 250:4 250:6 250:9 258:8 259:15 260:23 261:5 262:12 263:8
numbers(30) 39:17 39:18 40:21 40:24      132:19 133:8 133:17 134:16 134:21 134:24    250:10  250:12   251:14  252:21  252:24
                                                                                                                                   264:23 265:15 265:21 266:20
42:5 44:5 46:12 46:15 57:7 77:8 84:25     135:9 136:5 136:16 137:3 142:16 142:17 255:13 256:1 260:10 263:16 265:14
95:20 96:21 96:23 97:8 97:16 97:20 158:2142:21 143:15 143:22 144:4 145:2 145:6
                                                                                                                                   others(11) 43:8 44:4 59:15 69:21 105:1
162:23 165:23 176:20 176:22 192:17       146:3 147:12 148:2 148:18 149:2 150:6 one-and-a-half(1) 94:22                             182:24 220:13 229:16 234:18 258:14
198:19 227:12 250:1 250:2 251:14 254:8 150:14 151:10 151:21 152:4 152:20 153:2       one-hundred(1)   50:14
                                                                                                                                   267:13
255:6                                    153:4 153:5 153:11 153:15 154:4 154:20 one-third(1) 54:15                                 otherwise(8) 37:6 51:14 73:24 97:11
numerous(1) 24:4                         155:15 155:21 156:5 156:15 157:1 157:10     one-year(2) 101:5   250:5
                                                                                                                                   116:11 150:4 239:1 258:22
oaktree(4) 4:45 8:34 8:35 267:4          157:14 158:22 159:13 161:8 161:10 162:17ones(2) 43:1 97:17
object(7) 23:24 24:8 150:18 199:17 202:2 162:24 163:17 164:4 164:18 164:24           ongoing(6) 16:9 16:14 35:19 148:13 217:8
                                                                                                                                   our(60) 13:7 13:13 14:1 14:3 19:3 19:3
261:20 266:3                             165:16 166:1 166:18 167:25 168:9 168:13 258:13                                            19:8 19:13 19:22 22:14 25:8 45:1 45:14
                                         171:2 171:19 172:5 172:21 172:25 173:12                                                   45:21 49:14 50:8 54:13 56:12 57:18 57:21
objection(10) 18:16 18:17 23:20 25:8     174:14 174:24 176:20 177:4 177:21 178:6 online(1) 31:12                                   57:22 64:22 65:7 65:20 66:21 75:12 81:8
26:11 26:14 106:11 137:8 199:9 199:15 178:12 180:5 180:17 181:16 182:5 182:5 only(33) 13:13 36:10 39:6 41:16 42:6                  81:9 89:21 94:2 96:15 141:12 141:13
                                         182:10 183:22 184:5 187:17 188:2 188:16 52:17 56:8 66:23 67:17 81:22 101:24               141:14 141:15 146:11 151:16 151:17
objections(4) 258:7 258:9 259:4 265:14   190:9 190:18 191:17 192:5 194:3 194:5       110:15  141:8  155:7   155:12  156:9  174:5
                                                                                                                                   151:18 159:1 175:7 175:7 175:12 183:21
objective(4) 122:14 122:16 152:6 206:22 194:22 195:1 196:8 197:7 198:13 199:13 189:12 193:13 208:20 227:21 240:20                  184:12 185:13 185:14 204:13 217:8 217:10
objectives(2) 116:13 116:14              201:17 204:5 204:23 205:4 205:22 205:25 240:20 240:21 240:22 240:23 240:24                 219:3 257:1 258:4 261:16 261:17 262:7
objectors(1) 258:23                      207:2  207:17  207:24  208:2 209:23  211:10 247:11  249:11   259:15  261:5  264:5  266:20
                                                                                                                                   262:8 262:11 262:23 263:2
obligate(1) 116:23                       211:17 212:9 212:11 212:24 213:10 213:16
obligated(4) 212:24 213:2 213:7 247:19    214:8 215:11 216:23 217:21 217:24 218:4onto(13) 20:5 49:24 66:3 66:17 67:19 70:3
                                                                                                                                   out(70) 24:11 28:4 43:13 43:20 46:14
obligation(2) 40:1 58:13                 218:10 218:21 222:5 222:20 224:7 224:22 71:5 72:23 78:2 80:11 81:3 99:1 266:2
                                                                                                                                   48:18 56:9 64:2 65:18 66:9 66:25 67:8
obligations(5) 70:16 74:7 80:13 107:10   225:19  225:25  226:12  226:22 229:3  230:7
                                                                                                                                   67:12 68:3 73:19 79:6 84:25 86:8 91:17
208:5                                    231:13 232:4 232:11 232:17 233:11 234:20open(2) 257:3 264:19
                                                                                                                                   94:15 100:13 101:10 101:12 101:18 101:18
                                          236:9 236:17 239:6 240:4 240:13 240:17 opening(3) 259:22 261:18 261:24
                                                                                                                                    102:3 102:9 102:10 102:12 103:8 103:12
observation(1) 230:4                     241:7  242:8  242:10  242:25 244:1  244:23  operate(6) 23:9   53:23  195:20  196:14       103:15 103:25 106:4 115:17 121:19 122:2
observed(1) 129:9                        246:2  246:9  246:25  247:20 251:10  251:21 196:15 226:24                                 124:6 124:18 124:19 124:23 125:7 125:9
                                         253:24 254:16 255:10 256:6 256:20 257:7
obtain(3) 116:24 116:25 144:13                                                                                                     128:1 132:22 134:9 135:13 135:22 137:23
                                         257:23 259:2 259:5 259:13 263:9 263:14 operating(22) 27:18 27:22 44:16 73:21
obtained(1) 118:22                                                                                                                 143:11 149:13 153:11 155:10 155:13
                                         263:15 264:4 264:8 264:9                    74:6  74:12  74:15  74:22  75:9  77:13  77:16
obviously(10) 119:20 215:21 225:17                                                                                                 156:12 163:25 165:24 175:7 182:8 185:12
235:11 251:16 258:3 258:22 259:25 260:2                                              80:12 80:17 80:19 81:14 93:11 189:18          186:15 187:25 188:9 190:18 192:11 202:17
261:3                                                                                195:14 203:8 205:5 206:2 249:9                 223:8 234:14 239:12 250:21
                                         okay(3) 264:14 264:15 265:8
occasion(1) 255:17
                                         old(2) 47:20 157:24                         operation(1)  53:22                           outbid(2) 230:3 231:11
occur(8) 110:12 117:10 129:21 143:20
                                         olinsky(1) 9:29                             operational(2) 31:15 207:16                   outcome(1) 268:15
143:23 146:24 146:24 208:17
                                         omnibus(1) 260:8                            operations(7) 70:13 70:14 74:13 74:19         outflow(1) 84:22
                                         once(2)  196:19 253:18                      77:10  80:17  84:2
occurred(6) 110:3 118:15 118:16 234:7                                                                                              outlier(1) 33:1
246:22 253:1                                                                                                                       outlived(1) 31:22
                                                                                     opined(3) 109:20 110:1 110:6                  outs(1) 121:13
occurring(1) 32:25                                                                   opinion(22) 23:2   23:8 25:3  27:1  39:22
                                                                                                                                   outset(2) 37:15 122:7
october(7) 48:11 48:20 50:11 79:4 79:13                                              39:22 51:24 65:11 87:24 88:1 88:5 88:19
                                                                                                                                   outside(4) 146:13 146:13 199:9 236:12
122:2 205:25                                                                         88:24 89:14 110:6 110:10 110:19 139:17
                                                                                                                                   outstanding(1) 119:20
                                                                                     196:8 213:10 245:12 253:6
odds(1) 268:9
Page : 18                                                                                                                                                   04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 289 of 306
Word                        Page:Line    Word                         Page:Line   Word                          Page:Line     Word                        Page:Line
over(46) 17:19 18:2 18:25 19:1 27:5 29:22paragraph(31) 111:4 111:6 114:18 117:5 percent(98) 27:19 27:21 28:14 29:23           picked(3) 62:14 63:12 63:19
 29:24 30:11 30:17 36:25 49:24 51:20 59:5118:5 139:1 139:2 145:10 146:7 147:5     29:24 35:23 36:4 37:22 38:3 38:7 38:23 pickering(1) 5:39
 59:13 66:3 68:6 68:17 70:3 71:5 72:23 148:4 150:24 163:2 167:20 217:5 218:3 39:5 39:6 40:20 40:24 40:24 41:17 41:18 picking(2) 28:14 29:25
75:3 75:18 76:7 76:8 77:14 78:1 87:20 218:8 218:9 229:21 231:16 232:23 233:11 41:21 41:22 48:16 48:22 49:13 60:14 61:9picks(1) 63:14
97:21 97:22 111:15 118:11 128:7 148:11 236:17 240:4 240:5 240:18 241:8 244:1 61:10 62:4 62:5 62:15 62:17 62:20 62:25 picture(2) 36:23 249:13
159:9 159:10 172:16 188:17 189:17 190:20247:6 247:9 252:5                         63:2 63:4 65:22 65:23 65:25 67:14 73:17 piece(3) 96:22 140:17 204:21
 196:22 198:7 207:2 207:3 208:15 243:6                                            73:20 73:23 78:15 79:16 81:11 90:21         pieces(1) 188:24
267:18                                   paragraphs(1) 43:11                      93:10 93:11 93:15 94:10 102:13 137:25 piper(1) 3:4
                                         parent(3) 66:24 67:2 67:11               163:9 163:11 163:12 165:2 165:2 165:8 place(9) 14:6 54:2 59:3 106:25 144:21
overall(13) 28:16 37:22 59:3 64:22 94:11 park(4) 2:43 4:15 5:21 10:4              165:9 168:20 172:10 175:8 175:10 177:19 196:2 216:24 241:18 253:21
94:21 175:10 175:11 185:10 196:4 227:7 parke(1) 3:25                              177:19 177:21 178:1 178:1 178:25 179:1
227:11 235:5                             part(22) 17:21 22:9 22:14 25:2 68:23 72:2180:11 180:14 182:13 182:13 183:18          placed(3) 74:20 126:12 145:25
                                          76:5 76:6 112:20 122:18 130:11 136:22 183:18 183:22 183:24 184:4 184:6 184:6 plan(72) 24:12 34:25 35:3 35:6 35:17
overfunded(3) 217:18 218:12 218:16       147:8 159:4 166:17 187:2 189:10 189:21   185:13  185:14  187:9  187:12  187:13 189:6 35:22 35:23 36:13 37:1 37:1 37:23 37:25
overfunding(8) 217:15 217:20 217:21      213:12 213:14 236:18 264:5               189:18 190:5 197:1 210:10 217:9 226:4 38:21 39:6 41:8 41:16 41:17 41:19 42:6
217:24 218:14 218:17 218:19 221:1                                                 226:16 226:16 227:3 227:11 250:11 251:1 42:20 42:22 44:25 45:18 46:8 74:3 85:17
                                         participants(12) 82:16 114:23 114:24                                                 90:1 107:16 126:23 141:14 153:7 153:23
overlaid(1) 49:18                        115:8 115:11 115:14 115:15 115:16 115:25percentage(2) 147:18 250:13                  189:21 217:4 217:9 217:23 218:18 219:20
overpay(1) 255:18                         244:7 244:15 244:22                     perfect(1) 267:14                           220:15 220:16 221:4 221:17 223:20 223:21
overpaying(2) 90:5 214:13                                                         perfectly(2) 267:8 267:10                    223:23 224:12 224:16 224:17 224:20
overtakes(1) 186:6                       participated(1) 63:17                    perform(6) 38:22 47:22 62:22 66:8 86:11 225:1 225:7 225:15 257:1 258:2 258:4
overview(3) 21:11 49:25 61:2             participating(2) 194:14 243:15           95:7                                        259:23 259:24 262:8 262:8 262:11 263:5
overwhelming(1) 69:17                    particular(13) 55:23 57:10 69:2 97:2                                                 265:14 265:21 265:22 265:25 266:1 266:7
overwhelmingly(1) 32:22                  139:18 207:23 219:8 221:5 243:16 243:22 performance(33) 21:20 34:8 35:2 35:8         266:13 266:17 267:25 268:3 268:6
owed(5) 57:18 57:24 195:12 197:24 200:20243:22 243:23 246:20                      35:8 35:10 35:13 35:17 36:20 36:23 36:25
owes(7) 58:12 195:20 195:21 196:6 196:20                                          41:21 42:2 42:19 44:7 44:9 44:13 45:16 plan.”(2) 216:7 216:11
 197:14 197:21                           particularly(1) 251:3                    47:3 47:21 49:16 73:14 74:2 85:15 85:22 planned(1) 223:18
                                         parties(32) 13:3 22:11 49:22 55:3 111:13 85:24 140:11 141:15 147:9 147:22 152:10 plans(6) 189:12 215:13 218:12 218:15
own(12) 95:16 97:16 99:15 121:14 124:13 113:4 113:20 114:7 116:18 123:14 150:15 159:22 159:24                                 266:22 268:4
165:19 168:14 174:18 185:6 207:9 220:17 150:25 151:5 232:5 240:7 257:10 257:24
226:13                                   258:8 259:6 259:14 259:18 259:20 259:21 performed(8) 21:22 22:3 22:3 49:24 50:3 plausible(1) 97:8
owned(2) 67:14 119:23                    260:3 260:5 260:19 264:16 264:22 264:25 50:9 64:13 107:22                            play(7) 41:16 63:14 92:10 93:6 94:6 94:8
owner(2) 243:16 243:16                   265:6 268:8 268:22                                                                   94:24
ownership(1) 216:11                                                               performing(5) 17:21 21:12 51:17 54:1
o’melveny(1) 6:4                         partner(3) 8:31 15:20 229:5              88:19                                       playback(2) 198:16 270:7
o’neal(1) 6:47                           partners(9) 9:4 9:4 10:26 10:42 11:28                                                played(1) 19:24
p.a(1) 1:33                              11:28 11:36 11:45 11:45                  performs(2) 95:7 229:6                      plaza(3) 2:26 3:33 4:6
p.m(4) 127:12 212:3 212:3 269:2                                                   perhaps(5) 25:4 130:14 147:18 261:4         please(119) 14:5 14:8 14:10 14:20 15:1
                                         parts(1) 93:2                            268:20                                      16:18 18:21 20:1 21:10 22:24 26:21 27:12
pack(1) 70:18
package(2) 214:10 216:5                  party(10) 10:26 12:12 45:23 46:1 49:19                                               28:22 30:25 32:14 33:8 34:20 36:18 37:17
                                                                                  period(37) 22:16 29:23 34:4 34:5 44:8
page(185) 15:12 16:11 16:17 18:21 19:18 161:11 161:18 258:21 258:24 266:9                                                     38:11 40:10 41:10 41:11 43:10 44:15
                                                                                  62:21 65:24 77:15 80:3 85:16 90:23 91:1644:16 45:8 45:9 49:6 49:25 51:4 52:13
20:5 22:24 26:21 27:9 28:4 28:18 28:19
                                                                                  101:6  103:8  126:16  129:10  135:8 135:16
30:7 30:24 31:13 33:3 33:9 33:24 34:1 parver(5) 4:13 23:21 23:22 25:7 25:10                                                   54:11 54:23 55:22 60:4 62:9 63:5 63:9
                                                                                  135:20 137:9 137:12 138:8 159:9 159:11 65:2 66:3 66:17 66:18 67:24 70:6 71:8
34:18 36:15 37:14 37:17 38:7 40:4 41:10 passes(3) 97:1 97:3 97:4
                                                                                  182:7 183:10 186:12 186:16 187:7 206:15 72:23 72:24 74:9 76:15 80:15 81:3 81:5
44:15 44:17 45:8 46:23 46:25 47:1 48:4 past(1) 208:15
                                                                                  206:16 222:18 250:4 250:24 251:3 251:4 82:6 83:7 84:9 88:23 95:4 98:4 99:4
49:4 49:24 51:2 51:3 52:9 54:5 54:8 57:6 patience(1) 261:6
                                         patrick(1) 6:35                          267:19                                      102:21 102:25 104:18 104:19 106:18
57:6 60:24 63:5 64:5 65:12 66:3 66:17
                                         pattern(2) 48:23 149:23                  periods(2) 62:18 206:21                     107:17 107:20 108:13 110:25 111:3 117:15
67:22 69:1 70:3 71:5 72:23 74:4 76:8
77:7 78:3 78:21 80:11 81:3 81:25 82:25 paul(1) 7:9                                pernick(1) 1:34                              118:7 118:19 119:3 127:13 135:10 144:11
83:12 85:10 86:21 91:3 93:19 95:2 98:3 pause(2) 83:1 106:14                       perpetual(9) 185:20 185:21 185:23 186:7 145:11 146:9 147:5 148:5 149:3 161:16
102:20 104:13 107:13 107:20 108:8 108:9 pay(36) 21:8 22:4 23:11 53:15 53:18       186:19 186:20 189:4 191:5 252:20            162:25 163:6 168:8 180:19 184:14 185:9
110:25 111:6 114:12 117:4 117:4 118:1 53:24 55:10 55:16 67:20 68:1 68:4 68:19                                                 198:15 202:3 207:12 214:22 217:7 218:3
118:4 130:19 131:22 132:6 132:14 132:15 68:19 89:19 89:22 99:10 110:1 111:17      perpetuity(24) 91:18 92:12 164:1 166:13 224:7 224:14 229:14 229:22 231:5 231:17
132:24 133:2 133:4 134:2 135:16 138:23 123:1 195:22 198:21 202:21 203:5 204:11 167:18 168:1 168:11 168:15 175:20 179:10232:17 236:1 236:22 239:6 240:19 241:21
143:8 144:8 144:19 145:8 146:4 146:7     204:20 205:1 206:15 206:21 212:24 213:3 179:18 179:19 183:5 184:22 186:2 186:3 242:20 245:15 246:16 248:25 249:17
147:1 147:5 148:2 149:2 150:23 151:21 213:7 214:7 219:4 222:11 248:20 250:9 186:4 186:6 186:16 186:23 187:19 188:23 249:18 249:25 253:24 253:25 254:4 254:6
152:4 153:11 161:4 161:6 162:14 162:23                                            190:12 252:7                                255:11
162:24 163:24 167:17 167:24 170:10       paying(3)  90:3 227:15 228:5
170:13 170:14 170:19 171:9 173:23 177:4 peaked(1) 30:14                           personally(2) 20:18 20:20                   pleasure(1) 264:10
177:5 177:12 177:12 177:13 177:24 177:24pearl(2) 163:22 251:25                    persons(1) 238:18                           plotted(1) 45:23
 177:24 178:15 178:24 182:11 182:16      peer(1) 87:16                            perspective(7) 34:23 52:16 88:18 89:9       plus(4) 64:6 96:13 170:15 260:13
183:16 184:8 187:6 191:19 203:13 203:15 peers(5) 96:7 168:11 212:15 212:21 252:7 189:14 209:11 217:11                         podium(1) 13:18
205:4 205:8 205:19 205:22 206:5 206:11 peg(1) 11:5                                                                            point(54) 10:37 10:37 16:4 16:11 36:2
215:1 215:4 215:11 217:4 218:1 218:8                                              pertains(2) 169:24 196:13                   44:14 45:7 46:8 67:8 73:19 75:14 79:6
                                         pending(1) 268:7
223:4 223:15 224:7 224:9 224:11 224:22 pennock(1) 7:16                            peter(4) 8:20 10:11 10:43 43:7              82:5 84:15 85:11 86:8 90:11 94:15 96:2
229:19 230:22 231:2 231:15 231:15 233:15pennsylvania(1) 1:43                      pgm(5) 167:18 167:20 167:22 168:10 252:6100:20 102:1 102:9 102:11 124:4 126:7
 239:12 239:14 240:4 240:14 241:4 241:11                                          phantom(3) 224:17 224:25 225:14             137:17 138:3 139:19 140:16 140:18 145:15
                                         pension(11) 217:4 217:5 217:8 217:12
242:14 242:21 246:15 247:5 247:24 248:2 217:14 218:12 218:15 218:23 219:1 221:17phelps(7) 10:30 62:24 62:24 65:23 175:22 147:13 149:21 151:8 152:13 152:14
248:14 248:14 249:18 252:2 254:4 254:5 246:9                                      177:8 183:13                                152:23 153:3 160:17 175:7 180:10 190:24
255:7 256:6 256:7 256:7                                                                                                       195:25 211:25 222:16 233:24 242:24 256:1
                                                                                  phone(2) 20:12 264:1                         257:2 259:6 262:2 262:4 262:7 263:2
                                         people(10) 22:19 72:11 73:7 89:9 90:3
                                         98:11 170:1 210:15 255:17 265:4          phones(33) 20:12 57:11 57:12 57:13 57:20
pages(8) 22:8 112:4 153:6 177:11 178:7                                             58:3 58:19 58:23 58:24 59:19 64:9 64:11 pointed(8) 24:11 159:5 159:19 176:11
203:8 209:10 247:21                                                               67:1 89:18 124:6 124:23 124:24 125:1        187:24 190:18 221:5 247:1
                                         per(11) 40:16 82:11 149:10 181:9 181:11
                                                                                  125:3 125:7 151:8 194:10 194:14 196:23
                                         181:13 181:15 181:19 181:22 182:2 182:3
paid(4) 90:11 223:3 250:3 250:20                                                  197:8 197:9 197:13 197:21 198:9 201:5 pointing(5) 36:5 121:22 185:12 216:22
paired(1) 33:13                                                                   201:16 201:19 201:25                        221:18
                                         perceive(1) 105:20
paper(2) 96:22 158:2                     perceived(2) 149:25 150:1
papers(3) 40:6 41:3 41:11                                                         phrase(3) 163:13 234:20 234:24
                                         perceives(1) 102:2
                                                                                  pick(3) 63:11 63:22 128:7
Page : 19                                                                                                                                             04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 290 of 306
Word                         Page:Line    Word                          Page:Line    Word                         Page:Line    Word                         Page:Line
points(19) 92:5 97:4 97:21 98:25 99:10 presented(17) 60:6 60:10 61:4 135:16          professor(102) 19:8 19:9 19:10 24:13 26:5 proposed(5) 260:12 265:17 265:22 266:3
113:25 135:13 136:8 136:20 136:20 136:22141:3 151:16 152:1 152:17 152:18 152:23 32:9 32:11 32:15 32:16 32:24 33:1 45:22 266:17
 136:23 250:2 250:7 250:12 250:13 250:15155:2 161:11 183:24 212:21 258:25 260:5 49:18 53:10 58:2 58:18 61:11 63:13 73:13
250:18 251:13                             266:5                                      73:25 86:20 87:12 87:14 87:25 88:20 89:7proposition(1) 32:21
                                          presents(2) 103:4 103:9                    89:16 90:20 91:6 91:25 93:6 93:12 93:25 prospective(1) 243:16
polatsek(1) 10:23                         preserve(1) 210:12                         94:5 94:13 94:21 95:1 95:6 96:24 97:19 prospects(2) 29:7 29:14
policy(2) 100:14 101:5                    preserves(2) 183:1 183:1                   97:25 98:19 100:20 102:24 103:3 103:9 provide(8) 21:10 49:25 112:3 150:15
polk(4) 2:4 8:19 109:7 128:14             president(2) 14:24 215:6                   103:15 103:20 104:1 104:3 104:20 107:5 171:24 219:25 220:1 236:25
poor(2) 37:4 162:1                        press(1) 113:11                            108:2 108:12 108:16 108:18 108:21 128:24
poors(2) 72:9 72:10                       pressure(5) 31:15 86:4 116:10 128:3         161:10 161:19 161:21 162:3 163:7 164:19provided(5) 117:7 130:3 130:8 135:2 207:7
portfolio(2) 19:23 19:24                  presumably(2) 196:1 222:15                 165:1 165:19 168:14 168:16 170:5 171:24 provides(4) 15:4 22:10 207:10 224:17
portion(5) 60:21 60:22 62:13 231:10 251:6presumes(1) 196:14                          175:9 175:12 176:5 176:8 187:24 190:18 providing(2) 236:11 238:3
portions(1) 24:25                         presumption(1) 52:23                       190:23 191:2 197:25 198:3 198:13 198:16 proxy(2) 46:14 124:18
position(2) 14:23 233:7                   pretty(6) 30:15 79:7 184:12 184:16 202:10199:15 200:2 200:4 209:23 211:11 218:1 pryor(2) 12:8 12:8
positive(7) 97:8 97:17 190:10 210:25       202:20                                    218:21 219:9 224:23 227:3 227:10 238:23 public(30) 15:25 19:4 21:18 63:6 64:19
225:6 225:12 225:17                                                                  242:14 252:11 255:15 255:17 255:20 262:9113:11 113:11 117:17 117:23 124:17 130:3
                                                                                      262:20 270:9                              130:9 130:10 130:13 130:22 132:18
                                          previous(1) 258:21
possibility(3) 97:23 147:23 259:21        previously(2) 120:15 258:18                                                          134:10 134:18 137:5 137:14 137:15 141:22
possible(7) 55:7 98:16 116:9 161:2 201:24 price(26) 107:19 107:22 108:5 108:18       profits(1) 214:2                           141:23 142:8 142:12 191:23 214:24
209:8 266:7                               126:15 128:20 139:3 145:12 146:11 149:6 program(2) 90:14 222:1                       228:16 232:8 238:19
                                          149:14 181:3 181:9 182:2 182:3 202:10 programs(3) 214:4 214:14 214:18
post(2) 180:17 266:3                      202:19 229:5 231:22 231:25 232:7 232:8 progress(1) 268:23                            publication(1) 163:21
post-lbo(3) 22:1 69:18 70:21              241:16 241:17 241:19 253:12                progressed(1) 151:18                      publicly(2) 113:7 192:7
post-retirement(1) 218:12                                                            progresses(1) 121:17                      published(1) 101:19
potential(7) 82:20 95:20 230:3 240:9      priced(1) 266:21                           prohibition(1) 236:18                     publisher(1) 46:20
253:21 259:17 262:5                       prices(9) 99:2 108:13 125:14 129:10 137:6prohibits(1) 236:10                         publishers(1) 32:1
                                           137:6 139:2 139:16 238:17                 project(2) 155:9 169:9                    publishing(24) 27:17 27:18 27:21 27:23
potentially(2) 115:17 243:25                                                         projected(6) 35:7 35:12 44:23 76:25       28:1 28:6 28:7 28:15 28:19 29:7 29:11
potter(1) 4:4                             pricing(5) 61:8 139:12 140:3 144:7 169:19 106:24 204:15                              29:13 31:6 36:21 37:19 37:22 43:8 63:16
power(3) 241:15 242:4 243:19              primarily(1) 268:11                                                                  73:18 93:12 153:22 155:19 177:15 183:17
ppearances(4) 1:21 2:1 4:1 5:1            primary(1) 144:3                           projecting(1) 155:22
pperances(1) 3:1                          primoff(3) 4:14 13:20 13:20                projection(9) 43:14 46:6 91:16 155:7      publishing/broadcasting(1) 187:13
practice(1) 15:21                         principle(2) 71:2 88:23                    156:17 157:18 162:12 176:16 243:22        pull(6) 32:9 90:6 104:12 106:2 107:14
practices(1) 240:10                       principles(4) 235:7 235:8 235:16 237:13                                              107:17
practitioner(1) 237:1                     print(1) 31:12                             projections(212) 13:15 17:13 17:16 17:18
                                          printed(1) 135:22                          17:21 21:21 21:22 21:23 21:24 26:20       pulled(1) 43:3
practitioners(2) 167:10 231:18
                                                                                     26:23 26:24 27:2 27:3 27:7 27:16 29:6 pulls(1) 176:22
pratt(17) 170:5 171:24 197:25 198:3       prints(1) 132:22
                                                                                     29:12 29:12 33:7 33:10 33:12 33:12 33:21purchase(4) 73:16 101:5 149:10 202:8
198:13 198:16 199:15 200:2 200:4 200:11 prior(39) 15:19 15:20 16:9 29:10 29:20
                                                                                     34:15 35:1 35:4 35:15 35:19 35:25 36:11 purchased(1) 105:11
200:24 229:9 230:25 238:23 242:15 244:1831:23 33:23 34:6 34:13 35:2 36:12 39:3
                                                                                     37:11 39:10 39:13 39:14 39:21 39:24 40:1purchasers(4) 231:19 231:20 231:21
 270:9                                    39:4 39:10 39:16 39:17 39:21 45:12 45:17
                                                                                     42:24 44:9 44:20 45:2 45:7 45:13 45:15
pratt's(2) 239:8 240:13                   46:15 48:1 71:18 83:23 85:16 96:6 96:8                                               pure(11) 60:16 63:14 91:15 91:18 92:10
                                                                                     45:20 45:23 45:25 46:2 46:9 47:19 47:20 93:6 93:13 94:6 94:8 94:24 183:2
pre-cash(1) 164:12                        98:10  103:11  103:18  144:21  152:13 153:21
                                                                                     47:23 47:25 48:2 48:6 48:12 48:15 48:17
pre-lbo(3) 22:1 70:19 108:17               160:15 167:24 205:19 206:11 226:5 250:6
                                                                                     48:20 49:13 49:15 49:19 50:8 50:9 50:10
preceding(1) 160:13                       255:3                                                                                purely(2) 92:6 199:22
                                                                                     50:11 50:13 60:9 60:10 62:17 65:4 66:5
precise(2) 57:5 190:17                                                                                                         purple(1) 49:19
                                                                                     66:7 66:11 66:15 68:9 68:15 68:16 71:13
precisely(1) 258:1                        private(2) 122:9 122:14                                                              purpose(6) 24:18 166:10 238:3 238:6
                                                                                     71:15 71:16 73:11 73:15 73:17 74:15
precision(3) 57:4 147:18 208:10           proactive(1) 268:17                        74:24 75:17 76:22 77:12 78:21 79:4 79:10258:11 258:16
predicated(2) 74:24 98:23                 probability(9) 102:13 137:25 138:1 147:18 79:10 79:11 79:14 81:10 85:12 85:23
predict(1) 169:11                          148:17 148:22 148:25 148:25 251:1         85:25 86:2 89:6 89:8 89:10 89:11 89:12 purposes(14) 42:2 57:2 58:17 72:18 112:9
predicted(2) 170:16 171:11                                                           96:21 96:23 97:15 98:22 102:2 102:15      118:10 120:7 160:10 197:10 200:9 200:18
predicting(1) 169:12                      probably(2) 260:25 263:12                  102:17 108:4 108:7 112:13 124:13 124:16 227:14 238:5 239:4
prediction(1) 238:12                      problem(4) 89:15 97:17 104:11 185:22       126:8 126:8 137:15 140:9 140:15 140:16
prefer(2) 128:8   265:8                   problematic(9) 76:4 77:3 81:18 90:15       141:7 141:14 141:17 141:20 141:25 142:5 purposes.”(1) 217:13
preferred(1) 238:12                       92:11 92:23 95:8 182:25 189:25             142:6 142:7 142:10 142:12 142:19 150:7 pursuant(3) 21:19 78:8 225:4
preliminary(2) 13:8 264:18                                                           150:7 150:11 150:17 151:1 151:11 151:19 put(33) 42:2 42:21 42:22 82:15 89:6 97:7
premise(8) 196:13 196:16 196:17 233:17    problems(4)  159:5  190:19 251:7  266:7    152:10 152:19 153:1 153:8 153:12 155:3 128:3 136:14 147:7 147:14 147:17 147:25
233:22 233:25 234:3 235:24                proceed(5) 18:18 128:12 212:4 212:9 262:2155:3 155:8 156:6 156:15 156:21 156:24 148:25 153:11 164:24 167:9 170:22 172:23
                                          proceeding(2) 100:24 267:13                157:10 157:20 157:24 158:3 158:10 158:12177:9 177:11 180:23 195:25 196:1 209:11
                                          proceedings(7) 1:17 1:47 13:14 21:19        158:14 158:14 158:18 158:20 159:6        218:4 220:17 220:25 221:16 222:1 228:18
premises(1) 237:11
                                          52:15  135:24  269:7                       159:20  159:23   160:3 160:4 160:5 160:8  253:18 259:4 262:17
premium(20) 61:10 61:11 99:9 99:11
168:22 168:25 169:6 169:7 174:24 175:2                                               160:9 160:22 161:12 161:19 161:20 181:1
175:6 175:7 175:8 175:9 175:10 175:11 proceeds(10) 57:18 76:18 77:25 81:16           181:2 181:14 181:24 189:17 203:4 203:19 puts(1) 265:11
250:2 250:5 250:7 250:10                  116:12 119:4 205:6 205:10 205:13 206:5 203:19 204:8 204:9 204:15 205:20 206:1 putting(6) 73:10 75:3 96:21 156:12 158:2
                                                                                     206:12 207:4 207:10 208:2 208:3 208:8 189:22
premiums(1) 168:25                        process(5) 98:24 138:14 138:15 156:22      208:10 208:12 208:19 208:20 210:14 223:6
prepared(15) 21:23 29:20 35:25 72:8       267:20                                      226:4 226:14 227:7 248:11 248:12 249:2 puzzled(1) 59:22
132:25 133:5 134:24 155:17 156:15 183:24                                             249:3  249:5 249:12 250:18 251:8          qualified(4) 18:3 18:6 18:9 18:14
 184:1 202:23 203:3 246:17 260:18         produced(3) 1:48 21:16 21:19                                                         quarter(6) 35:9 35:11 73:14 101:13
                                          product(2) 188:5 225:22                    projects(1) 79:17                         101:15 137:20
preparing(2) 156:17 156:21                prof(1) 9:8                                proofs(1) 261:21
present(6) 52:19 142:24 151:17 178:9      professional(7) 17:15 55:24 158:5 163:10 properly(1) 266:21                          quarters(1) 101:21
198:19 199:3                              191:16 211:7 246:4                         prophesy(1) 238:11                        quartile(1) 63:22
                                                                                     proponents(10) 24:13 107:16 257:1 258:2 quasi(1) 91:24
presentation(10) 30:10 33:4 83:13 102:23 professionals(2) 18:25 19:4                 258:4 259:23 259:25 263:5 265:15 265:21 quershi(1) 2:39
132:25 133:10 133:24 146:4 178:22 215:1                                                                                        question(19) 31:19 70:10 106:8 126:13
                                                                                     proportional(2) 80:4 96:17                130:9 137:9 138:16 142:11 148:16 151:13
presentations(3)  133:5 264:25 265:2                                                 proportionate(1)  80:1                    183:3 194:20 195:17 199:23 199:25 200:25
                                                                                     proposal(2) 253:10 253:18                  252:16 255:13 263:16
                                                                                     proposals(2) 253:11 253:11
                                                                                                                               questioning(1) 123:19
Page : 20                                                                                                                                             04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                     Page 291 of 306
Word                        Page:Line    Word                           Page:Line      Word                         Page:Line   Word                         Page:Line
questions(5) 178:20 182:6 236:3 249:16   reactions(2) 95:24 95:25                      recessionary(3) 186:11 186:12 186:15     reinvested(1) 76:1
252:11                                   read(61) 42:11 43:10 46:22 53:10 58:18 recognition(9) 27:14 31:5 55:25 68:14           rejected(3) 91:12 158:12 160:8
                                         86:21 104:3 111:3 113:5 114:21 117:15 73:6 102:15 116:5 146:1 147:21                   rejects(2) 56:3 193:14
quick(1) 152:21                          118:6 118:18 119:16 120:4 120:13 120:17                                                relate(6) 64:11 103:20 103:23 107:4
quickly(5) 40:8 55:7 116:9 122:12 156:24 144:11 145:10 146:8 146:17 147:5 148:5 recognize(19) 29:14 32:6 35:17 56:17            252:17 264:17
quite(2) 40:25 158:4                     151:8 154:10 161:16 163:5 164:3 164:5 63:24 85:23 85:24 114:24 115:25 120:22
quote(16) 31:10 31:13 31:14 31:18 31:20 167:14 167:17 167:20 168:7 172:7 173:4 140:7 170:6 189:9 213:21 214:1 229:3             related(23) 13:15 15:6 16:21 17:16 37:2
31:24 68:4 72:23 73:1 73:12 73:12 209:9 173:9 207:12 217:7 218:3 218:4 224:14 229:8 238:22 252:21                               37:6 84:14 103:10 104:22 122:10 152:25
209:10 242:25 243:6 252:16               229:22 231:5 231:17 232:1 236:21 238:9                                                 161:25 189:23 191:3 204:12 204:21 204:24
                                         238:16 240:5 240:19 242:1 242:6 242:23 recognized(14) 32:24 44:21 46:7 47:23            207:21 210:8 250:3 250:5 251:7 255:2
quoted(2) 233:8 234:5                    243:2 247:5 247:6 247:7 252:4 252:16          74:17 82:17 87:4 87:7 87:9 98:12 116:1
quotes(6) 24:4 30:25 31:3 31:4 31:23     255:15 256:13                                 181:18 185:3 199:19                      relates(7) 29:1 33:6 36:22 37:4 42:23
209:13                                                                                                                          169:18 169:18
                                         reading(5) 115:10 197:4 239:16 242:20         recognizes(4) 123:7 145:19 208:12 238:23
qureshi(50) 13:4 13:5 13:25 14:15 14:19 256:14                                         recognizing(7) 38:19 44:6 73:25 208:8    relating(1) 236:11
15:9 15:11 18:13 18:19 18:20 23:18 25:11                                               208:9 251:6 252:19                       relationship(6) 35:13 42:19 94:9 135:15
25:12 25:15 25:16 25:20 25:23 26:1 26:9 real(16) 53:14 86:22 87:1 87:8 87:25 88:5                                               169:5 251:20
26:16 26:17 27:10 27:11 34:19 34:21       88:10 88:15 103:6 118:11 141:16 175:12 recollection(8) 114:12 125:13 129:9
36:16 36:17 43:3 43:6 83:3 83:5 83:8     188:8 213:21 220:7 243:1                      130:15 135:6 139:7 201:18 201:20         relationships(1) 142:3
83:10 83:11 104:10 104:16 104:17 106:9                                                                                          relative(9) 35:9 36:7 36:24 47:24 85:15
106:16 106:17 109:4 137:8 150:18 199:14 reality(4) 208:24 229:22 229:23 230:1          reconvene(1) 126:23                      85:18 141:15 190:19 232:14
202:2 245:8 245:10 255:10 255:12 255:24 realize(1) 268:1                               record(21) 13:5 14:10 15:9 24:18 31:8
                                         really(33) 31:19 42:21 44:11 58:15 58:24 41:23 43:10 46:22 104:10 114:21 118:7 relatively(2) 144:2 152:1
raise(5) 13:10 14:5 76:13 259:16 261:2   68:9 75:8 79:9 81:20 85:23 87:16 88:8 118:19 118:24 128:14 199:15 247:7 257:3 releases(3) 113:11 265:18 266:22
raised(4) 13:17 36:7 80:1 265:14         94:8 94:11 97:20 101:22 103:10 103:18 257:5 258:19 261:22 264:19                       relevance(10) 27:12 31:1 40:11 58:22
ralph(5) 14:2 14:7 14:12 14:13 270:3     104:22 125:21 147:7 147:13 194:1 210:13                                                62:10 69:2 72:25 98:5 104:19 108:14
ramp(4) 101:6 101:8 126:9 141:14         221:24 239:17 251:13 261:20 265:23            recorded(1) 1:47
ramped(1) 85:17                          265:24 265:25 267:20 267:21                   recording(2) 1:47 269:6                  relevant(9) 23:4 47:7 64:17 65:17 70:6
ramps(1) 141:14                                                                        records(1) 142:2                         72:17 115:7 231:8 251:3
ran(2) 72:10 81:10                       realm(1) 96:1                                 recoup(2) 36:12 48:1
range(15) 20:24 56:24 56:25 63:10 72:17 reason(14) 36:25 56:1 90:4 100:3 116:7 recovering(1) 32:4                               reliability(1) 88:4
79:3 79:21 93:18 107:25 109:1 178:3      118:6 118:8 122:5 193:21 208:3 227:2          recovers(1) 32:4                         reliable(2) 27:1 88:1
183:21 184:2 184:6 228:11                227:5 227:6 233:6                             recovery(3) 15:21 146:15 186:19          reliably(1) 107:15
                                                                                       recross(3) 255:25 256:2 270:2            reliance(2) 85:11 151:1
ranges(1) 226:15                         reasonable(24) 34:13 35:20 41:1 45:4          red(10) 37:22 45:11 45:12 48:14 48:15    reliant(2) 75:10 77:17
ranging(2) 161:22 179:6                  68:15 71:15 72:3 72:4 72:5 72:18 76:20 49:16 94:5 203:20 203:24 248:6                  relied(5) 25:2 25:13 184:21 187:2 256:18
rate(84) 38:12 38:15 39:5 40:13 41:14    78:17 79:14 79:21 83:20 84:5 97:12
                                                                                                                                rely(7) 93:6 150:11 150:16 179:18 181:17
48:16 48:21 48:23 49:11 49:14 58:19      179:20 185:1 188:8 208:19 228:11 231:7 redeemed(1) 125:4                               184:23 207:25
60:13 60:20 61:9 62:15 62:16 62:23 63:1  249:4                                         redirect(3) 245:7 245:9 270:2
65:13 65:21 65:22 66:1 79:16 153:15      reasonableness(17) 17:20 21:25 27:3 29:5 redline(7) 30:7 30:9 30:11 30:16 33:10        relying(3) 75:7 141:11 160:7
159:9 159:17 160:21 162:22 164:1 164:15 35:15 39:22 42:24 68:8 79:3 79:9 86:2 33:20 250:4                                       remain(3) 14:5 31:17 216:24
165:18 165:24 166:13 166:19 166:24 167:5 96:2  142:4  142:9  185:11  211:9   221:4
                                                                                                                                remainder(6) 37:25 45:7 84:24 85:18
 168:1 168:11 168:15 172:21 173:12                                                     reduce(5) 80:3 96:16 206:21 222:12 222:2591:17 140:16
174:25 175:20 176:2 177:22 178:25 179:3 reasonably(15) 55:12 55:15 68:12 71:3          reduced(2) 105:7 105:9
179:10 179:18 179:19 179:21 183:5 184:3 77:4 77:25 95:21 110:5 110:7 110:14            reducing(3) 206:16 218:15 218:22         remained(1) 119:19
184:22 186:6 186:19 186:21 187:20 188:4  123:4  125:22  204:16   209:3  249:8
                                                                                       reduction(4) 80:2 211:4 211:5 219:19     remaining(2) 40:17 251:8
188:23 189:4 189:7 190:4 190:12 196:24                                                 refer(2) 84:6 233:11                     remember(2) 62:16 164:25
197:4 197:8 197:15 199:1 207:25 225:20 reasoning(4) 139:21 194:3 236:18 237:4 reference(10) 42:2 58:19 67:9 133:14              remembering(1) 70:22
226:3 226:18 226:19 226:25 227:3 227:4   reasons(12)  71:14  92:23  95:9  112:1  122:9
                                                                                       135:9 147:4 167:23 173:21 185:10 217:18 remind(1) 14:2
227:9 227:10 227:10 227:11 252:8 252:13  139:10  168:13   169:20  182:23   183:7  243:15
                                          243:17                                                                                remote(2) 145:13 145:15
254:12                                                                                 referenced(5) 43:2 179:20 184:25 217:16 render(1) 89:9
rates(31) 44:24 45:17 45:19 59:2 59:3                                                  217:17
                                         rebuttal(21) 25:17 26:2 88:25 128:24                                                   rendered(2) 110:6 110:10
59:5 62:9 62:10 65:15 138:17 144:13
                                         161:5  162:24  176:5   190:21  191:1  209:24                                           rendering(2) 88:19 89:13
157:20 157:23 158:9 158:17 158:19 158:20                                               references(2) 24:4 39:15
 158:23 159:3 159:16 160:7 160:18 163:3 211:18 257:11 257:16 257:25 258:6 262:3 referred(5) 43:22 126:18 144:22 203:7           reorganization(1) 135:23
163:10 176:9 182:12 185:12 190:10 191:5 262:6 262:10 262:25 263:6 266:8                                                         repeat(2) 166:21 261:23
                                                                                       253:3                                    rephrase(3) 183:3 222:6 222:7
251:22 252:20
                                         recalculate(3) 65:20 173:10 174:15                                                     replace(4) 90:2 223:25 224:3 224:5
                                                                                                     148:1 180:16 204:24 204:25 replaced(6) 90:12 214:4 214:5 221:16
rath(3) 3:18 3:20 5:34                   recall(48) 58:1 59:17 66:16 113:5 113:22 referring(9)
                                                                                       210:13 234:19 243:2 244:10 244:20        223:25 224:2
rather(10) 31:11 41:14 54:2 59:16 118:11 113:25 128:20 128:21 139:14 139:20 150:9
164:15 165:14 224:9 241:24 266:18         151:18  152:11   152:21  152:25  153:14
                                         165:1 165:1 176:24 180:1 188:1 190:4          refers(2) 129:14 129:16                  replacement(1) 221:18
                                                                                       refinance(1) 213:11
rating(10) 22:11 22:20 82:19 98:4 98:8 190:7 190:8 190:23 190:25 195:4 197:2 refinancing(5) 83:18 83:19 84:1 84:4 85:5 replete(1) 24:4
98:11 98:14 98:17 98:17 98:21            202:22 203:5 203:11 211:13 211:15 211:17                                               replied(1) 235:8
                                          211:22 211:23 230:14 234:8 234:10            reflect(14) 33:14 34:15 77:24 78:17 80:1 replies(2) 259:23 259:25
ratings(1) 98:7                          234:21 235:5 238:10 248:1 256:13 256:14 92:12 92:13 101:24 156:24 157:23 160:15
                                         256:17 256:19 258:6                           188:24 231:22 238:18
ratio(2) 69:6 96:7
rational(4) 94:9 240:23 240:24 240:25                                                  reflected(1) 261:16
ratios(1) 70:4                           recalled(1) 152:13
                                         recap(1) 225:3                                reflection(1) 98:18
raymond(1) 9:8                                                                         reflects(4) 93:23 109:1 124:2 140:6
re-compute(1) 65:16                      receive(7) 75:20   76:2 77:24  77:25  99:11
                                         116:11 119:4                                  refresh(2) 114:12 130:14
reach(2) 56:21 77:6                                                                    refused(1) 24:15
reached(7) 23:1 65:3 66:20 81:6 85:3                                                   regard(3) 257:21 260:1 260:15
85:20 86:13                              received(9) 57:17   77:20  81:17  107:15
                                         197:22 205:7 205:13 206:6 270:15              regarding(3) 120:25 149:19 232:13
                                                                                       regardless(3) 139:11 223:22 266:11
reaching(1) 25:3
                                         recent(2) 31:9  43:16                         registration(1) 117:10
react(1) 96:12
                                                   83:2 83:6 126:23 127:11 127:12 regulatory(7) 55:5 116:1 118:21 118:25
reaction(5) 139:3 140:23 140:24 140:25 recess(7)                                       122:11 144:2 148:24
141:2                                    212:1 212:3

                                                                                   reignited(1) 234:6
Page : 21                                                                                                                                              04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                     Page 292 of 306
Word                        Page:Line    Word                         Page:Line    Word                            Page:Line      Word                         Page:Line
report(103) 22:5 22:7 22:10 22:14 23:2 return(10) 101:4 136:8 136:9 136:19         riskiest(3) 102:12 137:23 250:25               say(38) 65:16 78:4 79:8 86:22 88:9 96:19
23:14 23:15 23:25 24:1 24:4 24:8 24:14 169:3 169:5 210:17 250:10 250:22 268:23 risking(1) 144:13                                  118:20 135:12 140:2 141:12 144:20 158:22
24:14 24:16 24:23 25:18 26:2 26:3 26:10                                            risks(5) 144:11 144:15 145:2 145:9 146:14 162:16 162:16 164:8 184:1 198:3 198:14
26:21 42:12 42:17 54:2 56:20 59:21 60:6 returning(1) 264:10                        risky(1) 145:20                                198:17 200:5 200:9 204:23 209:5 220:8
64:4 66:2 67:10 68:2 82:23 83:14 84:12 reuters(1) 154:4                            road(3) 82:21 98:17 198:18                     221:24 233:16 244:23 251:11 261:12 262:5
85:7 86:6 86:6 86:16 86:21 88:25 89:1 rev(1) 75:1                                  robert(5) 3:30 6:17 9:9 10:19 11:23             262:20 264:23 265:21 267:4 267:5 267:8
102:24 104:8 104:11 106:11 108:12 110:23reveals(1) 44:11                           rochester(1) 7:43                              267:9 267:10
 110:25 113:17 114:12 116:16 118:4 122:6revenue(13) 27:22 31:11 73:20 73:22        rockefeller(1) 3:33
122:19 128:24 135:17 138:24 140:2 144:6 93:10 95:18 148:10 153:22 154:1 154:16 rodney(1) 2:18                                     saying(15) 49:22 53:2 88:14 97:20 120:16
147:1 148:2 150:23 153:6 154:6 155:2     154:22 155:22 237:17                      roger(6) 229:3 229:5 229:6 229:7 229:8 123:6 123:10 132:19 180:21 200:4 221:7
155:19 156:6 159:1 161:5 162:24 165:9                                              229:17                                         221:11 221:14 243:21 244:18
173:23 176:5 179:14 183:21 183:22 188:10revenues(5) 73:18 103:23 153:16 154:12
 190:15 190:18 190:21 191:1 191:19 192:2160:25                                     rogers(1) 8:44                                 says(33) 31:10 64:6 67:4 116:22 117:14
192:6 199:16 203:18 204:10 205:1 209:5                                                                                            118:5 139:11 161:15 165:9 168:6 170:13
                                                                                   roitman(1) 5:24
209:10 209:24 211:18 218:1 220:10 224:23reversal(1) 33:21                                                                         171:6 171:23 174:11 192:21 216:3 225:4
                                                                                   role(3) 19:20 19:25 20:1
 225:19 233:8 237:18 246:15 247:2 253:1 reverse(1) 31:15                                                                          231:4 233:22 236:20 236:23 238:2 240:4
                                                                                   roof(1) 69:14
253:9 262:10 267:24                      review(7) 83:13 87:16 117:1 117:11                                                       243:3 243:14 244:2 245:2 252:5 254:17
                                                                                   rosenbaum(2) 163:22 251:25
                                         148:19 167:13 190:16                                                                     254:18 254:19 265:12 266:1
reports(7) 16:9 24:22 25:1 26:5 34:9                                               rosenblatt(1) 3:29
270:16 270:17                                                                      rosenman(2) 10:20 11:24
                                         reviewed(5) 21:15 134:11 164:16 183:9                                                    scale(8) 99:9 135:21 138:7 138:10 138:17
                                                                                   rosner(1) 10:6                                 138:20 149:23 249:25
                                         209:11                                    round(5) 45:1 193:3 198:17 261:19 262:1
represent(2) 58:15 250:2
representation(3) 58:15 71:17 133:16                                               rounded(1) 54:17                               scaled(1) 249:20
                                         reviewing(1) 22:13                        royal(2) 8:43 8:43
representative(1) 41:12                  revise(4) 46:9 46:12 152:9 156:24                                                        scales(1) 138:16
represented(4) 141:4 238:20 265:1 265:9 revised(6) 33:13 39:19 46:11 48:19 48:20 rubins(1) 114:4                                  scaling(1) 135:12
represents(5) 33:10 33:17 123:23 244:5 49:11                                       rudnick(2) 4:26 6:14                           scenario(3) 51:18 51:25 72:11
244:24                                                                             rule(3)  24:1 236:9   236:18                   scenarios(5) 80:21 80:21 222:19 249:10
                                                                                   rules(8) 51:9 234:12 234:25 235:4 235:14 266:4
                                         revision(1) 48:21                         236:4 236:5 245:1
request(5) 24:11 24:12 50:12 66:7 152:3 revisited(2) 168:12 252:8
require(3) 169:3 209:7 226:8             revisiting(1) 44:5                                                                       schaible(1) 2:10
required(8) 37:12 38:1 48:1 116:8 237:1 revolver(2) 77:18 96:25                    ruling(3) 237:17 264:18 264:18                 schedule(3) 84:20 130:18 214:24
238:13 247:15 258:12                                                               run(7) 38:12 38:15 39:5 40:13 40:18            scheme(1) 175:11
                                         richards(2) 2:16 8:27                     41:14 91:17
                                         rifkind(1) 7:9                                                                           scholer(3) 4:12 11:19 23:23
requirement(1) 146:23                    rigger(1) 88:6                                                                           schott(1) 9:5
requirements(4) 16:8 16:10 118:23 243:3 right(178) 13:19 14:4 14:6 29:21 30:6      running(3) 38:18 40:15 96:22
                                                                                                                                  schotz(1) 1:32
requires(2) 16:13 52:21                                                            runs(1) 60:12
                                         36:14 38:6 49:3 52:4 54:8 60:8 71:10                                                     schuylkill(1) 1:42
reset(1) 45:5                                                                      rushabh(1)   9:25
                                         82:9 83:4 93:24 98:10 103:14 105:3                                                       schwartz(1) 9:9
resolution(2) 267:17 267:21                                                        russano(1) 2:7
                                         105:13 105:16 105:16 106:12 106:22                                                       schwinger(1) 3:30
resolved(2) 258:13 267:18                                                          sp (10) 72:7 72:7 72:13 98:14 149:22
                                         107:25 108:12 110:8 110:15 112:6 112:21 210:23 211:2 211:3 211:3 211:14                  scni(1) 75:11
resolving(1) 258:19                      113:5 113:8 113:14 113:15 114:6 119:1                                                    scope(2) 199:9 266:14
respect(87) 13:11 20:7 24:6 24:25 26:4   119:8 122:20 123:18 123:19 123:21 124:14                                                 scotland(2) 8:43 8:43
29:3 31:4 31:7 31:13 33:1 38:17 39:16                                              s-corp(10) 52:10 52:17 52:23 52:24 52:25
                                          124:17 124:21 125:3 125:5 127:2 128:12 53:5 213:2 213:5 215:25 219:18                   scott(2) 7:22 10:16
39:16 42:20 45:18 47:18 48:5 48:9 48:24 129:23 130:13 130:19 131:23 132:13 134:7                                                  screen(13) 32:11 43:4 104:13 106:19
49:1 50:18 51:12 52:10 53:25 55:9 55:9 134:22 135:23 135:24 136:2 136:3 136:6                                                     107:14 130:20 131:9 132:15 135:11 135:12
63:23 64:18 65:14 65:21 67:3 67:9 67:18 139:8 140:22 141:1 141:22 143:3 143:6 s-corps(1) 212:22                                    147:2 154:10 218:6
68:20 69:14 83:17 85:4 86:13 98:15                                                 saavedra(1)   8:9
                                         143:9 149:11 150:1 154:7 154:14 154:23
104:19 107:10 109:23 116:12 121:13 131:9154:25 155:4 155:6 155:12 155:23 155:25    sachs(2)  7:21  7:21
                                                                                                                                  scripps(2) 174:7 174:9
 135:21 137:22 137:25 139:22 139:23      156:1 156:10 157:21 158:23 159:2 159:11 safe(1) 268:25                                   seasonality(1) 39:4
142:1 144:24 144:25 145:23 149:23 158:9 159:15 159:15 161:12 162:5 163:15 164:9 said(31) 32:18 90:22 101:20 112:9 113:19 seated(3) 14:8 83:7 127:13
162:2 164:23 189:3 189:16 191:4 193:15 165:3 167:15 168:5 168:20 168:22 169:1      113:24   120:18   121:24  122:4  151:22  167:13
                                                                                                                                  second(43) 35:11 35:11 73:12 101:13
195:12 196:2 198:4 201:15 201:15 203:4 169:11 169:14 170:6 171:22 172:2 172:13 170:2 174:15 182:4 190:11 200:5 200:6 104:13 105:12 111:2 111:6 117:5 117:7
204:20 204:21 207:1 207:19 211:2 219:4 173:15 174:3 174:6 174:10 174:19 175:23 219:14 224:4 227:2 227:5 227:6 227:16 137:20 144:7 145:9 146:4 148:4 150:24
219:8 223:13 223:16 225:14 226:14 226:17175:24 177:22 178:1 178:4 178:8 179:4 227:18 234:22 235:1 235:10 243:5 252:13 161:7 161:15 163:5 165:15 170:20 170:24
 235:6 236:14 248:19 249:1 257:15 258:13179:16 181:12 181:19 182:22 183:3 183:3 262:24 263:22                                     171:13 171:21 172:7 172:8 173:4 173:8
266:14                                   183:19 184:19 186:3 187:2 187:24 188:11                                                  177:12 178:24 182:11 183:16 192:25 215:4
                                         192:8 192:13 192:18 193:7 203:1 203:21    sale(2) 53:21  230:8
                                                                                                                                   216:10 224:10 229:21 232:23 232:24
respective(1) 267:1                      203:25 204:21 205:16 205:20 206:3 206:8   sales(14)  75:10  76:16  76:19  76:20  77:20
                                                                                                                                  236:20 240:4 261:19 262:1
respectively(2) 23:7 218:13              206:9 209:18 209:21 210:3 211:14 211:14   80:23   81:16  97:5  97:6  97:7 204:6  205:6
respond(1) 258:3                         213:6 213:19 214:11 214:16 215:22 216:12205:10 206:6                                     secondarily(1) 97:13
response(4) 26:12 150:20 219:14 262:6     219:21 220:2 222:6 225:9 226:2 226:20                                                   secondly(1) 24:25
responsibility(1) 40:1                   227:19 228:15 230:17 232:24 234:2 234:12  same(25)   30:1  41:13  41:25  46:14  49:15
                                                                                                                                  section(7) 68:3 86:17 144:8 231:4 238:2
responsible(2) 47:9 47:16                 235:13 237:4 237:16 237:22 238:5 239:1051:23 65:19 66:14 68:24 80:12 90:7               238:9 247:2
                                         239:13
rest(6) 37:13 38:4 41:21 46:9 47:24 146:18        240:13  243:25 244:17 245:6      110:13
                                                                              248:13        162:13   178:14  179:12  182:1  192:6
restructuring(1) 15:5                     259:11 260:25 264:15 267:11 267:14       196:10   203:9  212:18   235:14  241:4  241:11
                                                                                   243:4 248:22                                   sections(1) 187:18
result(10) 33:19 52:18 57:5 88:1 92:23                                                                                            sector(1) 20:4
122:9 136:13 167:2 228:18 268:4                                                                                                   secular(19) 28:1 28:20 28:23 28:24 28:24
                                         right-hand(3) 28:3 38:10 93:20            sample(1) 31:4
                                                                                   sanity(1)  167:25                              30:3 30:21 31:6 31:12 31:15 32:5 32:6
resulting(2) 64:4 191:6                  ripe(1) 264:21                                                                           32:23 32:25 38:25 83:22 93:12 148:13
results(13) 33:14 33:18 36:1 47:12 49:9 rise(1) 136:2                              sat(1) 75:6
                                                                                                                                  160:14
54:13 94:10 94:12 95:8 151:2 156:25      rising(1) 250:14                          satisfaction(1) 117:20
                                                                                                                                  securities(6) 12:4 12:4 194:15 214:25
161:21 189:3                             risk(44) 31:17 61:9 61:10 61:11 82:14     satisfactory(1)  258:16
                                                                                                                                  238:7 238:11
                                         98:7 98:18 100:2 100:23 100:24 102:2      satisfied(3) 25:8 204:6 247:17
resume(1) 127:14                         102:4 102:14 102:16 102:18 105:20 126:6 satisfy(1) 201:25
resumed(1) 128:15                        136:8 136:23 137:5 140:1 140:7 143:23 savings(11) 53:5 53:14 78:7 89:20 89:24
retained(3) 20:6 20:8 20:11              144:12 146:1 146:8 146:10 149:25 150:1 162:4 162:7 162:11 213:17 213:21 214:3
retention(1) 218:18                      150:4 168:22 168:25 169:1 169:11 169:15
retire(1) 202:16                         169:16 170:14 170:15 171:2 174:25 175:8 saw(6) 29:10 37:15 76:19 101:13 181:3
retirement(1) 216:5                      175:8 175:10 266:2                        216:18

                                          risk-free(1) 197:4
Page : 22                                                                                                                                                04/08/11 17:17:47
                               Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                  Doc 8446-3 Filed 03/21/11                                       Page 293 of 306
Word                         Page:Line    Word                            Page:Line      Word                           Page:Line     Word                         Page:Line
see(212) 19:1 28:8 28:10 29:24 30:12      sensitivity(6) 72:7 72:8 81:8 81:9 81:11 sheet(27) 21:5 22:3 23:5 23:6 49:23 50:1 similar(15) 21:13 24:12 40:12 45:19 48:5
30:14 30:17 31:6 31:13 32:11 33:17 33:20183:25                                           53:25 54:9 55:9 65:10 66:4 66:18 86:12 49:8 60:9 64:25 65:6 107:21 149:22
35:21 35:22 36:3 36:5 36:7 36:22 36:25                                                   86:15 87:2 88:21 109:23 111:7 111:23         149:24 158:15 203:3 235:10
37:3 37:8 37:19 38:1 38:22 39:12 39:14 sentence(39) 111:2 116:20 117:14 117:15 112:2 121:7 122:24 123:16 123:18 142:24
39:15 40:14 41:14 42:4 42:16 44:10 45:11118:6 118:7 118:18 119:3 119:10 119:16 222:20 266:23                                          similarly(10) 26:9 48:11 65:24 66:25
48:12 48:13 48:14 48:24 49:14 54:7 54:16119:17 120:4 139:11 144:10 144:11 145:9                                                       168:6 168:7 168:9 240:23 252:5 262:19
59:11 60:8 60:12 60:20 62:18 62:20 64:21146:9 146:18 148:5 148:6 152:5 161:15 sheffield(1) 10:27
65:22 66:8 69:8 69:18 71:15 72:13 74:23 163:5 168:6 170:18 170:22 207:11 229:21 shelves(1) 128:6                                      simple(2) 108:15 126:13
76:19 81:13 82:15 83:24 86:5 88:11 90:19230:7 231:16 232:24 236:20 236:22 238:10sheron(1) 10:5                                        simply(11) 31:11 44:21 45:16 66:22 69:6
93:15 94:7 94:17 94:22 96:24 98:10 101:1 238:16 238:21 241:21 243:3 243:5                shift(2) 31:12 32:5                          105:17 115:1 157:19 158:17 161:17 188:22
101:2 101:6 101:7 101:22 102:4 102:18                                                    shifting(1) 266:2
103:16 105:10 105:13 105:16 106:22        sentences(7) 111:3 111:4 111:19 114:18 shmikler(1) 11:16                                    sina(1) 11:46
106:23 108:25 114:19 121:16 126:14        114:22 224:14 231:5                            short(4) 68:15 90:23 152:1 211:25            since(5) 20:16 198:1 213:6 221:25 261:3
131:24 132:1 132:19 132:22 132:23 133:1                                                  shorter(1) 68:20                             single(16) 55:1 55:3 116:15 120:23 121:11
133:6 133:21 133:23 134:3 135:4 136:16 sentinel(4) 28:11 28:12 42:8 42:9                 shortfall(1) 75:9                             122:6 122:7 122:16 123:15 127:23 143:16
136:18 136:19 137:16 137:21 137:22        separate(6) 64:13 117:18 191:13 191:14 shortly(1) 46:14                                     191:11 245:17 245:21 245:21 245:24
137:24 142:25 144:7 146:10 149:14 149:21237:8 240:15
                                                                                         should(53) 15:8 23:13 39:18 43:19 43:19
 149:23 149:24 152:16 152:18 152:18                                                      46:13 46:16 52:5 52:6 53:15 53:17 58:23 sir(92) 14:14 14:21 17:6 17:12 20:6 20:16
153:8 153:17 153:19 153:22 154:2 154:12 separately(2) 57:21 194:19                       71:18 80:4 80:5 87:18 92:13 95:19 131:2321:10 22:24 23:14 26:19 27:12 28:5 33:3
154:19 154:20 155:21 160:25 163:3 163:6 september(1) 122:2                               132:9 134:5 139:25 148:12 150:16 153:8 34:22 36:18 37:17 39:9 42:11 42:25 43:10
164:1 168:2 170:8 170:11 170:16 170:17 serengeti(2) 8:11 8:12                            160:19 160:22 168:12 176:2 176:4 176:18 44:2 46:3 46:18 46:22 48:9 49:7 50:14
170:17 170:20 171:1 171:7 171:11 171:14 series(2) 252:11 267:17                          177:1 184:24 185:20 196:9 196:10 197:8 52:9 54:8 56:21 58:8 59:18 64:25 70:3
171:23 174:23 177:12 177:16 177:19        serve(1) 267:25                                197:12 206:14 209:3 240:20 252:8 256:10 71:5 74:4 76:8 76:11 77:6 80:8 81:25
178:17 178:24 179:1 180:9 180:14 181:2 serves(1) 172:23                                  257:25 258:5 261:19 261:25 262:13 262:2382:22 85:8 86:7 86:17 94:13 95:4 98:5
182:12 182:12 182:17 182:18 184:2 185:13                                                                                              106:9 106:25 107:4 108:14 117:22 118:14
                                          service(16) 1:41 1:48 16:21 68:11 68:22 263:8 264:17 264:20 268:11
 187:14 191:23 192:15 192:22 203:23       70:12 70:13 74:7 74:12 77:10 80:12 81:14                                                    119:22 120:10 126:13 127:3 139:14 140:22
204:13 205:8 207:11 207:22 208:4 210:24 203:24 206:2 206:24 228:2                                                                      141:19 142:8 142:11 142:21 147:12
                                                                                         shouldn't(2) 162:16 222:2
211:13 214:18 215:2 215:10 215:12 215:16                                                                                              156:12 158:12 173:21 190:4 191:8 209:2
                                                                                         shouldn’t(1) 220:8
 216:2 216:8 216:21 217:1 217:5 218:21                                                                                                213:10 217:14 224:20 227:13 227:21
                                          services(3) 1:41 15:6 19:14                    show(16) 43:1 46:18 55:17 66:17 69:1
218:23 220:12 223:5 223:6 223:8 223:15                                                                                                231:13 231:23 232:11 241:25 244:8 245:12
                                          servicing(2) 71:1 208:18                       74:6 104:7 128:23 143:8 143:12 180:2
223:18 223:21 224:2 224:4 224:10 224:12                                                                                                246:19 248:17 252:16 253:5 254:21
224:25 225:1 226:15 229:7 229:22 231:4    serving(1)   167:25                            191:22   192:12  192:17  207:3  242:20
                                          set(39) 30:25   35:8 35:18  36:6  37:1  39:14                                               255:13 255:18 255:22 256:11 256:22
232:25 233:13 235:4 236:21 241:9 242:14
242:15 243:21 246:14 250:14 251:20 252:839:21 40:5 51:8 57:7 60:24 62:8 67:22 showed(10) 82:7 134:24 205:19 210:10
 253:20 254:17 254:19 256:8 256:10        75:15 77:7 78:2 78:20 98:3 102:23 109:8 211:3 211:3 211:17 226:14 229:10 249:19 sit(7) 113:25 180:1 188:3 211:13 211:15
                                          138:15 158:9 163:25 212:12 234:12 234:14                                                    242:2 244:17
264:24
                                           234:20 234:25 235:4 235:7 235:8 235:14 showing(16) 30:8 37:17 67:16 80:12 98:8
                                          237:13 257:16 257:18 258:9 258:11 258:15106:10 108:13 135:3 136:24 171:9 183:25 situation(3) 104:24 194:23 243:12
                                           265:14                                        184:9 192:6 192:25 202:23 205:25             situations(1) 107:7
seek(1) 260:14                                                                                                                        six(10) 15:18 19:11 28:8 28:13 37:15 40:6
seem(1) 79:8                                                                                                                           41:11 84:25 106:10 250:11
                                          setbacks(1) 209:8                              shown(15)   45:22  100:17  120:18  129:11
seems(2) 96:2 200:24
                                          sets(4) 17:19 68:3 77:8 239:12                 136:22 149:8 161:15 161:17 199:23 205:6
seen(38) 30:23 31:3 31:4 39:13 41:5 42:17                                                                                             sixth(1) 43:18
                                                                                         210:1 248:1 251:12 254:23 261:7
 44:5 44:7 50:24 50:25 51:11 51:14 51:23 setting(1) 77:18                                                                             sixty-eight(2) 27:19 93:10
52:1 52:8 59:15 67:16 68:7 72:12 72:13    settle(1) 58:16
86:23 86:25 87:19 89:5 89:9 90:5 100:19 settled(3) 99:21 264:20 266:18                   shows(39) 29:18 29:21 30:11 30:21 34:25 sixty-three(1) 40:23
                                                                                                                                      size(22) 168:22 168:25 169:3 169:4 169:6
104:25 120:23 142:19 164:17 194:10 198:7settlement(4) 99:18 138:13 265:17 266:20 36:23 37:23 46:1 47:3 49:20 54:12 67:4 169:7 169:16 169:17 169:17 169:18 169:22
 217:16 217:16 217:18 222:1 225:14        seven(6)  36:9  82:11  84:25  100:5  125:19    67:5  70:17  77:14  79:2  80:17  94:17 95:12
                                          182:18                                         104:1 105:3 105:5 107:18 107:22 136:4 169:23 169:24 171:3 171:6 174:24 175:2
                                                                                         136:7 136:23 138:3 149:13 153:15 174:2 175:3 175:6 175:6 175:7 175:11
sees(1) 35:6
                                          seventy(1)   62:4                              174:9 181:10 181:11 181:13 207:13 207:18
segment(7) 37:19 37:22 188:12 188:16                                                                                                  sizes(1) 171:9
                                          seventy-five(3) 93:9 93:14 94:10                253:6 253:8
189:5 190:5 190:10
                                          seventy-four(2) 27:21 40:24                                                                 skadden(1) 7:29
                                          several(4)  79:22  81:12  230:9  231:19        shows”(1) 207:12                             skip(2) 19:16 31:10
segments(1) 190:9
                                          severe(7)  71:24  72:14  73:4  125:18  136:11  shrekgast(1) 12:13                           skipping(1) 16:16
seife(1) 3:28
                                          250:23 251:16                                  sic(1) 106:22                                slate(1) 7:29
seiler(1) 7:48
                                                                                         side(15) 27:9 28:3 29:17 30:6 34:18 36:15 slater(1) 11:13
select(2) 177:11 184:3
                                                                                          38:7 49:3 57:15 57:24 71:9 71:10 248:2 slide(5) 60:1 62:8 65:2 84:6 99:1
selected(12) 37:20 37:21 38:2 38:17 63:9 severity(4) 40:2 44:6 44:13 137:20              248:15 249:22                                slightly(1) 70:19
65:21 71:21 181:13 184:15 209:20 210:1 shachar(1) 8:24
                                          shaded(1) 42:1                                                                              slope(7) 45:20 49:15 79:10 79:10 79:16
210:3
                                          shades(1)   104:1                              sides(2) 233:4 260:21                        160:12 160:15
selecting(1) 201:15
                                          shamah(1) 6:7                                  sidley(2) 1:23 6:20
selection(2) 66:1 92:9
selects(1) 201:13                         shannon(5) 7:16 170:5 229:9 230:25 239:8siegel(1) 4:27                                      small(6) 21:6 23:9 95:17 95:20 97:18
                                          shape(1)   195:16                              sieger(1) 11:25                              smaller(5) 75:22 169:1 172:22 174:8
sell(11) 76:12 105:21 117:8 240:8 240:23
                                                                                         significance(3) 38:10 44:3 106:25            smith(2) 11:41 11:41
241:7 241:17 241:20 241:22 245:24 245:25share(30) 29:19 29:22 30:1 30:4 106:23
                                          108:5 108:6 108:18 108:22 108:24 108:25 significant(42) 30:16 36:4 36:8 37:5 37:9 societies(2) 235:18 237:25
                                                                                         44:22 61:12 62:13 70:8 73:19 73:21 75:6 society(3) 234:17 235:18 246:7
seller(8) 52:22 53:4 239:18 239:18 239:23 149:10 149:14 180:15 181:3 181:9 181:11
                                          181:13   181:15   181:19  181:22  182:2  182:3 76:5 76:6 77:1 77:22 79:16 82:18 83:24 sold(2) 195:13 250:8
239:24 241:15 241:16
                                          188:17 188:19 224:18 224:18 232:8 253:1285:1 86:3 89:15 91:22 97:18 100:7 100:8 solely(1) 181:17
                                           264:20                                        101:3 101:8 102:2 102:4 102:14 105:20 solid(1) 33:19
sellers(9) 230:3 230:7 231:11 240:10                                                     137:16 137:18 137:21 140:7 140:21 148:10solvency(63) 17:22 18:4 18:15 21:6 26:24
240:21 240:23 241:1 241:19 242:3                                                          151:20 166:16 189:22 227:6
                                          shareholder(3) 146:13 146:23 213:7                                                          26:25 27:2 50:2 50:4 50:17 51:17 51:24
selling(1) 76:23                          shareholders(5) 55:6 116:9 116:11 122:12                                                    54:24 57:8 57:14 57:19 58:17 67:3 86:13
                                          213:4                                          significantly(16) 30:17 30:18 61:13 63:14 88:1 88:19 88:19 89:10 89:11 89:13 97:2
senior(8) 19:2 19:3 19:3 19:8 100:13                                                     73:23 75:2 85:18 92:24 137:7 141:14
100:15 266:1 266:3                                                                                                                    98:6 98:19 104:5 104:21 107:6 109:21
                                          shares(12) 108:17 117:9 149:10 194:19          147:23 148:11 188:6 202:11 202:20 250:14111:7 115:18 116:3 118:10 120:6 121:25
                                          216:17 220:15 220:15 220:23 221:9 221:13                                                    140:3 142:24 143:12 143:25 144:1 147:24
sense(6) 97:14 119:12 195:17 210:11                                                      silver(2) 10:37 10:37
                                           221:17   231:6                                                                             149:20 150:3 194:11 194:12 194:23 195:18
236:24 262:24
                                                                                         silverstein(1) 4:5                            196:6 196:17 197:10 198:2 198:12 200:18
                                          shaya(1) 7:43                                  simes(1) 9:45                                221:21 225:17 236:5 236:11 239:5 246:20
sensitive(1) 158:23
                                                                                                                                      255:3

Page : 23                                                                                                                                                     04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                      Page 294 of 306
Word                         Page:Line     Word                        Page:Line     Word                           Page:Line      Word                        Page:Line
solvent(1) 192:13                          spreads(9) 134:17 134:23 134:25 135:3     step(180) 21:4 21:4 26:23 31:23 33:11         sub(1) 121:2
some(65) 31:4 37:5 39:12 39:15 43:15       135:7 135:14 136:2 137:4 144:14           34:6 34:13 39:11 39:21 41:8 42:15 45:2 subject(16) 87:16 88:6 88:7 117:20 123:19
50:20 52:9 56:2 56:18 65:12 68:5 68:13                                               45:14 45:20 45:25 47:19 47:20 47:21 48:2 198:14 230:8 231:7 235:9 235:10 236:24
77:3 77:22 90:2 90:11 90:12 98:16 109:15square(1) 2:18                               48:5 48:6 48:9 49:2 49:8 49:10 49:14          237:2 257:12 258:7 259:21 260:10
114:4 116:12 118:25 128:4 134:16 136:10 squeeze(1) 267:7                             49:17 50:2 50:2 50:8 50:9 54:9 54:19
150:15 152:2 152:16 152:23 153:6 153:11 stage(2) 148:10 225:4                        54:21 54:24 54:24 55:11 55:12 55:14           subjects(1) 261:2
155:2 155:17 161:10 161:11 171:11 173:23staggering(1) 40:25                          55:15 57:11 57:11 60:9 60:11 62:22 63:6 submission(4) 16:9 259:2 263:4 263:6
 193:18 203:7 203:8 209:11 210:2 214:4 stand(3) 127:11 235:1 259:6                   64:19 64:23 64:25 65:4 65:8 65:14 65:18 submit(1) 259:12
218:17 222:16 228:12 236:3 251:16 255:14stand-alone(3) 109:22 110:2 110:12           66:4 66:10 66:10 67:5 67:6 71:8 71:16 submitted(6) 26:5 33:15 72:9 199:16
 256:6 256:8 257:10 258:4 259:5 259:17 standard(45) 50:5 50:16 50:22 51:4 51:6 71:19 74:2 74:7 76:17 76:17 78:2 78:14 257:5 261:22
260:10 262:5 262:10 264:16 265:1 265:13 51:21 51:25 52:20 52:24 53:7 62:7 72:9 78:20 79:5 80:9 80:13 80:16 81:6 81:10
266:5 267:15 268:17 268:22                 72:9 86:23 87:1 87:4 87:8 87:9 87:25      81:10 82:1 82:1 83:19 83:23 84:13 85:4 subsequent(2) 89:19 112:3
                                           88:10 88:17 89:4 89:23 90:14 162:15       85:17 86:2 86:12 86:15 95:5 96:8 96:24 subsidiaries(4) 66:18 67:15 192:3 192:13
somebody(3) 20:2 88:14 100:13              162:18 162:22 219:7 226:1 226:7 226:8 97:1 98:11 101:6 101:7 102:8 105:4 105:5subsidiary(3) 15:3 67:3 192:24
somebody's(1) 101:4                        234:13 235:23 236:9 237:3 237:22 237:23 106:24 109:21 109:22 110:2 110:2 110:4 substance(7) 111:11 112:16 118:11 119:24
somehow(1) 72:11                           239:13 239:17 239:23 244:13 246:1 246:2 110:5 110:6 110:11 110:12 110:13 110:16 122:22 123:24 124:3
someone(1) 251:18                          246:3 246:4                               111:9 111:9 111:10 112:1 112:6 114:25
something(21) 74:11 87:16 87:18 88:8                                                 115:2 115:8 115:12 115:17 115:20 115:22 substantially(2) 73:15 158:1
88:11 90:9 97:22 97:24 129:14 169:6        standards(6) 52:7 87:7 230:25 235:15      115:23 116:4 116:24 117:17 117:20 117:23
                                                                                                                                   substantive(5) 120:8 120:25 121:1 121:2
197:3 202:14 208:16 217:25 223:19 230:21237:10 240:14                                 118:8 118:9 118:13 118:15 119:5 119:5 121:5
 256:18 262:15 262:21 264:10 268:14                                                  119:20 120:6 120:6 121:6 121:6 122:1
                                           standing(1) 14:5                          122:3 123:4 124:19 126:16 137:19 139:4
                                                                                                                                   substituting(1) 161:17
sometimes(1) 230:2                         stanley(11) 8:4 63:1 130:6 130:8 133:6    140:8 143:5 143:9 143:12 143:15 143:19
                                                                                                                                   subtract(2) 192:11 254:22
somewhat(5) 35:10 49:1 92:8 113:24         133:10 133:14 133:24 175:23 178:21 180:8143:23 144:16 144:21 145:3 145:16 147:8 subtracted(1) 65:8
somewhere(3) 20:19 20:23 173:6                                                       147:15   148:21  148:22  149:8  149:10  149:18
sorry(34) 25:19 86:8 102:7 111:22 114:15 stanley's(2) 179:16 181:21                   150:2 150:4 151:3 159:5 159:24 159:25 subtracting(1) 256:10
126:19 131:8 132:17 145:17 153:23 153:24stanly(1) 31:7                               160:20   162:9 184:15 189:18 246:21 247:11succeeding(1) 159:2
                                                                                      247:15   247:19 248:12 248:22 250:14         success(1) 155:11
 153:25 156:1 161:7 164:6 170:19 174:11 stargatt(1) 5:5                                                                            successive(1) 159:3
177:5 177:6 180:10 180:21 185:7 187:6 stark(1) 6:17                                  253:17   256:22
                                                                                                                                   such(11) 21:8 40:22 67:1 98:21 104:1
192:14 193:6 207:3 214:17 217:22 229:23 start(19) 26:19 27:8 28:22 34:24 45:14
234:23 241:10 250:19 251:11 263:17                                                   steps(10) 55:2 55:5 116:15 120:24 121:12 104:25 111:10 138:7 197:17 208:10 238:7
                                           86:21 98:3 104:8 131:23 157:16 159:8      122:8 122:10 122:17 123:15 143:17
                                           159:8 159:10 166:18 203:15 245:11 247:24                                                sufficiency(1) 74:12
sort(1) 42:15                               261:10 263:5
sottile(13) 3:40 257:8 257:8 257:15 257:21                                           still(18) 41:11 46:9 56:17 73:10 80:6 97:1 sufficient(8) 46:12 53:23 64:14 70:25
 257:24 258:20 259:9 259:15 260:9 260:21started(6) 21:13 103:18 127:17 127:18        102:1 102:2 110:23 137:5 193:17 210:10 77:13 81:20 200:20 266:21
261:1 261:16                                                                         215:18 235:1 251:7 259:7 264:19 267:24
                                           156:17 156:22                                                                           suggest(2) 258:8 258:14
                                                                                     stink(1) 267:12                               suggested(1) 258:22
sottile's(1) 261:11                        starting(12) 29:16 30:15 30:19 34:24                                                    suggests(1) 241:23
sound(5) 1:47 164:13 206:8 267:25 269:6 66:21 67:22 76:24 159:15 159:17 160:17       stock(26)  57:20  64:8  64:12 90:7  90:8
                                                                                     90:10   90:13  107:18  107:22  108:13  119:19 suitable(1) 237:1
sounds(1) 206:9                            170:13 258:10
                                                                                     119:23 120:1 149:6 152:22 161:25 162:7 suite(3) 3:21 3:42 4:35
source(2) 103:13 223:17                    starts(12) 60:11 68:8 117:5 137:19 145:10 200:9 200:12 200:14 216:10 222:21 223:8 sullivan(2) 4:32 4:34
sources(3) 70:15 72:24 204:14              146:8 207:11 217:5 218:7 231:16 240:18 224:19 225:8 238:24                              sum(1) 93:2
south(4) 1:28 4:48 28:11 42:9              241:8
                                                                                                                                   summarize(3) 22:25 54:5 54:8
space(1) 17:7                              state(17) 14:10 19:10 32:12 50:16 92:14 stock-based(13) 37:6 78:8 214:3 222:5           summarized(3) 81:25 89:1 95:2
spaeder(3) 3:37 5:29 257:9                 103:19 225:20 225:22 226:10 226:18        222:8 222:15 222:17 222:18 223:2 223:7 summary(10) 23:15 23:25 24:10 24:14
speak(3) 247:8 257:12 258:23               226:21 226:25 227:3 227:4 227:8 227:9 223:19 223:22 223:23
                                                                                                                                   91:5 98:4 112:4 223:4 223:15 270:16
speaker(1) 128:11                          232:2
speaking(3) 34:15 88:7 186:4               stated(3) 148:8 237:11 237:15             stockholder(1) 120:1                          summer(1) 149:14
special(6) 3:10 7:27 63:2 231:19 231:25 statement(14) 111:25 117:1 117:10 117:12 stockholders(3) 119:4 119:21 119:23               sums(1) 152:5
257:9                                      119:11 130:18 217:11 230:10 231:13
                                                                                     stocks(1) 238:17                              sun(4) 28:11 28:12 42:8 42:9
                                           240:11 241:2 241:25 242:7 244:8
                                                                                     stop(3) 47:13 119:8 126:20                    support(12) 15:5 39:2 40:20 41:24 65:11
specialist(8) 16:18 19:13 19:15 20:2 157:1                                           stoutest(1) 265:3                             74:16 74:20 87:11 103:9 104:2 150:15
157:4 157:6 157:7                          statements(5) 58:7 120:13 197:23 237:10
                                                                                     straightforward(1) 144:2                      233:17
                                           237:15
                                                                                     strauss(4) 2:38 7:42 13:5 256:25              supported(1) 24:24
specific(29) 31:25 52:24 53:8 53:8 53:20                                                                                           supporting(1) 179:19
                                           states(6) 1:1 1:19 32:16 123:5 225:21     streams(1) 31:11
61:13 67:1 89:23 90:16 99:13 99:16
                                                                                     street(13) 1:10 1:42 2:19 2:25 3:21 3:41 supposed(2) 92:12 268:2
133:13 148:25 166:6 166:7 190:24 194:18 stations(1) 148:14
                                                                                     4:7 4:22 4:28 4:35 5:9 72:6 155:18            sure(31) 19:19 46:5 78:5 82:9 83:3 86:10
198:4 215:24 215:24 228:24 233:8 234:10 status(5) 52:18 123:24 228:14 244:12
                                                                                                                                   94:16 97:12 103:24 109:19 120:5 120:11
238:25 239:24 239:24 243:10 245:16         ste(2) 1:35 4:41
                                                                                     strike(1) 217:25                              126:21 130:16 132:3 134:23 147:16 151:10
256:19                                     ste.2600(1) 4:48
                                                                                     strikes(1) 266:11                              154:15 159:23 170:25 180:4 211:15 232:1
specifically(22) 16:21 19:23 20:4 21:2     steady(2)  92:14 103:19
                                                                                     strohbehn(1)   10:47                          235:3 247:9 247:10 258:11 259:24 263:18
22:8 36:21 75:22 103:21 113:25 119:13 stearn(1) 2:17
                                                                                     stromberg(1) 6:37                             268:13
126:9 130:7 134:12 151:9 151:18 152:24 steele(1) 20:2
188:1 210:23 224:5 229:7 233:16 244:20 steele's(1) 20:1                              strong(1) 105:21
                                                                                     structural(3) 28:25 91:7 179:25               surpassed(1) 106:6
                                           stein(1) 2:33                                                                           surplus(3) 217:8 218:23 219:1
specifics(1) 190:16                                                                  structurally(1)  266:13
specified(1) 117:21                                                                  structure(42) 21:25 22:1 29:1 61:14 61:19 surpluses(1) 95:17
                                                                                      61:24 62:1 62:2 62:3 62:5 78:9 84:2          surplus”(1) 217:5
speculates(1) 139:10
                                                                                     89:24   90:16  90:18  90:19 90:20  90:24      surprise(2) 73:7 76:4
speculative(5) 74:24 75:1 189:15 189:20
190:3                                                                                98:24 116:7 116:8 122:15 148:12 166:4 surprised(3) 44:10 151:19 259:10
                                                                                     166:5 166:6 175:14 195:15 195:15 195:23 surprising(3) 36:6 74:14 80:18
spell(1) 14:11                                                                       196:1 196:2 219:6 219:15 219:18 220:8 surrounding(1) 21:15
                                                                                     228:7 228:10 245:17 247:10 252:25 253:19suspect(2) 102:17 251:18
spend(1) 266:25
spending(2) 80:3 261:12                                                                                                            sustainable(4) 62:2 90:19 90:23 90:24
                                                                                     structured(2) 19:21 247:12                    sustained(1) 146:15
spends(1) 227:13
                                                                                     stuart(1) 9:21                                suttonbrook(2) 5:15 5:15
spent(3) 86:1 86:4 97:25
                                                                                     stuck(2) 265:6 265:10                         swap(9) 19:23 99:5 100:10 105:18 125:22
sperling(1) 11:13
                                                                                     studies(1) 99:24                              125:25 136:9 136:22 140:5
spread(7) 83:25 100:7 100:7 101:3 105:7
135:14 137:16                                                                        study(3) 118:23 214:14 214:16
                                                                                     style(1) 264:17
Page : 24                                                                                                                                                 04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                     Page 295 of 306
Word                         Page:Line   Word                         Page:Line    Word                           Page:Line      Word                        Page:Line
swaps(24) 22:21 82:12 83:25 99:2 99:6    team(5) 18:22 19:1 19:2 19:22 20:22       testimony(21) 16:23 24:24 25:4 32:10          that(301) 64:11 64:11 64:13 64:15 64:17
99:12 99:15 99:19 99:20 100:14 100:16 technical(1) 19:14                           46:19 46:22 53:10 58:18 86:21 89:7 107:564:20 64:21 65:3 65:5 65:5 65:9 65:18
105:11 125:21 126:4 134:17 134:18 138:11technology(1) 15:5                         127:3 139:20 150:9 165:18 234:11 234:21 66:6 66:19 66:20 66:24 66:25 67:1 67:4
 138:14 140:1 140:20 140:23 249:14 250:6teeing(1) 268:9                            236:5 255:15 256:19 266:7                     67:12 67:12 67:13 67:15 67:16 67:16
251:17                                   telephone(1) 263:13                                                                     67:22 68:9 68:14 68:18 68:22 69:1 69:2
                                         telephonic(8) 5:13 6:1 7:1 8:1 9:1 10:1 testing(9) 16:8 68:18 70:12 72:19 75:12 69:8 69:10 69:11 69:13 69:17 69:18 69:20
switch(1) 246:9                          11:1 12:1                                 207:21 207:23 208:23 208:23                   69:23 70:3 70:6 70:10 70:17 70:21 70:22
sworn(1) 14:7                                                                                                                    71:4 71:7 71:14 71:23 71:24 71:25 72:2
syndicate(1) 105:20                      television(1) 31:16                       tests(9) 22:4 53:19 78:6 109:23 204:12        72:3 72:8 72:11 72:13 72:14 72:14 72:17
syndicating(1) 83:24                     tell(30) 14:20 15:1 20:6 20:16 24:21 32:14204:20 204:23 204:24 208:17                   73:2 73:4 73:5 73:8 73:9 73:10 73:14
syndication(1) 105:8                      95:5 100:21 101:15 135:20 171:18 172:8                                                 74:2 74:13 74:14 74:16 74:17 74:18 74:23
synergies(1) 228:25                      180:3 215:3 222:24 242:7 246:16 246:16 text(4) 120:17 164:17 239:8 252:17               75:1 75:2 75:5 75:7 75:7 75:12 75:20
synergistic(8) 228:21 230:1 230:2 230:9 246:19 248:8 248:17 253:5 254:9 254:9 textbook(1) 88:9                                   75:21 75:23 75:24 75:25 76:2 76:6 76:22
231:9 231:10 231:11 231:22               254:21 255:7 266:5 267:23 268:2 268:5 texts(2) 234:14 243:1                             76:23 77:8 77:9 77:9 77:23 77:24 78:9
                                                                                   than(69) 15:23 24:10 28:14 41:14 42:5         78:9 78:10 78:10 78:12 78:13 78:14 79:3
system(2) 153:13 153:13                  telling(1) 100:1                          51:21 51:25 54:2 59:16 61:11 65:7 70:19 79:8 79:24 80:7 80:17 81:5 81:12 81:13
t-u-l-i-a-n-o(1) 14:12                   tells(9) 52:16 61:25 72:16 99:22 169:2    71:24 73:4 73:23 79:22 81:12 96:13 96:1381:13 81:23 82:7 83:20 83:23 83:25 84:1
tab(51) 43:5 106:2 114:10 118:2 118:2    175:6 186:7 228:24 266:5                  97:5 100:11 114:25 123:20 124:11 136:5 84:3 84:7 84:9 84:11 84:15 84:18 84:20
130:23 135:2 138:23 144:4 146:3 150:23                                             147:10 148:9 148:22 159:10 159:17 171:2184:23 85:6 85:13 85:14 85:15 85:16 85:19
153:5 154:9 155:15 163:21 164:4 170:3 tempered(1) 47:12                             171:25 173:16 174:5 174:18 177:21 179:386:3 86:13 86:23 86:23 87:7 87:12 87:12
176:6 177:6 177:6 178:21 182:6 182:9     ten(2) 31:19 60:22                        179:9 180:7 182:3 182:21 183:4 184:10 87:13 87:14 87:15 87:16 87:18 87:21
183:11 192:1 192:10 192:18 192:24 207:6 ten-million-dollar(1) 99:8                 184:19 186:3 186:5 186:5 186:23 193:8 87:22 87:25 88:1 88:2 88:4 88:6 88:8
214:21 217:3 224:9 224:22 229:14 230:22 ten-minute(2) 83:2 212:1                   194:1 198:19 199:3 201:8 201:19 205:18 88:11 88:12 88:24 89:1 89:1 89:3 89:5
232:17 235:25 237:16 239:6 240:13 240:16ten-year(1) 29:22                          206:10 208:7 219:13 232:8 233:18 241:24 89:5 89:6 89:8 89:21 89:22 90:2 90:5
 241:5 241:10 241:11 241:13 242:12       tend(7) 56:16 62:1 99:8 105:7 105:19      242:18 242:18 257:25 258:5 260:23 263:3 90:5 90:9 90:12 90:14 90:20 90:20 90:22
246:11 247:2 251:23 253:24 256:4                                                   264:23 266:18                                 90:25 91:8 92:17 92:22 92:22 93:5 93:5
                                         202:19 208:8                                                                            93:14 93:14 93:15 93:16 93:20 93:23 94:5
                                                                                   thank(43)  14:14   18:19  25:7 25:15  25:23   94:7 94:10 94:22 95:10 95:14 95:15 95:23
table(10) 104:13 106:3 153:9 183:25      tender(7) 130:2 130:14 130:17 131:24
207:10 207:11 207:11 207:13 207:18                                                 26:16 83:5 83:10 106:16 109:3 109:10          95:24 96:7 96:11 97:1 97:2 97:3 97:6
                                         132:5 149:9 270:20                                                                      97:7 97:8 97:12 97:13 97:14 97:15 97:23
207:20                                                                             127:8 127:9 127:10 129:4 131:2 131:6
                                                                                   131:19   131:20  132:13  150:6  180:6  180:20 97:25 98:10 98:11 98:12 98:18 99:7 99:8
tables(1) 128:9                          tends(3) 35:16 68:19 99:25
                                                                                   212:2  218:7   230:1  240:17  245:4  245:6    99:10 99:14 99:16 99:20 99:21 99:23
tactic(1) 265:25                         tentative(1) 264:18
take(28) 42:18 47:6 53:4 53:19 54:4 83:1 tenured(1) 19:9                           245:8 247:20 249:14 255:11 255:24 256:2099:24 99:24 100:3 100:3 100:4 100:6
89:21 95:25 106:18 108:16 118:25 119:16 term(19) 51:7 68:20 86:25 87:14 92:13       256:21 256:22 256:23 261:1 261:8 261:9 100:14 100:18 101:1 101:2 101:4 101:6
                                                                                   264:14   269:1                                101:9 101:9 101:10 101:11 101:11 101:13
122:14 160:12 171:16 171:17 199:6 233:7 92:15 92:20 185:20 185:22 185:24 186:2                                                   101:15 101:20 101:20 101:22 102:7 102:9
233:23 233:24 233:25 234:2 246:22 249:17186:3 186:5 186:8 186:12 186:23 186:24                                                   102:9 102:11 102:11 102:18 103:10 103:11
 254:21 257:25 261:25 267:11                                                       that(301) 13:9 13:11 13:13 13:21 14:1
                                         186:25 242:13
                                                                                   15:4 15:19 15:20 16:3 16:5 16:12 16:18 103:13 103:13 103:16 103:18 103:20
                                                                                                                                 103:22 103:24 103:24 103:25 104:4 104:6
taken(13) 53:15 53:17 67:12 76:21 78:10 terminal(21) 62:12 79:11 79:17 91:1 91:5 16:23 17:17 17:23 18:22 19:1 20:15 20:22104:7 104:13 104:16 104:20 105:1 105:6
108:11 197:8 216:21 239:22 247:20 256:9 91:23 91:24 92:11 92:14 92:16 92:17        20:24  20:25   21:12  21:16  21:17  21:18
267:22 268:12                                                                      21:23 22:6 22:8 22:9 22:11 22:15 23:1 105:7 105:9 105:21 106:18 106:25 107:2
                                         163:2 164:11 164:13 164:15 164:18 164:19
                                                                                   23:1 23:3 23:8 23:15 23:18 24:2 24:10 107:4 107:5 107:7 107:8 107:11 107:15
                                          166:2 166:3 166:23 167:5
takes(2) 89:18 89:22                                                               24:12 24:14 24:18 24:23 25:2 25:4 25:5 107:17 107:21 107:21 107:24 107:25 108:2
taking(5) 65:17 68:23 122:9 211:6 233:4 terminate(1) 166:11                        25:11 25:18 26:2 26:3 26:10 26:19 26:22 108:4 108:14 108:21 108:22 108:23 109:1
talk(28) 15:12 16:3 18:22 19:17 27:25                                              27:1 27:10 27:13 27:15 27:16 27:17 27:20109:1 109:2 109:16 109:18 109:20 110:4
                                         terms(100) 21:18 22:19 22:22 29:11 30:11 27:20 27:25 28:7 28:8 28:13 28:18 29:3 110:12 110:13 110:17 110:21 110:22
41:11 48:4 55:10 60:1 60:14 60:19 60:23 30:22 33:22 35:18 36:24 41:2 41:7 45:24
61:14 61:15 63:13 71:7 82:5 82:19 91:6 57:17 57:23 58:13 58:22 59:17 70:15         29:9 29:13 29:18 29:21 29:22 29:25 30:2
95:1 97:24 102:10 116:15 199:22 246:9 70:18 71:17 76:19 77:3 77:16 77:23 79:9 30:3 30:7 30:8 30:13 30:13 30:16 30:17
252:24 263:8 267:9                                                                 30:23 31:4 31:5 31:10 31:11 31:19 31:20
                                         79:20 80:4 80:25 82:13 86:2 87:17 87:19 31:25 32:6 32:17 32:17 32:18 32:18 32:21
                                         88:12 88:18 89:18 90:24 92:19 92:25       32:22 32:24 32:25 33:6 33:11 33:12 33:20
talked(30) 63:16 63:24 64:8 65:5 68:9    93:10 94:19 96:11 99:10 99:25 100:1
78:9 87:4 87:5 87:6 89:3 91:12 91:14                                               33:22 34:3 34:5 34:5 34:9 34:12 34:16
                                         100:23 101:17 105:2 114:3 114:4 116:2 34:24 35:2 35:6 35:6 35:7 35:10 35:12
92:18 93:8 93:11 109:2 118:22 121:14     121:15 123:12 124:20 125:18 126:2 126:5 35:18 35:22 35:24 36:2 36:5 36:5 36:7
122:11 129:13 140:13 180:15 180:22       135:14 135:14 136:12 136:14 136:24
182:24 191:4 191:9 193:15 208:24 249:2 138:13 138:14 140:1 140:13 141:16 147:2036:16 36:19 36:23 37:1 37:3 37:3 37:4
249:9                                                                              37:7 37:7 37:12 37:15 37:25 38:2 38:3
                                          159:5 162:14 176:23 185:11 185:23 186:838:11 38:19 38:22 38:25 39:1 39:2 39:7
talking(26) 17:24 32:7 36:21 39:7 93:24 189:13 194:14 195:3 195:18 197:24 198:6
                                                                                   39:12 39:23 39:24 40:15 40:21 41:1 41:4
101:12 108:25 116:17 120:19 120:24 121:2199:10 204:8 204:13 214:1 217:20 221:1
                                                                                   41:5 41:5 41:15 41:19 41:22 41:24 42:1
 135:20 137:10 137:11 137:18 163:2       221:2 221:22 232:15 238:7 239:4 245:18 42:3 42:6 42:7 42:7 42:16 42:16 42:21
172:18 174:17 176:15 199:8 200:11 200:24245:19 249:11 252:20 253:13 253:16
                                                                                   42:22 42:25 43:2 43:3 43:11 43:15 43:17
 228:7 233:6 245:23 253:13               253:22 255:3 255:4 259:20                 43:17 44:4 44:5 44:8 44:11 44:11 44:12
                                                                                   44:19 44:22 44:23 44:25 45:3 45:5 45:15
talks(12) 27:20 31:18 31:21 31:25 56:2   terrible(1) 36:24                         45:17 45:20 45:23 45:24 45:25 46:7 46:7
68:24 73:2 75:24 82:16 123:2 219:8       test(36) 22:3 23:5 49:23 50:2 53:20 53:25 46:8 46:8 46:11 46:15 47:1 47:3 47:9
221:16                                   54:4 54:9 55:9 65:10 66:4 67:24 78:2      47:9 47:16 47:16 48:3 48:11 48:14 48:21
tangible(1) 120:8                        86:12 86:15 87:2 88:4 88:19 95:8 97:2 48:22 48:24 48:25 49:12 49:13 49:20
tap(1) 70:14                             97:4 111:23 112:2 121:7 121:25 122:24 49:21 49:23 50:11 50:15 50:19 50:19
tapping(1) 77:4                          123:17 123:18 142:25 152:6 209:2 213:17 50:23 51:3 51:5 51:7 51:14 51:14 51:23
target(3) 146:11 168:11 252:7            213:25 220:9 222:11 222:20                52:3 52:7 52:7 52:13 52:14 52:14 52:16
tax(27) 52:18 52:19 58:25 77:1 84:14                                               53:5 53:8 53:13 53:14 53:14 53:16 53:19
84:15 84:21 89:24 194:18 214:2 225:20 tested(3) 73:5 87:17 204:12                  54:2 54:4 54:6 54:6 54:12 54:17 54:20
226:13 226:18 226:19 226:25 227:3 227:4 testified(10) 24:3 50:15 53:13 87:12       55:1 55:22 55:23 55:25 56:2 56:7 56:9
227:8 227:9 227:9 227:10 228:7 228:10 143:16 214:8 226:6 234:24 255:17 255:20 56:12 56:14 56:16 56:16 56:17 57:2 57:13
228:12 233:12 238:5 244:12                                                         57:17 57:21 57:22 57:23 57:24 58:1 58:1
                                         testify(4) 18:3 18:6 18:9 18:14           58:8 58:12 58:12 58:16 58:19 58:20 58:22
taxed(1) 194:18                          testifying(1) 256:17                      59:8 59:10 59:11 59:17 59:23 59:24 60:14
taxes(6) 212:25 213:3 213:4 213:7 227:14                                           60:14 60:19 61:7 61:11 61:17 61:18 61:21
228:5                                                                              61:25 62:3 62:17 62:20 62:24 63:14 63:16
                                                                                   63:17 63:19 63:25 64:1 64:6
taylor(1) 5:6
Page : 25                                                                                                                                               04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                 Page 296 of 306
Word                        Page:Line   Word                       Page:Line    Word                       Page:Line    Word                       Page:Line
that(301) 111:4 111:25 112:6 112:8      that(301) 149:15 149:17 149:17 149:20   that(301) 187:19 187:20 187:24 187:25   that(301) 225:21 225:25 226:2 226:3
112:12 112:16 112:17 112:19 112:20      149:21 149:23 149:24 150:2 150:4 150:9 187:25 188:3 188:7 188:14 188:23 188:25 226:6 226:7 226:9 226:10 226:15 226:19
112:20 112:21 112:21 112:23 112:25 113:1150:10 150:14 150:16 150:24 151:1 151:5 189:3 189:6 189:7 189:9 189:11 189:13 226:22 227:2 227:4 227:5 227:6 227:6
 113:4 113:5 113:7 113:8 113:10 113:14 151:6 151:8 151:10 151:11 151:17 151:20 189:14 189:20 189:23 190:1 190:2 190:4 227:13 227:15 227:19 227:21 227:22 228:1
113:14 113:15 113:23 114:1 114:1 114:3 151:20 151:23 151:25 152:1 152:5 152:8 190:5 190:7 190:9 190:10 190:12 190:12 228:15 228:18 228:20 228:22 228:24
114:4 114:7 114:11 114:21 114:24 115:2 152:9 152:11 152:11 152:15 152:16 152:18190:14 190:21 190:21 190:23 190:25 191:4229:2 229:11 229:13 229:22 229:22 230:4
115:8 115:9 115:11 115:12 115:14 115:14 152:23 152:25 153:7 153:8 153:9 153:13 191:5 191:9 191:12 191:15 191:17 191:18230:10 230:14 230:16 230:16 230:17
115:18 115:20 115:23 115:24 116:3 116:5 153:17 153:19 153:21 153:22 154:2 154:6 191:24 192:1 192:4 192:8 192:10 192:12 230:20 231:4 231:8 231:13 231:17 231:18
116:8 116:25 117:1 117:5 117:11 117:15 154:6 154:9 154:13 154:19 154:23 154:25 192:12 192:13 192:14 192:22 193:3 193:8 231:23 232:7 232:9 232:11 232:20 232:21
117:17 117:20 117:22 117:22 118:6 118:6 155:3 155:4 155:5 155:5 155:7 155:13    193:21 194:1 194:9 194:12 195:6 195:7 233:3 233:3 233:6 233:8 233:12 233:13
118:12 118:14 118:14 118:15 118:21      155:13 155:13 155:19 155:23 155:25 156:6195:8 195:16 195:17 195:23 195:24 195:25233:17 233:19 233:24 233:24 233:25
118:22 118:24 119:7 119:10 119:11 119:13156:7 156:8 156:10 156:12 156:16 156:23 196:5 196:5 196:10 196:14 196:14 196:17233:25 234:2 234:2 234:7 234:9 234:10
 119:19 119:22 119:22 119:25 119:25     157:2 157:20 157:21 157:24 157:25 158:4 196:19 196:23 197:3 197:4 197:5 197:7 234:11 234:12 234:12 234:13 234:15
120:10 120:12 120:18 120:22 120:22      158:18 158:21 158:25 159:2 159:3 159:4 197:14 197:15 197:17 197:21 198:1 198:10234:21 234:21 234:22 234:22 234:24
120:23 121:1 121:3 121:6 121:10 121:16 159:9 159:11 159:11 159:17 159:19 159:20198:11 199:3 199:6 199:7 199:11 199:15 234:25 235:2 235:7 235:8 235:8 235:9
121:16 121:21 121:23 121:25 122:7 122:11159:23 159:24 160:5 160:12 160:13       199:17 199:18 199:23 200:6 200:7 200:15 235:13 235:14 235:15 235:16 236:4 236:6
 122:15 122:18 122:21 122:23 123:3 123:5160:15 160:16 160:17 161:1 161:12 161:16200:19 200:21 200:23 200:25 201:3 201:5 236:10 236:12 236:18 236:19 236:21
123:7 123:9 123:10 123:16 123:20 123:21 161:23 161:25 162:1 162:2 162:4 162:5 201:7 201:8 201:8 201:9 201:12 201:18 236:22 237:4 237:14 237:18 237:20 237:22
123:23 123:23 123:24 123:25 124:2 124:3 162:8 162:9 162:10 162:12 162:21 162:21 201:24 202:7 202:10 202:12 202:12 202:14237:25 238:1 238:3 238:5 238:9 238:11
124:4 124:4 124:7 124:19 124:20 124:21 162:23 162:23 163:3 163:5 163:6 163:9 202:15 202:19 202:22 202:23 202:25         238:14 238:21 238:23 238:25 239:3 239:10
124:22 124:23 124:24 125:4 125:10 125:12163:14 163:14 163:15 163:20 163:20 164:1203:1 203:5 203:7 203:8 203:10 203:11 239:13 239:16 239:21 239:22 240:5 240:6
 125:13 125:14 126:3 126:4 126:7 126:8 164:8 164:9 164:11 164:13 164:13 164:17203:11 203:18 203:20 203:25 204:7 204:8 240:7 240:11 240:12 240:19 241:2 241:8
126:9 126:10 126:12 126:14 126:22 128:3 164:21 164:22 164:23 165:1 165:2 165:3 204:14 204:15 204:17 204:19 205:16       241:12 241:13 241:22 241:25 242:2 242:15
128:4 128:10 128:11 128:19 128:21 129:8 165:6 165:8 165:12 165:17 165:21 166:3 205:18 205:20 206:3 206:8 206:9 206:10 242:17 243:7 243:7 243:11 243:11 243:21
129:8 129:14 129:16 129:18 129:19 129:21166:11 166:13 166:20 166:20 166:21      206:11 206:14 206:17 206:20 206:22      243:21 243:23 243:23 243:24 244:7 244:16
 129:22 129:22 130:3 130:3 130:5 130:6 166:24 167:2 167:7 167:7 167:11 167:12 206:23 207:1 207:11 207:12 207:13 207:17244:23 245:2 245:18 245:23 246:3 246:11
130:11 130:19 130:22 131:11 132:3 132:22167:18 167:20 168:3 168:7 168:16 168:16 207:22 208:6 208:7 208:8 208:9 208:10 246:17 246:22 246:23 247:2 247:6 247:8
 132:24 133:1 133:10 133:10 133:11      168:16 168:19 168:20 168:23 169:1 169:2 208:11 208:11 208:12 208:13 208:16      247:9 247:11 247:14 247:15 247:16 247:18
133:12 133:14 133:15 133:19 133:23 134:3169:7 169:9 169:9 169:11 169:11 169:12 208:18 208:20 208:21 208:25 209:2 209:4 247:21 248:1 248:2 248:8 248:13 248:17
 134:9 134:9 134:10 134:21 134:22 134:24169:13 169:13 169:19 169:20 169:25      209:6 209:8 209:13 209:13 209:15 209:16 248:18 248:23 249:2 249:5 249:6 249:16
135:4 135:6 135:8 135:11 135:12 135:20 169:25 170:6 170:8 170:11 170:16 170:21 209:17 209:19 209:20 209:21 210:1 210:2 249:19 249:20 250:3 250:9 250:9 250:10
135:24 136:1 136:2 136:2 136:3 136:3    171:1 171:2 171:4 171:7 171:11 171:14 210:3 210:3 210:13 210:15 210:16 210:22 250:13 250:16 250:21 250:22 250:25 251:2
136:6 136:10 136:18 136:19 136:21 136:25171:16 171:17 171:17 171:20 171:20      210:22 211:9 211:11 211:12 211:14 211:17251:2 251:4 251:5 251:12 251:12 251:12
 137:1 137:3 137:5 137:5 137:7 137:9    172:10 172:22 173:3 173:9 173:13 173:15 211:20 211:22 211:23 212:16 212:18      251:18 251:19 251:20 252:1 252:8 252:10
137:19 137:21 137:24 138:2 138:4 138:6 173:16 173:18 173:19 173:19 173:24       212:21 212:25 213:3 213:8 213:10 213:10 252:13 252:16 252:17 252:17 252:19
138:8 138:17 138:17 138:18 138:19 139:7 173:25 174:2 174:3 174:3 174:5 174:7    213:14 213:17 213:19 213:21 214:1 214:6 252:21 252:23 253:1 253:1 253:2 253:2
139:10 139:13 139:15 139:17 139:18      174:10 174:16 174:18 174:19 175:20      214:8 214:9 214:9 214:11 214:12 214:19 253:6 253:6 253:8 253:8 253:8 253:10
139:19 139:20 139:25 140:2 140:4 140:5 175:23 176:2 176:9 176:9 176:13 176:13 215:2 215:10 215:12 215:16 215:19 215:22253:14 253:20 253:20 254:5 254:13 254:18
140:6 140:10 140:12 140:13 140:17 140:17176:13 176:18 176:24 177:9 177:10 177:16215:22 215:24 215:25 216:8 216:12        254:19 254:19 254:21 255:2 255:17
 140:18 140:20 140:21 140:22 141:2 141:3 177:18 177:19 177:21 177:22 177:22     216:14 216:15 216:17 216:18 216:19      255:18 255:20 255:22 256:8 256:8 256:10
141:8 141:11 141:11 141:21 141:22 141:24177:25 178:1 178:4 178:10 178:17 178:25 216:20 217:1 217:5 217:7 217:14 217:16 256:18 256:18 256:19 257:1 257:6 257:12
 142:3 142:6 142:8 142:9 142:12 142:25 179:1 179:3 179:4 179:7 179:11 179:12 217:17 217:19 217:19 217:20 217:21 218:3257:12 257:19 257:21 257:24 258:3 258:7
143:3 143:5 143:5 143:9 143:11 143:13 179:13 179:16 179:20 180:2 180:3 180:4 218:7 218:14 218:21 218:23 219:5 219:9 258:9 258:11 258:12 258:14 258:14 258:15
143:16 143:19 143:22 143:24 144:7 144:10180:6 180:8 180:17 180:21 180:22 180:22 219:10 219:12 219:14 219:16 220:2 220:6 258:16 258:18 258:20 258:24 259:6 259:6
 144:11 144:15 144:15 144:16 144:23     181:14 181:14 181:18 181:21 181:24 182:4220:7 220:8 220:12 220:13 220:14 220:16 259:11 259:16 259:24 259:25 260:1 260:5
144:23 144:25 145:2 145:3 145:3 145:9 182:7 182:12 182:19 182:21 182:22         220:22 220:25 221:3 221:5 221:6 221:7 260:9 260:10 260:13 260:15 260:16 261:2
145:10 145:10 145:11 145:12 145:14      182:24 183:1 183:4 183:5 183:8 183:18 221:10 221:11 221:14 221:15 221:16        261:6 261:17 261:20 261:21 261:24 262:2
145:14 145:14 145:22 145:22 145:24 146:1183:20 183:23 184:2 184:6 184:11 184:16 221:18 221:19 221:21 221:24 222:6 222:8 262:3 262:11 262:12 262:12 262:18 262:21
 146:1 146:5 146:7 146:8 146:23 147:5 184:18 184:19 184:22 184:24 185:1 185:2 222:9 222:12 222:13 222:22 222:24 223:2 262:22 263:2 263:19 263:25 264:6 264:25
147:7 147:12 147:13 147:22 147:24 148:5 185:12 185:21 185:23 185:23 186:7 186:13223:15 223:17 223:23 223:23 223:24 224:1265:2 265:12 265:14 265:16 265:17 265:19
148:19 148:20 148:21 148:24 149:1 149:6 186:15 186:16 186:17 186:20 186:22       224:3 224:12 224:17 224:20 225:1 225:7 265:22 266:5 266:11 266:13 266:16
149:9 149:10 149:13 149:13 149:14       186:25 187:1 187:10 187:10 187:12 187:14225:8 225:9 225:11 225:11 225:19        266:17 266:21 266:22 267:4 267:8 267:14



                                                                                                                       that(12) 267:16 267:19 267:25 268:1
                                                                                                                       268:6 268:18 268:19 268:20 268:22 268:23
                                                                                                                        268:24 269:5




Page : 26                                                                                                                                       04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                  Page 297 of 306
Word                        Page:Line     Word                        Page:Line    Word                       Page:Line    Word                        Page:Line
that's(205) 16:6 16:13 23:14 24:1 25:6    the(301) 1:1 1:2 1:18 3:6 3:10 5:8 13:2 the(301) 35:9 35:11 35:11 35:14 35:16    the(301) 53:25 54:6 54:7 54:11 54:12
27:4 29:2 29:2 32:19 35:24 38:23 39:7 13:4 13:6 13:10 13:11 13:13 13:15 13:16 35:16 35:19 35:21 35:21 35:23 35:24          54:14 54:14 54:16 54:18 54:20 54:21
40:17 40:19 44:19 45:14 45:19 49:16       13:17 13:18 13:18 13:19 13:21 13:23 14:435:25 36:1 36:4 36:4 36:5 36:7 36:8 36:9 54:23 54:24 55:1 55:2 55:4 55:4 55:6
49:19 54:22 55:4 55:15 57:16 57:16 57:1814:5 14:6 14:8 14:8 14:10 14:12 14:14 36:10 36:12 36:14 36:14 36:18 36:23          55:11 55:11 55:12 55:13 55:14 55:17
57:24 59:9 60:24 62:4 67:10 69:18 74:20 14:17 15:1 15:9 15:15 15:18 15:20 15:21 36:25 37:4 37:7 37:7 37:10 37:11 37:11 55:19 55:19 55:22 55:25 56:1 56:2 56:3
76:18 77:7 79:12 84:20 87:8 87:18 89:15 15:21 16:6 16:11 16:13 16:14 16:16 16:1637:12 37:13 37:13 37:15 37:15 37:18        56:4 56:8 56:10 56:12 56:13 56:13 56:15
90:19 91:11 91:18 92:11 92:11 92:13       16:16 16:17 16:19 16:20 17:3 17:6 17:11 37:18 37:18 37:19 37:19 37:21 37:22      56:15 56:16 56:17 56:19 56:21 57:6 57:7
92:16 94:9 96:9 97:17 97:18 97:18 97:23 17:12 17:14 17:19 17:20 17:23 18:2 18:1037:22 37:23 37:24 37:25 37:25 38:1 38:1 57:10 57:11 57:13 57:13 57:15 57:15
100:6 100:6 100:16 102:14 102:15 105:17 18:16 18:18 18:21 18:22 18:25 18:25 19:138:2 38:2 38:4 38:5 38:6 38:6 38:7 38:8 57:16 57:16 57:17 57:17 57:18 57:18
106:3 107:11 109:25 112:4 112:4 112:7 19:1 19:2 19:17 19:17 20:3 20:8 20:11 38:10 38:13 38:13 38:16 38:17 38:25 39:157:20 57:23 57:24 58:1 58:3 58:6 58:6
112:18 113:2 113:9 116:15 117:25 118:17 20:12 20:14 20:16 20:18 20:21 20:25 21:239:3 39:4 39:4 39:5 39:7 39:9 39:10        58:7 58:11 58:11 58:12 58:12 58:12 58:14
118:20 119:11 121:3 122:4 122:4 122:17 21:3 21:3 21:4 21:4 21:4 21:10 21:14        39:13 39:16 39:18 39:20 39:22 39:24     58:16 58:19 58:23 58:24 59:2 59:3 59:4
122:18 123:4 123:16 124:20 125:2 125:2 21:15 21:15 21:16 21:18 21:18 21:19         39:25 40:2 40:3 40:5 40:6 40:9 40:9     59:7 59:8 59:8 59:10 59:13 59:13 59:16
125:11 126:4 129:11 129:12 129:19 130:9 21:23 21:24 22:1 22:2 22:2 22:6 22:7       40:10 40:10 40:11 40:14 40:15 40:16     59:16 59:17 59:18 59:19 59:20 59:20
131:12 131:14 131:24 133:21 133:24 136:422:8 22:9 22:10 22:10 22:11 22:11 22:11 40:17 40:18 40:22 40:23 40:24 41:2 41:2 59:21 60:4 60:7 60:8 60:8 60:12 60:13
 137:22 138:3 138:4 138:10 139:7 139:20 22:12 22:13 22:13 22:17 22:19 22:20        41:6 41:7 41:8 41:9 41:11 41:12 41:13 60:13 60:20 60:20 60:21 60:21 60:23 61:1
141:10 143:14 143:21 147:25 150:13 153:222:22 22:23 22:24 22:25 23:1 23:4 23:5 41:15 41:15 41:16 41:17 41:19 41:19         61:4 61:4 61:5 61:5 61:6 61:6 61:7 61:7
 154:16 154:17 154:21 155:1 155:14 156:423:16 23:20 24:3 24:5 24:8 24:12 24:15 41:20 41:21 41:21 41:22 41:23 41:23         61:8 61:8 61:11 61:22 61:24 61:24 62:2
156:9 156:11 157:3 161:8 163:16 165:14 24:16 24:17 24:21 24:23 24:24 25:2 25:5 41:23 41:24 41:25 42:1 42:3 42:4 42:5 62:3 62:4 62:6 62:9 62:10 62:12 62:12
167:9 167:23 168:21 172:1 172:2 172:4 25:5 25:9 25:11 25:13 25:14 25:19 25:22 42:7 42:8 42:8 42:8 42:9 42:9 42:11          62:13 62:14 62:16 62:17 62:18 62:19
173:2 174:23 175:21 175:24 176:3 177:21 26:2 26:4 26:5 26:11 26:13 26:19 26:20 42:14 42:19 42:19 42:20 42:20 42:22         62:22 62:24 63:1 63:1 63:8 63:19 63:22
178:7 179:3 179:9 179:17 180:12 181:1 26:21 26:22 26:22 26:22 26:24 26:24 27:242:23 42:24 43:1 43:3 43:5 43:7 43:8         63:22 63:24 64:2 64:4 64:5 64:5 64:8
181:3 181:22 182:11 183:7 183:8 183:20 27:4 27:5 27:8 27:8 27:9 27:12 27:12        43:9 43:10 43:10 43:11 43:16 43:18 43:2164:9 64:11 64:12 64:15 64:19 64:20 64:21
184:12 184:20 184:25 185:11 185:25        27:14 27:20 27:23 27:23 27:24 27:25 28:143:22 43:23 43:23 44:5 44:6 44:8 44:8 65:2 65:2 65:4 65:5 65:8 65:10 65:13
186:23 187:14 187:23 188:9 188:12 188:1328:2 28:3 28:3 28:6 28:6 28:8 28:9 28:10 44:9 44:12 44:13 44:16 44:17 44:18 44:1865:17 65:18 65:19 65:21 65:22 66:1 66:1
 188:15 188:18 188:19 188:21 189:7        28:15 28:18 28:22 29:1 29:1 29:3 29:4 44:19 44:20 44:22 44:22 44:24 44:25        66:7 66:11 66:14 66:15 66:18 66:19 66:19
189:19 189:21 223:11 223:12 223:24 225:729:5 29:7 29:7 29:10 29:13 29:14 29:14 44:25 45:2 45:3 45:4 45:6 45:7 45:7 45:9 66:20 66:22 66:23 66:23 66:24 66:25 67:1
 225:23 226:3 226:11 226:19 227:1 227:1129:16 29:16 29:17 29:20 29:21 29:21        45:11 45:11 45:12 45:12 45:12 45:13     67:1 67:3 67:9 67:10 67:10 67:13 67:15
228:18 228:18 228:25 230:6 230:11 230:1129:24 29:25 30:1 30:2 30:4 30:6 30:6       45:13 45:14 45:14 45:17 45:18 45:18     67:23 67:23 67:24 67:25 68:5 68:6 68:8
 230:18 233:8 233:21 234:18 235:1 235:1230:7 30:7 30:7 30:9 30:10 30:10 30:11 45:20 45:24 45:25 46:1 46:6 46:6 46:7 68:8 68:10 68:12 68:18 68:22 68:22 68:23
236:8 237:19 238:7 239:3 239:22 243:25 30:12 30:14 30:15 30:16 30:18 30:19         46:9 46:10 46:11 46:13 46:13 46:14 46:1568:23 68:24 69:1 69:2 69:5 69:6 69:8
245:2 245:22 245:25 250:11 250:19 250:2030:20 30:21 30:23 30:23 31:1 31:1 31:1 46:17 46:19 46:19 46:20 46:20 46:22 47:369:9 69:10 69:11 69:13 69:13 69:14 69:15
 250:24 251:11 251:13 254:23 260:25       31:4 31:5 31:5 31:5 31:7 31:9 31:9 31:10 47:3 47:6 47:9 47:16 47:18 47:20 47:21 69:17 69:18 69:18 69:19 69:20 69:21 70:2
264:3 264:5 265:8 266:4 266:24 268:2      31:12 31:13 31:13 31:15 31:16 31:18      47:22 47:23 47:24 47:24 48:1 48:1 48:2 70:3 70:8 70:8 70:9 70:10 70:10 70:14
                                          31:19 31:20 31:20 31:21 31:21 31:21      48:4 48:6 48:11 48:13 48:14 48:14 48:14 70:18 70:18 70:24 70:25 71:1 71:2 71:2
                                          31:23 31:24 31:25 32:1 32:4 32:6 32:8 48:15 48:18 48:19 48:20 48:22 48:23        71:3 71:7 71:9 71:9 71:9 71:10 71:11
that’d(1) 212:24                          32:11 32:12 32:12 32:14 32:17 32:18      48:24 48:25 48:25 49:3 49:3 49:6 49:9 71:12 71:12 71:13 71:15 71:16 71:17
that’s(38) 90:7 192:4 193:18 196:20 197:4 32:20 32:20 32:22 32:23 32:24 32:25 33:849:10 49:12 49:14 49:15 49:15 49:15      71:18 71:18 71:22 71:25 72:1 72:6 72:7
 197:6 197:19 197:20 197:20 197:21        33:8 33:10 33:10 33:11 33:13 33:15 33:1549:16 49:19 49:20 49:21 49:21 49:23      72:8 72:25 72:25 73:1 73:2 73:5 73:5
197:22 197:24 199:5 200:10 202:19 203:2033:17 33:17 33:18 33:19 33:20 33:20        49:24 49:25 50:3 50:7 50:7 50:9 50:10 73:6 73:10 73:12 73:15 73:15 73:16 74:1
 204:1 205:12 205:16 205:18 205:21 206:833:21 33:22 33:23 33:23 34:1 34:2 34:3 50:11 50:12 50:12 50:14 50:18 51:4 51:4 74:2 74:9 74:12 74:12 74:15 74:15 74:16
206:10 206:22 209:9 210:24 210:24 211:2 34:3 34:5 34:6 34:6 34:7 34:11 34:13       51:6 51:7 51:8 51:13 51:13 51:20 51:25 74:17 74:17 74:18 74:19 74:20 74:22
211:21 213:1 213:20 213:25 214:12 214:2034:16 34:17 34:17 34:18 34:22 34:24        52:7 52:10 52:13 52:16 52:17 52:18 52:1874:23 74:24 75:1 75:1 75:3 75:4 75:5
 216:12 219:15 219:24 220:11              34:25 35:2 35:3 35:3 35:3 35:4 35:7      52:19 52:19 52:20 52:21 52:22 52:23     75:6 75:7 75:9 75:11 75:14 75:15 75:15
                                                                                   52:25 53:2 53:5 53:18 53:20 53:22 53:22 75:17 75:17
                                                                                   53:22




Page : 27                                                                                                                                          04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                 Page 298 of 306
Word                       Page:Line    Word                       Page:Line    Word                       Page:Line    Word                       Page:Line
the(301) 75:19 75:21 75:22 75:24 75:25 the(301) 101:6 101:7 101:8 101:12 101:12 the(301) 124:25 125:1 125:1 125:7 125:8 the(301) 146:1 146:4 146:7 146:7 146:7
76:1 76:2 76:3 76:5 76:6 76:6 76:11     101:15 101:16 101:17 101:17 101:19      125:9 125:11 125:13 125:14 125:14 125:16146:8 146:10 146:10 146:11 146:12 146:13
76:16 76:17 76:18 76:19 76:19 76:21     101:21 101:22 101:23 101:25 101:25 102:1125:17 125:17 125:20 125:21 125:22       146:14 146:17 146:18 146:22 146:24
76:21 76:24 76:25 77:2 77:11 77:11 77:12 102:3 102:4 102:4 102:7 102:7 102:9    125:24 126:2 126:2 126:4 126:5 126:6    147:2 147:4 147:5 147:8 147:8 147:9
77:15 77:17 77:18 77:19 77:21 77:24     102:11 102:16 102:16 102:23 102:23      126:10 126:11 126:11 126:12 126:12      147:10 147:10 147:11 147:16 147:21
77:24 77:25 78:4 78:7 78:7 78:7 78:12 102:25 103:9 103:12 103:13 103:14 103:16126:13 126:15 126:16 126:19 126:22 127:1147:21 147:22 147:22 147:23 147:23 148:4
78:15 78:21 78:23 79:3 79:4 79:4 79:5    103:17 103:20 103:22 103:24 104:4       127:2 127:4 127:5 127:6 127:7 127:8     148:5 148:8 148:8 148:9 148:13 148:13
79:6 79:10 79:10 79:11 79:11 79:12 79:12104:10 104:12 104:12 104:13 104:13      127:9 127:11 127:13 127:14 127:22 127:25148:16 148:19 148:20 148:20 148:22
79:13 79:13 79:16 79:20 79:21 79:22     104:15 104:19 104:23 104:24 105:4 105:5 128:2 128:6 128:6 128:7 128:9 128:9     148:23 148:24 149:5 149:6 149:10 149:14
79:25 80:4 80:6 80:11 80:17 80:21 80:21 105:10 105:12 105:12 105:13 105:13      128:9 128:12 128:14 128:19 128:20 128:25149:14 149:17 149:17 149:20 149:21
80:22 80:23 80:23 80:24 81:1 81:5 81:5 105:14 105:14 105:15 105:15 105:16        129:2 129:4 129:9 129:9 129:10 129:11 149:22 149:23 149:25 150:4 150:10 150:13
81:7 81:13 81:13 81:16 81:16 81:17 81:17105:16 105:17 105:17 105:18 105:19      129:16 129:17 129:17 129:17 129:19       150:16 150:18 150:20 150:23 150:23
81:20 81:21 81:22 81:23 82:4 82:8 82:9 105:21 106:2 106:5 106:8 106:11 106:11 129:22 129:24 129:24 130:2 130:3 130:8 150:24 150:25 151:2 151:2 151:3 151:6
82:16 82:18 82:19 82:19 82:20 82:22 83:1106:11 106:12 106:15 106:18 106:19      130:8 130:13 130:14 130:17 130:18 130:20151:7 151:8 151:11 151:11 151:12 151:15
83:4 83:7 83:9 83:13 83:17 83:19 83:21 106:21 106:22 107:9 107:11 107:13 107:14130:21 130:23 130:25 131:3 131:3 131:6 151:19 151:21 151:21 151:24 151:25 152:4
83:22 83:22 83:22 83:23 84:1 84:2 84:2 107:15 107:16 107:16 107:18 107:20       131:9 131:9 131:16 131:18 131:20 131:21 152:4 152:5 152:8 152:8 152:8 152:9
84:2 84:7 84:10 84:11 84:12 84:12 84:13 107:22 107:23 107:24 107:25 108:1 108:3 131:22 131:24 132:1 132:4 132:9 132:13 152:11 152:14 152:17 152:21 152:22
84:14 84:15 84:18 84:20 84:23 84:24 85:2108:8 108:12 108:13 108:14 108:17 108:20132:15 132:17 132:18 132:22 132:24 133:2152:22 152:22 152:24 152:25 152:25 153:5
85:2 85:5 85:8 85:10 85:10 85:11 85:11 108:20 109:1 109:5 109:9 109:23 110:4 133:2 133:4 133:4 133:8 133:10 133:11 153:7 153:7 153:9 153:11 153:12 153:15
85:14 85:14 85:15 85:16 85:16 85:17     110:13 110:16 111:2 111:3 111:6 111:6 133:13 133:14 133:17 133:21 134:2 134:3 153:16 153:21 153:21 153:23 153:23
85:17 85:18 85:18 85:19 85:20 85:22     111:8 111:11 111:11 111:12 111:12 111:13134:7 134:10 134:10 134:12 134:13 134:16153:25 153:25 154:1 154:6 154:12 154:12
85:22 85:23 85:24 85:24 86:2 86:3 86:6 111:15 111:18 111:23 111:25 112:1 112:1 134:17 134:23 134:25 134:25 135:2 135:3154:16 154:18 154:22 154:25 155:6 155:7
86:7 86:8 86:11 86:12 86:17 86:17 86:25 112:3 112:6 112:6 112:12 112:16 112:17 135:3 135:3 135:7 135:7 135:11 135:12 155:10 155:14 155:18 156:1 156:17 156:18
87:3 87:7 87:9 87:20 87:23 87:24 88:4 112:25 113:3 113:4 113:5 113:7 113:9      135:14 135:15 135:15 135:19 135:20       156:22 156:23 157:1 157:4 157:11 157:17
88:6 88:12 88:13 88:13 88:15 88:15 88:16113:17 113:19 113:20 113:20 113:22      135:20 135:21 136:1 136:2 136:9 136:10 157:19 157:19 157:20 157:22 157:23
88:23 88:23 89:5 89:11 89:11 89:12 89:13113:25 114:7 114:7 114:10 114:11 114:12 136:13 136:19 136:21 136:21 136:24      157:23 157:24 157:25 158:8 158:8 158:8
89:17 89:18 89:19 89:20 89:24 89:25 90:7114:14 114:18 114:18 114:19 114:21      136:25 137:3 137:3 137:5 137:5 137:9    158:9 158:10 158:14 158:14 158:17 158:19
90:7 90:12 90:12 90:13 90:14 90:20 91:5 114:23 114:23 114:23 114:24 114:25 115:2137:11 137:14 137:15 137:15 137:17       158:19 158:20 158:21 158:21 158:22
91:6 91:7 91:11 91:12 91:15 91:17 91:20 115:7 115:8 115:10 115:11 115:11 115:11137:17 137:19 137:20 137:20 137:20       158:23 158:24 158:25 159:2 159:4 159:5
91:22 91:23 91:24 91:25 92:2 92:5 92:23 115:12 115:14 115:15 115:16 115:18      137:22 137:23 137:24 137:25 138:2 138:3 159:19 159:20 159:22 159:23 159:23
92:24 93:2 93:8 93:17 93:18 93:19 93:20 115:21 115:22 115:25 116:2 116:2 116:6 138:4 138:4 138:8 138:10 138:10 138:12 159:25 160:4 160:4 160:7 160:10 160:12
93:23 93:23 93:24 93:25 94:1 94:1 94:5 116:9 116:11 116:17 116:18 116:18 116:20138:15 138:16 138:16 138:16 138:17       160:13 160:13 160:15 160:15 160:16
94:7 94:7 94:7 94:17 94:18 94:20 94:24 116:23 116:24 116:25 117:2 117:4 117:4 138:19 138:20 138:21 138:21 138:23        160:16 160:17 160:18 160:19 160:19
94:24 95:8 95:9 95:11 95:12 95:13 95:17 117:7 117:8 117:10 117:11 117:14 117:18 138:24 139:1 139:1 139:2 139:3 139:3    160:22 160:22 160:24 160:25 161:15
95:20 95:24 96:1 96:1 96:2 96:5 96:6    118:1 118:4 118:5 118:5 118:7 118:8     139:4 139:11 139:12 139:12 139:14 139:15161:15 161:17 161:20 162:3 162:4 162:7
96:11 96:16 96:17 96:19 96:23 96:23 97:4118:8 118:9 118:10 118:11 118:12 118:13 139:18 139:20 139:21 139:22 139:22      162:7 162:8 162:9 162:13 162:13 162:13
97:5 97:6 97:6 97:10 97:11 97:13 97:17 118:15 118:15 118:18 118:18 118:21       139:23 139:23 139:25 139:25 140:1 140:2 162:14 162:15 162:15 162:17 162:17
98:5 98:8 98:8 98:9 98:10 98:10 98:11 118:23 118:24 118:24 119:4 119:5 119:6 140:5 140:6 140:7 140:8 140:9 140:9        162:18 162:21 162:23 162:23 163:2 163:5
98:13 98:14 98:17 98:17 98:17 98:20     119:6 119:16 119:19 119:19 119:20 119:22140:10 140:11 140:12 140:12 140:14      163:11 163:13 163:24 163:25 164:2 164:11
98:20 98:21 98:21 98:23 98:24 99:1 99:4 120:4 120:8 120:9 120:11 120:17 120:18 140:14 140:15 140:15 140:16 140:16        164:12 164:12 164:12 164:12 164:13
99:4 99:7 99:9 99:9 99:9 99:11 99:14    120:19 120:23 120:25 120:25 121:1 121:4 140:17 140:18 140:19 140:20 140:21      164:14 164:16 164:21 164:25 165:8 165:9
99:14 99:16 99:17 99:17 99:18 99:22     121:5 121:6 121:10 121:12 121:13 121:13 140:23 140:24 140:25 140:25 141:3 141:3 165:9 165:18 165:21 165:23 165:24 165:25
99:25 100:3 100:10 100:11 100:13 100:14 121:14 121:15 121:15 121:16 121:17      141:6 141:7 141:8 141:9 141:9 141:9      166:2 166:5 166:8 166:8 166:10 166:10
100:15 100:18 100:19 100:20 100:22      121:17 121:19 121:21 121:23 122:2 122:5 141:9 141:10 141:13 141:21 141:23 141:23166:12 166:14 166:16 166:17 166:17
100:23 101:1 101:2 101:3 101:4          122:7 122:7 122:9 122:10 122:10 122:12 142:1 142:2 142:2 142:4 142:7 142:9      166:18 166:22 166:24 167:1 167:4 167:6
                                        122:14 122:14 122:15 122:15 122:17      142:11 142:12 142:14 142:17 142:19 143:9167:13 167:18 167:18 167:20 167:22
                                        122:17 122:18 122:19 122:20 122:21       143:12 143:16 143:23 143:25 144:3 144:6167:22 167:23 167:24 167:25 168:1 168:2
                                        122:23 122:24 122:24 123:2 123:3 123:3 144:6 144:8 144:8 144:10 144:10 144:12 168:3 168:5 168:9 168:10 168:10 168:11
                                        123:4 123:5 123:6 123:7 123:7 123:9     144:16 144:19 144:20 144:20 144:22      168:11 168:14 168:19 168:21 169:2 169:3
                                        123:10 123:14 123:14 123:16 123:18      144:22 144:24 144:25 144:25 145:3 145:8 169:4 169:6 169:8 169:8 169:12 169:13
                                        123:19 123:19 123:20 123:23 123:24      145:8 145:8 145:9 145:9 145:12 145:12 169:16 169:18 169:18 169:20 169:21
                                        123:24 124:1 124:2 124:3 124:6 124:8    145:13 145:17 145:19 145:22 145:23      169:22 169:24 170:1 170:2 170:8 170:10
                                        124:9 124:16 124:18 124:18 124:20 124:22145:23 145:24 145:24 145:25 146:1       170:10 170:13 170:13 170:14 170:18
                                         124:23 124:24                                                                  170:19 170:19 170:22




Page : 28                                                                                                                                       04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                 Page 299 of 306
Word                       Page:Line    Word                       Page:Line    Word                       Page:Line    Word                        Page:Line
the(301) 171:9 171:10 171:13 171:13     the(301) 197:20 197:21 197:21 197:22    the(301) 223:19 223:21 224:9 224:10     the(257) 251:8 251:8 251:11 251:12
171:16 171:16 171:21 172:3 172:3 172:5 197:24 197:24 198:7 198:8 198:8 198:9 224:10 224:10 224:11 224:14 224:15         251:14 251:21 251:23 251:25 251:25 252:4
172:5 172:7 172:7 172:8 172:8 172:9     198:18 198:19 198:23 199:1 199:2 199:2 224:15 224:16 224:18 224:18 224:18        252:5 252:6 252:7 252:7 252:16 252:16
172:14 172:18 172:21 172:22 172:24 173:1199:9 199:10 199:15 199:17 199:20 199:20224:19 224:19 224:25 224:25 225:3 225:5 252:19 252:19 252:21 252:24 253:1 253:6
 173:3 173:3 173:4 173:6 173:7 173:7     199:21 199:22 199:23 199:25 199:25     225:7 225:7 225:7 225:8 225:13 225:14 253:8 253:9 253:11 253:12 253:15 253:15
173:8 173:8 173:8 173:9 173:11 173:12 200:10 200:10 200:14 200:14 200:14        225:17 225:18 225:20 225:23 226:1 226:3 253:17 253:18 253:22 254:5 254:5 254:8
173:13 173:14 173:14 173:16 173:21 174:2200:15 200:15 200:16 200:16 200:17      226:4 226:5 226:5 226:6 226:7 226:9     254:10 254:11 254:13 254:13 254:16
 174:2 174:7 174:11 174:16 174:16 174:20200:17 200:18 200:19 200:20 200:22      226:14 226:18 226:21 226:24 226:24 227:2254:21 254:22 254:23 255:3 255:5 255:15
174:24 175:2 175:2 175:3 175:4 175:5    200:25 201:3 201:4 201:4 201:7 201:9     227:8 227:8 227:9 227:10 227:12 227:21 255:25 256:6 256:7 256:7 256:7 256:9
175:10 175:11 175:12 176:2 176:8 176:9 201:11 201:12 201:13 201:14 201:16       227:22 227:25 228:2 228:2 228:6 228:7 256:14 256:17 256:22 256:25 257:3 257:3
176:15 176:15 176:20 176:21 176:22      201:18 201:18 201:19 201:20 201:21      228:12 228:13 228:17 228:18 228:18      257:5 257:6 257:7 257:9 257:9 257:11
176:23 176:24 177:1 177:2 177:6 177:8 201:21 201:22 201:25 201:25 202:1 202:2 228:20 228:24 229:1 229:21 229:21 230:2 257:12 257:14 257:15 257:16 257:16
177:8 177:9 177:11 177:12 177:12 177:12 202:3 202:5 202:8 202:8 202:9 202:9     230:2 230:7 230:8 230:17 230:20 230:22 257:18 257:18 257:23 257:24 257:24 258:2
177:13 177:15 177:21 177:24 177:25 178:3202:10 202:17 202:18 202:19 202:21 203:8231:4 231:6 231:8 231:9 231:10 231:11 258:4 258:6 258:6 258:7 258:8 258:10
 178:9 178:9 178:9 178:9 178:14 178:15 203:9 203:9 203:9 203:10 203:17 203:17 231:15 231:16 231:20 231:20 231:21        258:13 258:15 258:16 258:17 258:21
178:21 178:24 179:3 179:9 179:12 179:19 203:18 203:18 203:19 203:20 203:20      231:21 231:22 231:24 232:1 232:2 232:7 258:24 259:1 259:2 259:3 259:3 259:3
179:23 179:23 179:24 179:24 179:24      203:23 203:23 203:24 203:24 203:24 204:2232:8 232:12 232:13 232:23 232:24 232:24259:5 259:7 259:9 259:12 259:13 259:13
179:25 179:25 180:6 180:7 180:10 180:11 204:8 204:12 204:13 204:14 204:18 205:1 232:24 233:4 233:7 233:7 233:8 233:8 259:15 259:18 259:19 259:20 259:20
180:14 180:16 180:18 180:18 180:23 181:1205:4 205:5 205:6 205:6 205:7 205:8     233:11 233:15 233:15 233:17 233:22      259:21 259:21 259:22 259:24 260:1 260:2
 181:2 181:3 181:3 181:4 181:8 181:9    205:10 205:13 205:13 205:18 205:19      233:25 234:4 234:4 234:6 234:6 234:15 260:2 260:3 260:4 260:5 260:6 260:10
181:10 181:11 181:13 181:17 181:18      205:19 205:25 205:25 206:1 206:2 206:2 234:16 234:17 234:18 234:20 234:22       260:12 260:14 260:16 260:17 260:17
181:19 181:19 181:22 181:25 182:1 182:7 206:5 206:10 206:11 206:11 206:15 206:16234:24 235:5 235:5 235:11 235:14 235:18 260:19 260:19 260:22 260:23 260:24
182:9 182:11 182:12 182:13 182:16 182:16206:21 206:23 206:23 207:1 207:3 207:3 235:18 235:20 236:4 236:8 236:10 236:15 260:25 261:2 261:5 261:6 261:7 261:9
 182:21 182:23 183:1 183:1 183:3 183:3 207:6 207:9 207:9 207:11 207:11 207:13 236:15 236:20 236:20 236:25 237:1 237:2 261:12 261:14 261:15 261:20 261:20
183:4 183:5 183:5 183:9 183:13 183:16 207:18 207:20 207:24 207:25 207:25 208:3237:7 237:8 237:9 237:9 237:13 237:21 261:21 261:21 261:22 261:22 261:23
183:17 184:2 184:3 184:3 184:5 184:8     208:4 208:11 208:15 208:15 208:17      237:22 237:23 237:23 237:25 238:1 238:2 261:24 262:1 262:2 262:2 262:3 262:6
184:10 184:16 184:19 184:21 185:4 185:6 208:21 208:24 208:24 208:25 208:25 209:2238:3 238:10 238:12 238:12 238:13 238:16262:7 262:13 262:14 262:16 262:17 262:18
185:10 185:12 185:12 185:25 186:2 186:3 209:9 209:12 209:15 209:20 210:2 210:5 238:17 238:18 238:19 238:19 238:20        262:19 262:19 262:23 262:24 263:1 263:1
186:4 186:5 186:7 186:7 186:8 186:24    210:5 210:7 210:8 210:10 210:12 210:15 238:24 238:24 239:1 239:3 239:4 239:4 263:4 263:5 263:7 263:7 263:8 263:10
187:2 187:7 187:9 187:10 187:12 187:13 210:22 210:23 211:2 211:3 211:6 211:8 239:9 239:12 239:13 239:13 239:16 239:20263:11 263:11 263:15 263:18 263:20
187:17 187:17 187:18 187:18 187:19      211:13 211:14 211:17 212:1 212:5 212:9 239:22 240:4 240:6 240:7 240:7 240:8 263:21 263:22 263:25 263:25 264:1 264:5
187:21 187:23 188:3 188:7 188:9 188:11 212:15 212:15 212:18 213:1 213:4 213:4 240:16 240:18 240:21 240:25 241:7 241:11264:5 264:5 264:6 264:9 264:10 264:13
188:12 188:16 188:17 188:19 188:22      213:6 213:6 213:6 213:17 213:17 214:2 241:14 241:15 241:16 241:16 241:17        264:13 264:15 264:16 264:18 264:22
188:22 188:24 188:24 188:25 189:2 189:3 214:2 214:6 214:6 214:11 214:14 214:18 241:18 241:21 241:22 241:23 242:1 242:6 264:24 264:25 265:1 265:1 265:2 265:3
189:5 189:7 189:10 189:11 189:12 189:13 214:24 214:25 215:1 215:4 215:4 215:4 242:7 242:9 242:12 242:13 242:21 242:23 265:3 265:4 265:5 265:6 265:7 265:8
189:14 189:15 189:16 189:18 189:19      215:5 215:6 215:7 215:11 215:14 215:22 243:1 243:2 243:3 243:3 243:4 243:4      265:10 265:11 265:13 265:15 265:15
189:20 189:21 189:23 190:4 190:5 190:6 216:2 216:6 216:10 216:12 216:14 216:14 243:5 243:5 243:6 243:9 243:15 243:16 265:16 265:16 265:17 265:17 265:19
190:9 190:11 190:12 190:14 190:14 190:15217:3 217:5 217:22 217:24 218:6 218:8 243:17 244:1 244:2 244:4 244:6 244:13 265:21 265:21 265:22 265:23 266:1 266:1
 190:16 190:19 190:19 190:20 191:3 191:3218:13 218:19 218:21 218:22 218:22      244:14 244:24 244:25 245:6 245:12 245:17266:2 266:2 266:3 266:4 266:6 266:7
191:5 191:6 191:10 191:11 191:13 191:14 218:22 218:23 218:23 218:25 218:25 219:2245:18 245:19 245:20 245:23 245:24      266:10 266:11 266:12 266:14 266:19
191:17 191:18 191:22 192:2 192:2 192:6 219:3 219:3 219:4 219:5 219:6 219:7      245:25 246:2 246:5 246:6 246:6 246:11 266:19 266:20 266:21 266:23 266:23 267:1
192:11 192:12 192:16 192:19 193:8 193:12219:8 219:9 219:10 219:11 219:15 219:24 246:14 246:15 246:16 246:16 246:25 247:2267:3 267:4 267:7 267:12 267:14 267:14
 193:13 193:13 193:14 193:14 193:16     220:8 220:14 220:14 220:15 220:15 220:15247:5 247:6 247:6 247:7 247:7 247:8     267:16 267:19 267:21 267:23 267:24
193:20 193:21 193:22 193:22 193:23       220:16 220:16 220:16 220:21 221:1 221:1247:8 247:10 247:11 247:13 247:15 247:16267:24 268:4 268:7 268:11 268:12 268:15
193:25 194:2 194:6 194:6 194:10 194:14 221:2 221:3 221:4 221:6 221:7 221:8       247:17 248:1 248:2 248:2 248:3 248:5 268:20 268:20 268:22 268:23 269:2 269:5
194:14 194:19 194:20 195:5 195:9 195:11 221:9 221:11 221:12 221:12 221:14 221:17248:6 248:6 248:9 248:10 248:12 248:14 269:6 269:6 269:7
195:12 195:13 195:14 195:15 195:16       221:18 221:20 221:22 221:23 221:23     248:15 248:18 248:22 248:22 249:1 249:2
195:16 195:18 195:19 195:19 195:20      222:1 222:5 222:7 222:11 222:14 222:14 249:5 249:6 249:7 249:9 249:11 249:12
195:20 195:21 196:2 196:3 196:3 196:5 222:14 222:17 222:17 222:19 222:21        249:18 249:22 249:22 249:23 250:1 250:2 their(46) 13:18 24:13 31:22 42:1 50:23
196:5 196:6 196:9 196:10 196:10 196:12 222:21 222:25 223:1 223:1 223:2 223:3 250:3 250:4 250:6 250:11 250:13 250:14 50:23 105:7 107:9 117:8 125:23 152:3
196:14 196:17 196:19 196:20 196:22      223:3 223:4 223:4 223:5 223:6 223:6     250:15 250:16 250:17 250:17 250:17      158:18 160:8 164:2 170:16 177:15 177:18
196:23 197:4 197:7 197:8 197:9 197:12 223:7 223:8 223:11 223:12 223:13 223:14 250:22 250:24 250:25 251:3 251:6 251:7 177:25 178:3 178:19 178:24 179:15 179:16
197:12 197:15                           223:14 223:15 223:17                    251:7                                    179:18 180:2 180:9 181:3 182:2 184:8
                                                                                                                        188:13 214:17 214:17 219:20 220:1 220:17
                                                                                                                         236:17 236:18 242:4 247:14 247:17 258:3
                                                                                                                        262:8 262:14 262:17 262:17 268:8

                                                                                                                       theirs(1) 182:3
                                                                                                                       them(42) 24:2 25:1 25:1 43:17 45:18 52:3
                                                                                                                        53:19 59:1 72:22 76:22 90:12 92:8 94:22
                                                                                                                       96:15 119:17 128:7 133:6 141:18 150:11
                                                                                                                       152:2 152:3 167:10 167:14 171:3 171:3
                                                                                                                       184:23 184:25 190:11 193:18 194:11
                                                                                                                       194:12 194:20 212:22 213:24 214:6 219:2
                                                                                                                       219:5 220:4 258:19 259:8 259:12 262:19

                                                                                                                       themselves(8) 33:21 34:3 39:24 47:23
                                                                                                                       99:22 158:13 160:9 267:5




Page : 29                                                                                                                                        04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                   Page 300 of 306
Word                        Page:Line    Word                        Page:Line     Word                         Page:Line  Word                        Page:Line
then(126) 20:13 22:2 25:7 30:15 33:15    these(82) 13:14 21:19 28:13 28:17 31:3 think(204) 17:19 22:9 27:14 32:17 32:22 this(301) 16:11 18:23 18:24 19:12 19:25
33:18 33:20 34:9 37:8 44:23 45:16 48:19 31:23 32:6 33:10 33:11 37:20 39:18 41:3 37:7 37:10 37:23 40:16 42:17 42:19 43:1 20:22 24:18 26:10 27:5 27:17 27:20 27:24
49:10 49:12 50:9 52:25 56:14 59:24 60:1251:12 51:15 52:15 53:14 57:19 62:10        45:25 52:1 57:3 59:7 61:10 61:14 71:18 27:25 28:2 28:4 28:19 29:18 29:19 30:1
64:21 65:21 70:11 70:14 70:21 72:9 72:1063:20 63:25 64:1 64:1 65:14 68:18 69:20 75:24 79:2 82:8 84:10 85:1 85:2 85:19 30:9 30:13 30:21 31:1 31:14 32:10 33:2
72:13 72:16 73:12 75:13 77:17 77:20      72:16 72:18 72:20 74:13 77:20 78:6 80:8 86:3 87:12 87:13 87:15 89:9 89:15 90:22 33:8 34:1 34:12 34:14 34:23 34:25 35:13
79:16 84:23 85:5 87:22 88:21 89:25 90:6 81:9 81:13 81:15 93:24 93:24 94:6 95:10 90:22 93:20 97:3 97:4 97:16 98:7 98:19 35:21 36:8 36:15 36:20 37:10 37:17 38:7
91:16 92:4 92:20 94:3 96:3 97:7 97:13 96:12 100:12 116:8 121:1 125:19 134:11 101:3 107:21 109:1 111:18 113:23 115:14 38:12 38:15 38:17 40:2 40:2 40:8 40:11
98:16 101:7 101:19 102:2 102:5 102:17 141:17 151:1 151:5 152:6 156:7 167:9         115:14 115:16 115:19 115:25 116:6 117:2540:12 40:13 40:22 41:13 41:25 42:4 42:5
104:1 105:9 105:15 106:23 113:3 118:18 171:2 178:7 184:17 184:21 185:10 185:15 119:25 120:25 121:15 122:4 123:8 124:5 42:15 42:18 42:18 42:22 43:1 43:7 43:22
119:16 120:4 121:3 121:24 126:6 129:16 185:16 185:25 193:16 198:7 204:6 204:11 124:9 124:25 126:1 128:2 129:12 131:14 44:2 44:2 44:8 44:13 44:17 44:18 44:18
133:4 136:10 139:10 139:11 143:11 144:21204:20 204:23 209:10 211:6 212:21 221:5 132:15 136:18 137:1 137:13 138:3 138:6 45:3 45:9 46:6 46:11 46:12 46:14 46:23
 149:13 153:19 156:5 157:19 158:20       231:10 233:16 235:20 236:21 236:23 238:6138:12 138:20 139:22 140:2 140:20 142:1848:6 48:13 48:24 49:3 49:6 50:4 52:9
159:16 160:17 161:14 166:19 167:4 168:5 243:17 249:11 250:8 253:10 253:11           144:10 144:23 145:5 145:19 145:22      52:14 53:2 54:7 54:12 54:20 55:1 55:3
169:3 171:2 171:13 175:25 178:20 185:3 264:22 266:6                                145:25 147:17 147:20 147:24 147:25      55:8 56:2 56:4 56:19 56:20 56:25 57:1
186:15 187:19 191:15 192:1 192:24 195:19                                           148:22 149:19 149:20 150:3 151:13 156:7 57:2 57:24 58:13 59:7 60:5 60:7 60:11
 196:5 196:20 197:15 199:2 200:9 200:17 they(109) 13:22 22:12 22:13 23:11 24:7 161:23 162:1 172:2 172:12 172:15 172:23 60:16 62:5 62:19 63:5 63:8 63:13 63:23
200:19 203:3 204:5 204:5 210:2 214:3     24:16 25:1 34:12 37:1 37:5 53:15 53:17 172:23 173:21 174:7 175:25 176:6 176:11 64:3 64:4 64:17 65:4 65:10 65:24 66:1
215:11 216:2 216:2 216:23 222:5 223:7 53:17 73:10 75:7 84:21 97:16 99:8 100:15176:15 176:21 176:24 177:2 179:23 179:2566:8 66:8 66:14 67:9 67:18 68:2 68:6
225:3 227:21 228:12 233:15 234:6 235:20 105:6 105:9 105:10 105:19 105:20 105:22 181:18 182:4 182:5 184:12 184:14 185:1568:14 69:4 69:7 69:12 69:14 69:16 69:17
237:20 238:24 243:5 243:10 244:1 248:13 107:11 112:8 112:12 115:1 115:21 115:22 186:18 186:25 189:1 189:3 190:6 190:14 69:19 69:22 70:1 70:17 70:22 71:1 71:2
250:15 259:23 261:5                      115:25 116:1 116:12 116:18 119:23 119:23192:16 193:18 193:19 195:3 195:11 195:1671:3 71:10 71:11 71:16 71:22 71:23 72:2
                                          122:10 125:1 129:21 129:24 134:18         196:18 197:17 199:11 199:11 200:3 200:372:5 72:7 72:11 72:16 72:17 72:25 73:8
theoretical(1) 68:3                      134:23 140:19 140:19 141:25 150:16 151:9200:5 200:6 200:6 200:23 201:4 201:10 73:9 73:25 74:9 74:10 74:14 74:18 74:25
theoretically(1) 235:23                   155:22 164:11 167:18 169:9 169:11        201:20 202:7 202:11 202:12 205:15 211:5 75:5 75:13 75:23 76:4 76:10 77:14 77:14
theory(4) 61:25 90:25 186:7 235:21       169:12 177:18 177:25 178:15 178:25 179:6212:5 216:18 216:20 219:2 219:7 219:11 77:15 77:23 78:8 79:2 79:2 79:15 79:19
there(162) 18:16 23:20 26:11 32:18 34:22 180:1 181:23 182:13 182:17 182:17 183:4220:10 220:12 220:23 224:4 225:13 225:1580:13 80:15 80:16 80:17 80:18 80:25 81:1
39:1 39:12 39:17 41:23 47:13 48:15 48:22184:8 184:9 193:17 194:17 194:17 194:18 227:5 227:6 227:7 227:18 227:24 228:3 81:10 81:23 82:15 82:17 84:6 84:20 84:25
49:15 57:19 63:21 65:12 67:25 76:3 77:8 198:21 202:17 212:24 214:1 214:4 214:5 228:3 228:5 228:23 230:6 230:11 233:7 85:2 85:5 85:8 85:10 86:1 86:5 87:25
77:8 78:13 78:23 80:24 81:20 99:19       216:19 218:16 219:12 219:23 219:25        235:3 235:7 238:22 242:2 242:5 242:6    88:9 90:18 91:9 91:13 92:5 93:16 93:22
101:10 105:1 108:24 110:20 115:15 115:18219:25 220:1 220:6 221:25 222:1 228:9 243:25 244:9 246:5 249:19 251:2 251:14 94:7 94:15 94:17 94:24 95:15 95:23 95:23
 115:19 115:22 116:2 116:5 116:5 116:9 228:14 228:16 232:25 233:11 233:16          251:18 252:19 252:25 258:18 258:24      96:6 96:20 97:2 98:5 98:8 98:12 98:15
118:23 119:8 120:16 122:9 122:23 123:12 233:24 236:18 236:25 237:6 249:3 253:13 259:18 260:7 260:11 260:21 260:24 260:2599:22 99:23 99:24 100:4 100:18 100:19
124:19 125:13 125:16 125:18 125:18       256:8 256:10 262:3 262:4 262:9 262:9       261:2 262:13 262:25 263:10 263:22      100:22 101:1 101:4 101:4 101:18 101:18
126:20 128:3 130:2 130:4 130:23 133:4 262:16 262:19 267:13 268:23                  265:11 266:8 266:13 266:17 266:19 268:16101:20 101:20 101:24 101:25 102:12
136:16 137:14 142:7 143:22 144:1 145:25                                                                                    102:16 103:4 103:8 103:9 103:12 103:14
148:4 149:3 149:9 149:9 149:13 150:3     they're(13) 31:7 96:1 97:16 132:17 147:17                                         103:14 104:5 104:19 105:3 105:3 105:3
150:4 152:16 155:21 156:16 161:24 162:25158:24 169:22 183:18 233:6 251:17                                                  105:24 106:7 106:19 106:21 107:18 107:20
 163:2 163:24 163:25 164:2 164:5 164:9 254:11 255:4 267:8                          thinking(4) 22:19 43:18 82:17 201:14     107:21 107:22 108:15 112:10 112:15
164:10 165:13 165:15 166:10 169:4 170:20                                           thinly(3) 82:10 100:4 100:22            112:16 112:25 113:23 116:7 116:12 121:10
 171:25 183:7 185:2 186:1 186:10 187:9 they've(3) 13:22 170:2 180:7                third(21) 16:3 16:17 31:18 45:23 46:1    122:7 122:22 123:9 123:13 123:14 124:17
187:17 187:25 189:12 190:9 191:6 191:22 they’re(2) 193:18 205:2                    49:19 49:22 56:19 105:16 117:15 117:17 127:23 130:20 130:21 130:23 131:24 132:9
192:6 195:24 198:5 203:7 204:2 206:1     thing(13) 46:4 78:4 86:8 96:19 102:7      144:10 161:11 161:18 172:3 172:24 173:7 132:23 134:6 134:12 136:12 136:22
206:15 207:22 208:11 208:13 209:12       102:9 155:5 177:9 242:23 243:2 251:11 217:5 224:25 237:2 268:12                   136:23 136:24 138:6 138:20 140:13 141:11
211:19 217:14 217:19 218:6 220:9 221:19 261:5 266:24                                                                        141:13 141:21 142:24 145:17 145:18
223:16 224:5 224:25 231:9 232:4 232:5 things(18) 25:5 68:18 71:4 78:17 79:6        thirteen(1) 93:17                       147:13 147:20 148:1 148:10 149:5 149:13
232:11 232:12 233:3 235:7 235:8 235:13 81:23 97:4 99:8 100:1 130:21 175:12         thirty(2) 40:18 62:5                    150:22 151:15 152:14 152:15 153:2 154:12
235:14 235:17 235:21 236:9 238:10 240:4 186:10 187:10 207:1 209:11 221:3 262:22 thirty-five(1) 22:7
240:5 240:6 240:15 240:18 241:17 241:22 266:16                                     thirty-seven(1) 108:25
242:25 243:9 243:14 243:21 244:18 245:3                                            thirty-two(1) 107:23                    this(138) 155:4 156:10 156:13 159:21
247:10 249:6 251:16 253:2 253:20 255:21                                                                                    160:11 161:5 162:12 164:10 164:17 164:24
256:6 256:8 256:8 258:7 258:18 259:13                                                                                       166:14 167:10 169:6 171:18 172:10
261:19 262:5 262:12 263:2 266:5 266:16                                                                                     172:12 172:14 174:20 175:3 175:6 175:19
267:14                                                                                                                     176:6 177:8 177:15 178:21 179:13 180:8
                                                                                                                           181:21 182:6 183:13 189:4 189:21 190:19
there's(31) 22:7 27:19 31:18 59:21 64:6                                                                                    191:4 193:15 198:2 198:4 198:4 198:8
73:5 73:6 86:14 86:14 86:15 87:11 88:16                                                                                    198:14 199:7 199:16 201:4 201:14 203:13
103:21 103:21 132:24 149:19 155:12                                                                                         203:17 204:21 205:3 207:19 207:23 207:25
163:21 169:5 173:23 184:2 185:22 186:10                                                                                     208:19 208:22 210:4 210:12 210:13
221:10 224:22 232:25 254:17 254:18 263:7                                                                                   211:11 211:20 211:25 212:14 213:11
 267:20 268:1                                                                                                              214:24 215:5 216:18 217:3 217:9 218:17
                                                                                                                           218:19 219:5 219:8 219:18 219:19 221:5
thereafter(2) 46:14 223:8                                                                                                  221:20 223:5 223:10 224:9 225:4 225:23
therefore(10) 24:8 24:16 120:7 218:18                                                                                      226:14 227:24 228:3 228:3 228:4 228:8
219:17 221:9 221:12 222:2 223:10 236:24                                                                                    229:23 232:1 232:3 232:19 237:5 237:21
                                                                                                                           237:23 237:24 238:1 238:3 238:6 238:22
there’s(12) 192:15 196:7 198:17 200:6                                                                                      239:8 240:8 240:22 241:4 241:4 242:12
202:18 204:10 208:5 208:7 211:10 215:1                                                                                     245:24 246:14 246:17 246:20 249:23 251:8
215:24 221:6                                                                                                                251:19 251:25 252:17 253:21 253:24
                                                                                                                           253:25 254:1 254:9 254:23 255:1 255:7
                                                                                                                           255:8 256:17 257:2 258:8 259:4 260:6
                                                                                                                           260:18 262:4 262:7 263:2 263:4 263:10
                                                                                                                           263:21 265:10 267:16 268:5 268:7 268:13


                                                                                                                         thomas(2) 3:27 4:40




Page : 30                                                                                                                                          04/08/11 17:17:47
                              Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                 Doc 8446-3 Filed 03/21/11                                     Page 301 of 306
Word                          Page:Line Word                           Page:Line       Word                         Page:Line    Word                        Page:Line
those(138) 13:23 15:10 18:2 18:14 21:8 timing(4) 127:16 146:15 259:17 260:2            treats(3) 58:3 89:19 90:17                turn(110) 15:7 15:12 18:21 20:5 22:24
21:22 21:24 23:10 23:11 23:16 27:3 29:12tina(1) 12:9                                   trehan(1) 9:47                            26:18 26:21 28:18 33:3 37:14 40:4 41:10
34:19 35:20 40:21 41:1 41:3 45:19 45:20 tiny(2) 189:10 189:21                          tremendous(4) 22:18 51:11 70:9 116:10 44:15 45:8 48:4 51:2 54:5 57:6 60:1 62:8
47:12 47:25 48:2 48:16 52:7 53:19 56:6 title(1) 246:14                                 trend(1) 33:22                            63:5 74:4 76:8 81:25 83:12 86:7 91:3
56:8 56:9 56:10 56:12 63:17 66:12 68:16 today(9) 13:22 19:2 32:2 128:2 149:2           trial(3) 46:19 261:22 262:16              93:19 110:25 114:10 117:4 117:14 118:1
71:14 73:10 74:22 75:16 75:18 75:19     180:22 242:9 242:10 259:14                     tribune(142) 1:7 6:20 6:40 20:7 20:17     130:18 131:22 134:2 135:2 138:23 142:21
76:18 76:20 76:25 78:1 78:16 78:16 79:1                                                21:3 22:23 23:5 23:8 23:10 27:16 27:24 144:4 144:19 145:8 146:3 147:1 148:2
79:6 79:7 79:10 79:15 79:19 79:20 80:24 together(8) 42:23 82:15 111:10 170:22          28:5 28:7 28:11 29:10 35:22 36:10 36:21 149:3 150:6 150:22 151:21 152:4 153:5
82:17 82:18 85:23 87:6 91:18 92:4 92:5 190:11 191:10 200:15 201:11                     38:15 38:17 38:20 42:6 42:9 44:13 50:3 155:15 161:4 162:25 163:21 170:3 173:22
92:9 92:19 93:16 94:3 94:3 95:25 97:7                                                  50:6 61:13 63:15 63:20 65:10 66:22 66:23173:22 176:4 176:4 177:4 178:15 178:21
97:8 102:5 102:17 109:8 111:3 112:13    told(4) 13:22 43:17 124:2 142:14               66:23 67:1 69:8 69:11 69:20 69:24 69:25 182:6 182:16 183:10 184:8 187:3 187:6
114:21 116:13 116:14 119:21 121:2 121:21too(10) 106:10 147:7 147:13 168:2 180:1 70:2 70:17 75:10 90:16 93:8 94:9 94:19 191:8 191:19 192:1 192:5 202:21 203:13
 121:23 124:16 126:10 134:21 140:14     187:15 206:14 207:17 241:21 256:8              96:5 96:11 97:1 97:3 98:23 101:9 101:13 205:4 205:22 206:5 207:6 212:11 214:21
142:4 144:3 144:15 145:2 150:16 151:22                                                 101:21 102:11 103:5 103:23 107:3 108:22 217:3 217:25 224:7 224:22 229:14 229:19
156:24 157:9 159:5 159:20 160:5 161:14 took(13) 49:10 64:15 77:18 81:9 103:12 108:23 111:8 116:23 117:9 117:23 118:9 230:22 231:2 231:15 232:17 235:25 237:16
162:11 162:20 164:14 165:5 168:5 176:1 123:3 161:14 162:19 198:8 198:17 213:14 119:19 123:20 123:24 124:1 124:22 135:23238:9 239:6 239:12 240:13 240:14 241:4
176:24 178:20 182:5 182:21 184:25 194:25223:13 250:24                                   137:6 137:22 139:13 141:12 142:2 143:12242:12 246:11 246:15 246:25 248:14
 195:2 201:11 204:2 204:9 204:14 204:17                                                145:24 148:8 148:11 149:6 149:23 150:1 251:23 252:2 253:24 254:4 256:4 261:15
204:19 208:12 209:13 210:3 210:11 213:21top(11) 40:10 61:4 62:20 69:8 85:10 94:7 151:3 153:7 153:16 154:1 156:12 156:17
 214:4 220:18 220:21 231:5 233:19 244:2 133:4 145:8 164:2 172:10 256:7                 159:15 163:11 169:24 172:9 172:16 173:5 turned(1) 65:18
244:20 245:2 250:1 250:2 254:14 255:6                                                  173:6 173:15 174:5 174:16 174:25 188:9 turning(2) 192:10 192:24
258:9 258:12 258:23 261:2 261:25 262:22 topic(3) 233:15 259:15 263:20                  192:2 192:11 192:25 201:25 202:7 205:19 turns(2) 60:17 94:23
                                        topics(1) 246:9                                207:14 212:15 213:2 213:11 214:12 214:15twa(2) 59:7 197:17
                                        torres(2) 2:30 10:4                             215:7 215:8 215:18 216:4 217:4 218:14 twelve(1) 20:23
though(6) 59:10 149:21 160:8 181:21                                                    218:16 219:1 223:18 223:25 224:10 224:11twelve-month(2) 69:7 70:22
                                        total(21) 17:24 20:17 20:21 69:6 84:18
188:11 266:25
                                        106:22 127:20 153:21 171:7 172:19 174:2 225:6 225:12 225:16 226:9 226:17 226:24twenty(5) 18:2 87:20 99:21 99:22 111:15
                                        174:9 174:20 178:15 180:11 200:16 203:24227:9 227:12 227:13 228:9 230:18 245:25 twenty-five(1) 18:24
thought(12) 43:18 74:10 108:2 113:21     206:2 226:19 254:19 254:23                    247:14 247:17 250:25 253:6                twenty-two(3) 17:14 18:1 40:17
121:10 127:19 173:5 219:16 225:25 226:3                                                                                          two(122) 18:3 21:4 29:16 34:17 43:11
240:9 264:21                                                                           tribune's(54) 21:5 21:20 21:21 21:25 23:3 45:14 48:5 48:6 48:10 49:2 49:10 49:14
                                        touched(1) 104:8
                                        toussi(1) 11:46                                27:6 27:15 27:19 27:21 28:14 28:16 29:6 49:17 50:2 50:9 53:19 54:21 54:24 55:2
thoughts(1) 264:16                                                                     35:15 46:21 54:17 73:14 76:12 76:12       55:4 55:11 55:14 55:17 57:11 64:23 64:25
                                        toward(2) 64:5 244:3
thousands(2) 17:19 21:17                                                               82:10 83:21 83:24 98:9 99:7 99:18 100:5 65:4 65:14 65:18 66:10 67:6 73:3 76:17
                                        towards(1) 108:20
three(15) 18:14 47:3 54:18 73:17 73:20                                                 103:10 109:20 110:1 110:10 111:7 111:16 77:8 78:2 78:14 78:20 79:5 80:9 80:13
                                        track(1) 224:18
73:23 92:4 127:19 155:10 164:10 164:10                                                 116:24 117:17 118:12 119:4 124:13 126:1580:16 81:6 81:10 82:2 94:23 102:8 105:4
164:14 174:8 216:23 233:11              tracked(1)  94:19
                                                                                        128:20 129:1 129:10 139:2 142:10 142:11
                                        tracking(6) 72:1 74:3 141:7 141:13 204:19148:14 155:3 156:6 157:20 166:6 175:14 106:6 106:24 109:22 110:2 110:4 110:6
                                         208:25                                                                                  110:12 110:14 110:16 111:3 111:3 111:9
three-billion-dollar(1) 125:8                                                          188:4 190:6 227:4 227:7 250:4             111:10 111:18 112:1 112:4 112:6 114:18
through(43) 22:13 30:8 34:9 38:2 38:21                                                                                           114:21 115:2 115:8 115:12 115:17 115:20
40:8 40:16 44:23 45:16 49:9 54:11 60:4  trade(6)  100:11  129:21  129:24   139:13
                                                                                       tribune-sponsored(1) 117:9                115:22 115:23 116:4 116:7 116:14 116:24
60:12 65:2 69:14 70:12 70:13 70:14 76:10239:1 239:2                                    tribune’s(5) 7:28 213:18 214:9 218:11     117:18 117:20 117:23 118:8 119:5 119:5
84:23 97:9 97:9 99:18 105:7 114:1 114:2                                                218:19                                    120:6 120:24 121:6 121:12 122:3 122:8
116:14 116:15 117:9 118:5 134:25 135:3  traded(8)  82:11  100:4  100:5  100:22
                                                                                                                                 122:10 122:16 123:15 143:17 155:7 156:9
139:4 169:25 204:6 213:4 215:14 218:17  125:19   191:23  192:7  238:17
                                                                                       tricadia(2) 10:34 10:34                   161:24 162:21 166:8 166:10 169:20 184:17
220:18 228:8 238:9 261:7 261:22                                                        tries(1) 95:7                              188:22 190:9 191:14 192:16 197:1 197:2
                                        trades(4) 82:11 129:14 129:16 129:21
                                                                                       tripping(1) 147:23                        200:15 207:2 211:25 224:14 231:5 233:4
throughout(1) 135:7                     trading(6)  99:2  134:21  135:7  168:10  252:6                                           247:17 248:1 248:2 257:25 258:5 258:11
                                                                                       trouble(2) 75:6 196:11
throwing(1) 124:8                        252:21
                                                                                       true(9) 122:18 141:6 169:19 184:20 209:6 258:15 259:23 261:13
thus(4) 13:13 13:17 244:5 244:24                                                       226:11 229:13 230:6 266:9
tied(3) 99:12 103:6 225:7               trailing(2) 69:7 70:21                                                                   two-and-a-half(1) 197:2
time(113) 13:17 16:21 16:23 20:3 20:9   tranche(1) 89:19                                                                         two-hour(2) 14:3 106:5
                                                                                       trump(1) 9:15
21:3 22:11 22:16 22:19 22:22 26:10 28:1 transacting(1) 100:8                           trust(8) 4:26 6:14 10:4 20:11 75:5 116:11 two-thirds(1) 54:14
30:10 30:20 32:25 34:2 34:4 34:5 36:2   transaction(52)  22:13  22:14  33:11  34:7
                                                                                       151:7 151:14                              two-week(1) 261:7
44:8 44:14 46:14 48:3 57:19 58:20 59:5 55:2 55:3 55:8 55:11 55:13 69:14 74:18                                                    type(6) 45:3 68:13 68:20 116:12 189:15
62:18 64:8 64:12 65:24 70:21 73:9 75:3 98:13 98:24 101:2 102:16 104:5 105:5            trustee(1) 268:10                         215:5
80:3 80:13 83:25 84:15 86:1 86:3 86:4   108:21   111:9  111:12  112:17  116:15   117:7
                                        117:19   120:24  121:11  121:13   121:17       truth(1) 25:5
90:23 97:25 98:15 98:16 98:25 102:1                                                    try(3) 13:25 105:20 268:14                types(6) 51:12 51:15 68:18 78:16 121:21
102:11 103:9 104:1 106:4 106:10 112:25 121:20 122:6 122:8 122:16 122:22 122:25 trying(17) 24:19 28:5 103:3 116:13 122:2 121:23
113:20 115:11 118:25 119:17 123:24 124:4123:15 124:3 139:4 143:16 143:17 145:1 126:2 126:3 127:25 132:1 142:18 147:17
 124:17 125:13 126:7 126:16 129:10      146:1 147:8 148:8 238:24 238:25 239:20
                                                                                       166:8 170:22 201:17 202:17 219:15 252:18typical(3) 48:23 50:4 243:4
129:18 134:10 135:8 135:16 135:20 136:3 241:9 241:14 247:11 247:12 247:13 254:15                                                 typically(3) 206:22 250:8 260:16
137:9 137:12 137:21 138:3 138:8 143:23                                                 tuesday(4) 261:4 263:10 263:21 263:23     u.s(2) 11:37 15:21
144:16 145:3 145:15 147:13 148:20 149:9 transactions(2)  115:1  120:9
                                        transcriber(1)  269:11                         tuesday's(1) 260:8                        uh-huh(4) 120:21 121:4 129:8 197:18
150:14 150:19 151:5 151:8 151:10 151:17                                                tuliano(47)  13:8 14:2 14:7 14:12 14:20   ultimate(1) 60:21
151:20 152:8 152:23 153:8 156:13 156:20 transcript(6) 1:17 1:48 46:19 104:4 215:6 18:14 18:21 23:13 25:17 26:3 30:24 47:15ultimately(52) 22:2 28:12 29:14 29:18
182:7 183:10 187:7 188:17 189:17 190:20 269:6                                          83:12 87:24 93:1 102:20 104:3 105:24      33:13 35:1 48:20 54:15 58:15 59:8 61:24
194:19 202:5 219:22 220:22 222:16 234:9                                                106:18 109:13 128:17 129:6 131:2 131:8 66:9 70:11 70:21 72:9 72:16 79:11 79:12
234:10 246:20 250:15 250:24 253:14 259:7transcription(2)  1:41 1:48
                                                                                       131:11 131:14 131:19 132:1 132:6 132:14 81:1 81:15 81:21 81:22 84:1 85:5 86:4
 267:19 268:23                          transfer(1) 200:21
                                                                                       137:13 138:6 142:14 142:16 142:18 180:2187:11 87:15 98:9 99:20 101:19 107:11
                                        travels(1) 268:25
                                                                                        180:25 200:2 212:11 245:11 252:24 256:4144:1 151:15 159:25 164:21 164:23 166:2
timeframe(8) 101:8 137:18 152:1 157:25  traversed(1)  268:21
                                                                                       256:23 262:21 270:3 270:16 270:17         176:1 183:25 184:1 186:5 189:14 201:12
174:16 202:3 251:9 253:14               trb(1) 117:8                                                                             201:21 204:14 214:5 228:16 228:17 251:6
                                        treasurer(1) 43:9                              tuliano's(1) 23:24                        253:16 266:11 268:6
timekeepers(1)  106:6                   treat(1) 84:21
timely(1) 140:17                        treated(9) 13:16 58:23 59:18 111:8 122:5                                                 um-hum(27) 135:6 135:18 138:5 139:24
times(26) 17:22 28:10 40:9 40:15 41:12 122:24 122:24 123:1 265:20                                                                141:5 145:21 147:19 158:7 160:2 161:4
41:15 42:7 46:20 63:21 69:5 69:18 70:19                                                                                          166:15 169:8 174:18 175:16 179:22 180:24
91:10 93:17 99:22 100:5 101:12 101:18 treating(1) 255:5                                                                           185:6 189:24 190:4 191:8 193:24 194:16
125:20 179:7 179:7 180:12 181:25 182:18 treatise(1) 230:25                                                                       202:21 210:9 210:19 211:1 235:25
182:18 182:21                           treatises(2) 229:11 234:15
                                        treatment(1) 111:10
Page : 31                                                                                                                                               04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                    Page 302 of 306
Word                          Page:Line  Word                         Page:Line     Word                          Page:Line   Word                        Page:Line
uncertain(1) 149:18                      upwards(1) 90:21                           value(261) 23:3 23:4 50:5 50:5 50:16      very(137) 19:12 21:13 22:9 27:7 30:21
uncertainly(1) 144:16                    usa(1) 9:24                                50:19 50:20 50:21 50:22 50:24 50:25       33:16 34:14 34:23 35:4 35:8 36:6 36:8
uncertainties(1) 208:13                  use(63) 13:12 13:22 24:24 50:21 51:24      50:25 50:25 51:1 51:3 51:5 51:6 51:10 37:1 37:5 37:20 44:10 44:22 45:4 45:4
uncertainty(5) 31:15 145:3 149:19 265:11 52:2 55:23 57:11 58:1 59:6 59:11 59:15 51:12 51:21 51:21 51:25 51:25 52:2 52:7 45:24 46:2 49:21 50:4 50:23 55:25 61:4
266:19                                   60:16 61:9 61:9 61:19 63:22 72:20 80:8 52:17 52:19 52:20 52:21 52:24 53:3 53:6 62:13 62:19 63:3 65:25 65:25 68:11 69:4
                                         87:21 90:25 91:9 91:10 112:13 142:6        53:7 53:8 53:21 54:1 54:3 54:16 54:18 71:1 71:1 71:17 73:18 73:20 74:10 74:18
unchanged(2) 161:21 161:24               163:14 164:19 165:5 166:5 166:22 167:4 56:10 56:13 56:14 56:14 56:22 57:1 57:3 75:14 75:14 76:4 77:3 79:15 80:24 81:18
under(45) 50:10 53:2 53:19 55:13 62:6    167:10 167:18 169:5 169:13 175:13 178:1957:13 57:14 57:16 58:1 58:6 58:6 58:11 82:10 82:12 82:18 84:3 84:19 85:1 85:3
74:23 77:10 77:11 81:15 86:3 90:1 95:16 179:19 179:24 180:25 181:3 181:3 181:1958:11 58:14 59:8 59:12 59:16 59:16 59:2085:3 85:10 85:17 86:5 91:1 92:24 95:17
107:22 107:23 114:1 116:7 122:15 124:1 182:23 185:21 188:8 188:23 190:11 191:3 60:21 61:23 62:6 62:12 64:2 64:4 64:20 97:18 97:19 98:12 99:23 100:7 100:8
143:19 144:6 145:8 154:16 160:4 180:14 192:10 197:12 197:16 199:17 204:14           64:22 66:23 73:5 79:11 79:17 86:23 86:23100:18 101:7 101:15 102:2 102:4 102:14
181:25 196:17 196:18 207:13 210:5 216:19210:15 218:17 227:14 230:8 230:11 230:1387:1 87:1 87:4 87:5 87:5 87:6 87:6 87:7 104:2 105:21 107:2 107:8 108:1 113:24
 226:1 226:6 228:11 236:4 237:2 239:16 230:19 234:15 252:11                         87:8 87:10 87:21 87:21 87:25 88:6 88:10 118:11 120:8 121:12 121:18 122:6 122:15
239:20 240:2 241:7 242:17 249:9 252:4                                               88:10 88:13 88:15 89:4 89:17 89:21 89:23123:8 126:13 127:18 128:13 133:13 135:19
254:8 254:15 254:18                      used(73) 33:11 45:21 49:12 49:17 49:20 90:9 90:14 91:1 91:5 91:23 91:24 92:1          136:5 136:7 136:14 136:20 137:1 137:4
                                         49:21 50:7 50:8 50:19 51:13 51:20 54:20 92:12 92:14 92:16 92:17 92:24 99:20          137:4 137:16 137:21 138:1 140:2 151:16
underlie(2) 26:24 89:11                  57:7 58:13 59:9 59:15 59:20 60:8 60:14 108:16 152:22 162:15 162:18 163:3 164:12156:24 160:5 160:11 160:19 164:3 170:13
underlies(1) 159:25                      60:15 60:19 61:12 61:13 62:25 62:25 63:2 164:15 164:18 164:19 166:2 166:11           170:19 170:19 171:20 175:9 186:18 188:9
underlying(6) 100:10 136:10 136:25       64:15 65:23 65:23 69:4 78:13 79:21 89:17166:23 167:5 178:10 178:16 180:11 181:13189:10 189:20 189:22 191:5 194:17 200:23
138:20 139:21 211:7                      94:1 98:13 100:12 121:15 133:11 142:9 184:8 184:10 184:15 191:12 191:14               201:13 206:20 211:5 228:4 228:4 233:10
                                         154:6 162:18 164:14 165:8 165:9 167:21 191:18 192:11 192:21 194:7 196:3 196:5 235:22 249:20 250:14 250:23 251:23 260:3
underperformed(1) 63:20                  167:22 169:8 174:3 176:9 177:19 177:22 196:13 196:16 197:12 197:16 197:16             260:9 261:7 265:4 268:1
underperforming(1) 47:23                 181:24 182:22 182:25 183:4 183:6 183:22 197:19 197:24 198:8 198:9 198:11 198:11
understand(36) 24:1 25:3 44:12 69:23     183:24 185:2 185:11 185:17 185:17 197:5 198:19 199:3 200:8 200:8 200:10 200:11 veyhee(2) 19:17 19:21
88:16 89:12 96:19 96:23 120:17 121:3     197:20 200:22 205:10 206:15 209:20         200:15 200:16 200:17 200:18 200:19        video(5) 198:14 198:16 199:22 215:2 215:6
121:22 121:24 123:12 127:6 144:3 156:16 225:20 227:3 244:6 244:14 244:25            200:22 201:1 201:4 201:7 201:9 201:9      view(37) 17:20 41:4 46:11 46:17 48:2
156:22 156:23 162:17 168:15 168:19                                                  201:11 201:15 201:18 201:19 201:21        49:1 54:6 54:16 55:1 58:17 65:9 66:6
181:21 194:4 198:5 201:3 201:7 214:5     useful(4) 98:18 193:18 259:19 259:20       201:21 201:22 201:25 202:1 202:15 216:1771:14 77:3 83:20 85:1 88:18 101:9 101:14
217:19 218:16 219:16 231:8 244:18 253:17usefulness(1) 31:22                          218:14 218:19 220:11 220:12 221:9        104:4 117:3 121:3 123:9 123:23 137:3
 260:4 266:13 267:16                     uses(18) 57:14 58:6 66:11 89:5 90:16       221:13 221:19 221:20 223:10 223:24 224:1143:15 143:19 143:21 197:25 232:15
                                         90:21 91:1 91:16 92:7 93:13 94:6 95:11 224:18 225:6 225:12 225:16 226:1 226:7 252:17 261:17 262:23 263:2 264:20 267:4
understanding(21) 13:13 20:21 43:21      108:21 138:10 166:5 170:14 170:20 227:10226:8 228:22 228:25 230:2 230:25 231:11 267:25
                                                                                    231:22 233:9 234:12 234:13 234:13 234:16viewed(9) 55:11 68:6 68:7 95:24 107:11
120:15 134:11 146:22 190:13 196:11
                                         using(38) 60:10 61:8 62:14 65:4 66:4        234:25 235:4 235:6 235:23 235:24 237:22123:11 144:23 240:22 250:25
197:19 198:12 207:17 219:24 233:18
                                         66:10  66:14   66:15 90:10 91:20 92:8 92:14237:23 237:24 239:13 239:17 240:14
233:21 235:22 235:22 236:7 258:20 258:25
 259:6 259:19                            92:17 103:12 107:24 108:4 108:6 138:7 240:25 241:8 241:14 242:14 242:15 242:18viewing(1) 22:23
understood(2) 143:22 149:20              152:22 157:19 158:5 168:14 177:25 178:25242:19 242:22 243:4 243:5 243:8 243:8 views(9) 22:10 33:2 83:17 121:2 236:15
undertake(3)   42:14 48:5  268:14         179:4 179:6 181:2 181:23 182:13 182:17 243:10 243:11 243:13 243:13 243:15           258:3 259:22 264:22 268:8
undertook(3) 26:22 27:6 66:19            182:18   183:18 185:22 187:19 191:6 200:12243:17 243:23 244:4 244:5 244:5 244:10
                                          217:21 217:24                             244:12 244:13 244:13 244:24 244:25        vinson(1) 8:31
unfairly(3) 265:19 266:2 267:13                                                     245:12 245:19 245:22 246:1 246:2 253:16 violates(2) 52:23 90:14
unfortunately(1) 164:6                                                              254:10 254:11 254:19 254:21 254:23 255:2violation(1) 209:15
unidentified(1) 128:11                   usual(1) 259:3
                                         usually(1)  267:17                          265:16 265:23 266:12 266:21 267:7        virtual(2) 41:5 140:12
unique(6) 219:5 219:15 219:18 219:19
220:8 245:17                             utilized(1) 71:7                                                                     virtually(5) 17:16 136:9 136:12 141:17
                                         valerio(1) 9:30                                                                      169:22
                                                                                    value.”(1) 218:20
unit(4) 156:18 156:23 157:11 161:1       valid(2) 141:6 243:14
                                                                                    valued(9) 50:6 52:6 52:25 64:13 194:19 virtue(4) 159:14 192:4 192:14 193:16
unitary(5) 55:8 55:13 111:9 122:25 254:15valuable(4) 53:8 216:18 233:17 251:17      194:24 195:13 199:7 241:23
united(2) 1:1 1:19                       valuate(1)  233:1                                                                    vis-à-vis(1) 247:18
units(2) 160:24 224:17                   valuating(1)  197:8                                                                  visibility(1) 146:15
                                                                                    values(7) 59:4  59:6 184:9  184:17 228:21
university(2) 15:16 19:10                valuation(84) 15:5 16:1 16:4 16:7 16:9                                               volume(2) 153:6 238:17
                                                                                    234:21 254:14
unknown(1) 199:9                         17:9 17:11 18:7 18:15 19:5 19:7 19:13                                                vora(1) 9:25
unlikely(2) 113:24 213:11                19:14 19:15 20:2 50:3 50:4 50:10 51:8                                                wac(23) 163:9 163:13 163:14 164:12
                                                                                    valuing(8) 51:8 195:19 201:2 232:14
                                         52:15 54:1 54:3 54:3 57:21 57:22 61:25                                               165:1 165:22 166:5 166:7 168:14 168:20
unofficial(1) 46:19                                                                 232:16 238:4 238:7 239:8
                                         62:14 62:22 65:6 65:8 66:21 79:12 86:14                                              175:12 177:25 178:9 179:15 179:23 180:1
unpack(3) 191:17 221:6 221:10
                                         87:7 87:9 88:7 90:24 92:25 93:1 94:9                                                 180:2 180:12 184:4 184:6 184:24 185:13
unrealistic(1) 168:4                                                                variance(3)  30:17 37:23  37:24
                                         97:10 97:10 108:19 144:7 157:8 160:4                                                 185:14
unreasonable(23) 39:25 46:8 48:3 48:12 162:14 162:20 174:18 177:15 180:23 181:2variances(1) 151:2
                                                                                                                              wac's(1) 165:5
66:7 77:13 89:5 102:15 108:7 141:8 151:1 196:13 219:4 221:23 223:13 228:24 229:4variation(1) 208:12
151:12 158:15 160:6 185:3 185:4 185:15 230:17 231:7 234:8 234:14 234:14 234:15 varies(1) 169:3                                wacc(5) 60:23 61:13 65:17 65:18 90:15
204:10 204:15 208:22 210:15 210:17 249:3234:17 235:8 235:12 235:14 235:19 235:20various(35) 16:25 17:23 21:18 22:3 51:13 wacker(1) 3:13
                                                                                                                              wackerly(1) 6:35
                                          235:21 235:23 237:5 237:7 237:8 237:8 55:4 58:25 59:1 59:2 60:7 60:12 63:21 wait(1) 114:16
unreasonableness(2) 42:4 250:17          237:12 238:11 239:4 244:3 245:1 246:3      63:21  65:19  70:12  78:23 82:16  85:20
unreasonably(2) 21:6 23:9                                                           91:13 98:8 103:4 113:4 115:16 116:10      walk(3) 54:11 60:4 65:2
                                         246:6 266:10                                                                         walker(1) 232:20
unsecured(2) 3:18 5:21                                                              125:20 130:21 171:10 202:25 209:20
until(4) 119:5 218:16 259:7 260:17                                                  212:14  229:11   234:14 235:18  237:11    walking(1) 76:10
                                         valuations(6) 56:8 64:14 109:1 180:6                                                 wall(2) 72:6 155:18
unused(1) 80:23                          180:7 229:7                                237:25
unusual(1) 263:1                                                                    varying(3) 59:4 125:17 236:25             want(35) 13:22 78:4 91:9 92:14 97:24
upcoming(1) 148:9                                                                   vast(3) 16:20 28:6 91:25                  100:22 102:20 104:6 104:7 111:18 112:9
                                                                                    vazquez(1) 5:26                           112:9 115:4 127:22 134:9 146:17 148:14
update(2) 40:1 217:4
                                                                                                 67:14                        159:20 165:17 174:7 180:2 180:10 181:20
updated(3)  39:10  39:14  43:14                                                     ventures(1)
                                                                                                                              186:20 192:16 218:8 229:2 229:7 242:13
updating(1) 39:13                                                                   verified(1) 170:1
                                                                                                                              242:23 251:10 258:17 262:20 266:25 267:5
upon(27) 25:2 25:13 33:12 44:23 49:12                                               versus(5) 29:19 35:22 74:6 80:12 232:16
56:4 56:10 63:3 63:19 64:21 65:5 74:20                                              vertical(1) 249:23
                                                                                                                              wanted(17) 28:16 33:19 38:15 47:6 60:15
75:10 77:17 80:22 84:1 89:24 93:6 98:20
                                                                                                                              103:24 105:22 112:5 148:16 151:4 157:22
98:23 104:8 106:24 111:10 126:11 141:11
                                                                                                                              164:9 194:3 260:12 260:13 261:2 262:9
201:22 242:4
                                                                                                                            wanting(1) 260:19
upper(7) 35:16 35:21 60:8 93:20 130:19
                                                                                                                            wants(3) 99:15 267:8 267:10
131:22 133:21
                                                                                                                            wardwell(3) 2:4 8:19 109:7
uptick(1) 137:21                                                                                                            warner(4) 57:20 64:8 64:12 194:19
Page : 32                                                                                                                                             04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                 Page 303 of 306
Word                       Page:Line     Word                         Page:Line  Word                        Page:Line   Word                       Page:Line
was(301) 13:9 15:20 17:17 19:20 20:6     way(49) 19:12 24:19 27:7 27:23 38:13    well(220) 15:2 17:2 17:11 19:15 19:25   we’re(6) 195:19 195:19 196:3 196:4 196:5
20:15 21:6 21:7 21:17 22:23 23:5 23:8 41:13 42:22 47:9 47:16 54:6 56:8 61:22 21:2 21:13 22:17 24:21 26:24 27:8 27:14 199:8
24:14 27:16 27:18 27:21 28:1 28:7 28:8 62:6 90:2 90:12 90:25 105:15 110:13       28:6 28:24 30:9 33:10 34:5 34:23 37:9
28:15 28:19 29:10 29:20 30:1 30:2 30:22 112:10 120:8 123:14 125:24 132:22 140:3 37:18 38:12 40:12 41:13 44:18 45:11      we’ve(4) 204:12 208:14 211:24 220:14
31:6 31:24 32:18 32:19 32:22 32:25 33:22141:13 156:8 160:11 164:24 165:21 167:4 46:15 47:20 49:8 50:12 50:20 51:2 51:6 wharton(1) 7:9
34:5 34:5 34:14 35:4 35:6 36:3 36:6      168:19 185:15 193:16 195:15 196:10 198:851:17 52:1 52:14 54:21 55:1 55:24 56:20 what(273) 14:23 15:23 16:4 16:12 19:20
36:12 37:3 38:3 38:13 38:18 38:25 39:1 203:9 214:4 221:22 225:23 235:14 236:1556:25 58:11 59:21 60:6 61:4 61:16 61:22 20:25 22:19 28:5 28:23 30:7 31:1 31:3
39:1 39:17 40:15 41:16 41:16 41:18 41:22247:10 248:18 253:12 255:3 258:13 259:4 62:12 63:11 64:20 65:4 65:16 68:2 69:4 32:20 33:8 34:22 34:25 35:6 35:6 35:21
41:23 42:1 42:22 43:18 44:2 44:4 44:5 267:3                                      69:10 70:8 71:11 74:3 74:10 75:23 76:16 35:24 36:18 36:22 37:17 37:19 38:10
44:6 44:10 44:20 45:6 45:6 46:7 46:8     ways(4) 81:1 115:17 166:11 219:25       77:8 78:17 79:2 79:8 80:16 81:7 82:8    38:19 38:20 40:8 40:11 40:14 41:14 44:17
46:11 47:22 48:15 48:22 49:8 49:21 50:11we'd(1) 262:1                            84:10 85:3 88:4 88:14 88:25 91:9 92:11 44:21 45:1 45:10 45:13 46:2 46:16 46:16
53:1 55:1 55:2 55:12 55:13 55:14 57:2 we'll(17) 27:25 55:10 60:14 60:19 63:13 92:12 92:21 93:8 93:19 94:18 95:7 96:2 47:18 48:9 48:12 48:13 49:8 49:17 49:21
57:13 57:19 57:24 58:20 59:7 59:10 59:10102:10 106:2 119:16 126:23 130:19 165:1396:3 96:5 96:9 97:3 97:5 97:21 98:7 99:6 51:4 53:2 54:7 54:12 56:14 57:1 58:5
61:15 62:17 63:15 63:21 64:17 64:18       165:15 178:20 190:11 261:24 262:1 263:8100:16 103:3 104:22 106:15 107:7 107:21 61:25 64:18 65:14 66:15 67:24 67:24 69:2
64:20 65:14 65:19 65:25 66:25 67:1 67:14                                         108:15 110:4 111:14 111:18 113:22 115:2169:8 70:17 71:9 71:17 72:16 74:14 76:15
69:8 69:10 69:11 69:24 69:25 70:17 70:22                                          119:8 120:13 120:17 121:9 122:6 124:18 76:18 77:4 77:6 79:1 79:25 80:4 82:6
70:24 71:22 71:22 71:23 71:24 72:1 72:2 we're(25) 24:17 32:6 36:21 41:11 53:3    125:16 126:13 130:1 130:6 131:12 131:23 82:7 82:15 83:16 86:22 87:19 88:5 88:17
72:8 73:3 73:3 73:4 73:9 73:9 73:10      53:20 68:9 70:10 95:20 106:4 106:10     133:13 133:17 135:23 138:10 140:19      91:7 91:11 91:15 97:16 97:19 98:5 98:20
73:15 73:25 74:2 74:2 74:10 74:14 74:17 116:17 135:20 137:9 137:18 138:8 141:13 140:23 142:6 143:15 144:4 146:17 151:21 101:1 101:25 102:25 103:3 103:14 103:16
74:17 74:25 75:1 75:3 75:7 75:21 75:24 153:2 172:18 174:17 187:6 261:3 265:7 152:24 153:2 156:16 158:12 158:22 159:7 103:17 105:3 105:10 106:25 107:9 107:11
76:1 77:17 78:12 78:13 79:21 80:18 80:25267:9 267:9                              159:7 161:11 163:20 163:20 164:9 164:24 107:18 107:25 108:1 108:11 108:14 112:5
81:1 81:12 81:18 81:20 82:12 84:10 84:14                                         165:8 165:13 165:23 166:10 167:17 169:2 112:16 113:19 113:20 116:15 116:17
84:22 86:3 90:5 90:23 92:19 93:1 93:8 we've(24) 17:23 30:23 31:3 31:4 33:18      169:7 171:10 171:20 172:5 172:18 172:23 120:11 120:16 120:19 121:22 121:22
93:9 96:12 98:12 98:23 100:24 101:10     44:7 45:15 45:16 51:15 60:8 65:22 68:9 173:3 173:21 173:22 174:9 175:16 176:22 121:24 122:4 123:2 123:6 123:8 126:6
101:11 101:13 101:14 101:15 101:19       75:11 87:5 91:11 100:19 104:25 106:6    177:3 178:19 180:14 180:16 181:8 183:9 127:16 128:2 128:23 129:9 129:24 130:7
101:20 102:11 103:5 103:6 103:8 103:17 106:9 106:19 122:11 137:13 249:2 253:10 183:22 184:2 184:18 186:1 186:10 186:22 130:15 130:23 131:11 131:12 131:14 132:6
105:21 108:22 108:23 108:25 110:5 110:7                                          187:3 189:5 190:11 192:18 195:11 195:22 132:19 135:7 135:21 136:4 136:5 136:12
110:14 112:15 112:16 113:7 113:23 113:24weather(2) 68:12 249:7                   196:8 196:23 197:22 198:13 199:21 199:21136:14 136:24 137:2 137:9 137:18 138:3
 115:15 115:18 115:19 115:23 116:3 116:5weathering(1) 95:21                       204:6 204:20 208:7 209:12 212:14 215:3 139:11 140:8 140:10 140:23 141:10 145:17
116:7 116:9 116:14 117:20 118:8 119:21 wednesday(1) 258:10                       217:24 219:7 220:10 220:13 220:14 220:23147:25 150:2 150:19 151:9 151:14 152:7
120:16 120:19 120:23 121:10 121:11       week(10) 32:10 38:19 38:21 38:23 40:16 221:6 221:10 222:7 223:1 224:1 226:6 152:18 153:2 154:15 156:20 157:16 157:18
121:15 122:7 122:14 122:15 122:16 122:2140:19 43:14 257:16 257:18 263:12         229:16 232:4 234:13 235:3 236:23 239:25 158:2 158:15 159:4 160:22 160:23 160:25
 122:22 122:23 122:23 123:3 123:15                                               240:7 242:21 242:25 243:9 243:14 245:16 164:9 164:18 164:25 165:17 165:18 165:24
123:20 124:1 124:3 124:10 124:19 124:22 weekend(3) 128:7 128:9 268:25            246:8 248:10 249:1 249:12 252:19 254:11 166:24 167:1 167:17 169:15 170:2 173:2
125:13 125:16 126:13 128:25 130:2 130:3                                          255:7 257:18 263:4 265:9 265:9 265:25 176:1 176:24 177:1 184:23 187:2 189:7
                                         weekends(1) 38:13
130:11 130:15 131:8 132:4 133:8 134:9                                                                                    192:17 194:6 195:12 195:20 196:3 196:11
                                         weekly(7) 34:10 38:12 38:15 38:18 39:4
134:9 134:13 135:7 137:5 137:14 138:16                                                                                   196:20 197:13 197:14 197:19 197:20
                                         40:13 41:14
140:8 140:10 140:10 140:15 140:16 140:21                                         wells(1) 10:15                          197:21 197:22 197:24 198:3 198:13 200:4
 141:3 141:4 141:21 142:3 143:15 143:16                                          went(20)  21:11 27:23 27:24 39:5 50:1   200:10 200:20 200:22 200:24 200:25
                                         weeks(8) 38:14 38:14 40:16 40:17 40:18
143:19 144:1 144:2 145:15 145:17 145:24                                          63:8 69:14 95:6 101:12 114:1 114:2      201:17 202:1 204:5 204:24 207:17 210:12
                                         47:3 259:23 261:13
145:25 146:22 147:7 147:13 147:25 148:24                                         138:11 145:3 155:13 165:2 180:1 185:4 215:3 216:21 219:15 221:14 221:18 224:2
 149:9 149:17 149:18 149:22 150:3 150:4                                          190:13 220:17 251:12                    224:2 224:4 225:10 229:7 231:24 234:18
151:1 151:6 151:11 151:13 151:14 151:25 weighed(2) 56:18 181:18                                                          235:1 235:12 235:23 235:24 238:19 239:1
152:3 152:7 152:11 152:16 152:25 155:5 weight(1) 169:2                           were(179) 15:19 20:8 20:11 20:25 21:2   241:10 244:9 244:18 244:19 244:19 244:21
155:7 156:8 156:12 156:23 157:12 157:16  weighted(18) 54:14  54:14 60:13 61:2
                                                                                 21:4 21:23 22:11 22:12 22:13 22:19 24:16 245:2 245:23 248:9 248:17 249:22 250:1
157:17 158:2 158:5 158:25 159:4 159:19   65:20  90:16 92:18  163:8 175:5 175:13
                                                                                 28:12 28:14 29:22 29:25 30:4 33:11 33:12250:24 251:22 252:13 253:13 257:10 258:4
159:22 160:5 160:10 160:14 162:1 162:8 177:18 183:17 185:14 187:12 188:13        33:12 34:10 35:25 36:1 36:24 36:24 39:7 258:25 259:19 260:4 261:14 261:25 262:6
162:18 162:20                            191:10 225:22 252:12
                                                                                 39:12 39:25 41:6 44:8 44:10 44:25 45:17 263:5 263:8 263:20 264:3 264:16 264:19
                                                                                 46:2 47:12 47:20 48:2 48:12 49:22 49:22 264:24 265:4 265:25 266:8 267:11 267:22
                                         weighting(7) 55:17  55:23 56:18 64:21   53:5 53:21 55:5 61:5 64:15 65:25 66:7 268:2 268:15 268:16
was(108) 162:20 169:7 170:20 173:15      65:6 107:24 191:15                      66:12 71:15 73:7 73:10 74:24 76:3 76:20
174:5 174:18 176:1 177:19 177:21 179:20                                          77:12 79:1 79:3 80:19 80:24 81:14 82:10
180:21 183:4 184:15 185:1 185:2 185:2    weights(2) 187:18  190:19               83:23 89:25 91:17 93:23 99:20 100:5     what's(16) 15:13 35:16 50:19 53:6 59:9
185:4 187:1 187:12 188:6 189:10 189:10 weil(1) 8:4                               107:10 108:7 113:11 115:16 115:21 116:5 79:9 96:17 100:15 103:7 108:4 122:19
189:12 189:15 189:16 189:22 191:5 195:25weiss(1) 7:9                             116:13 116:18 117:19 119:6 121:16 121:16135:16 138:7 147:16 237:13 251:15
 196:18 197:2 197:15 198:24 199:1 199:2 weitman(1) 6:41                           122:2 123:14 124:16 124:24 125:16
199:22 200:25 200:25 201:19 204:19       welcome(1) 243:2                        125:18 125:18 130:8 130:13 134:18 134:18whatever(6) 91:16 164:8 169:23 196:1
205:10 205:14 206:11 208:25 209:1 210:12                                          137:4 137:15 139:16 142:7 142:12 143:11196:2 265:23
 211:5 213:6 214:10 214:18 215:18 217:14                                         143:22 144:3 144:15 144:21 145:2 150:14
217:18 218:17 219:5 219:14 219:17 221:15                                         150:15 151:5 151:7 151:9 151:11 151:14 whatsoever(3) 39:2 40:20 250:22
 221:25 222:11 223:16 224:2 224:3 224:4                                          151:15 155:21 155:22 157:20 157:24 158:2what’s(3) 194:1 207:22 219:13
224:5 225:4 225:7 226:1 226:4 226:5                                               158:19 159:24 160:5 160:13 161:24 162:4when(52) 20:6 20:13 35:1 35:14 37:11
226:15 226:15 227:25 228:1 228:3 228:4                                           162:21 162:23 162:23 163:11 163:20 173:550:16 51:17 57:15 74:1 76:11 80:19 84:20
228:5 228:5 228:7 228:7 228:8 229:12                                              174:8 174:24 179:4 179:6 180:25 181:14 97:20 99:17 103:15 105:1 105:19 115:21
230:16 232:6 233:24 234:18 234:22 235:7                                          183:10 185:21 187:25 190:9 191:17 192:10116:18 129:21 137:19 156:15 178:9 184:1
235:9 238:3 241:12 241:13 249:19 249:20                                           192:13 192:18 193:3 194:14 194:18      185:16 186:15 189:25 193:25 195:5 195:22
251:2 251:12 253:2 253:6 253:8 253:18                                            194:18 200:11 201:1 202:6 202:7 204:15 199:6 202:6 204:23 206:14 208:18 210:21
253:20 253:21 254:10 260:12 262:3 262:15                                         208:2 211:19 212:14 212:21 212:22 212:24223:3 225:6 225:11 225:16 229:10 231:4
 263:22 264:3 269:2                                                               214:1 216:19 217:14 218:12 220:14      231:6 234:7 234:24 238:23 240:25 246:19
                                                                                 220:21 245:21 245:23 245:24 247:11      256:10 260:20 260:23 265:11
                                                                                 247:15 247:16 248:5 249:3 249:4 249:10
washington(1) 3:43                                                               249:16 251:5 253:13 253:13 256:6 258:7 where(50) 15:19 28:4 36:10 37:5 54:5
wasn't(5) 112:8 121:8 159:21 223:1 256:18                                        261:21 263:19                           57:6 64:14 69:15 73:13 73:22 81:9 82:5
wasn’t(2) 213:7 214:12                                                                                                   93:16 96:6 98:23 100:22 114:19 121:17
waterhouse(1) 229:6                                                                                                      125:1 130:23 132:22 137:17 137:22 142:24
                                                                                 weren't(3) 43:18 79:14 162:1             149:8 171:23 173:19 173:21 175:19 192:2
                                                                                 west(2) 3:13 5:9                        192:15 200:13 205:8 208:19 209:10 216:19
                                                                                 we’d(1) 193:4                            222:1 232:25 237:21 241:9 242:3 242:20
                                                                                 we’ll(1) 216:10                         242:24 243:9 243:12 245:11 248:22 255:21
                                                                                                                          259:5 262:15

Page : 33                                                                                                                                        04/08/11 17:17:47
                             Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                                Doc 8446-3 Filed 03/21/11                                  Page 304 of 306
Word                        Page:Line    Word                        Page:Line     Word                        Page:Line   Word                        Page:Line
whereas(2) 93:17 223:14                  willing(21) 52:22 52:22 53:3 53:4 53:9    with(71) 228:1 229:1 230:4 230:10 231:7 would(301) 18:13 19:16 20:23 22:25 24:8
whereupon(1) 269:2                       90:9 101:4 140:11 223:11 226:23 231:7 231:13 231:23 232:2 232:6 232:9 233:3 24:19 26:9 26:19 27:24 29:12 34:24 35:12
whether(68) 21:6 21:7 32:14 35:19 38:4 239:17 239:18 239:18 239:19 239:23          233:23 233:25 234:2 234:4 235:6 236:14 35:19 35:20 35:24 36:10 38:20 38:22 40:9
39:9 39:18 43:14 53:22 53:23 53:24 59:11239:23 239:25 240:22 241:18 241:19         237:1 237:4 237:11 237:13 237:15 238:14 40:18 41:5 41:20 42:6 42:7 43:1 43:9
84:4 87:17 96:1 97:22 110:20 119:23                                                238:21 240:11 240:12 241:2 241:23 241:2545:5 45:5 46:3 46:18 47:25 47:25 49:9
119:23 120:1 128:1 139:17 143:23 144:16 willingness(5) 104:4 104:20 104:22 107:5 242:7 242:13 243:7 244:7 244:23 245:1 53:4 53:6 54:3 56:16 57:10 59:11 61:1
145:15 147:14 149:18 150:1 150:11 151:4 240:8                                      245:11 247:1 247:9 248:19 249:1 250:23 61:24 65:16 66:8 66:9 67:8 67:17 69:17
151:10 167:2 172:18 196:6 196:8 198:23                                             251:1 251:21 252:6 253:12 254:13 255:6 73:19 73:20 77:2 78:11 78:18 78:18 79:6
200:19 201:17 217:17 220:21 223:18 232:2wilmer(1) 5:39                             255:13 255:18 255:22 257:15 258:13      79:25 81:22 82:4 82:22 83:16 86:8 89:20
 233:19 233:21 235:6 237:10 244:4 244:6 wilmington(17) 1:11 1:36 2:20 2:27 2:50 258:19 262:11 262:13 262:21 262:22 263:590:2 90:10 90:11 90:18 91:15 95:4 95:15
244:13 244:14 244:20 244:24 244:25 246:33:22 4:9 4:23 4:26 4:36 4:42 5:10 6:14 263:11 264:16 264:20 264:24 266:7           97:7 97:14 98:23 99:9 99:10 100:7 100:22
 246:19 246:21 249:11 252:11 253:5 255:813:1 20:11 151:7 151:14                    266:14 266:19 268:13 268:18 268:18      102:9 102:18 104:6 104:18 104:18 107:14
260:12 260:13 261:19 262:1 263:25 268:3                                            268:20 268:20 268:24                    107:19 107:25 108:1 108:2 108:21 108:23
268:4 268:10                             wilson(1) 9:39                                                                    109:13 109:15 110:13 114:25 115:2 115:12
                                         winning(1) 267:20                         within(19) 22:7 35:23 39:18 44:20 72:17 115:15 115:20 115:23 116:3 118:20
which(133) 13:8 24:5 24:16 24:23 25:2    wipe(2) 124:23 125:9                      76:3 81:20 83:22 84:12 105:4 204:10     118:25 119:25 120:7 122:8 124:23 124:24
28:15 30:16 30:22 31:24 33:20 34:9 34:10wipes(2) 124:6 250:21                      205:1 223:3 223:21 226:4 232:11 232:24 125:8 125:9 127:19 128:8 128:11 129:21
35:16 36:9 36:23 40:23 41:8 41:17 42:2 wiping(1) 125:7                             237:8 263:11                            129:24 130:21 132:6 133:1 134:21 134:22
45:1 45:5 45:5 45:25 49:9 49:14 49:20 wires(1) 11:4                                                                        134:23 138:19 139:13 139:18 143:11
50:21 53:6 55:10 57:1 60:17 61:10 61:14 wish(1) 268:24                             without(14) 26:13 27:2 75:8 89:10 96:20 143:23 144:17 144:20 145:16 147:15
65:7 68:3 70:19 70:24 72:20 73:3 73:17 wishes(2) 13:10 260:1                       97:9 97:22 109:22 143:12 210:14 211:6 148:21 149:18 150:2 150:18 152:8 152:9
73:18 74:22 75:10 77:1 77:12 77:21 78:2 with(301) 13:7 13:10 13:10 13:21 14:15 228:10 228:14 268:15                        152:16 152:17 157:17 157:18 159:16 161:2
78:20 79:16 80:8 81:18 82:16 84:16 86:2017:17 17:17 19:6 19:22 20:6 21:6 21:11                                              163:18 164:2 164:17 164:22 164:22
87:21 89:20 89:22 90:11 92:10 92:18                                                withstand(1) 209:7                      165:12 165:20 165:21 166:21 166:24 167:2
                                         21:13 23:8 24:4 24:6 24:25 26:4 26:19
100:6 100:16 101:11 103:5 103:17 105:12 27:4 27:8 28:22 29:2 29:16 30:2 30:13 witness(18) 13:8 14:2 14:12 24:3 104:15 167:13 168:7 169:13 169:25 171:17 172:2
105:14 107:24 108:7 113:11 122:8 122:10 30:22 31:4 31:7 31:13 31:14 32:3 32:14 106:7 127:1 127:5 127:7 127:9 129:2         172:5 172:9 172:9 172:16 172:17 172:21
123:2 123:14 123:19 124:2 124:23 124:25 32:15 32:21 32:21 32:23 33:1 34:24 35:24130:25 131:16 180:18 199:10 199:20 236:6172:24 173:3 173:6 173:6 173:10 173:18
126:7 128:25 135:14 135:16 137:18 138:1 38:16 39:15 39:16 42:20 43:13 43:15 44:4 257:2                                     173:19 174:15 179:12 181:5 181:14 181:19
138:23 140:9 144:2 151:25 155:2 157:16 44:25 45:18 46:2 47:1 47:15 47:18 48:5                                               181:25 185:7 185:19 186:20 186:25 188:7
158:10 158:24 162:18 162:19 173:7 175:8 48:9 48:24 49:1 49:11 50:16 50:18 51:11 witnesses(4) 258:1 262:3 262:20 270:2      190:16 190:20 192:12 193:8 193:12 194:6
176:5 181:4 182:9 182:25 183:11 183:16 51:14 51:15 52:10 53:16 53:25 54:6 54:15womble(1) 4:39                              196:1 196:14 197:7 197:13 197:15 197:25
184:10 189:6 189:12 190:1 194:19 200:13 55:6 55:9 55:9 56:1 56:9 57:25 58:8        won't(1) 188:24                         198:9 198:10 198:18 198:23 199:3 199:6
201:1 206:23 211:8 217:12 220:1 221:3 58:14 59:1 59:9 59:24 60:7 60:11 61:12 word(5) 98:13 121:15 234:22 238:12 265:8199:11 199:17 200:5 200:9 200:13 200:15
223:5 225:17 226:4 228:8 229:14 236:19 63:3 63:23 64:18 64:22 65:9 65:14 65:21 words(3) 162:1 162:15 245:2                 200:17 201:1 201:11 201:12 202:10 202:11
237:14 237:17 237:17 238:17 241:16                                                 work(9) 17:4  20:13 21:12 26:19 151:25   202:13 204:16 206:15 207:14 207:22
                                         66:1 66:21 67:2 67:3 67:9 67:17 68:6
243:12 246:10 250:8 254:12 257:4 258:1 68:6 68:8 68:15 68:16 68:19 68:20 68:25 189:2 208:21 216:6 247:19                   209:2 210:11 213:2 213:4 213:11 214:2
267:18 268:13                                                                                                              216:14 219:9 219:10 219:12 220:7 220:8
                                         69:14 69:21 69:24 69:25 71:18 72:16 81:8
                                                                                                                           220:10 220:25 221:8 221:12 221:16 222:16
                                         81:21 83:17 85:3 85:12 86:13 86:21 87:19working(7) 96:4 96:5 96:6 96:8 97:11
whichever(1) 215:14                                                                138:2 151:5                              222:24 223:3 223:24 223:25 225:8 225:10
                                         88:24 89:13 89:15 92:24 93:23 95:5 95:17
while(6) 112:24 208:18 210:1 215:18                                                                                        225:11 226:9 226:24 229:8 231:22 232:2
                                         97:2 97:12 98:15 100:4 101:9 101:18
240:21 265:10                                                                                                              232:8 234:22 235:1 235:2 239:1 239:2
                                         101:18 102:13 104:8 104:19 105:12 106:7 works(1) 99:5
                                                                                                                           243:11 243:11 243:13 243:23 244:6 244:9
                                         106:12 107:10 109:23 112:24 113:1 114:14world(3) 136:22 196:13 265:10
white(1) 10:15                                                                                                             244:14 244:16 244:21 244:23 244:25
                                          115:11 116:12 117:19 118:14 119:10       worldwide(3) 102:12 137:24 251:1
whittman(1) 9:19                                                                                                           245:22 247:12 247:18 248:22 249:10 250:3
                                         119:22 120:10 121:4 121:8 121:13 123:2 worst(2) 31:9 101:21
who(12) 19:2 19:8 20:3 43:21 62:24                                                                                          250:6 250:9 250:9 251:14 251:18 252:13
                                         124:14 124:25 127:4 127:15 127:15 128:1 worth(2) 108:22 250:20
150:15 151:6 170:1 239:19 239:19 239:20 128:9 129:8 130:1 130:14 131:8 132:4                                               252:18 254:15 257:12 257:19 258:2 258:8
240:1                                                                                                                      258:9 258:12 258:14 259:2 259:14 259:16
                                         135:6 135:21 136:11 137:22 137:25 138:2
who's(2) 240:1 240:1                                                                                                       259:18 259:19 259:23 260:3 260:4 260:9
                                         139:7 139:13 139:16 139:18 139:21 139:23
whoever(1) 51:7                                                                                                            260:22 260:24 261:10 261:12 261:17 262:4
                                          142:1 142:6 144:12 144:24 144:25 145:14
                                                                                                                            262:6 262:18 262:25 263:2
whole(7) 38:18 100:21 170:18 177:9 242:6 145:22 147:12 148:1 149:5 149:17 149:22
 242:23 243:2                            149:23 151:15 151:22 151:24 152:2 152:3
                                         153:13 154:4 156:7 157:16 158:4 158:4
wholly(2) 226:15 249:10                  158:8 158:9 158:10 159:2 159:5 159:8                                              would(7) 263:20 263:24 264:15 265:3
                                         159:8 159:10 161:6 161:9 162:2 162:8                                              266:12 266:22 267:22
whom(2) 14:21 20:10
whose(1) 265:3                           164:23 165:23 166:5 166:12 166:12 166:14
                                                                                                                           wouldn't(2) 151:19 221:13
why(43) 26:22 29:9 34:3 36:25 45:19 51:5 166:18 167:22 167:25 168:10 168:16
                                         168:19 170:1 174:12 178:15 179:13 180:3                                           wouldn’t(1) 221:9
 54:23 56:22 56:23 57:12 58:10 59:22
61:21 70:6 79:12 88:3 93:5 107:9 112:1   180:7  180:8  181:22 181:25 182:12 184:11                                         would’ve(2) 201:24 217:19
118:8 122:5 122:9 123:16 139:10 165:7 185:4 185:22 185:25 187:3 189:2 189:3                                                write(1) 29:4
165:12 167:9 172:1 182:24 185:4 190:1 189:3 189:16 190:19 191:2 191:4 191:5                                                writes(1) 230:7
193:18 201:13 206:23 210:24 222:24       191:11 193:15 194:1 194:12 194:20 194:22                                          writing(1) 263:11
222:24 233:10 239:3 245:15 248:25 250:24195:1 195:12 196:2 196:21 198:4 198:6                                              written(5) 24:22 24:23 25:1 229:17 234:24
 262:16                                  198:6 198:7 198:11 200:2 201:14 201:15                                            wrong(4) 126:2 153:25 172:8 176:23
                                         202:7 203:4 203:8 203:18 204:20 204:21                                            wrote(1) 234:20
widening(1) 144:14                       206:20 206:25 207:1 207:15 207:19 208:18                                          www.diazdata.com(1) 1:45
wild(1) 11:42                             209:19 211:2 211:4 211:10 211:20 214:25                                          xochitl(1) 10:47
will(68) 13:18 32:11 32:11 41:7 50:24    215:9 215:22 219:4 219:6 219:7 220:11                                             yahoo(1) 199:7
51:9 53:23 55:9 59:4 60:17 61:25 68:16 221:2 221:19 222:12 223:13 223:16 225:14                                            yeah(46) 61:16 115:14 115:21 115:25
75:4 100:8 100:15 103:13 104:12 121:19 226:5 226:14 226:16 226:17 227:12                                                   116:17 124:11 130:10 132:17 132:20
126:4 127:11 128:10 131:21 135:12 147:2                                                                                    134:24 136:4 140:25 142:16 154:16 156:3
159:4 159:10 164:11 177:11 188:13 188:16                                                                                   156:3 159:7 159:13 165:11 166:22 170:20
 188:19 208:11 215:13 216:4 216:6 216:6                                                                                    170:23 171:24 172:2 172:2 172:2 172:4
216:24 217:8 217:9 231:8 231:21 240:22                                                                                     172:5 172:14 180:16 180:20 181:8 182:4
240:23 240:24 241:17 243:4 251:18 257:4                                                                                    182:4 182:5 189:5 192:18 193:11 226:22
257:5 258:3 258:6 258:18 258:25 259:10                                                                                     227:18 229:24 240:16 242:12 242:23
260:1 261:22 263:14 265:4 266:5 267:23                                                                                     243:20 260:16
268:2 268:3 268:5 268:9 268:16 268:19
268:23 268:24

william(2) 4:34 229:17
williams(2) 19:8 19:9
Page : 34                                                                                                                                           04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11                                 Page 305 of 306
Word                        Page:Line   Word                       Page:Line    Word                       Page:Line    Word                       Page:Line
year(39) 19:1 20:9 30:11 30:11 30:16    yes(124) 203:16 204:1 205:9 205:21      you(301) 109:3 109:10 109:16 109:20     you(301) 170:17 170:20 171:7 171:11
30:17 36:10 36:25 36:25 37:13 38:1 38:5 205:24 206:4 206:13 206:18 207:1 207:5 109:24 110:10 110:15 110:19 110:23       171:14 171:17 171:24 172:7 173:5 173:9
38:19 39:3 39:4 40:18 41:20 41:21 41:23 207:8 208:13 209:5 209:19 209:22 209:25 110:23 110:25 111:3 112:1 112:5 112:8 173:16 173:19 173:20 173:21 173:22 174:3
45:15 47:24 85:19 92:3 92:3 92:3 92:3 210:22 212:5 212:13 212:17 212:20 213:1 112:9 112:12 112:16 112:19 112:23 112:24174:12 174:24 175:7 175:9 175:19 175:19
141:15 147:10 154:17 159:4 164:13 187:18213:4 213:9 213:14 213:23 214:1 214:23 112:25 113:3 113:4 113:5 113:10 113:10 175:22 175:25 176:9 176:11 176:15 177:1
 188:13 188:14 188:23 217:10 223:7 223:9215:17 215:20 215:23 216:9 216:13 216:16113:14 113:14 113:17 113:19 114:6 114:6 177:9 177:10 177:10 177:11 177:12 177:16
250:4                                    216:18 217:2 217:6 217:16 217:20 218:2 114:10 114:11 114:14 114:19 114:21 115:4177:19 177:22 177:24 178:14 178:16
years(30) 15:18 17:14 17:24 18:1 18:3   218:9 218:24 219:19 220:3 220:5 220:19 115:10 115:10 117:14 117:15 117:22       178:19 178:24 179:1 179:4 179:15 179:15
31:9 31:19 68:7 73:6 79:15 87:20 88:8 222:4 222:10 222:14 222:23 224:8 224:13 118:1 118:6 118:14 118:18 119:10 119:10 179:18 179:19 180:2 180:3 180:6 180:6
92:20 96:6 111:15 112:25 155:4 155:10 224:24 225:2 225:24 226:11 227:17 227:20119:22 120:4 120:10 120:15 120:18 121:4 180:7 180:9 180:10 180:16 180:20 180:22
155:11 156:6 160:13 160:16 185:18 196:22229:13 229:15 229:18 229:20 230:12      121:5 121:16 121:17 121:19 121:22 121:24180:25 181:13 181:17 181:19 182:11
 198:7 198:18 199:2 208:15 216:20 251:8 230:15 230:18 230:24 231:1 231:3 231:6 121:25 122:21 123:9 123:19 124:2 124:14182:12 182:12 182:16 182:17 182:18
                                        231:14 232:10 232:18 232:22 233:2 233:14124:21 125:12 126:3 126:5 126:6 126:14 182:21 183:6 183:22 184:1 184:4 184:5
yellow(1) 41:17                          233:23 233:24 234:1 235:10 236:2 236:9 126:20 127:3 127:6 127:8 127:9 127:10 184:8 184:10 184:12 184:21 184:22 184:23
yes(301) 15:2 16:20 17:5 17:8 18:5 18:8 236:13 236:16 237:5 237:19 238:6 238:15 128:1 128:6 128:8 128:8 128:12 128:20 184:23 185:6 185:21 185:23 186:5 186:7
18:11 18:24 22:7 22:17 23:2 23:17 23:21 239:7 239:11 239:15 240:17 241:6 242:10 128:21 128:23 129:4 129:4 129:6 129:6 186:11 186:11 186:15 186:16 186:20
26:7 28:6 28:21 29:18 32:13 33:5 33:25 242:16 243:10 246:5 246:13 247:4 247:23 129:9 129:13 130:10 130:17 130:17 130:18186:22 186:25 187:2 187:10 187:14 187:17
36:20 37:16 38:9 40:7 42:13 43:12 44:4 247:25 248:4 248:7 248:16 248:24 249:15 131:2 131:6 131:9 131:11 131:14 131:18 187:24 188:11 188:22 189:1 189:5 189:7
44:18 46:24 47:2 47:5 47:8 47:11 48:8 249:21 249:24 250:19 251:24 252:1 252:3 131:19 131:20 131:22 131:24 132:6 132:13189:25 190:4 190:7 190:17 190:20 190:25
49:5 50:3 51:19 52:12 53:12 54:10 54:12 252:9 252:15 253:4 254:3 254:7 254:20 132:15 132:23 133:1 133:6 133:11 133:16191:8 191:9 191:9 191:18 191:19 191:22
55:18 57:9 58:4 58:9 58:21 59:20 59:25 255:16 255:19 255:23 256:5 256:12 256:16133:19 133:19 134:2 134:3 134:16 134:24 191:22 191:23 192:1 192:2 192:15 192:16
60:3 60:6 60:25 61:4 63:7 63:11 64:7     261:10                                 135:2 135:2 135:4 136:16 136:18 136:19 192:18 192:22 193:19 194:9 194:9 194:10
64:10 64:12 64:24 65:1 66:6 66:21 67:21                                         137:1 137:2 137:21 137:22 137:24 138:4 194:22 195:1 195:5 196:8 196:11 196:14
70:5 71:6 73:1 74:5 74:8 76:9 76:14     yet(13) 78:15 84:21 93:12 97:1 114:14   138:12 138:13 138:14 138:19 138:20      196:16 196:19 196:20 197:5 197:7 197:10
78:22 78:25 80:14 81:4 82:3 82:24 83:9 114:15 116:8 161:6 260:18 264:11 264:21 139:14 139:14 139:16 139:17 139:17 140:4197:12 197:13 197:15 198:1 198:10 198:18
83:15 83:19 84:8 85:9 86:19 88:22 91:4 268:3 268:16                              140:6 140:7 140:20 141:2 141:20 142:6 199:6 199:23 200:2 200:7 200:11 200:13
93:4 93:22 95:3 98:2 99:3 102:22 104:15                                         142:11 142:24 142:25 143:2 143:5 143:8 200:16 200:17 200:23 201:1 201:1 201:3
106:1 106:20 108:10 109:23 110:18 110:24yield(2) 128:25 144:14                  143:15 143:22 144:4 144:7 144:11 144:15 201:4 201:7 201:10 201:11 201:18 201:24
 111:1 111:5 112:22 113:2 113:6 113:13 yields(3) 100:20 100:21 129:10           144:19 145:2 145:10 145:14 146:3 146:8 202:6 202:22 202:23 203:3 203:3 203:5
113:16 113:18 114:9 114:20 115:5 116:21 york(6) 2:13 2:35 2:44 3:7 3:34 4:16    146:17 146:22 147:1 147:4 147:5 147:12 203:7 203:11 203:18 203:23 204:5 204:22
117:6 117:16 117:25 118:3 118:17 120:15 you(301) 14:14 14:17 14:20 14:21 15:1   148:2 148:5 148:14 148:16 149:3 149:5 204:23 204:24 205:8 205:10 205:18 206:5
124:3 124:8 124:15 125:2 126:17 127:7 15:7 15:8 15:17 15:19 15:23 16:17 16:18 149:8 149:14 149:21 149:21 149:23 149:24206:5 206:11 207:2 207:3 207:6 207:7
129:7 129:12 129:15 130:4 131:10 132:1 17:6 17:12 17:24 18:2 18:6 18:9 18:18     150:2 150:6 150:9 150:14 151:4 151:10 207:11 207:12 208:4 208:9 208:19 209:2
132:11 132:14 132:21 133:3 133:7 133:9 18:19 18:22 19:1 19:16 20:6 20:13 20:16 151:13 151:21 151:22 151:22 152:4 152:11209:15 209:20 209:20 210:1 210:2 210:3
133:18 133:20 133:23 134:1 134:4 134:14 20:18 20:21 20:25 21:10 21:11 22:6 22:15 153:5 153:8 153:13 153:17 153:19 153:22210:5 210:17 210:18 210:20 210:24 211:10
134:15 134:20 135:5 135:10 135:25 138:2522:25 23:1 23:13 23:13 24:21 25:7 25:15 153:24 154:2 154:4 154:6 154:10 154:12 211:17 211:17 211:18 211:19 211:22
 139:6 139:9 141:2 142:15 142:16 142:19 25:17 25:17 25:23 26:2 26:2 26:16 26:19 154:20 155:2 155:11 155:17 156:5 156:12 212:2 212:5 212:5 212:11 212:14 212:18
142:23 143:1 143:4 143:7 143:14 143:18 26:22 26:22 28:5 28:8 28:10 28:18 28:23 156:15 156:15 156:16 157:1 157:10 157:11213:16 213:21 213:24 214:8 214:9 214:13
143:25 144:5 144:9 144:18 145:5 145:5 29:4 29:21 29:24 30:12 30:14 30:17 30:25 157:16 157:16 157:19 158:2 158:12        214:16 214:21 215:1 215:2 215:3 215:8
145:19 146:6 146:19 146:25 147:3 148:3 31:10 32:10 32:11 32:11 32:14 32:14 33:7158:22 159:7 159:8 159:10 159:17 160:7 215:12 215:16 215:21 216:2 216:8 216:20
149:4 149:7 149:12 149:16 149:19 150:8 33:20 35:21 35:22 36:3 36:5 36:7 36:22 160:8 160:21 160:23 161:1 161:6 161:9 217:1 217:7 217:14 218:3 218:4 218:7
150:13 152:13 153:10 153:18 153:20 154:336:23 37:3 37:8 37:24 38:7 38:22 39:3 161:14 161:14 161:16 162:11 162:18        218:8 218:21 218:23 218:25 218:25 220:20
 154:5 154:8 154:11 154:19 154:24 155:5 39:9 39:21 40:14 40:22 41:1 41:6 41:7 162:19 162:19 162:24 163:2 163:3 163:5 221:7 221:7 221:11 221:11 221:24 221:24
155:9 155:16 155:20 155:24 156:1 156:2 41:14 42:1 42:4 43:1 43:2 43:10 43:13 163:6 163:14 163:20 163:24 164:1 164:4 222:1 222:2 222:5 222:6 222:8 222:11
156:14 157:6 158:16 158:21 158:25 159:1243:21 44:3 44:15 45:9 45:11 46:18 46:22 164:8 164:11 164:14 164:18 164:19 164:24222:20 222:24 222:24 222:24 223:18 224:2
 159:14 159:19 161:9 161:13 161:17      46:25 47:6 47:7 47:13 47:15 47:18 48:5 164:25 165:1 165:5 165:8 165:17 165:21 224:7 224:10 224:12 224:14 224:20
162:20 163:1 163:4 163:23 165:4 165:7 48:9 48:13 48:13 48:14 49:14 49:24 49:25165:23 165:25 166:4 166:6 166:7 166:18 224:25 225:1 225:19 225:19 225:25 225:25
165:9 166:14 166:17 167:1 167:3 167:8 49:25 50:1 50:15 50:16 50:24 51:8 51:9 166:19 166:21 166:22 166:23 166:23 167:1226:6 226:7 226:22 226:23 227:2 227:2
167:19 168:18 168:21 168:24 169:4 169:1051:20 51:23 52:9 52:11 53:10 53:10 53:16 167:3 167:4 167:5 167:20 168:7 168:13 227:8 227:13 227:16 227:18 228:5 228:20
 170:4 170:7 170:9 170:12 171:1 171:5 54:5 54:8 54:11 54:16 54:20 54:23 55:9 168:15 168:16 168:19 168:20 168:22 169:8228:24 229:1 229:3 229:6 229:10 229:10
171:8 171:12 171:15 173:24 173:24 174:1 55:17 55:22 55:23 56:21 56:23 56:23 57:6 169:13 169:20 170:3 170:5 170:6 170:8 229:11 229:12 229:14 229:19 229:22
174:4 174:13 174:22 174:23 175:18 176:7 57:10 57:11 58:1 58:2 58:8 58:10 58:18 170:11 170:16                            229:22 230:1 230:4 230:10
176:17 176:19 176:21 177:7 177:14 177:1758:18 58:22 59:4 59:15 59:18 59:24 60:4
 177:20 177:23 178:2 178:5 178:7 178:11 60:4 60:8 60:12 60:17 60:20 61:1 61:2
178:18 178:23 179:2 179:5 179:8 179:12 61:18 61:21 61:23 62:8 62:15 62:18 62:20
179:14 179:21 181:23 182:15 182:20 183:762:20 63:8 63:9 64:5 64:8 64:20 64:25
 183:7 183:12 183:15 183:20 183:20 184:765:3 65:12 65:22 66:3 66:17 66:18 66:19
184:20 186:14 186:25 187:5 187:8 187:11 66:20 67:22 67:23 68:21 69:1 69:8 69:18
187:16 187:22 187:23 188:15 189:9 191:1570:3 71:7 71:15 72:20 72:23 74:6 74:23
 191:21 192:4 192:9 192:20 192:23 193:2 75:4 76:11 76:15 76:18 76:23 76:25 77:1
193:5 194:8 194:20 194:24 195:25 196:25 77:3 77:6 78:9 78:20 78:23 79:1 79:14
197:11 198:21 198:25 199:24 201:6 202:2479:15 79:24 80:5 80:6 80:8 80:15 81:5
 203:6 203:12                           81:13 81:18 82:4 82:5 82:6 82:7 83:5
                                        83:10 83:16 84:6 84:7 84:7 84:20 85:7
                                        85:12 86:21 86:22 86:22 88:9 88:11 88:14
                                        88:16 88:24 91:6 91:7 91:9 91:10 91:10
                                        91:17 92:13 93:5 93:15 93:20 94:7 94:17
                                        94:18 94:22 95:4 95:5 95:16 97:2 98:3
                                        98:10 99:1 99:21 99:23 100:7 100:8
                                        100:15 100:21 101:1 101:2 101:3 101:6
                                        101:7 101:14 101:21 102:3 102:25 102:25
                                        103:16 104:3 104:7 104:12 104:18 104:18
                                        105:10 105:13 105:14 105:15 106:8 106:15
                                         106:16 106:22 106:25 107:19 108:18
                                        108:20 108:24




Page : 35                                                                                                                                       04/08/11 17:17:47
                            Case 08-13141-BLS C-TRIBUNE.3.18.11.DOC
                                               Doc 8446-3 Filed 03/21/11            Page 306 of 306
Word                        Page:Line   Word                       Page:Line
you(199) 230:14 230:16 230:20 230:22    your(301) 13:3 13:4 13:7 13:21 14:1 14:2
231:2 231:5 231:13 231:17 231:23 232:8 14:5 14:6 14:10 14:15 14:23 14:25 15:7
232:11 232:17 232:20 232:25 233:3 233:1315:9 15:12 15:13 15:24 16:11 17:3 18:13
 233:18 234:2 234:8 234:11 234:21 234:2218:17 18:19 20:17 20:22 22:5 23:13 23:15
234:22 234:24 234:25 235:1 235:1 235:1 23:18 23:22 23:24 24:17 25:7 25:12 25:23
235:2 235:5 235:9 235:17 235:20 235:25 26:4 26:4 26:9 26:16 26:18 33:3 43:4
236:21 236:21 237:4 237:16 237:17 237:2044:3 50:1 51:20 54:8 54:11 54:24 57:7
 237:21 238:10 238:12 238:14 238:21     59:13 60:1 61:2 62:10 63:5 63:9 64:18
238:23 239:12 240:5 240:11 240:17 240:1966:13 67:19 70:6 71:8 72:21 77:6 78:2
 241:2 241:10 241:25 242:2 242:7 242:12 78:20 80:5 80:9 81:6 82:1 83:8 83:12
242:14 242:15 242:20 242:23 242:24 243:783:12 83:13 83:17 85:7 87:24 88:20 91:5
 243:12 243:21 244:7 244:17 244:17      92:14 93:1 97:19 98:6 104:6 104:8 104:10
244:17 244:23 245:4 245:6 245:8 245:15 106:4 106:9 106:16 107:13 107:19 107:20
245:18 245:20 245:21 245:22 246:2 246:10108:5 108:8 109:6 110:23 110:25 112:15
 246:10 246:11 246:16 246:19 246:25     112:19 112:20 112:23 112:24 114:12
247:1 247:5 247:6 247:7 247:20 247:20 115:10 117:1 117:11 118:2 121:5 121:6
248:1 248:5 248:8 248:13 248:17 248:18 121:25 122:20 123:23 124:6 125:12 125:13
248:25 249:14 249:16 249:17 249:19       126:14 127:1 127:3 127:10 128:1 128:7
249:22 249:25 250:13 251:4 251:10 251:17128:13 129:2 129:8 130:9 130:11 130:15
 251:20 251:21 251:23 252:4 252:8 252:10130:25 131:17 132:12 133:12 133:15 134:5
252:10 252:11 252:13 252:17 253:1 253:5 134:10 135:6 136:4 137:3 137:8 139:7
253:5 254:1 254:8 254:9 254:16 254:19 139:15 142:6 142:21 142:24 143:8 143:11
254:21 254:21 254:22 254:22 255:5 255:7 143:15 143:19 143:19 144:4 146:22 147:1
255:11 255:13 255:14 255:18 255:22      148:2 148:19 148:19 149:2 149:6 150:6
255:24 256:4 256:7 256:10 256:13 256:14 150:7 150:9 150:14 150:18 151:5 151:11
256:17 256:20 256:21 256:22 256:22      152:13 154:6 154:10 155:2 155:6 155:17
256:23 259:7 260:4 260:5 260:7 260:18 155:19 156:5 156:15 158:3 161:4 161:5
261:1 261:4 261:8 261:9 261:14 261:24 162:24 163:15 163:21 164:4 164:19 165:5
262:1 263:11 263:19 263:19 263:20 264:1 166:23 167:5 168:13 168:20 169:13 170:3
264:1 264:13 264:14 264:17 264:20 265:4 173:17 173:19 173:22 174:18 174:24
265:6 265:6 265:9 265:9 265:13 265:15 175:16 175:20 176:1 179:10 179:10 181:9
266:5 266:6 266:16 266:17 266:22 266:25 182:2 183:22 184:18 185:24 186:19 186:25
267:2 267:5 267:10 267:10 267:14 267:15 187:3 187:14 187:19 190:12 190:21
267:23 268:2 268:5 268:13 268:18 268:19 190:25 191:8 191:19 192:2 192:5 192:24
268:24 268:24 269:1                     194:3 194:9 194:20 195:5 197:5 199:10
                                        199:14 199:19 199:24 202:5 202:6 202:22
                                        203:14 205:22 207:17 209:21 211:18
you'd(7) 165:14 178:21 183:16 186:18    211:24 212:2 212:4 212:8 212:12 213:10
232:23 263:5 264:6                      213:12 213:16 213:24 214:3 214:9 214:21
                                        219:1 219:14 221:24 222:11 222:20 222:21
you'll(16) 29:24 31:6 31:13 32:11 33:17 225:19 226:6 226:22 227:18 229:10
37:19 38:1 45:11 96:24 105:16 106:22    230:13 232:20 234:11 236:6 237:17 237:18
132:23 133:21 155:21 246:14 254:17       237:21 238:9 245:4 245:8 245:12 247:3
                                        247:21 248:18 249:17 249:19 252:17 253:1
you're(33) 30:8 37:17 45:10 51:7 53:13   253:6 254:4 255:10 256:1 256:21 256:24
56:14 88:17 121:22 124:8 125:3 126:1    257:2 257:8 257:10 257:15 257:22 258:10
126:3 132:19 136:12 154:15 157:4 157:13 258:20 259:9 259:15 260:3 260:9 260:21
166:7 173:2 176:15 185:12 186:24 187:21 261:1 261:1 261:5 261:8 261:11 261:24
188:23 221:10 228:9 235:12 242:20 243:2 262:24 263:6 263:14 263:16 264:14 267:16
252:22 252:23 252:25 267:9               269:1

you've(31) 25:7 28:4 30:25 33:6 37:14
38:7 40:5 42:11 45:8 50:15 51:2 59:14 yours(2) 178:3 182:3
81:25 86:23 95:2 102:23 106:5 108:11    yourself(3) 16:17 59:15 264:10
110:15 120:13 120:18 126:18 127:16      yourselves(1) 268:19
127:17 135:22 136:14 142:14 149:8 221:16you’d(1) 203:10
 229:25 256:13                          you’re(14) 192:6 192:17 192:25 193:12
                                        193:25 193:25 195:17 197:13 208:23
young(1) 5:5                            208:23 210:21 215:3 216:21 221:7

                                        you’ve(7) 198:1 205:5 205:6 211:11
                                        212:21 219:14 221:5

                                        zell(5) 145:9 146:11 247:14 247:17 253:18
                                        zensky(15) 2:41 256:24 256:25 261:9
                                        261:10 261:15 263:9 263:14 263:16 263:19
                                         263:24 264:2 264:3 264:8 264:14

                                        zero(4) 62:25 65:24 195:3 243:12
                                        zero-coupon(2) 194:23 195:1
                                        zeroed(1) 223:8
                                        zeros(1) 223:15
                                        zloto(1) 7:39
                                        zuckerman(3) 3:37 5:29 257:9
                                        “and(1) 216:10
                                        “the(5) 207:11 207:13 215:13 217:5 217:8
                                        “then(1) 216:4
                                        “third(1) 216:24



Page : 36                                                                                             04/08/11 17:17:47
